Exhibit 1




            KoveIO Compl. Ex. 1
10 EMERGING TECHNOLOGIES THAT WILL CHANGE YOUR WORLD
With new technologies constantly being invented in universities and companies across the globe, guessing which ones
will transform computing, medicine, communication, and our energy infrastructure is always a challenge. Nonetheless,
Technology Review’s editors are willing to bet that the 10 emerging technologies highlighted in this special package will
affect our lives and work in revolutionary ways—whether next year or next decade. For each, we’ve identified a
researcher whose ideas and efforts both epitomize and reinvent his or her field.The following snapshots of the innovators
and their work provide a glimpse of the future these evolving technologies may provide. PHOTOGRAPH BY DENNIS KLEIMAN




32   T E C H N O LO G Y R E V I E W Fe b r u a r y 2 0 0 4                                        w w w. t e c h n o l o g y r e v i e w. co m


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                                                                                                          Hari Balakrishnan is pursuing this dream,
                                                                                                     working to free important data from dependency
                                                                                                     on specific computers or systems. Music-sharing
                                                                                                     services such as KaZaA, which let people down-
                                                                                                     load and trade songs from Internet-connected
                                                                                                     PCs, are basic distributed-storage systems. But
                                                                                                     Balakrishnan, an MIT computer scientist, is part
                                                                                                     of a coalition of programmers who want to extend
                                                                                                     the concept to all types of data. The beauty of such
                                                                                                     a system, he says, is that it would provide all-
                                                                                                     purpose protection and convenience without being
                                                                                                     complicated to use. “You can now move [files]
                                                                                                     across machines,” he says.“You can replicate them,
                                                                                                     remove them, and the way in which [you] get
                                                                                                     them is unchanged.” With inability to access data
                                                                                                     sometimes costing companies millions in revenue
                                                                                                     per hour of downtime, according to Stamford, CT-
                                                                                                     based Meta Group, a distributed-storage system
                                                                                                     could dramatically enhance productivity.
                                                                                                          Balakrishnan’s work centers on “distributed
                                                                                                     hash tables,” an update on a venerable computer-
                                                                                                     science concept. Around since the 1950s, hash
                                                                                                     tables provide a quick way to organize data: a
                                                                                                     simple mathematical operation assigns each file
                                                                                                     its own row in a table; the row stores the file’s
                                                                                                     location. Such tables are now ubiquitous, form-
                                                                                                     ing an essential part of most software.
                                                                                                          In the distributed-storage scheme pursued by
                                                                                                     Balakrishnan and his colleagues, files are scat-
                                                                                                     tered around the Internet, as are the hash tables
                                                                    With distributed storage, you    listing their locations. Each table points to other
                                                                     can now move and replicate
                                                                   files across machines, and the    tables, so while the first hash table searched may
                                                                    way in which you get them is     not list the file you want, it will point to other
                                                                  unchanged. —HARI BALAKRISHNAN
                                                                                                     tables that will eventually—but still within milli-
                                                                                                     seconds—reveal the file’s location. The trick is to
OTHER                                        make t-ray systems easier to build. In the part of      devise efficient ways to route data through the
LEADERS                                      the spectrum between the domains of cell phones         network—and to keep the tables up to date. Get
in Distributed Storage                       and lasers, t-rays could shed light on mysteries        it right and distributed hash tables could turn the
: IAN CLARKE                                 hidden from even today’s most technologically           Internet into a series of automatically organized,
Freenet                                      enhanced eyes. NEIL SAVAGE                              easily searchable filing cabinets. Balakrishnan
(Open-source project)                                                                                says, “I view distributed hash tables as the com-
Anonymous content pub-                                                                               ing future” of networked storage.
lishing and distribution
                                                                                                          Balakrishnan’s work is part of IRIS, the Infra-
: JOHN KUBIATOWICZ                           HARI BALAKRISHNAN                                       structure for Resilient Internet Systems project, a
University of                                                                                        collaboration among researchers at MIT, the Uni-
California, Berkeley
(Berkeley, CA)
                                            Distributed Storage                                      versity of California, Berkeley, the International
Secure distributed                           Whether it’s organizing documents, spreadsheets,        Computer Science Institute in Berkeley, CA, New
storage over the Internet                    music, photos, and videos or maintaining regular        York University, and Rice University. The effort,
: TOM LEIGHTON                               backup files in case of theft or a crash, taking care   funded by the National Science Foundation, has
Akamai                                       of data is one of the biggest hassles facing any        no director (Balakrishnan always uses “we” and
(Cambridge, MA)                              computer user. Wouldn’t it be better to store data      “us” when describing the work). Its research
Internet content                             in the nooks and crannies of the Internet, a few        includes several distributed-storage projects,
distribution                                 keystrokes away from any computer, anywhere? A          including OceanStore, which seeks to prove the
: MICHAEL LYNCH                              budding technology known as distributed storage         basic concepts of distributed-storage networks (see
Autonomy                                     could do just that, transforming data storage for       “The Internet Reborn,” TR October 2003). Another
(Cambridge, England)                         individuals and companies by making digital files       MIT researcher, Frans Kaashoek, is developing a
Distributed corporate
databases                                    easier to maintain and access while eliminating the     prototype that automatically backs up data by rou-
                                                                                                                                                                              ASIA KEPKA




                                             threat of catastrophes that obliterate informa-         tinely taking file system “snapshots” and distrib-
                                             tion, from blackouts to hard-drive failures.            uting them around the Internet.

44    T E C H N O LO G Y R E V I E W Fe b r u a r y 2 0 0 4                                                                    w w w. t e c h n o l o g y r e v i e w. co m


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RNAi worked the first time we did the experiment. —THOMAS TUSCHL




                                                                   KoveIO Compl. Ex. 1
                      It will be at least five years before the impact   with this,” says John Rossi, a molecular geneticist
                 of IRIS becomes clear. Balakrishnan says the            at the City of Hope National Medical Center in
                 group still has to figure out how to track file         Duarte, CA, who advises Australian RNAi startup
                 updates across multiple storage sites and whether       Benitec. “If you knock out gene expression, you
                 distributed hash tables should be built into the        could have big impacts on any disease, any infec-
                 Internet foundation or incorporated into indi-          tious problem.” Pharmaceutical companies are
                 vidual applications—as well as the answers to           already using RNAi to discover drug targets, by
                 basic security questions.                               simply blocking the activity of human genes,
                      But it’s the fundamental power of the tech-        one by one, to see what happens. If, for instance,
                 nology that excites many computer scientists.           a cancer cell dies when a particular gene is shut
                 “What’s striking about it is its huge variety of        down, researchers can hunt for drugs that target
                 applications,” says Sylvia Ratnasamy, a researcher      that gene and the proteins it encodes. Screening
                 at Intel’s laboratory at Berkeley who is exploring      the whole human genome this way “is not com-
                 ways that distributed storage might change the          plicated,” Tuschl points out.                                   OTHER
                 basic operation of the Internet. “Not very many              Now drug companies, along with biotech                     LEADERS
                                                                                                                                         in RNAi Therapy
                 technologies have that broad potential.”                startups and academic researchers, are seeking
                      Stay tuned. Turning the Internet into a filing     to use RNAi to treat disease directly. In fact,                 : REUVEN AGAMI
                 cabinet may be just step one. MICHAEL FITZGERALD        Tuschl cofounded one such startup, Alnylam                      Netherlands Cancer
                                                                                                                                         Institute
                                                                         Pharmaceuticals in Cambridge, MA (see “The
                                                                                                                                         (Amsterdam, the
                                                                         RNA Cure?” TR November 2003), which hopes to                    Netherlands)
                                                                         create RNAi drugs to treat cancer, AIDS, and                    Cancer
                 THOMAS TUSCHL                                           other diseases. For example, silencing a key
                                                                                                                                         : BEVERLY DAVIDSON
                                                                         gene in the HIV virus could stop it from caus-
                 RNAi Therapy                                            ing AIDS; knocking out the mutated gene that
                                                                                                                                         University of Iowa
                                                                                                                                         (Iowa City, IA)
                 From heart disease to hepatitis, cancer to AIDS,        causes Huntington’s could halt the progression                  Huntington’s disease
                 a host of modern ailments are triggered by our          of the disease; and turning off cancer genes                    : MICHAEL GRAHAM
                 own errant genes—or by those of invading organ-         could shrink tumors. “It’s going to be a very, very             Benitec
                 isms. So if a simple technique could be found for       powerful approach,” says Rossi.                                 (Queensland, Australia)
                 turning off specific genes at will, these diseases           The interference process works by preventing               Cancer, AIDS
                 could—in theory—be arrested or cured. Bio-              the gene from being translated into the protein it              : MARK KAY
                 chemist Thomas Tuschl may have found just such          encodes. (Proteins do most of the real work of                  Stanford University
                 an off switch in humans: RNA interference               biology.) Normally, a gene is transcribed into                  (Palo Alto, CA)
                                                                                                                                         Hepatitis B and C
                 (RNAi). While working at Germany’s Max Planck           an intermediate “messenger RNA” molecule,
                 Institute for Biophysical Chemistry, Tuschl dis-        which is used as a template for assembling a                    : JUDY LIEBERMAN
                 covered that tiny double-stranded molecules of          protein. When a small interfering RNA molecule                  Harvard University
                                                                                                                                         (Cambridge, MA)
                 RNA designed to target a certain gene can, when         is introduced, it binds to the messenger, which
                                                                                                                                         AIDS, hepatitis, cancer
                 introduced into human cells, specifically block         cellular scissors then slice up and destroy.
                 that gene’s effects.                                         The biggest hurdle to transforming RNAi
                      Tuschl, now at Rockefeller University in New       from laboratory aide to medicine is delivering the
                 York City, first presented his findings at a meet-      RNA to a patient’s cells, which are harder to
                 ing in Tokyo in May 2001. His audience was              access than the individual cells used in lab experi-
                 filled with doubters who remembered other               ments. “That’s the major limitation right now,”
                 much hyped RNA techniques that ultimately               says Rossi, who nevertheless predicts that RNAi-
                 didn’t work very well. “They were very skeptical        based therapies could be on the market “within
                 and very critical,” recalls Tuschl. What the skep-      maybe three or four years.” Tuschl is more cau-
                 tics didn’t realize was that RNAi is much more          tious. He thinks the technique’s first applica-
                 potent and reliable than earlier methods. “It           tions—say, local delivery to the eye to treat a viral
                 worked the first time we did the experiment,”           infection—may indeed come that soon. But he
                 Tuschl recalls. Within a year, the doubts had           says it could take a decade or longer to develop a
                 vanished, and now the technique has universal           system that effectively delivers RNAi drugs to
                 acceptance—spawning research at every major             larger organs or the whole body.
                 drug company and university and likely putting               Tuschl’s lab is one of many now teasing out
                 Tuschl on the short list for a Nobel Prize.             the precise molecular mechanisms responsible
                      The implications of RNAi are breathtaking,         for RNA interference’s remarkable potency, hop-
                 because living organisms are largely defined by the     ing to help realize the payoffs of RNA drugs
                 exquisitely orchestrated turning on and off of          sooner rather than later. Presuming the tiny
                 genes. For example, a cut on a finger activates         RNA molecules can fulfill the promise of their
DENNIS KLEIMAN




                 blood-clotting genes, and clot formation in turn        fast start, traditional molecular biology will be
                 shuts them down. “Just about anything is possible       turned on its head. KEN GARBER

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Exhibit 2




            KoveIO Compl. Ex. 2
                                         Amazon’s Profit Swells to $1.6 Billion, Lifted by Its Cloud Business - The New York Times




Amazonʼs Proﬁt Swells to $1.6 Billion, Lifted
by Its Cloud Business
By Nick Wingﬁeld

April 26, 2018


SEATTLE — Jeff Bezos, Amazon’s founder and chief executive, long ago ﬁgured out how to keep
Amazon’s sales ﬁgures shooting skyward. Now he is doing the same with proﬁt.

The company, which once seemed to have only a passing interest in turning a proﬁt, said its net
income for the ﬁrst quarter more than doubled. Although Amazon is best known as an internet
shopping destination, its cloud computing and advertising businesses were big contributors to the
jump in proﬁt.

Mr. Bezos singled out the performance of the company’s cloud computing business — known as
Amazon Web Services, or A.W.S. — referring in a statement to a “remarkable acceleration” in
growth in the segment for a second consecutive quarter.

Amazon often boasts of its commitment to lowering prices — part of the reason its proﬁts have
been so limited until now — but on Thursday it announced a price hike for one of its most
important offerings. The company said it was raising the price of its Prime membership service
20 percent, to $119 from $99. Prime memberships include two-day shipping at no extra cost, a
video streaming service and other beneﬁts.

Amazon’s shares surged 7 percent in after-hours trading following the release of the quarterly
news.




                                                                                                              KoveIO Compl. Ex. 2
https://www.nytimes.com/2018/04/26/technology/amazon-prime-profit.html                                                               1/3
                                         Amazon’s Profit Swells to $1.6 Billion, Lifted by Its Cloud Business - The New York Times




                  The company said it would raise the price of its Prime membership service 20 percent, to $119
                  from $99. Albert Gea/Reuters



The company reported that its net income for the ﬁrst quarter, which ended March 31, was $1.63
billion, or $3.27 per share, compared with net income of $724 million, or $1.48 per share, in the
same period last year. Revenue jumped 43 percent to $51 billion, up from $35.7 billion a year
earlier.

The average estimate of ﬁnancial analysts, compiled by Thomson Reuters, was for revenue of
$49.87 billion and earnings of $1.27 a share.

“This was an unusually strong quarter for Amazon, where results came in both better for revenue
and proﬁts across the board,” said Mark Mahaney, an analyst at RBC Capital Markets.

Like Facebook, which has faced a grilling in Congress over its data protection practices, Amazon
has faced criticism in Washington. President Trump has regularly slammed the company, saying
it was killing jobs and not collecting enough taxes.

But as with Facebook’s users, Amazon’s customers have apparently not been swayed by criticism
of politicians, though many of Mr. Trump’s attacks happened after the end of the quarter.

Amazon’s revenue received a big lift from the company’s acquisition of Whole Foods Markets last
year. The company’s physical stores business, most of which is from Whole Foods, added $4.26
billion in revenue for the quarter.

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https://www.nytimes.com/2018/04/26/technology/amazon-prime-profit.html                                                               2/3
                                             Amazon’s Profit Swells to $1.6 Billion, Lifted by Its Cloud Business - The New York Times

Revenue from A.W.S., meanwhile, rose 49 percent to $5.44 billion from the same period a year
earlier.

That increase is larger that what the A.W.S. business was seeing just a few quarters ago. It is
unusual to see revenue growth increase signiﬁcantly at Amazon’s size and in a hypercompetitive
market, and it seems to have prompted Mr. Bezos to single out the business in his statement.

Mr. Mahaney, the RBC analyst, said, “That’s rare to see him say something like that.”

The increase in the cost of Prime memberships came shortly after Mr. Bezos announced, in the
company’s annual shareholder letter, that Amazon had more than 100 million Prime subscribers
globally. During the ﬁrst quarter, revenue from subscription services, including Prime, jumped 60
percent to $3.1 billion.

Amazon said the price on Prime will go up on May 11 for new members, and starting June 16 for
renewals of membership for existing members. The company said the increase, the ﬁrst for its
annual plan in four years, was the result of signiﬁcantly increased costs for the service.

Those include the billions of dollars that Amazon has poured into ﬁnancing new television shows
and movies which have been added to its video streaming service. On Thursday, it announced
with the National Football League a renewed agreement for Amazon to exclusively stream
Thursday night football games to Prime subscribers.

In a call with ﬁnancial analysts, Brian Olsavsky, Amazon’s chief ﬁnancial ofﬁcer, said that four
years ago, Prime members could receive free two-day shipping on about 20 million products from
Amazon. Now that ﬁgure is 100 million.

“There’s all kinds of new features that we’ve continually added to the Prime program,” Mr.
Olsavsky said. “It’s much different than it was in 2014.”

A version of this article appears in print on April 26, 2018, on Page B3 of the New York edition with the headline: Amazon Proﬁts Swell to $1.6 Billion With Rise of
Its Business Services




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https://www.nytimes.com/2018/04/26/technology/amazon-prime-profit.html                                                                                           3/3
Exhibit 3




            KoveIO Compl. Ex. 3
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                Stephen W. Bailey, Chicago, IL (US)
(73) Assignee: Econnectix, LLC, Chicago, IL (US)                                                      (Continued)
( *)    Notice:      Subject to any disclaimer,the term of this
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                     patent is extended or adjusted under 35
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(21) Appl. No.: 09/661,222
                                                                                                      (Continued)
(22) Filed:          Sep. 13, 2000
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(51) Int. Cl.
     G06F 15116                  (2006.01)                                                            (Continued)
(52) U.S. Cl. ......................... 709/217; 709/219; 707/10       Primary Examiner-Marc D. Thompson
(58) Field of Classification Search ............ 709/201-3,            (74) Attorney, Agent, or Firm-Brinks Hofer Gilson &
                   709/217-19,230,227,228; 707/3, 4,5,                 Liane
                                                       707/6, 10
     See application file for complete search history.                 (57)                           ABSTRACT
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Exhibit 7




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                             Amazon Web Services Launches
   SEATTLE--(BUSINESS WIRE)--March 14, 2006-- S3 Provides Application Programming Interface
   for Highly Scalable, Reliable, Low-Latency Storage at Very Low Costs
   Amazon Web Services today announced "Amazon S3(TM)," a simple storage service that offers
   software developers a highly scalable, reliable, and low-latency data storage infrastructure at very
   low costs. Amazon S3 is available today at http://aws.amazon.com/s3.
   Amazon S3 is storage for the Internet. It's designed to make web-scale computing easier for
   developers. Amazon S3 provides a simple web services interface that can be used to store and
   retrieve any amount of data, at any time, from anywhere on the web. It gives any developer
   access to the same highly scalable, reliable, fast, inexpensive data storage infrastructure that
   Amazon uses to run its own global network of web sites. The service aims to maximize benefits of
   scale and to pass those benefits on to developers.
   Amazon S3 Functionality
   Amazon S3 is intentionally built with a minimal feature set. The focus is on simplicity and
   robustness.
   • Write, read, and delete objects containing from 1 byte to 5 gigabytes of data each. The
     number of objects that can be stored is unlimited.

   • Each object is stored and retrieved via a unique developer-assigned key.

   • Objects can be made private or public, and rights can be assigned to specific users.

   • Uses standards-based REST and SOAP interfaces designed to work with any Internet-
     development toolkit.


   Amazon S3 Design Requirements
   Amazon built S3 to fulfill the following design requirements:
   • Scalable: Amazon S3 can scale in terms of storage, request rate, and users to support an
     unlimited number of web-scale applications. It uses scale as an advantage: adding nodes to
     the system increases, not decreases, its availability, speed, throughput, capacity, and
     robustness.



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   • Reliable: Store data durably, with 99.99% availability. There can be no single points of failure.
     All failures must be tolerated or repaired by the system without any downtime.

   • Fast: Amazon S3 must be fast enough to support high-performance applications. Server-side
     latency must be insignificant relative to Internet latency. Any performance bottlenecks can be
     fixed by simply adding nodes to the system.

   • Inexpensive: Amazon S3 is built from inexpensive commodity hardware components. As a
     result, frequent node failure is the norm and must not affect the overall system. It must be
     hardware-agnostic, so that savings can be captured as Amazon continues to drive down
     infrastructure costs.

   • Simple: Building highly scalable, reliable, fast, and inexpensive storage is difficult. Doing so in a
     way that makes it easy to use for any application anywhere is more difficult. Amazon S3 must
     do both.


   A forcing function for the design was that a single Amazon S3 distributed system must support
   the needs of both internal Amazon applications and external developers of any application. This
   means that it must be fast and reliable enough to run Amazon.com's web sites, while flexible
   enough that any developer can use it for any data storage need.
   Amazon S3 Design Principles
   Amazon used the following principles of distributed system design to meet Amazon S3
   requirements:
   • Decentralization: Use fully decentralized techniques to remove scaling bottlenecks and single
     points of failure.

   • Asynchrony: The system makes progress under all circumstances.

   • Autonomy: The system is designed such that individual components can make decisions
     based on local information.

   • Local responsibility: Each individual component is responsible for achieving its consistency;
     this is never the burden of its peers.

   • Controlled concurrency: Operations are designed such that no or limited concurrency control
     is required.

   • Failure tolerant: The system considers the failure of components to be a normal mode of
     operation and continues operation with no or minimal interruption.




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   • Controlled parallelism: Abstractions used in the system are of such granularity that parallelism
     can be used to improve performance and robustness of recovery or the introduction of new
     nodes.

   • Decompose into small, well-understood building blocks: Do not try to provide a single service
     that does everything for everyone, but instead build small components that can be used as
     building blocks for other services.

   • Symmetry: Nodes in the system are identical in terms of functionality, and require no or
     minimal node-specific configuration to function.

   • Simplicity: The system should be made as simple as possible, but no simpler.



   "Amazon S3 is based on the idea that quality Internet-based storage should be taken for
   granted," said Andy Jassy, vice president of Amazon Web Services. "It helps free developers
   from worrying about where they are going to store data, whether it will be safe and secure, if it will
   be available when they need it, the costs associated with server maintenance, or whether they
   have enough storage available. Amazon S3 enables developers to focus on innovating with data,
   rather than figuring out how to store it."
   S3 lets developers pay only for what they consume and there is no minimum fee. Developers pay
   just $0.15 per gigabyte of storage per month and $0.20 per gigabyte of data transferred.
   Early S3 Applications
   University of California Berkeley "Stardust@Home" Team: The science team at the University of
   California Berkeley responsible for NASA's "Stardust@Home" project
   (http://stardustathome.ssl.berkeley.edu/) is using Amazon S3 to store and deliver the 60 million
   images that represent the data collected from their dust particle aerogel experiment. These
   images will be delivered to 100,000 volunteers around the world who scan the images looking for
   dust particles from comet Wild2.
   "We quickly ran into challenges when we started the project using our own infrastructure," said
   Andrew Westphal, project director of Stardust@Home. "Using Amazon S3 has allowed us to
   proceed without having to worry about building out the massive storage infrastructure we realized
   that we needed to successfully complete the project. The fact that Amazon S3 is an Internet-
   connected storage service is particularly useful to us as we expect the data examination phase of
   the project to take only a few months. We can quickly ramp up and back down again without a
   huge investment."
   CastingWords: Podcast transcription service provider CastingWords is already using Amazon S3.
   CastingWords transcribes audio files into high-quality text at a rate of $0.42 per minute of audio.
   Another Amazon Web Services solution, Amazon Mechanical Turk
   (http://aws.amazon.com/mturk), lets CastingWords access a network of humans to transcribe
   the podcasts inexpensively, quickly, and with high quality. CastingWords uses Amazon S3 to
   store and retrieve the original audio files and the transcribed texts.



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   "Amazon S3 provides CastingWords with easy-to-use, reliable storage that allows us to
   concentrate on building our business and not worry about storage solutions. Its reliability and
   Internet accessibility mean that it's always there when and where we need it," said CastingWords
   founder Nathan McFarland. "It is simple to use and it works so well that it eliminated one of the
   many things we have to think about, which is huge when starting a small business."
   FilmmakerLIVE.com: Developer of storyboarding software for the motion picture industry,
   FilmmakerLIVE.com is using Amazon S3 to store and share digital storyboard elements with its
   customers around the world. After only a few weeks of using Amazon S3, the company realized it
   could also help other filmmakers and entrepreneurs take advantage of Amazon's economies of
   scale that Amazon S3 offers. FilmmakerLIVE.com's development manager Don Alvarez is
   currently building this new service, which he expects to announce this summer.
   "Building a data center that meets the needs of online filmmakers is serious business when you
   consider the redundant hardware, racks of hard drives, filtered power lines, 24x7 monitoring, and
   all the other necessary components," said Alvarez. "With Amazon S3, we have instant access to
   a virtual data center that was far beyond anything we could have hoped to build ourselves. The
   biggest benefit for us is that Amazon S3 lets us concentrate our resources on what we do best,
   building tools for filmmakers."
   About Amazon Web Services
   Launched in July 2002, the Amazon Web Services platform exposes technology and product
   data from Amazon and its affiliates, enabling developers to build innovative and entrepreneurial
   applications on their own. More than 150,000 developers have signed up to use Amazon Web
   Services since its inception. Applications built using Amazon Web Services range from podcast
   transcription services and marketplaces for web site advertising space to enhanced sites that
   advertise Amazon products from Amazon sites and integrated solutions for retailers selling
   merchandise on Amazon sites. Developers make money by selling the applications they build,
   charging for the services they offer, or generating referral fees from the Associates sites they
   build. Amazon Web Services is a division of Amazon Digital Services, Inc.
   About Amazon.com, Inc.
   Amazon.com, Inc., (Nasdaq:AMZN), a Fortune 500 company based in Seattle, opened on the
   World Wide Web in July 1995 and today offers Earth's Biggest Selection. Amazon.com seeks to
   be Earth's most customer-centric company, where customers can find and discover anything
   they might want to buy online, and endeavors to offer its customers the lowest possible prices.
   Amazon.com and other sellers offer millions of unique new, refurbished and used items in
   categories such as health and personal care, jewelry and watches, gourmet food, sports and
   outdoors, apparel and accessories, books, music, DVDs, electronics and office, toys and baby,
   and home and garden.
   Amazon and its affiliates operate websites, including www.amazon.com, www.amazon.co.uk,
   www.amazon.de, www.amazon.co.jp, www.amazon.fr, www.amazon.ca, and www.joyo.com.
   As used herein, "Amazon.com," "we," "our" and similar terms include Amazon.com, Inc., and its
   subsidiaries, unless the context indicates otherwise.
   Forward-Looking Statement


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   This announcement contains forward-looking statements within the meaning of Section 27A of
   the Securities Act of 1933 and Section 21E of the Securities Exchange Act of 1934. Actual results
   may differ significantly from management's expectations. These forward-looking statements
   involve risks and uncertainties that include, among others, risks related to competition,
   management of growth, potential fluctuations in operating results, international expansion,
   outcomes of legal proceedings and claims, fulfillment center optimization, seasonality,
   commercial agreements, acquisitions and strategic transactions, foreign exchange rates, system
   interruption, significant amount of indebtedness, inventory, limited operating history, government
   regulation and taxation, payments, fraud, consumer trends, and new business areas. More
   information about factors that potentially could affect Amazon.com's financial results is included
   in Amazon.com's filings with the Securities and Exchange Commission, including its Annual
   Report on Form 10-K for the year ended December 31, 2005, and all subsequent filings.
   CONTACT:
   Amazon Media Hotline, 206-266-7180
   SOURCE:
   Amazon.com, Inc.




                 Press Releases                                   Images & Videos



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Exhibit 10




             KoveIO Compl. Ex. 10
Amazon Web Services: the secret to the online retailer's
future success
AWS was launched as little more than a way to buy space and time on Amazon’s computers. Now
it powers Netﬂix, Airbnb and the Ministry of Justice
Alex Hern
Thu 2 Feb 2017 02.00 EST




A
              mazon is big. In its last ﬁnancial quarter, it sold $32bn (£25.6bn) worth of stuﬀ
              worldwide, including $6bn of media, $10bn of sales outside North America, and $23bn
              of electronics “and other general merchandise”. That “other” category encompasses
              everything from cruciﬁxes to sex toys, board games to plyboard, and mousemats
              printed with the faces of obscure TV and Radio personalities.

It has also diversiﬁed beyond its simple shopping business: the company will sell you something
to be delivered in less than one hour, food from restaurants, and even digital content to be
watched on your TV or listened to on your phone. And, of course, it has a hardware business
which many other companies would kill for, producing ebook readers and tablets, and single-
handedly creating the product category of “smart speaker” with the Echo.


                                                                      KoveIO Compl. Ex. 10
Amazon Echo voice-controlled speakers, which went on sale in the
UK last September. Photograph: Mikael Buck/Rex/Shutterstock

But there’s another chunk of Amazon that you’re less likely to know about. It’s responsible for a
full tenth of the company’s revenues, yet its “operating income” – the amount of money it leaves
in Amazon’s coﬀers once expenses are accounted for – dwarfs any other sector, pulling in $861m
compared to the $255m Amazon makes in North American sales and the $541m it loses
internationally.

The division is Amazon Web Services, or AWS, the section of the company that sells cloud
computing services to both the outside world and to Amazon itself. You can buy storage space to
hold a huge database, bandwidth to host a website, or processing power to run complex software
remotely. It lets companies and individuals avoid the hassle of buying and running their own
hardware, while also letting them pay for only what they actually use.

It began as almost a point of principle for Amazon founder, Jeﬀ Bezos, before evolving to become
the single most proﬁtable part of the entire company. Now, AWS is moving into the third stage of
its life, providing the underpinning for Amazon’s own quest to dominate not just our shopping,
but our homes themselves.

What actually is AWS?
The sort of people who use AWS are almost as varied as the people who shop at Amazon. I
employed it when I decided to train a neural network to write Guardian leaders: work that would
have taken around 50 hours on my laptop took eight when I employed Amazon’s specialised
hardware to do the job, and cost around £4.

At the other end of the scale, Netﬂix uses AWS for almost all its backend infrastructure, storing
and streaming its web series from the same servers as its direct competitor, Amazon Instant Video
– servers which Amazon owns. More than 35% of all network traﬃc in North America is Netﬂix,
and all of that ultimately comes from Amazon’s servers.




                                                                     KoveIO Compl. Ex. 10
More than 35% of all network traﬃc in North America is Netﬂix,
Amazon Instant Video’s biggest rival. Photograph: Mike
Blake/Reuters

Its customer list is huge running from Adobe and Airbnb to Yelp and Zapproved, via the UK
Ministry of Justice and Nasa’s Jet Propulsion Laboratory. But at the beginning, it had just one
customer: Amazon.

Before it was Amazon Web Services, it was just Amazon’s backend technology. Like any large
dotcom in the early 00s, Amazon ran its own datacentre, spending millions on servers and
software. One SEC ﬁling from May 2001 put its quarterly technology bill at $55m, apparently
reduced from $70m through the switch to the open-source operating system Linux. (Linux is still
used in Amazon’s servers today, though the scale is somewhat larger: in fact, Amazon actually
develops its own version of the operating system, which it oﬀers to AWS customers.)

Then, one day, Bezos issued a mandate. Writing almost a decade later, long-term Amazon
employee Steve Yegge remembered it as the archetypal example of Bezos’ micromanagement.
This is a chief executive who, Yegge said, “hands out little yellow stickies with his name on them,
reminding people ‘who runs the company’ when they disagree with him”; mandates from on high
are standard when you work under Bezos.

But this one was diﬀerent. Every team at Amazon, Bezos said, should begin working with each
other in standard, systematic ways, and only those ways. If the ads team needed sales ﬁgures
from the analytics, they weren’t allowed to ask for them, or send an email over; instead, the
analytics team had to build an interface for pulling the sales ﬁgures out, share it with the whole
company and teach the ads team how to use it. And those interfaces weren’t allowed to be
simplistic things built for internal use only; they had to withstand being opened up to developers
outside Amazon, too.

In eﬀect, Bezos was asking Amazon to stop behaving like one singular company, and start
behaving like hundreds of mini companies all bound together through one shared CEO. That
command was the beginning of Amazon Web Services, which launched in July 2002.

Yegge, who left for Google in 2005, wrote that “from the time Bezos issued his edict through the
time I left, Amazon had transformed culturally into a company that thinks about everything in a
services-ﬁrst fashion.”




                                                                       KoveIO Compl. Ex. 10
Amazon ﬁrst opened its internal services up to the outside world in
2000, when it launched eBay rival Marketplace. Photograph:
Emmanuel Dunand/AFP/Getty

The roots of this transformation were there for everyone to see. The ﬁrst example of Amazon
opening its internal services up to the outside world came in 2000, when the company launched
Marketplace, its platform for external retailers to sell their goods through the Amazon website. A
bold move, it demonstrated the scope of Amazon’s ambitions – directly competing with another
dotcom giant, eBay, even while it was still focusing on matching wits with the old masters of brick
and mortar retail. But it also showed the company was already keenly aware about which parts of
its business were tightly guarded unique selling points, and which could be opened up to the rest
of the world. Amazon wanted to make money selling you everything it could, and make money
selling you everything it couldn’t, too.

Some spotted this transformation as it happened, but drew the wrong conclusions. In 2001,
venture capitalist Steve Jurvetson argued that Amazon should spin its logistics operation oﬀ from
its web storefront, letting other companies outsource their warehousing and dispatching to the
new ﬁrm while Amazon focused on its website business. Instead, Amazon kept its logistics ﬁrmly
in-house, relentlessly improving eﬃciencies, until 2006, when it opened that up too. Through
Fulﬁlment by Amazon, companies can now outsource their warehousing and dispatching to
Amazon even while Amazon itself continues to own those warehouses.

In 2006, the fruits of that externalisation came to bear when Amazon launched AWS to the outside
world.

And it grew
When it launched, AWS was little more than a fancy way to buy space and time on Amazon’s
computers. It had spent years in private beta, gradually allowing more and more customers to
take advantage of the service-led structure that Amazon had invented for itself, and eventually
coalesced into four services: storage, computing, database and internal messaging.

The ﬁrst two, sold as Amazon S3 (for “Simple Storage Service”) and EC2 (for “Elastic Computing
Cloud”), still provide the bulk of Amazon’s oﬀering to customers now. Storage plus computing is
the basis of almost everything you would want to do on the internet, from simple stuﬀ like
hosting webpages and delivering media to hideously complicated work like training a neural
network, crunching regressions on big datasets, or just running a company like Airbnb or
Pinboard.




                                                                      KoveIO Compl. Ex. 10
But before AWS, if you wanted to get storage and computing power on the net, you had to hire
server time to do it. That meant tracking down a server provider, picking the type of machine you
wanted, and paying every month for your stuﬀ to carry on sitting on that machine (usually paying
on top for any bandwidth you used to actually get data from the server to your customers).

That leads to a host of predictable problems. If too many people visited your site all at once, it
would crash under the load; but if you bought, or leased, a server big enough to handle them all,
you’d be paying through the nose for power you weren’t using.

While useful on a day to day basis, that ﬂexibility takes on a whole new meaning when viewed
over the course of a company’s life. Scaling up is traditionally one of the hardest things for any
startup to do: systems, procedures and products that work for a few users often fail when a
company has a few million.

One of the most notorious examples in recent years is Twitter, which found out early in its life
that the old-fashioned, server-focused way it was built was simply not compatible with it
becoming a worldwide media platform. The ﬁrst obvious crunch point was the 2010 World Cup,
when Twitter would regularly get overloaded and crash to its error page, featuring the notorious
“fail whale”. Initially, Twitter tried to “throw machines at the problem”, simply buying more and
more servers, but eventually it realised it needed a more complex, ground-up redesign of its entire
back-end.

The year after Twitter was founded, another service decided to launch without buying into the
old-fashioned model. Dropbox, launched in 2007, probably couldn’t have existed without the
existence of Amazon’s storage-for-rent. The company ran its own servers for the nitty gritty of the
service, storing metadata about whose ﬁles were where in-house, but the actual ﬁles themselves –
the gigabytes of free space every new user is given, and the terabytes of space paid users could
consume – were hosted on S3.




Tinder uses AWS, although a 2015 east-coast outage aﬀected the
dating service for hours, along with Netﬂix and a host of Amazon’s
own services. Photograph: Leon Neal/Getty

You’ll have heard the name for the new system pioneered by the likes of Dropbox: cloud
computing. Amazon’s cloud was one of the ﬁrst, and is the biggest in the world today, but it’s still
far outweighed by all the companies determined to host their own data. Speaking to the Guardian,
Gavin Jackson, the head of AWS for the UK and Ireland, described that “inertia” from traditional
IT as the company’s biggest competitor. Admins are still reluctant to host their company’s crown
jewels on servers they don’t control.


                                                                        KoveIO Compl. Ex. 10
Cloud on the horizon
But enough companies have made the switch that there’s a new problem on the horizon:
concentration. Way back in the late 1960s, Arpanet, the predecessor to the internet, was built with
a decentralised model: no one server, university or military establishment could take down the
network if it was removed. That meant the project, funded by the US department of defence,
could theoretically route around damage, making it robust against attack.

More than 50 years on, and the internet has changed beyond all recognition. The physical
infrastructure routes through a few chokepoints: submarine and underground cables can be cut,
knocking internet access oﬄine for whole countries at a time; major internet service providers are
consolidating, allowing action by just a few companies to censor the internet for millions; and a
few major providers acting as the phonebook for the internet are another bottleneck, and if they
can be forced oﬄine, the entire eastern seaboard can suﬀer.

Amazon Web Services is reaching the size where it might need to be added to that list. A 2015
outage on the company’s eastcoast datacentre, for instance, caused connection issues for Netﬂix
and Tinder for hours, as well as several of Amazon’s own services.

Amazon’s Jackson argues that it’s wrong to view AWS as anywhere near a single point of failure for
the net. “We’re still day one,” he says, pointing to the fact that AWS’s annual run rate – the amount
of cash it pulls in each year – is around $10bn. That’s high, but the annual run-rate of the wider
internet services market is $3trn. Amazon is a big ﬁsh, but swimming in an enormous ocean.

More to the point, he argues, Amazon’s customers choose to use them, unlike most internet
chokepoints, which are forced through the basic facts of internet infrastructure. If Amazon’s
concentration ever becomes a problem, they’re free to up stakes and move over to another cloud
provider such as Microsoft or Google, or go back to the good old-fashioned days of self-hosting.

The future: Alexa
One customer, of course, will likely never leave: Amazon itself. Internally, AWS insists it doesn’t
see Amazon as anything other than a large customer. “A very demanding large customer,” Jackson
says with a smile, “and a very vocal one.” There’s obvious business reasons for doing so, since
some of AWS’s largest customers are direct competitors of the greater Amazon business; Jackson
cited Dropbox, Tesco and Netﬂix as clients that “vote with their wallets” in sticking around (since
we spoke, however, Dropbox changed its vote, migrating away from the Amazon cloud).

Even if Amazon is just another AWS customer, AWS isn’t merely a backend for Amazon anymore.
The cloud provider has gone through several distinct phases in its history, from wildly ambitious
project, to future-proofed data centre, to reliably proﬁtable side-bet. But now it’s moving into a
new stage, one which takes it back to the core of Amazon’s business.

Amazon’s hardware division, which dates back to the launch of the ﬁrst Kindle in 2007, has traced
a similar path to AWS, from weird and ambitious to core project.

First, Amazon’s Kindle e-readers grew from an expensive distraction to the dominant platform of
a multi-billion pound industry; then they expanded into general-purpose tablet computing, and
multi-platform media streaming. It slowly began to eye the sort of platform dominance that had
made Apple the biggest company in the world.




                                                                       KoveIO Compl. Ex. 10
But the expensive failure of the Fire Phone, Amazon’s attempt to take on Apple head ﬁrst,
prompted a change in strategy: a slim black cylinder called the Echo. Two years on, the Echo has
competition from Google, in the form of the Google Home. But it remains the dominant “smart
speaker” on the market, letting users interact with the device by speaking with “Alexa”, Amazon’s
virtual assistant.




Amazon CEO Jeﬀ Bezos, at the launch of the Fire Phone, the
company’s failed attempt to take on Apple in the smartphone
market. Photograph: Ted S. Warren/AP

In a way, the device is just an evolutionary step from phone-based assistants like Siri and Google
Now. But it also moves those assistants on by opening up the platform to external developers:
anyone can write their own Alexa “skill”, from useful mini-apps like MyChef and Philips Hue’s
smart-home hub to utterly useless ones like Egg Facts (“Stay up to date on the latest egg-related
trivia with egg facts”).

There are over 7,000 skills on the market now, with more coming every day. And what’s the
easiest way to make an Alexa skill? Hosting it in AWS. If you have a small enough userbase,
Amazon won’t even charge you for the pleasure, letting budding voice-app developers start small
and work their way up, risk-free.

The value of Amazon’s decade of experience shouldn’t be discounted, either. Internet services are
notoriously hard to pull oﬀ at scale: one look at Apple’s continuing struggles to eﬀectively take on
Google with its iCloud software suite should be enough to convince on that count. The Echo has
the beneﬁt of piggybacking on a much more stable, mature and stress-tested platform than it
would have if Amazon had to build its services from the ground up to support cloud-hosted
speech-based apps.

For a sense of the scale of Amazon’s ambitions for Alexa and the Echo, analyst Ben Thompson
suggests it’s worth thinking of the speech service as “Amazon’s operating system”. An operating
system is the piece of software that sits between complicated hardware and the user, allowing for
standardisation for both software developers and the user interface itself. In that way, it’s almost
better to think of Alexa as AWS’s operating system: the ﬁrst thing from Amazon that opens up the
power of its cloud service to end users the world over.

Amazon has a tough ﬁght on its hands. Google has been in the web services game much longer,
and has much more experience creating – and monetising – consumer software. The battle for the
living room feels a lot like the battle for our pockets was a decade ago: there may just be room for
two companies, but no more.


                                                                       KoveIO Compl. Ex. 10
But Amazon didn’t come out of nowhere. There’s a reason Alexa was so good, so quickly, and that
reason is more than a decade’s experience working in the cloud. Amazon’s latest big bet has
already paid oﬀ, and now it’s enabling the company’s next big one.

Global reach
23m: Items ordered from Amazon’s sellers on 28 November 2016 – Cyber Monday – up 40% on a
year earlier.

43%: Amazon’s share of total US online sales, based on research by Slice Intelligence.

64m: Number of customers signed up for the video-streaming service Prime, according to the
consultancy cg42.

5th: Ranking of Amazon’s founder, Jeﬀ Bezos, in the league table of the world’s richest people.

1.3m: Estimated number of servers that comprise AWS, the enormously proﬁtable cloud
computing arm, according to analysts at Oppenheimer.
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                                                                                                KoveIO Compl. Ex. 10
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What Is Amazon DynamoDB?

   Welcome to the Amazon DynamoDB Developer Guide.

   Amazon DynamoDB is a fully managed NoSQL database service that provides fast and predictable
   performance with seamless scalability. DynamoDB lets you offload the administrative burdens of operating
   and scaling a distributed database, so that you don't have to worry about hardware provisioning, setup and
   configuration, replication, software patching, or cluster scaling.

   With DynamoDB, you can create database tables that can store and retrieve any amount of data, and
   serve any level of request traffic. You can scale up or scale down your tables' throughput capacity without
   downtime or performance degradation, and use the AWS Management Console to monitor resource
   utilization and performance metrics.

   DynamoDB allows you to delete expired items from tables automatically to help you reduce storage usage
   and the cost of storing data that is no longer relevant. For more information, see Time To Live (p. 222).

   DynamoDB automatically spreads the data and traffic for your tables over a sufficient number of servers to
   handle your throughput and storage requirements, while maintaining consistent and fast performance. All
   of your data is stored on solid state disks (SSDs) and automatically replicated across multiple Availability
   Zones in an AWS region, providing built-in high availability and data durability.

   We recommend that you begin by reading the following sections:

   • Amazon DynamoDB: How It Works (p. 2)—To learn essential DynamoDB concepts.
   • Setting Up DynamoDB (p. 41)—To learn how to setup DynamoDB (Downloadable Version or Web
     Service).
   • Accessing DynamoDB (p. 47)—To learn how to access DynamoDB using the console, CLI, or API.


   To learn more about application development see the following:

   • Programming with DynamoDB and the AWS SDKs (p. 58)
   • Working with DynamoDB (p. 168)
         Note
         You can also review the Amazon DynamoDB Getting Started Guide for language-specific
         tutorials with sample code. AWS SDKs are available for a wide variety of languages. For a
         complete list, see Tools for Amazon Web Services.


   To quickly find recommendations for maximizing performance and minimizing throughput costs see
   Best Practices for DynamoDB (p. 509). To learn how to tag DynamoDB resources see Tagging for
   DynamoDB (p. 173).

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    For more best practices, how-to guides and tools, be sure to check the DynamoDB Developer Resources
    page: http://aws.amazon.com/dynamodb/developer-resources/.

    Finally, if you want to identify and migrate Relational Database Management Systems (RDBMS) databases
    to DynamoDB, see Best Practices for Migrating from RDBMS to Amazon DynamoDB.



Amazon DynamoDB: How It Works
    The following sections provide an overview of Amazon DynamoDB service components and how they
    interact.

    After you read this introduction, try working through the Creating Tables and Loading Sample
    Data (p. 158) section, which walks you through the process of creating sample tables, uploading data,
    and performing some basic database operations.

    You can also review the Amazon DynamoDB Getting Started Guide for language-specific tutorials with
    sample code.

    Topics
     • DynamoDB Core Components (p. 2)
     • The DynamoDB API (p. 8)
     • Naming Rules and Data Types (p. 10)
     • Read Consistency (p. 15)
     • Provisioned Throughput (p. 15)
     • Partitions and Data Distribution (p. 18)



    DynamoDB Core Components
    In DynamoDB, tables, items, and attributes are the core components that you work with. A table is a
    collection of items, and each item is a collection of attributes. DynamoDB uses primary keys to uniquely
    identify each item in a table and secondary indexes to provide more querying flexibility. You can use
    DynamoDB Streams to capture data modification events in DynamoDB tables.

    There are limits in DynamoDB. For more information, see Limits in DynamoDB (p. 502).

    Topics
     • Tables, Items, and Attributes (p. 2)
     • Primary Key (p. 5)
     • Secondary Indexes (p. 5)
     • DynamoDB Streams (p. 7)


    Tables, Items, and Attributes
    The basic DynamoDB components are:

    • Tables – Similar to other database systems, DynamoDB stores data in tables. A table is a collection of
      data. For example, see the example table called People (shown following) that you could use to store
      personal contact information.
    • Items – Each table contains multiple items. An item is a group of attributes that is uniquely identifiable
      among all of the other items. Items in DynamoDB are similar in many ways to rows, records, or tuples in
      other database systems. In the example People table, each item represents a person.

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• Attributes – Each item is composed of one or more attributes. An attribute is a fundamental data
  element, something that does not need to be broken down any further. Attributes in DynamoDB are
  similar in many ways to fields or columns in other database systems. For example, an item in the
  example People table contains attributes called PersonID, LastName, FirstName, and so on.


The following diagram shows a table named People with some example items and attributes.




Note the following about the People table:

• Each item in the table has a unique identifier, or primary key that distinguishes the item from all of the
  others in the table. In the People table, the primary key consists of one attribute (PersonID).
• Other than the primary key, the People table is schemaless, which means that neither the attributes nor
  their data types need to be defined beforehand. Each item can have its own distinct attributes.
• Most of the attributes are scalar, which means that they can have only one value. Strings and numbers
  are common examples of scalars.
• Some of the items have a nested attribute (Address). DynamoDB supports nested attributes up to 32
  levels deep.


The following is another example table named Music that you could use to keep track of your music
collection.




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Note the following about the Music table:

• The primary key for Music consists of two attributes (Artist and SongTitle). Each item in the table must
  have these two attributes. The combination of Artist and SongTitle distinguishes each item in the table
  from all of the others.
• Other than the primary key, the Music table is schemaless, which means that neither the attributes nor
  their data types need to be defined beforehand. Each item can have its own distinct attributes.
• One of the items has a nested attribute (PromotionInfo), which contains other nested attributes.
  DynamoDB supports nested attributes up to 32 levels deep.


For more information, see Working with Tables in DynamoDB (p. 168).

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Primary Key
When you create a table, in addition to the table name, you must specify the primary key of the table. The
primary key uniquely identifies each item in the table, so that no two items can have the same key.

DynamoDB supports two different kinds of primary keys:

• Partition key – A simple primary key, composed of one attribute known as the partition key.

  DynamoDB uses the partition key's value as input to an internal hash function. The output from the hash
  function determines the partition (physical storage internal to DynamoDB) in which the item will be stored.

  In a table that has only a partition key, no two items can have the same partition key value.

  The People table described in Tables, Items, and Attributes (p. 2) is an example of a table with a
  simple primary key (PersonID). You can access any item in the People table immediately by providing
  the PersonId value for that item.
• Partition key and sort key – Referred to as a composite primary key, this type of key is composed of
  two attributes. The first attribute is the partition key, and the second attribute is the sort key.

  DynamoDB uses the partition key value as input to an internal hash function. The output from the hash
  function determines the partition (physical storage internal to DynamoDB) in which the item will be stored.
  All items with the same partition key are stored together, in sorted order by sort key value.

  In a table that has a partition key and a sort key, it is possible for two items to have the same partition key
  value—however, those two items must have different sort key values.

  The Music table described in Tables, Items, and Attributes (p. 2) is an example of a table with
  a composite primary key (Artist and SongTitle). You can access any item in the Music table
  immediately, if you provide the Artist and SongTitle values for that item.

  A composite primary key gives you additional flexibility when querying data. For example, if you provide
  only the value for Artist, DynamoDB would retrieve all of the songs by that artist. You could even
  provide a value for Artist and a range of SongTitle values, to retrieve only a subset of songs by a
  particular artist.


    Note
    The partition key of an item is also known as its hash attribute. The term hash attribute derives
    from DynamoDB's usage of an internal hash function to evenly distribute data items across
    partitions, based on their partition key values.
    The sort key of an item is also known as its range attribute. The term range attribute derives from
    the way DynamoDB stores items with the same partition key physically close together, in sorted
    order by the sort key value.

Each primary key attribute must be a scalar (meaning that it can only hold a single value). The only data
types allowed for primary key attributes are string, number, or binary. There are no such restrictions for
other, non-key attributes.

Secondary Indexes
You can create one or more secondary indexes on a table. A secondary index lets you query the data in
the table using an alternate key, in addition to queries against the primary key. DynamoDB does not require
that you use indexes, but they give your applications more flexibility when it comes to querying your data.

DynamoDB supports two kinds of indexes:

• Global secondary index – an index with a partition key and sort key that can be different from those on
  the table.


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• Local secondary index – an index that has the same partition key as the table, but a different sort key.


You can define up to 5 global secondary indexes and 5 local secondary indexes per table.

In the example Music table shown previously, you can query data items by Artist (partition key) or by
Artist and SongTitle (partition key and sort key). What if you also wanted to query the data by Genre and
AlbumTitle? To do this, you could create an index on these attributes, and then you could query the index
in much the same way as you'd query the Music table.

The following diagram shows the example Music table, with a new index called GenreAlbumTitle.




Note the following about the GenreAlbumTitle index:


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• Every index belongs to a table, which is called the base table for the index. In the preceding example,
  Music is the base table for the GenreAlbumTitle index.
• DynamoDB maintains indexes automatically. When you add, update, or delete an item in the base table,
  DynamoDB adds, updates, or deletes the corresponding item in any indexes that belong to that table.
• When you create an index, you specify which attributes will be copied, or projected, from the base table
  to the index. At a minimum, DynamoDB will project the key attributes from the base table into the index.
  This is the case with GenreAlbumTitle, where only the key attributes from the Music table are projected
  into the index.


You can query the GenreAlbumTitle index to find all of the albums of a particular genre (for example, all of
the Rock albums). You can also query the index to find all of the albums within a particular genre, but only
for those with certain album titles (for example, all of the Country albums with titles that start with the letter
H).

For more information, see Improving Data Access with Secondary Indexes (p. 305).

DynamoDB Streams
DynamoDB Streams is an optional feature that captures data modification events in DynamoDB tables. The
data about these events appear in the stream in near real time, and in the order that the events occurred.

Each event is represented by a stream record. If you enable a stream on a table, DynamoDB Streams will
write a stream record whenever one of the following events occurs:

• If a new item is added to the table, the stream captures an image of the entire item, including all of its
  attributes.
• If an item is updated, the stream captures the "before" and "after" image of any attributes that were
  modified in the item.
• If an item is deleted from the table, the stream captures an image of the entire item before it was deleted.


Each stream record also contains the name of the table, the event timestamp, and other metadata. Stream
records have a lifetime of 24 hours; after that, they are automatically removed from the stream.

You can use DynamoDB Streams together with AWS Lambda to create a trigger—code that executes
automatically whenever an event of interest appears in a stream. For example, consider a Customers
table that contains customer information for a company. Suppose you want to send an email to each new
customer, to welcome them. You could enable a stream on that table, and then associate the stream with
a Lambda function. The Lambda function would execute whenever a new stream record appears, but
only process new items added to the Customers table. For any item that has an EmailAddress attribute,
the Lambda function would invoke Amazon Simple Email Service (Amazon SES) to send an email to that
address.

The following diagram illustrates this scenario.




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    Note
    In this example, note that the last customer, Craig Roe, will not receive an email because he does
    not have an EmailAddress.

In addition to triggers, DynamoDB Streams enables powerful solutions such as data replication within and
across AWS regions, materialized views of data in DynamoDB tables, data analysis using Amazon Kinesis
materialized views, and much more.

For more information, see Capturing Table Activity with DynamoDB Streams (p. 377).

The DynamoDB API
To work with DynamoDB, your application will need to use a few simple API operations. The following is a
summary of these operations, organized by category.

Topics
 • Control Plane (p. 8)
 • Data Plane (p. 9)
 • DynamoDB Streams (p. 10)


Control Plane
Control plane operations let you create and manage DynamoDB tables. They also let you work with
indexes, streams, and other objects that are dependent on tables.

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• CreateTable – Creates a new table. Optionally, you can create one or more secondary indexes, and
  enable DynamoDB Streams for the table.
• DescribeTable– Returns information about a table, such as its primary key schema, throughput settings,
  index information, and so on.
• ListTables – Returns the names of all of your tables in a list.
• UpdateTable – Modifies the settings of a table or its indexes, creates or remove new indexes on a table,
  or modifies DynamoDB Streams settings for a table.
• DeleteTable – Removes a table and all of its dependent objects from DynamoDB.


Data Plane
Data plane operations let you perform create, read, update, and delete (also called CRUD) actions on data
in a table. Some of the data plane operations also let you read data from a secondary index.

Creating Data
• PutItem – Writes a single item to a table. You must specify the primary key attributes, but you don't have
  to specify other attributes.
• BatchWriteItem – Writes up to 25 items to a table. This is more efficient than calling PutItem multiple
  times because your application only needs a single network round trip to write the items. Note that you
  can also use BatchWriteItem for deleting multiple items from one or more tables.


Reading Data
• GetItem – Retrieves a single item from a table. You must specify the primary key for the item that you
  want. You can retrieve the entire item, or just a subset of its attributes.
• BatchGetItem – Retrieves up to 100 items from one or more tables. This is more efficient than calling
  GetItem multiple times because your application only needs a single network round trip to read the items.
• Query – Retrieves all of the items that have a specific partition key. You must specify the partition key
  value. You can retrieve entire items, or just a subset of their attributes. Optionally, you can apply a
  condition to the sort key values, so that you only retrieve a subset of the data that has the same partition
  key. You can use this operation on a table, provided that the table has both a partition key and a sort key.
  You can also use this operation on an index, provided that the index has both a partition key and a sort
  key.
• Scan – Retrieves all of the items in the specified table or index. You can retrieve entire items, or just a
  subset of their attributes. Optionally, you can apply a filtering condition to return only the values that you
  are interested in and discard the rest.


Updating Data
• UpdateItem – Modifies one or more attributes in an item. You must specify the primary key for the item
  that you want to modify. You can add new attributes, as well as modify or remove existing attributes. You
  can also perform conditional updates, so that the update is only successful when a user-defined condition
  is met. Optionally, you can implement an atomic counter, which increments or decrements a numeric
  attribute without interfering with other write requests.


Deleting Data
• DeleteItem – Deletes a single item from a table. You must specify the primary key for the item that you
  want to delete.

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• BatchWriteItem – Deletes up to 25 items from one or more tables. This is more efficient than calling
  DeleteItem multiple times because your application only needs a single network round trip to delete the
  items. Note that you can also use BatchWriteItem for adding multiple items to one or more tables.


DynamoDB Streams
DynamoDB Streams operations let you enable or disable a stream on a table, and allow access to the data
modification records contained in a stream.

• ListStreams – Returns a list of all your streams, or just the stream for a specific table.
• DescribeStream – Returns information about a stream, such as its Amazon Resource Name (ARN) and
  where your application can begin reading the first few stream records.
• GetShardIterator – Returns a shard iterator, which is a data structure that your application uses to
  retrieve the records from the stream.
• GetRecords – Retrieves one or more stream records, using a given shard iterator.



Naming Rules and Data Types
This section describes the DynamoDB naming rules and the various data types that DynamoDB supports.
There are limits that apply to datatypes. For more information, see Data Types (p. 505).

Topics
 • Naming Rules (p. 10)
 • Data Types (p. 11)


Naming Rules
Tables, attributes, and other objects in DynamoDB must have names. Names should be meaningful and
concise—for example, names such as Products, Books, and Authors are self-explanatory.

The following are the naming rules for DynamoDB:

• All names must be encoded using UTF-8, and are case-sensitive.
• Table names and index names must be between 3 and 255 characters long, and can contain only the
  following characters:
  • a-z
  • A-Z
  • 0-9
  • _ (underscore)
  • - (dash)
  • . (dot)
• Attribute names must be between 1 and 255 characters long.


Reserved Words and Special Characters
Like many other database management systems, DynamoDB has a list of reserved words and special
characters.

• For a complete list of reserved words in DynamoDB, see Reserved Words in DynamoDB (p. 596).
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• The following characters have special meanings in DynamoDB: # (hash) and : (colon)


Even though DynamoDB allows you to use these reserved words and special characters for naming
purposes, we recommend that you avoid doing so because you will need to define placeholder variables
whenever you use these names in an expression.

For more information, see Expression Attribute Names (p. 202).

Data Types
DynamoDB supports many different data types for attributes within a table. They can be categorized as
follows:

• Scalar Types – A scalar type can represent exactly one value. The scalar types are number, string,
  binary, Boolean, and null.
• Document Types – A document type can represent a complex structure with nested attributes—such as
  you would find in a JSON document. The document types are list and map.
• Set Types – A set type can represent multiple scalar values. The set types are string set, number set,
  and binary set.


When you create a table or a secondary index, you must specify the names and data types of each primary
key attribute (partition key and sort key). Furthermore, each primary key attribute must be defined as type
string, number, or binary.

DynamoDB is a NoSQL database, and is schemaless, which means that, other than the primary key
attributes, you do not need to define any attributes or data types at table creation time. By comparison,
relational databases require you to define the names and data types of each column when you create a
table.

The following are descriptions of each data type, along with examples in JSON format.

Scalar Types
The scalar types are number, string, binary, Boolean, and null.

String

Strings are Unicode with UTF-8 binary encoding. The length of a string must be greater than zero, and is
constrained by the maximum DynamoDB item size limit of 400 KB.

If you define a primary key attribute as a string type attribute, the following additional constraints apply:

• For a simple primary key, the maximum length of the first attribute value (the partition key) is 2048 bytes.
• For a composite primary key, the maximum length of the second attribute value (the sort key) is 1024
  bytes.


DynamoDB collates and compares strings using the bytes of the underlying UTF-8 string encoding. For
example, "a" (0x61) is greater that "A" (0x41), and "¿" (0xC2BF) is greater than "z" (0x7A).

Example


"Bicycle"




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You can use the String data type to represent a date or a timestamp. One way to do this is by using ISO
8601 strings, as shown in these examples:

• 2016-02-15
• 2015-12-21T17:42:34Z
• 20150311T122706Z


For more information, see http://en.wikipedia.org/wiki/ISO_8601.

Number

Numbers can be positive, negative, or zero. Numbers can have up to 38 digits precision—exceeding this
will result in an exception.

• Positive range: 1E-130 to 9.9999999999999999999999999999999999999E+125
• Negative range: -9.9999999999999999999999999999999999999E+125 to -1E-130


In DynamoDB, numbers are represented as variable length. Leading and trailing zeroes are trimmed.

All numbers are sent across the network to DynamoDB as strings, to maximize compatibility across
languages and libraries. However, DynamoDB treats them as number type attributes for mathematical
operations.
      Note
      If number precision is important, you should pass numbers to DynamoDB using strings that you
      convert from number type.

Example


300



You can use the Number data type to represent a date or a timestamp. One way to do this is by using
epoch time—the number of seconds since 00:00:00 UTC on 1 January 1970. For example, the epoch time
1437136300 represents 12:31:40 UTC on 17 July 2015.

For more information, see http://en.wikipedia.org/wiki/Unix_time.

Binary

Binary type attributes can store any binary data, such as compressed text, encrypted data, or images.
Whenever DynamoDB compares binary values, it treats each byte of the binary data as unsigned.

The length of a binary attribute must be greater than zero, and is constrained by the maximum DynamoDB
item size limit of 400 KB.

If you define a primary key attribute as a binary type attribute, the following additional constraints apply:

• For a simple primary key, the maximum length of the first attribute value (the partition key) is 2048 bytes.
• For a composite primary key, the maximum length of the second attribute value (the sort key) is 1024
  bytes.


Your applications must encode binary values in base64-encoded format before sending them to
DynamoDB. Upon receipt of these values, DynamoDB decodes the data into an unsigned byte array and
uses that as the length of the binary attribute.

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Example

The following example is a binary attribute, using base64-encoded text.


dGhpcyB0ZXh0IGlzIGJhc2U2NC1lbmNvZGVk



Boolean

A Boolean type attribute can store either true or false.

Example


true



Null

Null represents an attribute with an unknown or undefined state.

Example


NULL




Document Types
The document types are list and map. These data types can be nested within each other, to represent
complex data structures up to 32 levels deep.

There is no limit on the number of values in a list or a map, as long as the item containing the values fits
within the DynamoDB item size limit (400 KB).

An attribute value cannot be an empty String or empty Set (String Set, Number Set, or Binary Set).
However, empty Lists and Maps are allowed. For more information, see Attributes (p. 506).

List

A list type attribute can store an ordered collection of values. Lists are enclosed in square brackets:
[ ... ]

A list is similar to a JSON array. There are no restrictions on the data types that can be stored in a list
element, and the elements in a list element do not have to be of the same type.

The following example shows a list that contains two strings and a number.

Example


FavoriteThings: ["Cookies", "Coffee", 3.14159]




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    Note
    DynamoDB lets you work with individual elements within lists, even if those elements are deeply
    nested. For more information, see Using Expressions in DynamoDB (p. 198).

Map

A map type attribute can store an unordered collection of name-value pairs. Maps are enclosed in curly
braces: { ... }

A map is similar to a JSON object. There are no restrictions on the data types that can be stored in a map
element, and the elements in a map do not have to be of the same type.

Maps are ideal for storing JSON documents in DynamoDB. The following example shows a map that
contains a string, a number, and a nested list that contains another map.

Example


{
    Day: "Monday",
    UnreadEmails: 42,
    ItemsOnMyDesk: [
        "Coffee Cup",
        "Telephone",
        {
            Pens: { Quantity : 3},
            Pencils: { Quantity : 2},
            Erasers: { Quantity : 1}
        }
    ]
}




    Note
    DynamoDB lets you work with individual elements within Maps, even if those elements are deeply
    nested. For more information, see Using Expressions in DynamoDB (p. 198).

Sets
DynamoDB supports types that represent sets of Number, String, or Binary values. All of the elements
within a set must be of the same type. For example, an attribute of type Number Set can only contain
numbers; String Set can only contain strings; and so on.

There is no limit on the number of values in a Set, as long as the item containing the values fits within the
DynamoDB item size limit (400 KB).

Each value within a set must be unique. The order of the values within a set are not preserved; therefore,
your applications must not rely on any particular order of elements within the set. Finally, DynamoDB does
not support empty sets.

Example (String Set, Number Set, and Binary Set)

["Black", "Green" ,"Red"]

[42.2, -19, 7.5, 3.14]

["U3Vubnk=", "UmFpbnk=", "U25vd3k="]


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                                      Read Consistency



Read Consistency
Amazon DynamoDB is available in multiple AWS regions around the world. Each region is completely
independent and isolated from other AWS regions. For example, if you have a table called People in
the us-east-1 region and another table named People in the us-west-2 region, these are considered
two entirely separate tables. For a list of all the AWS regions in which DynamoDB is available, see AWS
Regions and Endpoints in the Amazon Web Services General Reference.

Every AWS region consists of multiple distinct locations called Availability Zones. Each Availability Zone
is isolated from failures in other Availability Zones, and to provide inexpensive, low-latency network
connectivity to other Availability Zones in the same region. This allows rapid replication of your data among
multiple Availability Zones in a region.

When your application writes data to a DynamoDB table and receives an HTTP 200 response (OK), all
copies of the data are updated. The data will eventually be consistent across all storage locations, usually
within one second or less.

DynamoDB supports eventually consistent and strongly consistent reads.

Eventually Consistent Reads

When you read data from a DynamoDB table, the response might not reflect the results of a recently
completed write operation. The response might include some stale data. If you repeat your read request
after a short time, the response should return the latest data.

Strongly Consistent Reads

When you request a strongly consistent read, DynamoDB returns a response with the most up-to-date data,
reflecting the updates from all prior write operations that were successful. A strongly consistent read might
not be available in the case of a network delay or outage.
    Note
    DynamoDB uses eventually consistent reads, unless you specify otherwise. Read operations
    (such as GetItem, Query, and Scan) provide a ConsistentRead parameter: If you set this
    parameter to true, DynamoDB will use strongly consistent reads during the operation.


Provisioned Throughput
Topics
 • Read Capacity Units (p. 16)
 • Write Capacity Units (p. 17)
 • Purchasing Reserved Capacity (p. 17)


When you create a table, you specify how much provisioned throughput capacity you want to reserve for
reads and writes. DynamoDB will reserve the necessary resources to meet your throughput needs while
ensuring consistent, low-latency performance. You can also change your provisioned throughput settings,
increasing or decreasing capacity as needed.

In DynamoDB, you specify provisioned throughput requirements in terms of capacity units. Use the
following guidelines to determine your provisioned throughput:

• One read capacity unit represents one strongly consistent read per second, or two eventually consistent
  reads per second, for items up to 4 KB in size. If you need to read an item that is larger than 4 KB,
  DynamoDB will need to consume additional read capacity units. The total number of read capacity units
  required depends on the item size, and whether you want an eventually consistent or strongly consistent
  read.

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• One write capacity unit represents one write per second for items up to 1 KB in size. If you need to write
  an item that is larger than 1 KB, DynamoDB will need to consume additional write capacity units. The
  total number of write capacity units required depends on the item size.


For tables with secondary indexes, DynamoDB will consume additional capacity units. For example, if
you wanted to add a single 1 KB item to a table, and that item contained an indexed attribute, you would
need two write capacity units—one for writing to the table and another for writing to the index. For more
information, see:

• Provisioned Throughput Considerations for Local Secondary Indexes (p. 348)
• Provisioned Throughput Considerations for Global Secondary Indexes (p. 313)


If your application's read or write requests exceed the provisioned throughput for a table, DynamoDB
might throttle that request. When this happens, the request fails with an HTTP 400 code (Bad Request),
accompanied by a ProvisionedThroughputExceededException. The AWS SDKs have built-in support for
retrying throttled requests. However, you might want to consider using exponential backoff logic in your
error handling code. For more information, see Error Retries and Exponential Backoff (p. 71).

You can use the AWS Management Console to monitor your provisioned and actual throughput, to
determine whether any requests are being throttled and change your provisioned capacity settings in
anticipation of traffic changes.

Read Capacity Units
If your items are smaller than 4 KB in size, each read capacity unit will yield one strongly consistent read
per second or two eventually consistent reads per second.

For example, suppose that you want to read 80 items per second from a table. Suppose that the items
are 3 KB in size and you want strongly consistent reads. For this scenario, each read would require one
provisioned read capacity unit. To determine this, you divide the item size of the operation by 4 KB, and
then round up to the nearest whole number, as in this example:

3 KB / 4 KB = 0.75 --> 1


For this scenario, you need to set the table's provisioned read throughput to 80 read capacity units:

1 read capacity unit per item × 80 reads per second = 80 read capacity units


If you wanted eventually consistent reads instead of strongly consistent reads, you would only need to
provision 40 read capacity units.

If your items are larger than 4 KB, you need to round the item size up to the next 4 KB boundary. For
example, suppose that you want to perform 100 strongly consistent reads per second, and that the items
are 6 KB in size. First, you need to determine the number of read capacity units required per item and
round it up to the nearest whole number, as shown following:

6 KB / 4 KB = 1.5 --> 2


The result is two read capacity units per item. Now, you multiply this by the number of strongly consistent
reads per second:

2 read capacity units per item × 100 reads per second = 200


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Thus, you would need to set the table's provisioned read capacity units to 200. (If you wanted eventually
consistent reads instead of strongly consistent reads, then you would only need to provision 100 read
capacity units.)

To read a single item, you use the GetItem operation. If you want to read multiple items, you can use
BatchGetItem to retrieve up to 100 items from a table.

You can use the Query and Scan operations to retrieve multiple consecutive items from a table or an index,
in a single request. With these operations, DynamoDB uses the cumulative size of the processed items
to calculate provisioned throughput. For example, if a Query operation retrieves 100 items that are 1 KB
each, the read capacity calculation is not (100 × 4 KB) = 100 read capacity units, as if those items had been
retrieved individually using GetItem or BatchGetItem. Instead, the total would be only 25 read capacity
units, as shown following:

(100 * 1024 bytes = 100 KB) / 4 KB = 25 read capacity units


For more information see Capacity Unit Calculations (p. 171).

Write Capacity Units
If your items are smaller than 1 KB in size, each write capacity unit will yield one write per second. For
example, suppose that you want to write 100 items per second to your table, and that the items are 512
bytes in size. For this scenario, each write would require one provisioned write capacity unit. To determine
this, you divide the item size of the operation by 1 KB, and then round up to the nearest whole number:

512 bytes / 1 KB = 0.5 --> 1


For this scenario, you would want to set the table's provisioned write throughput to 100 write capacity units:

1 write capacity unit per item × 100 writes per second = 100 write capacity units


If your items are larger than 1 KB in size, you need to round the item size up to the next 1 KB boundary. For
example, suppose that you wanted to perform 10 writes per second, and that the items are 1.5 KB in size.
First, you would determine the number of write capacity units required per item, rounding up to the nearest
whole number, as shown following:

1.5 KB / 1 KB = 1.5 --> 2


The result is two write capacity units per item. Now, you multiply this by the number of writes per second:

2 write capacity units per item × 10 writes per second = 20 write capacity units


Thus, you need to set the table's provisioned write capacity units to 20 in this scenario.

To work with a single item, use the PutItem, UpdateItem, or DeleteItem operation as appropriate. You can
also use BatchWriteItem to put or delete up to 25 items in a single operation. (Note that BatchWriteItem
supports PutItem and DeleteItem operations, but not UpdateItem.)

Purchasing Reserved Capacity
DynamoDB allows customers to purchase reserved capacity, as described at Amazon DynamoDB Pricing.
With reserved capacity, you pay a one-time upfront fee and commit to a minimum usage level over a period

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of time. By reserving your read and write capacity units ahead of time, you realize significant cost savings
compared to on-demand provisioned throughput settings.

To manage reserved capacity, go to the DynamoDB console and choose Reserved Capacity.
    Note
    You can prevent users from viewing or purchasing reserved capacity, while still allowing them
    to access the rest of the console. For more information, see "Grant Permissions to Prevent
    Purchasing of Reserved Capacity Offerings" in Authentication and Access Control for Amazon
    DynamoDB (p. 410).


Partitions and Data Distribution
DynamoDB stores data in partitions. A partition is an allocation of storage for a table, backed by solid-
state drives (SSDs) and automatically replicated across multiple Availability Zones within an AWS region.
Partition management is handled entirely by DynamoDB—customers never need to manage partitions
themselves.

When you create a table, the initial status of the table is CREATING. During this phase, DynamoDB allocates
sufficient partitions to the table so that it can handle your provisioned throughput requirements. You can
begin writing and reading table data after the table status changes to ACTIVE.

DynamoDB will allocate additional partitions to a table in the following situations:

• If you increase the table's provisioned throughput settings beyond what the existing partitions can
  support.
• If an existing partition fills to capacity and more storage space is required.


For more details, see Understand Partition Behavior (p. 513).

Partition management occurs automatically in the background and is transparent to your applications. Your
table remains available throughout and fully supports your provisioned throughput requirements.

Note that indexes in DynamoDB are also composed of partitions. The data in an index is stored separately
from the data in its base table, but index partitions behave in much the same way as table partitions.

Data Distribution: Partition Key
If your table has a simple primary key (partition key only), DynamoDB stores and retrieves each item based
on its partition key value.

To write an item to the table, DynamoDB uses the value of the partition key as input to an internal hash
function. The output value from the hash function determines the partition in which the item will be stored.

To read an item from the table, you must specify the partition key value for the item. DynamoDB uses this
value as input to its hash function, yielding the partition in which the item can be found.

The following diagram shows a table named Pets, which spans multiple partitions. The table's primary key
is AnimalType (only this key attribute is shown). DynamoDB uses its hash function to determine where to
store a new item, in this case based on the hash value of the string Dog. Note that the items are not stored
in sorted order. Each item's location is determined by the hash value of its partition key.




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    Note
    DynamoDB is optimized for uniform distribution of items across a table's partitions, no matter how
    many partitions there may be. We recommend that you choose a partition key that can have a
    large number of distinct values relative to the number of items in the table. For more information,
    see Guidelines for Working with Tables (p. 510).

Data Distribution: Partition Key and Sort Key
If the table has a composite primary key (partition key and sort key), DynamoDB calculates the hash value
of the partition key in the same way as described in Data Distribution: Partition Key (p. 18)—but it stores
all of the items with the same partition key value physically close together, ordered by sort key value.

To write an item to the table, DynamoDB calculates the hash value of the partition key to determine which
partition should contain the item. In that partition, there could be several items with the same partition key
value, so DynamoDB stores the item among the others with the same partition key, in ascending order by
sort key.

To read an item from the table, you must specify its partition key value and sort key value. DynamoDB
calculates the partition key's hash value, yielding the partition in which the item can be found.

You can read multiple items from the table in a single operation (Query), provided that the items you want
have the same partition key value. DynamoDB will return all of the items with that partition key value.
Optionally, you can apply a condition to the sort key so that it returns only the items within a certain range
of values.

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    Suppose that the Pets table has a composite primary key consisting of AnimalType (partition key) and Name
    (sort key). The following diagram shows DynamoDB writing an item with a partition key value of Dog and a
    sort key value of Fido.




    To read that same item from the Pets table, DynamoDB calculates the hash value of Dog, yielding the
    partition in which these items are stored. DynamoDB then scans the sort key attribute values until it finds
    Fido.

    To read all of the items with an AnimalType of Dog, you can issue a Query operation without specifying
    a sort key condition. By default, the items are be returned in the order that they are stored (that is, in
    ascending order by sort key). Optionally, you can request descending order instead.

    To query only some of the Dog items, you can apply a condition to the sort key (for example, only the Dog
    items where Name is within the range A through K).
        Note
        In a DynamoDB table, there is no upper limit on the number of distinct sort key values per partition
        key value. If you needed to store many billions of Dog items in the Pets table, DynamoDB would
        automatically allocate enough storage to handle this requirement.



From SQL to NoSQL
    If you are an application developer, you might have some experience using relational database
    management systems (RDBMS) and Structured Query Language (SQL). As you begin working with

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                                          Table Best Practices




Best Practices for DynamoDB


     Use this section to quickly find recommendations for maximizing performance and minimizing throughput
     costs.



Table Best Practices
     DynamoDB tables are distributed across multiple partitions. For best results, design your tables and
     applications so that read and write activity is spread evenly across all of the items in your tables, and avoid
     I/O "hot spots" that can degrade performance.

     • Design For Uniform Data Access Across Items In Your Tables (p. 511)
     • Understand Partition Behavior (p. 513)
     • Use Burst Capacity Sparingly (p. 517)
     • Distribute Write Activity During Data Upload (p. 517)
     • Understand Access Patterns for Time Series Data (p. 518)
     • Cache Popular Items (p. 518)
     • Consider Workload Uniformity When Adjusting Provisioned Throughput (p. 519)
     • Test Your Application At Scale (p. 520)



Item Best Practices
     DynamoDB items are limited in size (see Limits in DynamoDB (p. 502)). However, there is no limit on the
     number of items in a table. Rather than storing large data attribute values in an item, consider one or more
     of these application design alternatives.

     • Use One-to-Many Tables Instead Of Large Set Attributes (p. 521)
     • Use Multiple Tables to Support Varied Access Patterns (p. 521)

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                                      Query and Scan Best Practices


     • Compress Large Attribute Values (p. 523)
     • Store Large Attribute Values in Amazon S3 (p. 523)
     • Break Up Large Attributes Across Multiple Items (p. 523)



Query and Scan Best Practices
     Sudden, unexpected read activity can quickly consume the provisioned read capacity of a table or a global
     secondary index. In addition, such activity can be inefficient if it is not evenly spread across table partitions.

     • Performance Considerations for Scans (p. 525)
     • Avoid Sudden Spikes in Read Activity (p. 525)
     • Take Advantage of Parallel Scans (p. 527)



Local Secondary Index Best Practices
     A local secondary index lets you define an alternative sort key for your data. You can query a local
     secondary index in the same way that you query a table. Before using local secondary indexes, you should
     be aware of the inherent tradeoffs in terms of provisioned throughput costs, storage costs, and query
     efficiency.

     • Use Indexes Sparingly (p. 528)
     • Choose Projections Carefully (p. 528)
     • Optimize Frequent Queries To Avoid Fetches (p. 528)
     • Take Advantage of Sparse Indexes (p. 528)
     • Watch For Expanding Item Collections (p. 529)



Global Secondary Index Best Practices
     Global Secondary Indexes let you define alternative partition key and sort key attributes for your data.
     These attributes don't have to be the same as the table's partition key and sort key. You can query a global
     secondary index in the same way that you query a table. As with local secondary indexes, global secondary
     indexes also present tradeoffs that you need to consider when designing your applications.

     • Choose a Key That Will Provide Uniform Workloads (p. 530)
     • Take Advantage of Sparse Indexes (p. 530)
     • Use a Global Secondary Index For Quick Lookups (p. 530)
     • Create an Eventually Consistent Read Replica (p. 531)



Guidelines for Working with Tables
     Topics
      • Design For Uniform Data Access Across Items In Your Tables (p. 511)
      • Understand Partition Behavior (p. 513)

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                                 Design For Uniform Data Access
                                  Across Items In Your Tables

 • Use Burst Capacity Sparingly (p. 517)
 • Distribute Write Activity During Data Upload (p. 517)
 • Understand Access Patterns for Time Series Data (p. 518)
 • Cache Popular Items (p. 518)
 • Consider Workload Uniformity When Adjusting Provisioned Throughput (p. 519)
 • Test Your Application At Scale (p. 520)


This section covers some best practices for working with tables.


Design For Uniform Data Access Across Items In Your
Tables
The optimal usage of a table's provisioned throughput depends on these factors:

• The primary key selection.
• The workload patterns on individual items.


The primary key uniquely identifies each item in a table. The primary key can be simple (partition key) or
composite (partition key and sort key).

When it stores data, DynamoDB divides a table's items into multiple partitions, and distributes the
data primarily based upon the partition key value. Consequently, to achieve the full amount of request
throughput you have provisioned for a table, keep your workload spread evenly across the partition key
values. Distributing requests across partition key values distributes the requests across partitions.

For example, if a table has a very small number of heavily accessed partition key values, possibly even a
single very heavily used partition key value, request traffic is concentrated on a small number of partitions
– potentially only one partition. If the workload is heavily unbalanced, meaning that it is disproportionately
focused on one or a few partitions, the requests will not achieve the overall provisioned throughput level.
To get the most out of DynamoDB throughput, create tables where the partition key has a large number of
distinct values, and values are requested fairly uniformly, as randomly as possible.

This does not mean that you must access all of the partition key values to achieve your throughput level;
nor does it mean that the percentage of accessed partition key values needs to be high. However, be
aware that when your workload accesses more distinct partition key values, those requests will be spread
out across the partitioned space in a manner that better utilizes your allocated throughput level. In general,
you will utilize your throughput more efficiently as the ratio of partition key values accessed to the total
number of partition key values in a table grows.

Choosing a Partition Key
The following table compares some common partition key schemas for provisioned throughput efficiency:


 Partition key value                                     Uniformity

 User ID, where the application has many users.          Good

 Status code, where there are only a few possible        Bad
 status codes.

 Item creation date, rounded to the nearest time         Bad
 period (e.g. day, hour, minute)


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 Partition key value                                       Uniformity

 Device ID, where each device accesses data at             Good
 relatively similar intervals

 Device ID, where even if there are a lot of devices       Bad
 being tracked, one is by far more popular than all
 the others.


If a single table has only a very small number of partition key values, consider distributing your write
operations across more distinct partition key values. In other words, structure the primary key elements to
avoid one "hot" (heavily requested) partition key value that slows overall performance.

For example, consider a table with a composite primary key. The partition key represents the item's
creation date, rounded to the nearest day. The sort key is an item identifier. On a given day, say
2014-07-09, all of the new items will be written to that same partition key value.

If the table will fit entirely into a single partition (taking into consideration growth of your data over time), and
if your application's read and write throughput requirements do not exceed the read and write capabilities
of a single partition, then your application should not encounter any unexpected throttling as a result of
partitioning.

However, if you anticipate scaling beyond a single partition, then you should architect your application so
that it can use more of the table's full provisioned throughput.

Randomizing Across Multiple Partition Key Values
One way to increase the write throughput of this application would be to randomize the writes across
multiple partition key values. Choose a random number from a fixed set (for example, 1 to 200) and
concatenate it as a suffix to the date. This will yield partition key values such as 2014-07-09.1,
2014-07-09.2 and so on through 2014-07-09.200. Because you are randomizing the partition key, the
writes to the table on each day are spread evenly across all of the partition key values; this will yield better
parallelism and higher overall throughput.

To read all of the items for a given day, you would need to obtain all of the items for each suffix. For
example, you would first issue a Query request for the partition key value 2014-07-09.1, then another
Query for 2014-07-09.2, and so on through 2014-07-09.200. Finally, your application would need to merge
the results from all of the Query requests.

Using a Calculated Value
A randomizing strategy can greatly improve write throughput; however, it is difficult to read a specific item
because you don't know which suffix value was used when writing the item. To make it easier to read
individual items, you can use a different strategy: Instead of using a random number to distribute the items
among partitions, use a number that you are able to calculate based upon something that's intrinsic to the
item.

Continuing with our example, suppose that each item has an OrderId. Before your application writes the
item to the table, it can calculate a partition key suffix based upon the order ID. The calculation should
result in a number between 1 and 200 that is fairly evenly distributed given any set of names (or user IDs.)

A simple calculation would suffice, such as the product of the UTF-8 code point values for the characters
in the order ID, modulo 200 + 1. The partition key value would then be the date concatenated with the
calculation result as a suffix. With this strategy, the writes are spread evenly across the partition key values,
and thus across the partitions. You can easily perform a GetItem operation on a particular item, because
you can calculate the partition key value you need when you want to retrieve a specific OrderId value.

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To read all of the items for a given day, you would still need to Query each of the 2014-07-09.N keys
(where N is 1 to 200), and your application would need to merge all of the results. However, you will avoid
having a single "hot" partition key value taking all of the workload.


Understand Partition Behavior
DynamoDB manages table partitioning for you automatically, adding new partitions if necessary and
distributing provisioned throughput capacity evenly across them.

You can estimate the number of partitions that DynamoDB will initially allocate for your table, and compare
that estimate against your scale and access patterns. You can also estimate the number of additional
partitions that DynamoDB will allocate in response to increased storage or provisioned throughput
requirements. These estimates can help you determine the best table design for your application needs.
    Note
    The following details about partition sizes and throughput are subject to change.

Initial Allocation of Partitions
When you create a new table, DynamoDB allocates the table's partitions according to the provisioned
throughput settings that you specify.

A single partition can support a maximum of 3,000 read capacity units or 1,000 write capacity units. When
you create a new table, the initial number of partitions can be expressed as follows:

( readCapacityUnits / 3,000 ) + ( writeCapacityUnits / 1,000 ) = initialPartitions (rounded
 up)


For example, suppose that you created a table with 1,000 read capacity units and 500 write capacity units.
In this case, the initial number of partitions would be:

( 1,000 / 3,000 ) + ( 500 / 1,000 ) = 0.8333 --> 1


Therefore, a single partition could accommodate all of the table's provisioned throughput requirements.

However, if you had created the table with 1,000 read capacity units and 1,000 write capacity units, then a
single partition would not be able to support the specified throughput capacity:

( 1,000 / 3,000 ) + ( 1,000 / 1,000 ) = 1.333 --> 2


In this case, the table would require two partitions, each with 500 read capacity units and 500 write capacity
units.

Subsequent Allocation of Partitions
A single partition can hold approximately 10 GB of data, and can support a maximum of 3,000 read
capacity units or 1,000 write capacity units.

If necessary, DynamoDB can allocate additional partitions to your table by splitting an existing partition.
Suppose that one of a table's partitions (P) exceeded its limit for storage (10 GB). In this case, DynamoDB
would split the partition as follows:

1. Allocate two new partitions (P1 and P2).
2. Distribute the data from P evenly across P1 and P2.

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3. Deallocate P from the table.


The following diagram shows how DynamoDB performs a partition split. The large squares represent
partitions, and the small squares represent data items in the table.




During a partition split, DynamoDB evenly distributes the data from the old partition to the two new
partitions (the data in other partitions are not affected). The old partition's provisioned throughput capacity is
then evenly distributed across the two new partitions (see Throughput Capacity Per Partition (p. 516)).

Note that DynamoDB performs partition splits automatically, in the background. The table remains fully
available for read and write activity at your specified throughput levels.

A partition split can occur in response to:

• Increased provisioned throughput settings
• Increased storage requirements


Increased Provisioned Throughput Settings
If you increase a table's provisioned throughput and the table's current partitioning scheme cannot
accommodate your new requirements, DynamoDB will double the current number of partitions.

For example, suppose that you created a new table with 5,000 read capacity units and 2,000 write capacity
units. Using the information from Initial Allocation of Partitions (p. 513), you can determine that this new
table will require four partitions:

( 5,000 / 3,000 ) + ( 2,000 / 1,000 ) = 3.6667 --> 4


Each of the four partitions can accommodate 1,250 reads per second (5,000 read capacity units / 4
partitions) and 500 writes per second (2,000 write capacity units / 4 partitions).

Now suppose that you increased the table's read capacity units from 5,000 to 8,000. The existing four
partitions would not be able to support this requirement. In response (see Subsequent Allocation of
Partitions (p. 513)), DynamoDB would double the number of partitions to eight (4 * 2 = 8). Each of the
resulting partitions would be able to accommodate 1,000 reads per second (8,000 read capacity units / 8
partitions) and 250 writes per second (2,000 write capacity units / 8 partitions).

The following diagram shows the original four partitions in the table, and the resulting partition scheme after
DynamoDB doubles the number of partitions. The large squares represent partitions, and the small squares
represent data items in the table.

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Increased Storage Requirements
If an existing partition fills up with data, DynamoDB will split that partition. The result will be two partitions,
with the data from the old partition divided equally between the new partitions.

The table described in Increased Provisioned Throughput Settings (p. 514) has eight partitions, so its
maximum capacity would be approximately 80 GB, as shown following:

8 partitions * 10 GB = 80 GB


If one of these partitions were to fill to capacity, DynamoDB would respond by splitting that partition, for a
total of nine partitions and an overall capacity of 90 GB, as shown following:

9 partitions * 10 GB = 90 GB


The following diagram shows one of the original partitions filling to capacity, and the resulting partition
scheme after DynamoDB splits that partition. The large squares represent partitions, and the small squares
represent data items in the table.




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Throughput Capacity Per Partition
If you estimate the number of partitions in your table, you can determine the approximate throughput
capacity per partition. Suppose that you wanted to create a table with 5,000 read capacity units and 2,000
write capacity units. DynamoDB would allocate four partitions for the new table:

( 5,000 / 3,000 ) + ( 2,000 / 1,000 ) = 3.6667 --> 4


You could determine the amount of read and write capacity per partition as follows:

5,000 read capacity units / 4 partitions = 1,250 read capacity units per partition

2,000 write capacity units / 4 partitions = 500 write capacity units per partition


Now suppose that one of these four partitions were to fill to capacity. DynamoDB would split that partition,
resulting in five partitions allocated to the table. The read and write capacity per partition would then be
distributed as follows:

1,250 read capacity units / 2 partitions = 625 read capacity units per child partition

500 write capacity units / 2 partitions = 250 write capacity units per child partition


As a result:

• Three of the five partitions would each have 1,250 read capacity units and 500 write capacity units.
• The other two partitions would each have 625 read capacity units and 250 write capacity units.

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                                  Use Burst Capacity Sparingly


Note that as the number of partitions in a table increases, each partition has fewer read and write capacity
units available to it. (However, the total provisioned throughput for the table remains the same.)


Use Burst Capacity Sparingly
DynamoDB provides some flexibility in the per-partition throughput provisioning. When you are not fully
utilizing a partition's throughput, DynamoDB retains a portion of your unused capacity for later bursts of
throughput usage. DynamoDB currently retains up to five minutes (300 seconds) of unused read and write
capacity. During an occasional burst of read or write activity, these extra capacity units can be consumed
very quickly—even faster than the per-second provisioned throughput capacity that you've defined for your
table. However, do not design your application so that it depends on burst capacity being available at all
times: DynamoDB can and does use burst capacity for background maintenance and other tasks without
prior notice.
      Note
      In the future, these details of burst capacity may change.


Distribute Write Activity During Data Upload
There are times when you load data from other data sources into DynamoDB. Typically, DynamoDB
partitions your table data on multiple servers. When uploading data to a table, you get better performance
if you upload data to all the allocated servers simultaneously. For example, suppose you want to upload
user messages to a DynamoDB table. You might design a table that uses a composite primary key in which
UserID is the partition key and the MessageID is the sort key. When uploading data from your source, you
might tend to read all message items for a specific user and upload these items to DynamoDB as shown in
the sequence in the following table.


 UserID                                                  MessageID

 U1                                                      1

 U1                                                      2

 U1                                                      ...

 U1                                                      ... up to 100

 U2                                                      1

 U2                                                      2

 U2                                                      ...

 U2                                                      ... up to 200


The problem in this case is that you are not distributing your write requests to DynamoDB across your
partition key values. You are taking one partition key value at a time and uploading all its items, before
going to the next partition key value and doing the same. Behind the scenes, DynamoDB is partitioning
the data in your tables across multiple servers. To fully utilize all of the throughput capacity that has been
provisioned for your tables, you need to distribute your workload across your partition key values. In this
case, by directing an uneven amount of upload work toward items all with the same partition key value,
you may not be able to fully utilize all of the resources DynamoDB has provisioned for your table. You
can distribute your upload work by uploading one item from each partition key value first. Then you repeat
the pattern for the next set of sort key values for all the items until you upload all the data as shown in the
example upload sequence in the following table:


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 UserID                                                 MessageID

 U1                                                     1

 U2                                                     1

 U3                                                     1

 ...                                                    ....

 U1                                                     2

 U2                                                     2

 U3                                                     2

 ...                                                    ...


Every upload in this sequence uses a different partition key value, keeping more DynamoDB servers busy
simultaneously and improving your throughput performance.


Understand Access Patterns for Time Series Data
For each table that you create, you specify the throughput requirements. DynamoDB allocates resources
to handle your throughput requirements with sustained low latency. When you design your application and
tables, you should consider your application's access pattern to make the most efficient use of your table's
resources.

Suppose you design a table to track customer behavior on your site, such as URLs that they click. You
might design the table with a composite primary key consisting of Customer ID as the partition key and
date/time as the sort key. In this application, customer data grows indefinitely over time; however, the
applications might show uneven access pattern across all the items in the table where the latest customer
data is more relevant and your application might access the latest items more frequently and as time
passes these items are less accessed, eventually the older items are rarely accessed. If this is a known
access pattern, you could take it into consideration when designing your table schema. Instead of storing
all items in a single table, you could use multiple tables to store these items. For example, you could create
tables to store monthly or weekly data. For the table storing data from the latest month or week, where data
access rate is high, request higher throughput and for tables storing older data, you could dial down the
throughput and save on resources.

You can save on resources by storing "hot" items in one table with higher throughput settings, and "cold"
items in another table with lower throughput settings. You can remove old items by simply deleting the
tables. You can optionally backup these tables to other storage options such as Amazon Simple Storage
Service (Amazon S3). Deleting an entire table is significantly more efficient than removing items one-by-
one, which essentially doubles the write throughput as you do as many delete operations as put operations.


Cache Popular Items
Some items in a table might be more popular than others. For example, consider the ProductCatalog
table that is described in Creating Tables and Loading Sample Data (p. 158), and suppose that this table
contains millions of different products. Some products might be very popular among customers, so those
items would be consistently accessed more frequently than the others. As a result, the distribution of read
activity on ProductCatalog would be highly skewed toward those popular items.

One solution would be to cache these reads at the application layer. Caching is a technique that is used
in many high-throughput applications, offloading read activity on hot items to the cache rather than to

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the database. Your application can cache the most popular items in memory, or use a product such as
ElastiCache to do the same.

Continuing with the ProductCatalog example, when a customer requests an item from that table, the
application would first consult the cache to see if there is a copy of the item there. If so, it is a cache hit;
otherwise, it is a cache miss. When there is a cache miss, the application would need to read the item from
DynamoDB and store a copy of the item in the cache. Over time, the cache misses would decrease as the
cache fills with the most popular items; applications would not need to access DynamoDB at all for these
items.

A caching solution can mitigate the skewed read activity for popular items. In addition, since it reduces the
amount of read activity against the table, caching can help reduce your overall costs for using DynamoDB.


Consider Workload Uniformity When Adjusting
Provisioned Throughput
As the amount of data in your table grows, or as you provision additional read and write capacity,
DynamoDB automatically spreads the data across multiple partitions. If your application doesn't require as
much throughput, you simply decrease it using the UpdateTable operation, and pay only for the throughput
that you have provisioned.

For applications that are designed for use with uniform workloads, DynamoDB's partition allocation activity
is not noticeable. A temporary non-uniformity in a workload can generally be absorbed by the bursting
allowance, as described in Use Burst Capacity Sparingly (p. 517). However, if your application must
accommodate non-uniform workloads on a regular basis, you should design your table with DynamoDB's
partitioning behavior in mind (see Understand Partition Behavior (p. 513)), and be mindful when
increasing and decreasing provisioned throughput on that table.

If you reduce the amount of provisioned throughput for your table, DynamoDB will not decrease the number
of partitions. Suppose that you created a table with a much larger amount of provisioned throughput than
your application actually needed, and then decreased the provisioned throughput later. In this scenario, the
provisioned throughput per partition would be less than it would have been if you had initially created the
table with less throughput.

For example, consider a situation where you need to bulk-load 20 million items into a DynamoDB table.
Assume that each item is 1 KB in size, resulting in 20 GB of data. This bulk-loading task will require a total
of 20 million write capacity units. To perform this data load within 30 minutes, you would need to set the
provisioned write throughput of the table to 11,000 write capacity units.

The maximum write throughput of a partition is 1000 write capacity units (see Understand Partition
Behavior (p. 513)); therefore, DynamoDB will create 11 partitions, each with 1000 provisioned write
capacity units.

After the bulk data load, your steady-state write throughput requirements might be much lower — for
example, suppose that your applications only require 200 writes per second. If you decrease the table's
provisioned throughput to this level, each of the 11 partitions will have around 20 write capacity units per
second provisioned. This level of per-partition provisioned throughput, combined with DynamoDB's bursting
behavior, might be adequate for the application.

However, if an application will require sustained write throughput above 20 writes per second per partition,
you should either: (a) design a schema that requires fewer writes per second per partition key value, or (b)
design the bulk data load so that it runs at a slower pace and reduces the initial throughput requirement.
For example, suppose that it was acceptable to run the bulk import for over 3 hours, instead of just 30
minutes. In this scenario, only 1900 write capacity units per second needs to be provisioned, rather than
11,000. As a result, DynamoDB would create only two partitions for the table.


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     Test Your Application At Scale
     Many tables begin with small amounts of data, but then grow larger as applications perform write activity.
     This growth can occur gradually, without exceeding the provisioned throughput settings you have defined
     for the table. As your table grows larger, DynamoDB automatically scales your table out by distributing the
     data across more partitions. When this occurs, the provisioned throughput that is allocated to each resulting
     partition is less than that which is allocated for the original partition(s).

     Suppose that your application accesses the table's data across all of the partition key values, but in a
     non-uniform fashion (accessing a small number of partition key values more frequently than others). Your
     application might perform acceptably when there is not very much data in the table. However, as the table
     becomes larger, there will be more partitions and less throughput per partition. You might discover that
     your application is throttled when it attempts to use the same non-uniform access pattern that worked in the
     past.

     To avoid problems with "hot" keys when your table becomes larger, make sure that you test your
     application design at scale. Consider the ratio of storage to throughput when running at scale, and
     how DynamoDB will allocate partitions to the table. (For more information, see Understand Partition
     Behavior (p. 513).)

     If it isn't possible for you to generate a large amount of test data, you can create a table that has very
     high provisioned throughput settings. This will create a table with many partitions; you can then use
     UpdateTable to reduce the settings, but keep the same ratio of storage to throughput that you determined
     for running the application at scale. You now have a table that has the throughput-per-partition ratio that
     you expect after it grows to scale. Test your application against this table using a realistic workload.

     Tables that store time series data can grow in an unbounded manner, and can cause slower application
     performance over time. With time series data, applications typically read and write the most recent items
     in the table more frequently than older items. If you can remove older time series data from your real-time
     table, and archive that data elsewhere, you can maintain a high ratio of throughput per partition.

     For best practices with time series data, Understand Access Patterns for Time Series Data (p. 518).




Guidelines for Working with Items
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      • Use Multiple Tables to Support Varied Access Patterns (p. 521)
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      • Store Large Attribute Values in Amazon S3 (p. 523)
      • Break Up Large Attributes Across Multiple Items (p. 523)


     When you are working with items in DynamoDB, you need to consider how to get the best performance,
     how to reduce provisioned throughput costs, and how to avoid throttling by staying within your read and
     write capacity units. If the items that you are handling exceed the maximum item size, as described in
     Limits in DynamoDB (p. 502), you need to consider how you will deal with the situation. This section offers
     best practices for addressing these considerations.




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                    Use One-to-Many Tables Instead Of Large Set Attributes



Use One-to-Many Tables Instead Of Large Set
Attributes
If your table has items that store a large set type attribute, such as number set or string set, consider
removing the attribute and breaking the table into two tables. To form one-to-many relationships between
these tables, use the primary keys.

The Forum, Thread, and Reply tables in the Creating Tables and Loading Sample Data (p. 158) section are
good examples of these one-to-many relationships. For example, the Thread table has one item for each
forum thread, and the Reply table stores one or more replies for each thread.

Instead of storing replies as items in a separate table, you could store both threads and replies in the same
table. For each thread, you could store all replies in an attribute of string set type; however, keeping thread
and reply data in separate tables is beneficial in several ways:

• If you store replies as items in a table, you can store any number of replies, because a DynamoDB table
  can store any number of items.

  If you store replies as an attribute value in the Thread table, you would be constrained by the
  maximum item size, which would limit the number of replies that you could store. (See Limits in
  DynamoDB (p. 502))
• When you retrieve a Thread item, you pay less for provisioned throughput, because you are retrieving
  only the thread data and not all the replies for that thread.
• Queries allow you to retrieve only a subset of items from a table. By storing replies in a separate Reply
  table, you can retrieve only a subset of replies, for example, those within a specific date range, by
  querying the Reply table.

  If you store replies as a set type attribute value, you would always have to retrieve all the replies, which
  would consume more provisioned throughput for data that you might not need.
• When you add a new reply to a thread, you add only an item to the Reply table, which incurs the
  provisioned throughput cost of only that single Reply item. If replies are stored in the Thread table, you
  incur the full cost of writing the entire Thread item including all replies whenever you add a single user
  reply to a thread.



Use Multiple Tables to Support Varied Access
Patterns
If you frequently access large items in a DynamoDB table and you do not always use all of an item's larger
attributes, you can improve your efficiency and make your workload more uniform by storing your smaller,
more frequently accessed attributes as separate items in a separate table.

For example, consider the ProductCatalog table described in the Creating Tables and Loading Sample
Data (p. 158) section. Items in this table contain basic product information, such as product name and
description. This information changes infrequently, but it is used every time an application displays a
product for the user.

If your application also needed to keep track of rapidly changing product attributes, such as price and
availability, you could store this information in a separate table called ProductAvailability. This approach
would minimize the throughput cost of updates. To illustrate, suppose that a ProductCatalog item was 3
KB in size, and the price and availability attributes for that item was 300 bytes. In this case, an update of
these rapidly changing attributes would cost three, the same cost as updating any other product attributes.
Now suppose that price and availability information were stored in a ProductAvailability table instead. In this
case, updating the information would cost only one write capacity unit.

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                      Use Multiple Tables to Support Varied Access Patterns


      Note
      For an explanation of capacity units, see Provisioned Throughput (p. 15).

If your application also needed to store product data that is displayed less frequently, you could store
this information in a separate table called ExtendedProductCatalog. Such data might include product
dimensions, a track listing for music albums, or other attributes that are not accessed as often as the basic
product data. This way, the application would only consume throughput when displaying basic product
information to the users, and would only consume additional throughput if the user requests the extended
product details.

The following are example instances of the tables in the preceding discussion. Note that all the tables have
an Id attribute as the primary key.

ProductCatalog


 Id                                    Title                                 Description

 21                                    "Famous Book"                         "From last year's best sellers
                                                                             list, ..."

 302                                   "Red Bicycle"                         "Classic red bicycle..."

 58                                    "Music Album"                         "A new popular album from this
                                                                             week..."


ProductAvailability


 Id                                    Price                                 QuantityOnHand

 21                                    "$5.00 USD"                           3750

 302                                   "$125.00 USD"                         8

 58                                    "$5.00 USD"                           "infinity (digital item)"


ExtendedProductCatalog


 Id                                    AverageCustomerRating                 TrackListing

 21                                    5

 302                                   3.5

 58                                    4                                     {"Track1#3:59", "Track2#2:34",
                                                                             "Track3#5:21", ...}


Here are several advantages and considerations for splitting the attributes of an item into multiple items in
different tables:

• The throughput cost of reading or writing these attributes is reduced. The cost of updating a single
  attribute of an item is based on the full size of the item. If the items are smaller, you will incur less
  throughput when you access each one.
• If you keep your frequently accessed items small, your I/O workload will be distributed more evenly.
  Retrieving a large item can consume a great deal of read capacity all at once, from the same partition of

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                               Compress Large Attribute Values


  your table; this can make your workload uneven, which can cause throttling. For more information, see
  Avoid Sudden Spikes in Read Activity (p. 525)
• For single-item read operations, such as GetItem, throughput calculations are rounded up to the next 4
  KB boundary. If your items are smaller than 4 KB and you retrieve the items by primary key only, storing
  item attributes as separate items may not reduce throughput. Even so, the throughput cost of operations
  such as Query and Scan are calculated differently: the sizes of all returned items are totaled, and that
  final total is rounded up to the next 4 KB boundary. For these operations, you might still reduce your
  throughput cost by moving the large attributes into separate items. For more information, see Capacity
  Unit Calculations (p. 171).



Compress Large Attribute Values
You can compress large values before storing them in DynamoDB. Doing so can reduce the cost of storing
and retrieving such data. Compression algorithms, such as GZIP or LZO, produce a binary output. You can
then store this output in a Binary attribute type.

For example, the Reply table in the Creating Tables and Loading Sample Data (p. 158) section stores
messages written by forum users. These user replies might consist of very long strings of text, which makes
them excellent candidates for compression.

For sample code that demonstrates how to compress long messages in DynamoDB, see:

• Example: Handling Binary Type Attributes Using the AWS SDK for Java Document API (p. 245)
• Example: Handling Binary Type Attributes Using the AWS SDK for .NET Low-Level API (p. 267)



Store Large Attribute Values in Amazon S3
DynamoDB currently limits the size of the items that you store in tables. For more information, see Limits
in DynamoDB (p. 502). Your application, however, might need to store more data in an item than the
DynamoDB size limits permit. To work around this issue, you can store the large attributes as an object in
Amazon Simple Storage Service (Amazon S3), and store the object identifier in your item. You can also
use the object metadata support in Amazon S3 to store the primary key value of the corresponding item as
Amazon S3 object metadata. This use of metadata can help with future maintenance of your Amazon S3
objects.

For example, consider the ProductCatalog table in the Creating Tables and Loading Sample Data (p. 158)
section. Items in the ProductCatalog table store information about item price, description, authors for books,
and dimensions for other products. If you wanted to store an image of each product, these images could be
large. It might make sense to store the images in Amazon S3 instead of DynamoDB.

There are important considerations with this approach:

• Since DynamoDB does not support transactions that cross Amazon S3 and DynamoDB, your application
  will have to deal with failures and with cleaning up orphaned Amazon S3 objects.
• Amazon S3 limits length of object identifiers, so you must organize your data in a way that
  accommodates this and other Amazon S3 constraints. For more information, go to the Amazon Simple
  Storage Service Developer Guide.



Break Up Large Attributes Across Multiple Items
If you need to store more data in a single item than DynamoDB allows, you can store that data in multiple
items as chunks of a larger "virtual item". To get the best results, store the chunks in a separate table that
has a simple primary key (partition key), and use batch operations (BatchGetItem and BatchWriteItem)

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                                                                             KoveIO Compl. Ex. 11
Exhibit 12




             KoveIO Compl. Ex. 12
                                A Decade of Dynamo: Powering the next wave of high-performance, internet-scale applications - All Things Distributed




      All Things Distributed
      Werner Vogels' weblog on building scalable and robust distributed systems.



      A Decade of Dynamo: Powering the next wave of high-
      performance, internet-scale applications
      By Werner Vogels on 02 October 2017 11:00 AM | Permalink | Comments (16)




                                                                                                                        Contact Info

                                                                                                                        Werner Vogels
                                                                                                                        CTO - Amazon.com




                                                                                                                        Other places

                                                                                                                        Follow werner on twitter if you want to
                                                                                                                        know what he is current reading or
                                                                                                                        thinking about.
      Today marks the 10 year anniversary of Amazon's Dynamo whitepaper, a milestone that made me reflect
                                                                                                                        At werner.ly he posts material that
      on how much innovation has occurred in the area of databases over the last decade and a good reminder
                                                                                                                        doesn't belong on this blog or on
      on why taking a customer obsessed approach to solving hard problems can have lasting impact beyond                twitter.
      your original expectations.
                                                                                                                        Check out some great music
      It all started in 2004 when Amazon was running Oracle's enterprise edition with clustering and replication.
      We had an advanced team of database administrators and access to top experts within Oracle. We were
      pushing the limits of what was a leading commercial database at the time and were unable to sustain the
      availability, scalability and performance needs that our growing Amazon business demanded.

      Our straining database infrastructure on Oracle led us to evaluate if we could develop a purpose-built
      database that would support our business needs for the long term. We prioritized focusing on
      requirements that would support high-scale, mission-critical services like Amazon's shopping cart, and
      questioned assumptions traditionally held by relational databases such as the requirement for strong
      consistency. Our goal was to build a database that would have the unbounded scalability, consistent
                                                                                                                        Syndication
      performance and the high availability to support the needs of our rapidly growing business.
                                                                                                                          Subscribe to this weblog's
      A deep dive on how we were using our existing databases revealed that they were frequently not used for
                                                                                                                        atom feed or rss feed
      their relational capabilities. About 70 percent of operations were of the key-value kind, where only a
      primary key was used and a single row would be returned. About 20 percent would return a set of rows,             Archives
      but still operate on only a single table.
                                                                                                                        All postings

      With these requirements in mind, and a willingness to question the status quo, a small group of distributed
      systems experts came together and designed a horizontally scalable distributed database that would scale
      out for both reads and writes to meet the long-term needs of our business. This was the genesis of the
      Amazon Dynamo database.

      The success of our early results with the Dynamo database encouraged us to write Amazon's Dynamo
      whitepaper and share it at the 2007 ACM Symposium on Operating Systems Principles (SOSP
      conference), so that others in the industry could benefit. The Dynamo paper was well-received and served
      as a catalyst to create the category of distributed database technologies commonly known today as
      "NoSQL."



https://www.allthingsdistributed.com/2017/10/a-decade-of-dynamo.html                                                                                              1/5
                                                                                                                    KoveIO Compl. Ex. 12
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      Of course, no technology change happens in isolation, and at the same time NoSQL was evolving, so was                        Recent Entries
      cloud computing. As we began growing the AWS business, we realized that external customers might find            Make your voice count by simply
      our Dynamo database just as useful as we found it within Amazon.com. So, we set out to build a fully             saying, "Alexa, let's chat."
      hosted AWS database service based upon the original Dynamo design.                                               A one size fits all database doesn't fit
                                                                                                                       anyone
      The requirements for a fully hosted cloud database service needed to be at an even higher bar than what
                                                                                                                       The workplace of the future
      we had set for our Amazon internal system. The cloud-hosted version would need to be:
                                                                                                                       Changing the calculus of containers in
           Scalable – The service would need to support hundreds of thousands, or even millions of AWS                 the cloud

           customers, each supporting their own internet-scale applications.                                           Looking back at 10 years of
                                                                                                                       compartmentalization at AWS
           Secure – The service would have to store critical data for external AWS customers which would
           require an even higher bar for access control and security.                                                 Infinitely scalable machine learning
                                                                                                                       with Amazon SageMaker
           Durable and Highly-Available – The service would have to be extremely resilient to failure so that all
                                                                                                                       Unlocking Enterprise systems using
           AWS customers could trust it for their mission-critical workloads as well.
                                                                                                                       voice
           Performant – The service would need to be able to maintain consistent performance in the face of
                                                                                                                       Rethinking the 'production' of data
           diverse customer workloads.
                                                                                                                       'Paris s'éveille'! Introducing the AWS
           Manageable – The service would need to be easy to manage and operate. This was perhaps the
                                                                                                                       EU (Paris) Region
           most important requirement if we wanted a broad set of users to adopt the service.
                                                                                                                       Expanding the AWS Cloud: Introducing
                                                                                                                       the AWS China (Ningxia) Region
      With these goals in mind, In January, 2012 we launched Amazon DynamoDB, our cloud-based NoSQL
      database service designed from the ground up to support extreme scale, with the security, availability,          Accelerate Machine Learning with
                                                                                                                       Amazon SageMaker
      performance and manageability needed to run mission-critical workloads.
                                                                                                                       Scaling Amazon ElastiCache for Redis
      Today, DynamoDB powers the next wave of high-performance, internet-scale applications that would                 with Online Cluster Resizing
      overburden traditional relational databases. Many of the world's largest internet-scale businesses such as       A Decade of Dynamo: Powering the
      Lyft, Tinder and Redfin as well as enterprises such as Comcast, Under Armour, BMW, Nordstrom and                 next wave of high-performance,
                                                                                                                       internet-scale applications
      Toyota depend on DynamoDB's scale and performance to support their mission-critical workloads.
                                                                                                                       As-Salaam-Alaikum: The cloud arrives
      DynamoDB is used by Lyft to store GPS locations for all their rides, Tinder to store millions of user profiles   in the Middle East!
      and make billions of matches, Redfin to scale to millions of users and manage data for hundreds of               AI for everyone - How companies can
      millions of properties, Comcast to power their XFINITY X1 video service running on more than 20 million          benefit from the advance of machine
                                                                                                                       learning
      devices, BMW to run its car-as-a-sensor service that can scale up and down by two orders of magnitude
      within 24 hours, Nordstrom for their recommendations engine reducing processing time from 20 minutes to          Improving Customer Service with
                                                                                                                       Amazon Connect and Amazon Lex
      a few seconds, Under Armour to support its connected fitness community of 200 million users, Toyota
                                                                                                                       Stop waiting for perfection and learn
      Racing to make real time decisions on pit-stops, tire changes, and race strategy, and another 100,000+
                                                                                                                       from your mistakes
      AWS customers for a wide variety of high-scale, high-performance use cases.
                                                                                                                       Amazon DynamoDB Accelerator
      With all the real-world customer use, DynamoDB has proven itself on those original design dimensions:            (DAX): Speed Up DynamoDB
                                                                                                                       Response Times from Milliseconds to
           Scalable – DynamoDB supports customers with single tables that serve millions of requests per               Microseconds without Application
           second, store hundreds of terabytes, or contain over 1 trillion items of data. In support of Amazon         Rewrite.

           Prime Day 2017, the biggest day in Amazon retail history, DynamoDB served over 12.9 million                 Expanding the Cloud – An AWS
                                                                                                                       Region is coming to Hong Kong
           requests per second. DynamoDB operates in all AWS regions (16 geographic regions now with
                                                                                                                       Unlocking the Value of Device Data
           announced plans for six more Regions in Bahrain, China, France, Hong Kong, Sweden), so you can
                                                                                                                       with AWS Greengrass.
           have a scalable database in the geographic region you need.
           Secure – DynamoDB provides fine-grained access control at the table, item, and attribute level,
           integrated with AWS Identity and Access Management. VPC Endpoints give you the ability to control
           whether network traffic between your application and DynamoDB traverses the public Internet or
           stays within your virtual private cloud. Integration with AWS CloudWatch, AWS CloudTrail, and AWS
           Config enables support for monitoring, audit, and configuration management. SOC, PCI, ISO,
           FedRAMP, HIPAA BAA, and DoD Impact Level 4 certifications allows customers to meet a wide range
           of compliance standards.
           Durable and Highly-Available – DynamoDB maintains data durability and 99.99 percent availability
           in the event of a server, a rack of servers, or an Availability Zone failure. DynamoDB automatically re-
           distributes your data to healthy servers to ensure there are always multiple replicas of your data
           without you needing to intervene.
           Performant – DynamoDB consistently delivers single-digit millisecond latencies even as your traffic
           volume increases. In addition, DynamoDB Accelerator (DAX) a fully managed, highly available, in-
           memory cache further speeds up DynamoDB response times from milliseconds to microseconds and
           can continue to do so at millions of requests per second.
           Manageable – DynamoDB eliminates the need for manual capacity planning, provisioning,
           monitoring of servers, software upgrades, applying security patches, scaling infrastructure,

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           monitoring, performance tuning, replication across distributed datacenters for high availability, and
           replication across new nodes for data durability. All of this is done for you automatically and with zero
           downtime so that you can focus on your customers, your applications, and your business.
           Adaptive Capacity –DynamoDB intelligently adapts to your table's unique storage needs, by scaling
           your table storage up by horizontally partitioning them across many servers, or down with Time To
           Live (TTL) that deletes items that you marked to expire. DynamoDB provides Auto Scaling, which
           automatically adapts your table throughput up or down in response to actual traffic to your tables and
           indexes. Auto Scaling is on by default for all new tables and indexes.

      Ten years ago, we never would have imagined the lasting impact our efforts on Dynamo would have. What
      started out as an exercise in solving our own needs in a customer obsessed way, turned into a catalyst for
      a broader industry movement towards non-relational databases, and ultimately, an enabler for a new class
      of internet-scale applications.

      As we say at AWS, It is still Day One for DynamoDB. We believe we are in the midst of a transformative
      period for databases, and the adoption of purpose-built databases like DynamoDB is only getting started.
      We expect that the next ten years will see even more innovation in databases than the last ten. I know the
      team is working on some exciting new things for DynamoDB – I can't wait to share them with you over the
      upcoming months.




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                Graeme Roberts • a year ago
                Much more of a miracle to me than any of the artificial intelligence applications to date.
                7△     ▽ • Reply • Share ›

                        Todd > Graeme Roberts • 10 months ago
                        I am not sure about that, because anytime you can take the human element out of
                        the equation while enhancing the system to make decisions on the fly from
                        different data-sources and types is like the discovery of electricity. This tells me
                        that we are moving in a direction that is unprecedented.
                       △ ▽ • Reply • Share ›

                assignment writing help • 4 months ago
                Good internet-scale application which is really good work. It is an application which is
                done everything, i want this types of apps for working different types of work. Thanks a lot.
               △ ▽ • Reply • Share ›

                Thomas Ray • 8 months ago
                Werner, Its really the best post I have read till date about Dynamo DB. You have detailed it
                in such perfection that no body does. Keep up the good work. I always follow your post as
                I am also writing about data integrity niche.
               △ ▽ • Reply • Share ›

                Neil Anderson • 10 months ago
                Werner, No doubt this is is the best the best DynamoDB intro/overview so far. Great article
                thanks and keep it up!
               △ ▽ • Reply • Share ›
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                Jason • 10 months ago
                Here's to hoping future Dynamo libraries in the AWS SDK for Node.js support optional
                async methods to make waiting on queries to return much easier on devs!
               △ ▽ • Reply • Share ›

                UtterlyCloud • 10 months ago
                That was really nice, I've created a website based on cloud, hosted on cloud. Please visit
                www.utterlycloud.com
               △ ▽ • Reply • Share ›

                        Todd > UtterlyCloud • 10 months ago
                        I looked at the site, I love the concept, but there are a few things I would change:

                        → The frame on the left needs to be moved over so I can we see the wording
                        → "is the onethe best ", maybe change that to "is one of the best CSPs"
                        → AWS - to keep consistency, include the date AWS was made available to the
                        public

                        I do like the step-by-step procedures to help individuals create cloud resources,
                        very nice.

                        Todd
                       △ ▽ • Reply • Share ›

                                UtterlyCloud > Todd • 10 months ago
                                https://www.utterlycloud.co... .Your feedback is really helpful to us.The
                                above contains a article on basic understanding of DynamoDB for
                                beginners. Have a look at it and provide feedback. We have number of
                                articles on other cloud services. Please go through them too. We are going
                                to push more articles and tutorials in coming days. Please go through them
                                and please share with your friends who want to learn cloud. People like you
                                really motivates us. Thank you so much.
                                △ ▽ • Reply • Share ›

                William Cox • a year ago
                If DynamoDB is still "day one" then how come the Release Notes show no changes have
                been made for nearly 2 years? Nov. 2015 is the last change noted:
                https://aws.amazon.com/rele...
               △ ▽ • Reply • Share ›

                Prashant Singh • a year ago
                I have one humble question. If Hashing is used to distribute the keys over the ring, and if
                hash function is any good, why do Dynamo had to employ vnode concept?
               △ ▽ • Reply • Share ›

                        Sreedhar Kukunooru > Prashant Singh • a year ago
                        Prashant, Refer to this white paper (section 4.2). That should answer your
                        question.

                        http://www.allthingsdistrib...
                       △ ▽ • Reply • Share ›

                Sean Anderson • a year ago
                By far, the best DynamoDB intro/overview I have ever seen.
               △ ▽ • Reply • Share ›

                Luis Trigueiros • a year ago
                Thank you found it very interesting read.
               △ ▽ • Reply • Share ›

                joono • a year ago
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                                                                                                               KoveIO Compl. Ex. 12
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                 joono • a year ago
                 Pretty interesting indeed
                △ ▽ • Reply • Share ›

                 Avraam J. Dectis • a year ago
                 .
                 That was actually kind of interesting.
                 .
                △ ▽ • Reply • Share ›


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      Avatar                                                    AvatarWerner! This attitude of experimentation and
                                                                      learning quickly from failure is why I've …

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            between who used Amazon services and …                    and "Lua".All in all a great addition to the …


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       All Things Distributed
       Werner Vogels' weblog on building scalable and robust distributed systems.



       Amazon's Dynamo
       By Werner Vogels on 02 October 2007 08:10 AM | Permalink | Comments (21)


       In two weeks we’ll present a paper on the Dynamo technology at SOSP, the prestigious biannual
       Operating Systems conference. Dynamo is internal technology developed at Amazon to address the
       need for an incrementally scalable, highly-available key-value storage system. The technology is
       designed to give its users the ability to trade-off cost, consistency, durability and performance, while
       maintaining high-availability.

       Let me emphasize the internal technology part before it gets misunderstood: Dynamo is not directly
       exposed externally as a web service; however, Dynamo and similar Amazon technologies are used to
       power parts of our Amazon Web Services, such as S3.

       We submitted the technology for publication in SOSP because many of the techniques used in Dynamo
       originate in the operating systems and distributed systems research of the past years; DHTs, consistent           Contact Info
       hashing, versioning, vector clocks, quorum, anti-entropy based recovery, etc. As far as I know Dynamo
                                                                                                                         Werner Vogels
       is the first production system to use the synthesis of all these techniques, and there are quite a few            CTO ­ Amazon.com
       lessons learned from doing so. The paper is mainly about these lessons.

       We are extremely fortunate that the paper was selected for publication in SOSP; only a very few true
       production systems have made it into the conference and as such it is a recognition of the quality of the         Other places
       work that went into building a real incrementally scalable storage system in which the most important
                                                                                                                         Follow werner on twitter if you want to
       properties can be appropriately configured.
                                                                                                                         know what he is current reading or
                                                                                                                         thinking about.
       Dynamo is representative of a lot of the work that we are doing at Amazon; we continuously develop
                                                                                                                         At werner.ly he posts material that
       cutting edge technologies using recent research, and in many cases do the research ourselves. Much of
                                                                                                                         doesn't belong on this blog or on
       the engineering work at Amazon, whether it is in infrastructure, distributed systems, workflow, rendering,        twitter.
       search, digital, similarities, supply chain, shipping or any of the other systems, is equally highly
       advanced.                                                                                                         Check out some great music

       The official reference for the paper is:

            Giuseppe DeCandia, Deniz Hastorun, Madan Jampani, Gunavardhan Kakulapati, Avinash
            Lakshman, Alex Pilchin, Swami Sivasubramanian, Peter Vosshall and Werner Vogels, “Dynamo:
            Amazon's Highly Available Key-Value Store”, in the Proceedings of the 21st ACM Symposium on
            Operating Systems Principles, Stevenson, WA, October 2007.

       A pdf version is available here. You can also read the full online version.

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       2007, Stevenson, Washington, USA, Copyright 2007 ACM 978-1-59593-591-5/07/0010
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                             Dynamo: Amazon’s Highly Available Key­value Store
        Giuseppe DeCandia, Deniz Hastorun, Madan Jampani, Gunavardhan Kakulapati, Avinash Lakshman,
                     Alex Pilchin, Swaminathan Sivasubramanian, Peter Vosshall and Werner Vogels

                                                             Amazon.com

       Abstract

       Reliability at massive scale is one of the biggest challenges we face at Amazon.com, one of the largest
       e-commerce operations in the world; even the slightest outage has significant financial consequences
       and impacts customer trust. The Amazon.com platform, which provides services for many web sites
       worldwide, is implemented on top of an infrastructure of tens of thousands of servers and network


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       components located in many datacenters around the world. At this scale, small and large components                          Recent Entries
       fail continuously and the way persistent state is managed in the face of these failures drives the              Back-to-Basics Weekend Reading: An
       reliability and scalability of the software systems.                                                            Implementation of a Log-Structured
                                                                                                                       File System
       This paper presents the design and implementation of Dynamo, a highly available key-value storage
                                                                                                                       Back-to-Basics Weekend Reading:
       system that some of Amazon’s core services use to provide an “always-on” experience. To achieve this            Deep learning in neural networks
       level of availability, Dynamo sacrifices consistency under certain failure scenarios. It makes extensive        Amazon Makes it Free for Developers
       use of object versioning and application-assisted conflict resolution in a manner that provides a novel         to Build and Host Most Alexa Skills
       interface for developers to use.                                                                                Using AWS
                                                                                                                       How companies can become magnets
       Categories and Subject Descriptors                                                                              for digital talent
       D.4.2 [Operating Systems]: Storage Management; D.4.5 [Operating Systems]: Reliability; D.4.2
                                                                                                                       Back-to-Basics Weekend Reading:
       [Operating Systems]: Performance;                                                                               The Foundations of Blockchain
                                                                                                                       Back-to-Basics Weekend Reading:
       General Terms
                                                                                                                       Why Do Computers Stop and What
       Algorithms, Management, Measurement, Performance, Design, Reliability.
                                                                                                                       Can Be Done About It?
       1. Introduction                                                                                                 Back-to-Basics Weekend Reading:
                                                                                                                       Byzantine Generals
       Amazon runs a world-wide e-commerce platform that serves tens of millions customers at peak times
                                                                                                                       Back-to-Basic Weekend Reading:
       using tens of thousands of servers located in many data centers around the world. There are strict              Monte-Carlo Methods
       operational requirements on Amazon’s platform in terms of performance, reliability and efficiency, and to       Back-to-Basics Weekend Reading -
       support continuous growth the platform needs to be highly scalable. Reliability is one of the most              Bloom Filters
       important requirements because even the slightest outage has significant financial consequences and             A survival strategy for the digital
       impacts customer trust. In addition, to support continuous growth, the platform needs to be highly              transformation
       scalable.                                                                                                       Expanding the AWS Cloud Introducing
                                                                                                                       the AWS Europe (London) Region
       One of the lessons our organization has learned from operating Amazon’s platform is that the reliability
                                                                                                                       Expanding the AWS Cloud:
       and scalability of a system is dependent on how its application state is managed. Amazon uses a highly          Introducing the AWS Canada (Central)
       decentralized, loosely coupled, service oriented architecture consisting of hundreds of services. In this       Region
       environment there is a particular need for storage technologies that are always available. For example,         Transforming Development with AWS
       customers should be able to view and add items to their shopping cart even if disks are failing, network        Bringing the Magic of Amazon AI and
       routes are flapping, or data centers are being destroyed by tornados. Therefore, the service responsible        Alexa to Apps on AWS.
       for managing shopping carts requires that it can always write to and read from its data store, and that its     MXNet ­ Deep Learning Framework of
       data needs to be available across multiple data centers.                                                        Choice at AWS
                                                                                                                       Spice up your Analytics: Amazon
       Dealing with failures in an infrastructure comprised of millions of components is our standard mode of          QuickSight Now Generally Available in
       operation; there are always a small but significant number of server and network components that are            N. Virginia, Oregon, and Ireland.
       failing at any given time. As such Amazon’s software systems need to be constructed in a manner that            Meet the Teams Competing for the
       treats failure handling as the normal case without impacting availability or performance.                       Alexa Prize
                                                                                                                       Welcoming Adrian Cockcroft to the
       To meet the reliability and scaling needs, Amazon has developed a number of storage technologies, of            AWS Team.
       which the Amazon Simple Storage Service (also available outside of Amazon and known as Amazon                   Expanding the AWS Cloud:
       S3), is probably the best known. This paper presents the design and implementation of Dynamo,                   Introducing the AWS US East (Ohio)
       another highly available and scalable distributed data store built for Amazon’s platform. Dynamo is used        Region
       to manage the state of services that have very high reliability requirements and need tight control over        Accelerating Data: Faster and More
       the tradeoffs between availability, consistency, cost-effectiveness and performance. Amazon’s platform          Scalable ElastiCache for Redis

       has a very diverse set of applications with different storage requirements. A select set of applications
       requires a storage technology that is flexible enough to let application designers configure their data
       store appropriately based on these tradeoffs to achieve high availability and guaranteed performance in
       the most cost effective manner.

       There are many services on Amazon’s platform that only need primary-key access to a data store. For
       many services, such as those that provide best seller lists, shopping carts, customer preferences,
       session management, sales rank, and product catalog, the common pattern of using a relational
       database would lead to inefficiencies and limit scale and availability. Dynamo provides a simple primary-
       key only interface to meet the requirements of these applications.

       Dynamo uses a synthesis of well known techniques to achieve scalability and availability: Data is
       partitioned and replicated using consistent hashing [10], and consistency is facilitated by object
       versioning [12]. The consistency among replicas during updates is maintained by a quorum-like
       technique and a decentralized replica synchronization protocol. Dynamo employs a gossip based
       distributed failure detection and membership protocol. Dynamo is a completely decentralized system


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       with minimal need for manual administration. Storage nodes can be added and removed from Dynamo
       without requiring any manual partitioning or redistribution.

       In the past year, Dynamo has been the underlying storage technology for a number of the core services
       in Amazon’s e-commerce platform. It was able to scale to extreme peak loads efficiently without any
       downtime during the busy holiday shopping season. For example, the service that maintains shopping
       cart (Shopping Cart Service) served tens of millions requests that resulted in well over 3 million
       checkouts in a single day and the service that manages session state handled hundreds of thousands of
       concurrently active sessions.

       The main contribution of this work for the research community is the evaluation of how different
       techniques can be combined to provide a single highly-available system. It demonstrates that an
       eventually-consistent storage system can be used in production with demanding applications. It also
       provides insight into the tuning of these techniques to meet the requirements of production systems with
       very strict performance demands.

       The paper is structured as follows. Section 2 presents the background and Section 3 presents the
       related work. Section 4 presents the system design and Section 5 describes the implementation. Section
       6 details the experiences and insights gained by running Dynamo in production and Section 7 concludes
       the paper. There are a number of places in this paper where additional information may have been
       appropriate but where protecting Amazon’s business interests require us to reduce some level of detail.
       For this reason, the intra- and inter-datacenter latencies in section 6, the absolute request rates in
       section 6.2 and outage lengths and workloads in section 6.3 are provided through aggregate measures
       instead of absolute details.

       2. Background

       Amazon’s e-commerce platform is composed of hundreds of services that work in concert to deliver
       functionality ranging from recommendations to order fulfillment to fraud detection. Each service is
       exposed through a well defined interface and is accessible over the network. These services are hosted
       in an infrastructure that consists of tens of thousands of servers located across many data centers
       world-wide. Some of these services are stateless (i.e., services which aggregate responses from other
       services) and some are stateful (i.e., a service that generates its response by executing business logic
       on its state stored in persistent store).

       Traditionally production systems store their state in relational databases. For many of the more common
       usage patterns of state persistence, however, a relational database is a solution that is far from ideal.
       Most of these services only store and retrieve data by primary key and do not require the complex
       querying and management functionality offered by an RDBMS. This excess functionality requires
       expensive hardware and highly skilled personnel for its operation, making it a very inefficient solution. In
       addition, the available replication technologies are limited and typically choose consistency over
       availability. Although many advances have been made in the recent years, it is still not easy to scale-out
       databases or use smart partitioning schemes for load balancing.

       This paper describes Dynamo, a highly available data storage technology that addresses the needs of
       these important classes of services. Dynamo has a simple key/value interface, is highly available with a
       clearly defined consistency window, is efficient in its resource usage, and has a simple scale out scheme
       to address growth in data set size or request rates. Each service that uses Dynamo runs its own
       Dynamo instances.

       2.1 System Assumptions and Requirements
       The storage system for this class of services has the following requirements:

       Query Model: simple read and write operations to a data item that is uniquely identified by a key. State is
       stored as binary objects (i.e., blobs) identified by unique keys. No operations span multiple data items
       and there is no need for relational schema. This requirement is based on the observation that a
       significant portion of Amazon’s services can work with this simple query model and do not need any
       relational schema. Dynamo targets applications that need to store objects that are relatively small
       (usually less than 1 MB).

       ACID Properties: ACID (Atomicity, Consistency, Isolation, Durability) is a set of properties that guarantee
       that database transactions are processed reliably. In the context of databases, a single logical operation
       on the data is called a transaction. Experience at Amazon has shown that data stores that provide ACID


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       guarantees tend to have poor availability. This has been widely acknowledged by both the industry and
       academia [5]. Dynamo targets applications that operate with weaker consistency (the “C” in ACID) if this
       results in high availability. Dynamo does not provide any isolation guarantees and permits only single
       key updates.

       Efficiency: The system needs to function on a commodity hardware infrastructure. In Amazon’s platform,
       services have stringent latency requirements which are in general measured at the 99.9th percentile of
       the distribution. Given that state access plays a crucial role in service operation the storage system must
       be capable of meeting such stringent SLAs (see Section 2.2 below). Services must be able to configure
       Dynamo such that they consistently achieve their latency and throughput requirements. The tradeoffs
       are in performance, cost efficiency, availability, and durability guarantees.

       Other Assumptions: Dynamo is used only by Amazon’s internal services. Its operation environment is
       assumed to be non-hostile and there are no security related requirements such as authentication and
       authorization. Moreover, since each service uses its distinct instance of Dynamo, its initial design targets
       a scale of up to hundreds of storage hosts. We will discuss the scalability limitations of Dynamo and
       possible scalability related extensions in later sections.

       2.2 Service Level Agreements (SLA)

       To guarantee that the application can deliver its functionality in a bounded time, each and every
       dependency in the platform needs to deliver its functionality with even tighter bounds. Clients and
       services engage in a Service Level Agreement (SLA), a formally negotiated contract where a client and
       a service agree on several system-related characteristics, which most prominently include the client’s
       expected request rate distribution for a particular API and the expected service latency under those
       conditions. An example of a simple SLA is a service guaranteeing that it will provide a response within
       300ms for 99.9% of its requests for a peak client load of 500 requests per second.

       In Amazon’s decentralized service oriented infrastructure, SLAs play an important role. For example a
       page request to one of the e-commerce sites typically requires the rendering engine to construct its
       response by sending requests to over 150 services. These services often have multiple dependencies,
       which frequently are other services, and as such it is not uncommon for the call graph of an application
       to have more than one level. To ensure that the page rendering engine can maintain a clear bound on
       page delivery each service within the call chain must obey its performance contract.

       Figure 1 shows an abstract view of the architecture of Amazon’s platform, where dynamic web content is
       generated by page rendering components which in turn query many other services. A service can use
       different data stores to manage its state and these data stores are only accessible within its service
       boundaries. Some services act as aggregators by using several other services to produce a composite
       response. Typically, the aggregator services are stateless, although they use extensive caching.




                              Figure 1: Service-oriented architecture of Amazon’s platform.




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       A common approach in the industry for forming a performance oriented SLA is to describe it using
       average, median and expected variance. At Amazon we have found that these metrics are not good
       enough if the goal is to build a system where all customers have a good experience, rather than just the
       majority. For example if extensive personalization techniques are used then customers with longer
       histories require more processing which impacts performance at the high-end of the distribution. An SLA
       stated in terms of mean or median response times will not address the performance of this important
       customer segment. To address this issue, at Amazon, SLAs are expressed and measured at the 99.9th
       percentile of the distribution. The choice for 99.9% over an even higher percentile has been made
       based on a cost-benefit analysis which demonstrated a significant increase in cost to improve
       performance that much. Experiences with Amazon’s production systems have shown that this approach
       provides a better overall experience compared to those systems that meet SLAs defined based on the
       mean or median.

       In this paper there are many references to this 99.9th percentile of distributions, which reflects Amazon
       engineers’ relentless focus on performance from the perspective of the customers’ experience. Many
       papers report on averages, so these are included where it makes sense for comparison purposes.
       Nevertheless, Amazon’s engineering and optimization efforts are not focused on averages. Several
       techniques, such as the load balanced selection of write coordinators, are purely targeted at controlling
       performance at the 99.9th percentile.

       Storage systems often play an important role in establishing a service’s SLA, especially if the business
       logic is relatively lightweight, as is the case for many Amazon services. State management then
       becomes the main component of a service’s SLA. One of the main design considerations for Dynamo is
       to give services control over their system properties, such as durability and consistency, and to let
       services make their own tradeoffs between functionality, performance and cost-effectiveness.

       2.3 Design Considerations

       Data replication algorithms used in commercial systems traditionally perform synchronous replica
       coordination in order to provide a strongly consistent data access interface. To achieve this level of
       consistency, these algorithms are forced to tradeoff the availability of the data under certain failure
       scenarios. For instance, rather than dealing with the uncertainty of the correctness of an answer, the
       data is made unavailable until it is absolutely certain that it is correct. From the very early replicated
       database works, it is well known that when dealing with the possibility of network failures, strong
       consistency and high data availability cannot be achieved simultaneously [2, 11]. As such systems and
       applications need to be aware which properties can be achieved under which conditions.

       For systems prone to server and network failures, availability can be increased by using optimistic
       replication techniques, where changes are allowed to propagate to replicas in the background, and
       concurrent, disconnected work is tolerated. The challenge with this approach is that it can lead to
       conflicting changes which must be detected and resolved. This process of conflict resolution introduces
       two problems: when to resolve them and who resolves them. Dynamo is designed to be an eventually
       consistent data store; that is all updates reach all replicas eventually.

       An important design consideration is to decide when to perform the process of resolving update
       conflicts, i.e., whether conflicts should be resolved during reads or writes. Many traditional data stores
       execute conflict resolution during writes and keep the read complexity simple [7]. In such systems, writes
       may be rejected if the data store cannot reach all (or a majority of) the replicas at a given time. On the
       other hand, Dynamo targets the design space of an “always writeable” data store (i.e., a data store that
       is highly available for writes). For a number of Amazon services, rejecting customer updates could result
       in a poor customer experience. For instance, the shopping cart service must allow customers to add and
       remove items from their shopping cart even amidst network and server failures. This requirement forces
       us to push the complexity of conflict resolution to the reads in order to ensure that writes are never
       rejected.

       The next design choice is who performs the process of conflict resolution. This can be done by the data
       store or the application. If conflict resolution is done by the data store, its choices are rather limited. In
       such cases, the data store can only use simple policies, such as “last write wins” [22], to resolve
       conflicting updates. On the other hand, since the application is aware of the data schema it can decide
       on the conflict resolution method that is best suited for its client’s experience. For instance, the
       application that maintains customer shopping carts can choose to “merge” the conflicting versions and
       return a single unified shopping cart. Despite this flexibility, some application developers may not want to


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       write their own conflict resolution mechanisms and choose to push it down to the data store, which in
       turn chooses a simple policy such as “last write wins”.

       Other key principles embraced in the design are:

       Incremental scalability: Dynamo should be able to scale out one storage host (henceforth, referred to as
       “node”) at a time, with minimal impact on both operators of the system and the system itself.

       Symmetry: Every node in Dynamo should have the same set of responsibilities as its peers; there should
       be no distinguished node or nodes that take special roles or extra set of responsibilities. In our
       experience, symmetry simplifies the process of system provisioning and maintenance.

       Decentralization: An extension of symmetry, the design should favor decentralized peer-to-peer
       techniques over centralized control. In the past, centralized control has resulted in outages and the goal
       is to avoid it as much as possible. This leads to a simpler, more scalable, and more available system.

       Heterogeneity: The system needs to be able to exploit heterogeneity in the infrastructure it runs on. e.g.
       the work distribution must be proportional to the capabilities of the individual servers. This is essential in
       adding new nodes with higher capacity without having to upgrade all hosts at once.

       3. Related Work
       3.1 Peer to Peer Systems
       There are several peer-to-peer (P2P) systems that have looked at the problem of data storage and
       distribution. The first generation of P2P systems, such as Freenet and Gnutella, were predominantly
       used as file sharing systems. These were examples of unstructured P2P networks where the overlay
       links between peers were established arbitrarily. In these networks, a search query is usually flooded
       through the network to find as many peers as possible that share the data. P2P systems evolved to the
       next generation into what is widely known as structured P2P networks. These networks employ a
       globally consistent protocol to ensure that any node can efficiently route a search query to some peer
       that has the desired data. Systems like Pastry [16] and Chord [20] use routing mechanisms to ensure
       that queries can be answered within a bounded number of hops. To reduce the additional latency
       introduced by multi-hop routing, some P2P systems (e.g., [14]) employ O(1) routing where each peer
       maintains enough routing information locally so that it can route requests (to access a data item) to the
       appropriate peer within a constant number of hops.

       Various storage systems, such as Oceanstore [9] and PAST [17] were built on top of these routing
       overlays. Oceanstore provides a global, transactional, persistent storage service that supports serialized
       updates on widely replicated data. To allow for concurrent updates while avoiding many of the problems
       inherent with wide-area locking, it uses an update model based on conflict resolution. Conflict resolution
       was introduced in [21] to reduce the number of transaction aborts. Oceanstore resolves conflicts by
       processing a series of updates, choosing a total order among them, and then applying them atomically
       in that order. It is built for an environment where the data is replicated on an untrusted infrastructure. By
       comparison, PAST provides a simple abstraction layer on top of Pastry for persistent and immutable
       objects. It assumes that the application can build the necessary storage semantics (such as mutable
       files) on top of it.

       3.2 Distributed File Systems and Databases

       Distributing data for performance, availability and durability has been widely studied in the file system
       and database systems community. Compared to P2P storage systems that only support flat
       namespaces, distributed file systems typically support hierarchical namespaces. Systems like Ficus [15]
       and Coda [19] replicate files for high availability at the expense of consistency. Update conflicts are
       typically managed using specialized conflict resolution procedures. The Farsite system [1] is a
       distributed file system that does not use any centralized server like NFS. Farsite achieves high
       availability and scalability using replication. The Google File System [6] is another distributed file system
       built for hosting the state of Google’s internal applications. GFS uses a simple design with a single
       master server for hosting the entire metadata and where the data is split into chunks and stored in
       chunkservers. Bayou is a distributed relational database system that allows disconnected operations
       and provides eventual data consistency [21].

       Among these systems, Bayou, Coda and Ficus allow disconnected operations and are resilient to issues
       such as network partitions and outages. These systems differ on their conflict resolution procedures. For
       instance, Coda and Ficus perform system level conflict resolution and Bayou allows application level

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       resolution. All of them, however, guarantee eventual consistency. Similar to these systems, Dynamo
       allows read and write operations to continue even during network partitions and resolves updated
       conflicts using different conflict resolution mechanisms. Distributed block storage systems like FAB [18]
       split large size objects into smaller blocks and stores each block in a highly available manner. In
       comparison to these systems, a key-value store is more suitable in this case because: (a) it is intended
       to store relatively small objects (size < 1M) and (b) key-value stores are easier to configure on a per-
       application basis. Antiquity is a wide-area distributed storage system designed to handle multiple server
       failures [23]. It uses a secure log to preserve data integrity, replicates each log on multiple servers for
       durability, and uses Byzantine fault tolerance protocols to ensure data consistency. In contrast to
       Antiquity, Dynamo does not focus on the problem of data integrity and security and is built for a trusted
       environment. Bigtable is a distributed storage system for managing structured data. It maintains a
       sparse, multi-dimensional sorted map and allows applications to access their data using multiple
       attributes [2]. Compared to Bigtable, Dynamo targets applications that require only key/value access
       with primary focus on high availability where updates are not rejected even in the wake of network
       partitions or server failures.

       Traditional replicated relational database systems focus on the problem of guaranteeing strong
       consistency to replicated data. Although strong consistency provides the application writer a convenient
       programming model, these systems are limited in scalability and availability [7]. These systems are not
       capable of handling network partitions because they typically provide strong consistency guarantees.

       3.3 Discussion

       Dynamo differs from the aforementioned decentralized storage systems in terms of its target
       requirements. First, Dynamo is targeted mainly at applications that need an “always writeable” data
       store where no updates are rejected due to failures or concurrent writes. This is a crucial requirement
       for many Amazon applications. Second, as noted earlier, Dynamo is built for an infrastructure within a
       single administrative domain where all nodes are assumed to be trusted. Third, applications that use
       Dynamo do not require support for hierarchical namespaces (a norm in many file systems) or complex
       relational schema (supported by traditional databases). Fourth, Dynamo is built for latency sensitive
       applications that require at least 99.9% of read and write operations to be performed within a few
       hundred milliseconds. To meet these stringent latency requirements, it was imperative for us to avoid
       routing requests through multiple nodes (which is the typical design adopted by several distributed hash
       table systems such as Chord and Pastry). This is because multi-hop routing increases variability in
       response times, thereby increasing the latency at higher percentiles. Dynamo can be characterized as a
       zero-hop DHT, where each node maintains enough routing information locally to route a request to the
       appropriate node directly.

       4.System Architecture

       The architecture of a storage system that needs to operate in a production setting is complex. In
       addition to the actual data persistence component, the system needs to have scalable and robust
       solutions for load balancing, membership and failure detection, failure recovery, replica synchronization,
       overload handling, state transfer, concurrency and job scheduling, request marshalling, request routing,
       system monitoring and alarming, and configuration management. Describing the details of each of the
       solutions is not possible, so this paper focuses on the core distributed systems techniques used in
       Dynamo: partitioning, replication, versioning, membership, failure handling and scaling. Table 1 presents
       a summary of the list of techniques Dynamo uses and their respective advantages.

                         Table 1: Summary of techniques used in Dynamo and their advantages.

            Problem                 Technique                                   Advantage

          Partitioning         Consistent Hashing                         Incremental Scalability

        High Availability       Vector clocks with
                                                               Version size is decoupled from update rates.
           for writes       reconciliation during reads

            Handling
                            Sloppy Quorum and hinted Provides high availability and durability guarantee when
           temporary
                                        handoff                   some of the replicas are not available.
            failures

       Recovering from Anti-entropy using Merkle           Synchronizes divergent replicas in the background.
          permanent                      trees

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            failures

                            Gossip-based membership         Preserves symmetry and avoids having a centralized
       Membership and
                               protocol and failure          registry for storing membership and node liveness
        failure detection
                                    detection.                                    information.


       4.1 System Interface
       Dynamo stores objects associated with a key through a simple interface; it exposes two operations: get()
       and put(). The get(key) operation locates the object replicas associated with the key in the storage
       system and returns a single object or a list of objects with conflicting versions along with a context. The
       put(key, context, object) operation determines where the replicas of the object should be placed based
       on the associated key, and writes the replicas to disk. The context encodes system metadata about the
       object that is opaque to the caller and includes information such as the version of the object. The
       context information is stored along with the object so that the system can verify the validity of the context
       object supplied in the put request.

       Dynamo treats both the key and the object supplied by the caller as an opaque array of bytes. It applies
       a MD5 hash on the key to generate a 128-bit identifier, which is used to determine the storage nodes
       that are responsible for serving the key.

       4.2 Partitioning Algorithm
       One of the key design requirements for Dynamo is that it must scale incrementally. This requires a
       mechanism to dynamically partition the data over the set of nodes (i.e., storage hosts) in the system.
       Dynamo’s partitioning scheme relies on consistent hashing to distribute the load across multiple storage
       hosts. In consistent hashing [10], the output range of a hash function is treated as a fixed circular space
       or “ring” (i.e. the largest hash value wraps around to the smallest hash value). Each node in the system
       is assigned a random value within this space which represents its “position” on the ring. Each data item
       identified by a key is assigned to a node by hashing the data item’s key to yield its position on the ring,
       and then walking the ring clockwise to find the first node with a position larger than the item’s position.
       Thus, each node becomes responsible for the region in the ring between it and its predecessor node on
       the ring. The principle advantage of consistent hashing is that departure or arrival of a node only affects
       its immediate neighbors and other nodes remain unaffected.

       The basic consistent hashing algorithm presents some challenges. First, the random position
       assignment of each node on the ring leads to non-uniform data and load distribution. Second, the basic
       algorithm is oblivious to the heterogeneity in the performance of nodes. To address these issues,
       Dynamo uses a variant of consistent hashing (similar to the one used in [10, 20]): instead of mapping a
       node to a single point in the circle, each node gets assigned to multiple points in the ring. To this end,
       Dynamo uses the concept of “virtual nodes”. A virtual node looks like a single node in the system, but
       each node can be responsible for more than one virtual node. Effectively, when a new node is added to
       the system, it is assigned multiple positions (henceforth, “tokens”) in the ring. The process of fine-tuning
       Dynamo’s partitioning scheme is discussed in Section 6.

       Using virtual nodes has the following advantages:

            If a node becomes unavailable (due to failures or routine maintenance), the load handled by this
            node is evenly dispersed across the remaining available nodes.

            When a node becomes available again, or a new node is added to the system, the newly available
            node accepts a roughly equivalent amount of load from each of the other available nodes.

            The number of virtual nodes that a node is responsible can decided based on its capacity,
            accounting for heterogeneity in the physical infrastructure.

       4.3 Replication
       To achieve high availability and durability, Dynamo replicates its data on multiple hosts. Each data item
       is replicated at N hosts, where N is a parameter configured “per-instance”. Each key, k, is assigned to a
       coordinator node (described in the previous section). The coordinator is in charge of the replication of
       the data items that fall within its range. In addition to locally storing each key within its range, the
       coordinator replicates these keys at the N-1 clockwise successor nodes in the ring. This results in a
       system where each node is responsible for the region of the ring between it and its Nth predecessor. In


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       Figure 2, node B replicates the key k at nodes C and D in addition to storing it locally. Node D will store
       the keys that fall in the ranges (A, B], (B, C], and (C, D].




                              Figure 2: Partitioning and replication of keys in Dynamo ring.

       The list of nodes that is responsible for storing a particular key is called the preference list. The system
       is designed, as will be explained in Section 4.8, so that every node in the system can determine which
       nodes should be in this list for any particular key. To account for node failures, preference list contains
       more than N nodes. Note that with the use of virtual nodes, it is possible that the first N successor
       positions for a particular key may be owned by less than N distinct physical nodes (i.e. a node may hold
       more than one of the first N positions). To address this, the preference list for a key is constructed by
       skipping positions in the ring to ensure that the list contains only distinct physical nodes.

       4.4 Data Versioning

       Dynamo provides eventual consistency, which allows for updates to be propagated to all replicas
       asynchronously. A put() call may return to its caller before the update has been applied at all the
       replicas, which can result in scenarios where a subsequent get() operation may return an object that
       does not have the latest updates.. If there are no failures then there is a bound on the update
       propagation times. However, under certain failure scenarios (e.g., server outages or network partitions),
       updates may not arrive at all replicas for an extended period of time.

       There is a category of applications in Amazon’s platform that can tolerate such inconsistencies and can
       be constructed to operate under these conditions. For example, the shopping cart application requires
       that an “Add to Cart” operation can never be forgotten or rejected. If the most recent state of the cart is
       unavailable, and a user makes changes to an older version of the cart, that change is still meaningful
       and should be preserved. But at the same time it shouldn’t supersede the currently unavailable state of
       the cart, which itself may contain changes that should be preserved. Note that both “add to cart” and
       “delete item from cart” operations are translated into put requests to Dynamo. When a customer wants
       to add an item to (or remove from) a shopping cart and the latest version is not available, the item is
       added to (or removed from) the older version and the divergent versions are reconciled later.

       In order to provide this kind of guarantee, Dynamo treats the result of each modification as a new and
       immutable version of the data. It allows for multiple versions of an object to be present in the system at
       the same time. Most of the time, new versions subsume the previous version(s), and the system itself
       can determine the authoritative version (syntactic reconciliation). However, version branching may
       happen, in the presence of failures combined with concurrent updates, resulting in conflicting versions of
       an object. In these cases, the system cannot reconcile the multiple versions of the same object and the
       client must perform the reconciliation in order to collapse multiple branches of data evolution back into
       one (semantic reconciliation). A typical example of a collapse operation is “merging” different versions of
       a customer’s shopping cart. Using this reconciliation mechanism, an “add to cart” operation is never lost.
       However, deleted items can resurface.

       It is important to understand that certain failure modes can potentially result in the system having not
       just two but several versions of the same data. Updates in the presence of network partitions and node
       failures can potentially result in an object having distinct version sub-histories, which the system will
       need to reconcile in the future. This requires us to design applications that explicitly acknowledge the
       possibility of multiple versions of the same data (in order to never lose any updates).
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       Dynamo uses vector clocks [12] in order to capture causality between different versions of the same
       object. A vector clock is effectively a list of (node, counter) pairs. One vector clock is associated with
       every version of every object. One can determine whether two versions of an object are on parallel
       branches or have a causal ordering, by examine their vector clocks. If the counters on the first object’s
       clock are less-than-or-equal to all of the nodes in the second clock, then the first is an ancestor of the
       second and can be forgotten. Otherwise, the two changes are considered to be in conflict and require
       reconciliation.

       In Dynamo, when a client wishes to update an object, it must specify which version it is updating. This is
       done by passing the context it obtained from an earlier read operation, which contains the vector clock
       information. Upon processing a read request, if Dynamo has access to multiple branches that cannot be
       syntactically reconciled, it will return all the objects at the leaves, with the corresponding version
       information in the context. An update using this context is considered to have reconciled the divergent
       versions and the branches are collapsed into a single new version.




                                      Figure 3: Version evolution of an object over time.

       To illustrate the use of vector clocks, let us consider the example shown in Figure 3. A client writes a
       new object. The node (say Sx) that handles the write for this key increases its sequence number and
       uses it to create the data's vector clock. The system now has the object D1 and its associated clock [(Sx,
       1)]. The client updates the object. Assume the same node handles this request as well. The system now
       also has object D2 and its associated clock [(Sx, 2)]. D2 descends from D1 and therefore over-writes
       D1, however there may be replicas of D1 lingering at nodes that have not yet seen D2. Let us assume
       that the same client updates the object again and a different server (say Sy) handles the request. The
       system now has data D3 and its associated clock [(Sx, 2), (Sy, 1)].

       Next assume a different client reads D2 and then tries to update it, and another node (say Sz) does the
       write. The system now has D4 (descendant of D2) whose version clock is [(Sx, 2), (Sz, 1)]. A node that
       is aware of D1 or D2 could determine, upon receiving D4 and its clock, that D1 and D2 are overwritten
       by the new data and can be garbage collected. A node that is aware of D3 and receives D4 will find that
       there is no causal relation between them. In other words, there are changes in D3 and D4 that are not
       reflected in each other. Both versions of the data must be kept and presented to a client (upon a read)
       for semantic reconciliation.

       Now assume some client reads both D3 and D4 (the context will reflect that both values were found by
       the read). The read's context is a summary of the clocks of D3 and D4, namely [(Sx, 2), (Sy, 1), (Sz, 1)].
       If the client performs the reconciliation and node Sx coordinates the write, Sx will update its sequence
       number in the clock. The new data D5 will have the following clock: [(Sx, 3), (Sy, 1), (Sz, 1)].

       A possible issue with vector clocks is that the size of vector clocks may grow if many servers coordinate
       the writes to an object. In practice, this is not likely because the writes are usually handled by one of the
       top N nodes in the preference list. In case of network partitions or multiple server failures, write requests
       may be handled by nodes that are not in the top N nodes in the preference list causing the size of vector

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       clock to grow. In these scenarios, it is desirable to limit the size of vector clock. To this end, Dynamo
       employs the following clock truncation scheme: Along with each (node, counter) pair, Dynamo stores a
       timestamp that indicates the last time the node updated the data item. When the number of (node,
       counter) pairs in the vector clock reaches a threshold (say 10), the oldest pair is removed from the
       clock. Clearly, this truncation scheme can lead to inefficiencies in reconciliation as the descendant
       relationships cannot be derived accurately. However, this problem has not surfaced in production and
       therefore this issue has not been thoroughly investigated.

       4.5 Execution of get () and put () operations
       Any storage node in Dynamo is eligible to receive client get and put operations for any key. In this
       section, for sake of simplicity, we describe how these operations are performed in a failure-free
       environment and in the subsequent section we describe how read and write operations are executed
       during failures.

       Both get and put operations are invoked using Amazon’s infrastructure-specific request processing
       framework over HTTP. There are two strategies that a client can use to select a node: (1) route its
       request through a generic load balancer that will select a node based on load information, or (2) use a
       partition-aware client library that routes requests directly to the appropriate coordinator nodes. The
       advantage of the first approach is that the client does not have to link any code specific to Dynamo in its
       application, whereas the second strategy can achieve lower latency because it skips a potential
       forwarding step.

       A node handling a read or write operation is known as the coordinator. Typically, this is the first among
       the top N nodes in the preference list. If the requests are received through a load balancer, requests to
       access a key may be routed to any random node in the ring. In this scenario, the node that receives the
       request will not coordinate it if the node is not in the top N of the requested key’s preference list. Instead,
       that node will forward the request to the first among the top N nodes in the preference list.

       Read and write operations involve the first N healthy nodes in the preference list, skipping over those
       that are down or inaccessible. When all nodes are healthy, the top N nodes in a key’s preference list are
       accessed. When there are node failures or network partitions, nodes that are lower ranked in the
       preference list are accessed.

       To maintain consistency among its replicas, Dynamo uses a consistency protocol similar to those used
       in quorum systems. This protocol has two key configurable values: R and W. R is the minimum number
       of nodes that must participate in a successful read operation. W is the minimum number of nodes that
       must participate in a successful write operation. Setting R and W such that R + W > N yields a quorum-
       like system. In this model, the latency of a get (or put) operation is dictated by the slowest of the R (or
       W) replicas. For this reason, R and W are usually configured to be less than N, to provide better latency.

       Upon receiving a put() request for a key, the coordinator generates the vector clock for the new version
       and writes the new version locally. The coordinator then sends the new version (along with the new
       vector clock) to the N highest-ranked reachable nodes. If at least W-1 nodes respond then the write is
       considered successful.

       Similarly, for a get() request, the coordinator requests all existing versions of data for that key from the N
       highest-ranked reachable nodes in the preference list for that key, and then waits for R responses
       before returning the result to the client. If the coordinator ends up gathering multiple versions of the
       data, it returns all the versions it deems to be causally unrelated. The divergent versions are then
       reconciled and the reconciled version superseding the current versions is written back.

       4.6 Handling Failures: Hinted Handoff
       If Dynamo used a traditional quorum approach it would be unavailable during server failures and
       network partitions, and would have reduced durability even under the simplest of failure conditions. To
       remedy this it does not enforce strict quorum membership and instead it uses a “sloppy quorum”; all
       read and write operations are performed on the first N healthy nodes from the preference list, which
       may not always be the first N nodes encountered while walking the consistent hashing ring.

       Consider the example of Dynamo configuration given in Figure 2 with N=3. In this example, if node A is
       temporarily down or unreachable during a write operation then a replica that would normally have lived
       on A will now be sent to node D. This is done to maintain the desired availability and durability
       guarantees. The replica sent to D will have a hint in its metadata that suggests which node was the


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       intended recipient of the replica (in this case A). Nodes that receive hinted replicas will keep them in a
       separate local database that is scanned periodically. Upon detecting that A has recovered, D will attempt
       to deliver the replica to A. Once the transfer succeeds, D may delete the object from its local store
       without decreasing the total number of replicas in the system.

       Using hinted handoff, Dynamo ensures that the read and write operations are not failed due to
       temporary node or network failures. Applications that need the highest level of availability can set W to
       1, which ensures that a write is accepted as long as a single node in the system has durably written the
       key it to its local store. Thus, the write request is only rejected if all nodes in the system are unavailable.
       However, in practice, most Amazon services in production set a higher W to meet the desired level of
       durability. A more detailed discussion of configuring N, R and W follows in section 6.

       It is imperative that a highly available storage system be capable of handling the failure of an entire data
       center(s). Data center failures happen due to power outages, cooling failures, network failures, and
       natural disasters. Dynamo is configured such that each object is replicated across multiple data centers.
       In essence, the preference list of a key is constructed such that the storage nodes are spread across
       multiple data centers. These datacenters are connected through high speed network links. This scheme
       of replicating across multiple datacenters allows us to handle entire data center failures without a data
       outage.

       4.7 Handling permanent failures: Replica synchronization
       Hinted handoff works best if the system membership churn is low and node failures are transient. There
       are scenarios under which hinted replicas become unavailable before they can be returned to the
       original replica node. To handle this and other threats to durability, Dynamo implements an anti-entropy
       (replica synchronization) protocol to keep the replicas synchronized.

       To detect the inconsistencies between replicas faster and to minimize the amount of transferred data,
       Dynamo uses Merkle trees [13]. A Merkle tree is a hash tree where leaves are hashes of the values of
       individual keys. Parent nodes higher in the tree are hashes of their respective children. The principal
       advantage of Merkle tree is that each branch of the tree can be checked independently without requiring
       nodes to download the entire tree or the entire data set. Moreover, Merkle trees help in reducing the
       amount of data that needs to be transferred while checking for inconsistencies among replicas. For
       instance, if the hash values of the root of two trees are equal, then the values of the leaf nodes in the
       tree are equal and the nodes require no synchronization. If not, it implies that the values of some
       replicas are different. In such cases, the nodes may exchange the hash values of children and the
       process continues until it reaches the leaves of the trees, at which point the hosts can identify the keys
       that are “out of sync”. Merkle trees minimize the amount of data that needs to be transferred for
       synchronization and reduce the number of disk reads performed during the anti-entropy process.

       Dynamo uses Merkle trees for anti-entropy as follows: Each node maintains a separate Merkle tree for
       each key range (the set of keys covered by a virtual node) it hosts. This allows nodes to compare
       whether the keys within a key range are up-to-date. In this scheme, two nodes exchange the root of the
       Merkle tree corresponding to the key ranges that they host in common. Subsequently, using the tree
       traversal scheme described above the nodes determine if they have any differences and perform the
       appropriate synchronization action. The disadvantage with this scheme is that many key ranges change
       when a node joins or leaves the system thereby requiring the tree(s) to be recalculated. This issue is
       addressed, however, by the refined partitioning scheme described in Section 6.2.

       4.8 Membership and Failure Detection
       4.8.1 Ring Membership

       In Amazon’s environment node outages (due to failures and maintenance tasks) are often transient but
       may last for extended intervals. A node outage rarely signifies a permanent departure and therefore
       should not result in rebalancing of the partition assignment or repair of the unreachable replicas.
       Similarly, manual error could result in the unintentional startup of new Dynamo nodes. For these
       reasons, it was deemed appropriate to use an explicit mechanism to initiate the addition and removal of
       nodes from a Dynamo ring. An administrator uses a command line tool or a browser to connect to a
       Dynamo node and issue a membership change to join a node to a ring or remove a node from a ring.
       The node that serves the request writes the membership change and its time of issue to persistent
       store. The membership changes form a history because nodes can be removed and added back
       multiple times. A gossip-based protocol propagates membership changes and maintains an eventually


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       consistent view of membership. Each node contacts a peer chosen at random every second and the two
       nodes efficiently reconcile their persisted membership change histories.

       When a node starts for the first time, it chooses its set of tokens (virtual nodes in the consistent hash
       space) and maps nodes to their respective token sets. The mapping is persisted on disk and initially
       contains only the local node and token set. The mappings stored at different Dynamo nodes are
       reconciled during the same communication exchange that reconciles the membership change histories.
       Therefore, partitioning and placement information also propagates via the gossip-based protocol and
       each storage node is aware of the token ranges handled by its peers. This allows each node to forward
       a key’s read/write operations to the right set of nodes directly.

       4.8.2 External Discovery
       The mechanism described above could temporarily result in a logically partitioned Dynamo ring. For
       example, the administrator could contact node A to join A to the ring, then contact node B to join B to the
       ring. In this scenario, nodes A and B would each consider itself a member of the ring, yet neither would
       be immediately aware of the other. To prevent logical partitions, some Dynamo nodes play the role of
       seeds. Seeds are nodes that are discovered via an external mechanism and are known to all nodes.
       Because all nodes eventually reconcile their membership with a seed, logical partitions are highly
       unlikely. Seeds can be obtained either from static configuration or from a configuration service. Typically
       seeds are fully functional nodes in the Dynamo ring.

       4.8.3 Failure Detection

       Failure detection in Dynamo is used to avoid attempts to communicate with unreachable peers during
       get() and put() operations and when transferring partitions and hinted replicas. For the purpose of
       avoiding failed attempts at communication, a purely local notion of failure detection is entirely sufficient:
       node A may consider node B failed if node B does not respond to node A’s messages (even if B is
       responsive to node C's messages). In the presence of a steady rate of client requests generating inter-
       node communication in the Dynamo ring, a node A quickly discovers that a node B is unresponsive
       when B fails to respond to a message; Node A then uses alternate nodes to service requests that map
       to B's partitions; A periodically retries B to check for the latter's recovery. In the absence of client
       requests to drive traffic between two nodes, neither node really needs to know whether the other is
       reachable and responsive.

       Decentralized failure detection protocols use a simple gossip-style protocol that enable each node in the
       system to learn about the arrival (or departure) of other nodes. For detailed information on
       decentralized failure detectors and the parameters affecting their accuracy, the interested reader is
       referred to [8]. Early designs of Dynamo used a decentralized failure detector to maintain a globally
       consistent view of failure state. Later it was determined that the explicit node join and leave methods
       obviates the need for a global view of failure state. This is because nodes are notified of permanent
       node additions and removals by the explicit node join and leave methods and temporary node failures
       are detected by the individual nodes when they fail to communicate with others (while forwarding
       requests).

       4.9 Adding/Removing Storage Nodes
       When a new node (say X) is added into the system, it gets assigned a number of tokens that are
       randomly scattered on the ring. For every key range that is assigned to node X, there may be a number
       of nodes (less than or equal to N) that are currently in charge of handling keys that fall within its token
       range. Due to the allocation of key ranges to X, some existing nodes no longer have to some of their
       keys and these nodes transfer those keys to X. Let us consider a simple bootstrapping scenario where
       node X is added to the ring shown in Figure 2 between A and B. When X is added to the system, it is in
       charge of storing keys in the ranges (F, G], (G, A] and (A, X]. As a consequence, nodes B, C and D no
       longer have to store the keys in these respective ranges. Therefore, nodes B, C, and D will offer to and
       upon confirmation from X transfer the appropriate set of keys. When a node is removed from the
       system, the reallocation of keys happens in a reverse process.

       Operational experience has shown that this approach distributes the load of key distribution uniformly
       across the storage nodes, which is important to meet the latency requirements and to ensure fast
       bootstrapping. Finally, by adding a confirmation round between the source and the destination, it is
       made sure that the destination node does not receive any duplicate transfers for a given key range.

       5.Implementation

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       In Dynamo, each storage node has three main software components: request coordination, membership
       and failure detection, and a local persistence engine. All these components are implemented in Java.

       Dynamo’s local persistence component allows for different storage engines to be plugged in. Engines
       that are in use are Berkeley Database (BDB) Transactional Data Store, BDB Java Edition, MySQL, and
       an in-memory buffer with persistent backing store. The main reason for designing a pluggable
       persistence component is to choose the storage engine best suited for an application’s access patterns.
       For instance, BDB can handle objects typically in the order of tens of kilobytes whereas MySQL can
       handle objects of larger sizes. Applications choose Dynamo’s local persistence engine based on their
       object size distribution. The majority of Dynamo’s production instances use BDB Transactional Data
       Store.

       The request coordination component is built on top of an event-driven messaging substrate where the
       message processing pipeline is split into multiple stages similar to the SEDA architecture [24]. All
       communications are implemented using Java NIO channels. The coordinator executes the read and
       write requests on behalf of clients by collecting data from one or more nodes (in the case of reads) or
       storing data at one or more nodes (for writes). Each client request results in the creation of a state
       machine on the node that received the client request. The state machine contains all the logic for
       identifying the nodes responsible for a key, sending the requests, waiting for responses, potentially
       doing retries, processing the replies and packaging the response to the client. Each state machine
       instance handles exactly one client request. For instance, a read operation implements the following
       state machine: (i) send read requests to the nodes, (ii) wait for minimum number of required responses,
       (iii) if too few replies were received within a given time bound, fail the request, (iv) otherwise gather all
       the data versions and determine the ones to be returned and (v) if versioning is enabled, perform
       syntactic reconciliation and generate an opaque write context that contains the vector clock that
       subsumes all the remaining versions. For the sake of brevity the failure handling and retry states are left
       out.

       After the read response has been returned to the caller the state machine waits for a small period of
       time to receive any outstanding responses. If stale versions were returned in any of the responses, the
       coordinator updates those nodes with the latest version. This process is called read repair because it
       repairs replicas that have missed a recent update at an opportunistic time and relieves the anti-entropy
       protocol from having to do it.

       As noted earlier, write requests are coordinated by one of the top N nodes in the preference list.
       Although it is desirable always to have the first node among the top N to coordinate the writes thereby
       serializing all writes at a single location, this approach has led to uneven load distribution resulting in
       SLA violations. This is because the request load is not uniformly distributed across objects. To counter
       this, any of the top N nodes in the preference list is allowed to coordinate the writes. In particular, since
       each write usually follows a read operation, the coordinator for a write is chosen to be the node that
       replied fastest to the previous read operation which is stored in the context information of the request.
       This optimization enables us to pick the node that has the data that was read by the preceding read
       operation thereby increasing the chances of getting “read-your-writes” consistency. It also reduces
       variability in the performance of the request handling which improves the performance at the 99.9
       percentile.

       6. Experiences & Lessons Learned

       Dynamo is used by several services with different configurations. These instances differ by their version
       reconciliation logic, and read/write quorum characteristics. The following are the main patterns in which
       Dynamo is used:

              Business logic specific reconciliation: This is a popular use case for Dynamo. Each data object is
              replicated across multiple nodes. In case of divergent versions, the client application performs its
              own reconciliation logic. The shopping cart service discussed earlier is a prime example of this
              category. Its business logic reconciles objects by merging different versions of a customer’s
              shopping cart.

              Timestamp based reconciliation: This case differs from the previous one only in the reconciliation
              mechanism. In case of divergent versions, Dynamo performs simple timestamp based reconciliation
              logic of “last write wins”; i.e., the object with the largest physical timestamp value is chosen as the
              correct version. The service that maintains customer’s session information is a good example of a
              service that uses this mode.

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            High performance read engine: While Dynamo is built to be an “always writeable” data store, a few
            services are tuning its quorum characteristics and using it as a high performance read engine.
            Typically, these services have a high read request rate and only a small number of updates. In this
            configuration, typically R is set to be 1 and W to be N. For these services, Dynamo provides the
            ability to partition and replicate their data across multiple nodes thereby offering incremental
            scalability. Some of these instances function as the authoritative persistence cache for data stored
            in more heavy weight backing stores. Services that maintain product catalog and promotional items
            fit in this category.

       The main advantage of Dynamo is that its client applications can tune the values of N, R and W to
       achieve their desired levels of performance, availability and durability. For instance, the value of N
       determines the durability of each object. A typical value of N used by Dynamo’s users is 3.

       The values of W and R impact object availability, durability and consistency. For instance, if W is set to 1,
       then the system will never reject a write request as long as there is at least one node in the system that
       can successfully process a write request. However, low values of W and R can increase the risk of
       inconsistency as write requests are deemed successful and returned to the clients even if they are not
       processed by a majority of the replicas. This also introduces a vulnerability window for durability when a
       write request is successfully returned to the client even though it has been persisted at only a small
       number of nodes.

       Traditional wisdom holds that durability and availability go hand-in-hand. However, this is not necessarily
       true here. For instance, the vulnerability window for durability can be decreased by increasing W. This
       may increase the probability of rejecting requests (thereby decreasing availability) because more
       storage hosts need to be alive to process a write request.

       The common (N,R,W) configuration used by several instances of Dynamo is (3,2,2). These values are
       chosen to meet the necessary levels of performance, durability, consistency, and availability SLAs.

       All the measurements presented in this section were taken on a live system operating with a
       configuration of (3,2,2) and running a couple hundred nodes with homogenous hardware configurations.
       As mentioned earlier, each instance of Dynamo contains nodes that are located in multiple datacenters.
       These datacenters are typically connected through high speed network links. Recall that to generate a
       successful get (or put) response R (or W) nodes need to respond to the coordinator. Clearly, the
       network latencies between datacenters affect the response time and the nodes (and their datacenter
       locations) are chosen such that the applications target SLAs are met.

       6.1 Balancing Performance and Durability
       While Dynamo’s principle design goal is to build a highly available data store, performance is an equally
       important criterion in Amazon’s platform. As noted earlier, to provide a consistent customer experience,
       Amazon’s services set their performance targets at higher percentiles (such as the 99.9th or 99.99th
       percentiles). A typical SLA required of services that use Dynamo is that 99.9% of the read and write
       requests execute within 300ms.

       Since Dynamo is run on standard commodity hardware components that have far less I/O throughput
       than high-end enterprise servers, providing consistently high performance for read and write operations
       is a non-trivial task. The involvement of multiple storage nodes in read and write operations makes it
       even more challenging, since the performance of these operations is limited by the slowest of the R or
       W replicas. Figure 4 shows the average and 99.9th percentile latencies of Dynamo’s read and write
       operations during a period of 30 days. As seen in the figure, the latencies exhibit a clear diurnal pattern
       which is a result of the diurnal pattern in the incoming request rate (i.e., there is a significant difference
       in request rate between the daytime and night). Moreover, the write latencies are higher than read
       latencies obviously because write operations always results in disk access. Also, the 99.9th percentile
       latencies are around 200 ms and are an order of magnitude higher than the averages. This is because
       the 99.9th percentile latencies are affected by several factors such as variability in request load, object
       sizes, and locality patterns.




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       Figure 4: Average and 99.9 percentiles of latencies for read and write requests during our peak request
          season of December 2006. The intervals between consecutive ticks in the x-axis correspond to 12
       hours. Latencies follow a diurnal pattern similar to the request rate and 99.9 percentile latencies are an
                                        order of magnitude higher than averages.

       While this level of performance is acceptable for a number of services, a few customer-facing services
       required higher levels of performance. For these services, Dynamo provides the ability to trade-off
       durability guarantees for performance. In the optimization each storage node maintains an object buffer
       in its main memory. Each write operation is stored in the buffer and gets periodically written to storage
       by a writer thread. In this scheme, read operations first check if the requested key is present in the
       buffer. If so, the object is read from the buffer instead of the storage engine.

       This optimization has resulted in lowering the 99.9th percentile latency by a factor of 5 during peak
       traffic even for a very small buffer of a thousand objects (see Figure 5). Also, as seen in the figure, write
       buffering smoothes out higher percentile latencies. Obviously, this scheme trades durability for
       performance. In this scheme, a server crash can result in missing writes that were queued up in the
       buffer. To reduce the durability risk, the write operation is refined to have the coordinator choose one out
       of the N replicas to perform a “durable write”. Since the coordinator waits only for W responses, the
       performance of the write operation is not affected by the performance of the durable write operation
       performed by a single replica.




       Figure 5: Comparison of performance of 99.9th percentile latencies for buffered vs. non-buffered writes
       over a period of 24 hours. The intervals between consecutive ticks in the x-axis correspond to one hour.

       6.2 Ensuring Uniform Load distribution
       Dynamo uses consistent hashing to partition its key space across its replicas and to ensure uniform load
       distribution. A uniform key distribution can help us achieve uniform load distribution assuming the access
       distribution of keys is not highly skewed. In particular, Dynamo’s design assumes that even where there
       is a significant skew in the access distribution there are enough keys in the popular end of the
       distribution so that the load of handling popular keys can be spread across the nodes uniformly through



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       partitioning. This section discusses the load imbalance seen in Dynamo and the impact of different
       partitioning strategies on load distribution.

       To study the load imbalance and its correlation with request load, the total number of requests received
       by each node was measured for a period of 24 hours - broken down into intervals of 30 minutes. In a
       given time window, a node is considered to be “in-balance”, if the node’s request load deviates from the
       average load by a value a less than a certain threshold (here 15%). Otherwise the node was deemed
       “out-of-balance”. Figure 6 presents the fraction of nodes that are “out-of-balance” (henceforth,
       “imbalance ratio”) during this time period. For reference, the corresponding request load received by the
       entire system during this time period is also plotted. As seen in the figure, the imbalance ratio decreases
       with increasing load. For instance, during low loads the imbalance ratio is as high as 20% and during
       high loads it is close to 10%. Intuitively, this can be explained by the fact that under high loads, a large
       number of popular keys are accessed and due to uniform distribution of keys the load is evenly
       distributed. However, during low loads (where load is 1/8th of the measured peak load), fewer popular
       keys are accessed, resulting in a higher load imbalance.




        Figure 6: Fraction of nodes that are out-of-balance (i.e., nodes whose request load is above a certain
         threshold from the average system load) and their corresponding request load. The interval between
                                ticks in x-axis corresponds to a time period of 30 minutes.

       This section discusses how Dynamo’s partitioning scheme has evolved over time and its implications on
       load distribution.

       Strategy 1: T random tokens per node and partition by token value: This was the initial strategy
       deployed in production (and described in Section 4.2). In this scheme, each node is assigned T tokens
       (chosen uniformly at random from the hash space). The tokens of all nodes are ordered according to
       their values in the hash space. Every two consecutive tokens define a range. The last token and the first
       token form a range that "wraps" around from the highest value to the lowest value in the hash space.
       Because the tokens are chosen randomly, the ranges vary in size. As nodes join and leave the system,
       the token set changes and consequently the ranges change. Note that the space needed to maintain
       the membership at each node increases linearly with the number of nodes in the system.

       While using this strategy, the following problems were encountered. First, when a new node joins the
       system, it needs to “steal” its key ranges from other nodes. However, the nodes handing the key ranges
       off to the new node have to scan their local persistence store to retrieve the appropriate set of data
       items. Note that performing such a scan operation on a production node is tricky as scans are highly
       resource intensive operations and they need to be executed in the background without affecting the
       customer performance. This requires us to run the bootstrapping task at the lowest priority. However,
       this significantly slows the bootstrapping process and during busy shopping season, when the nodes are
       handling millions of requests a day, the bootstrapping has taken almost a day to complete. Second,
       when a node joins/leaves the system, the key ranges handled by many nodes change and the Merkle
       trees for the new ranges need to be recalculated, which is a non-trivial operation to perform on a
       production system. Finally, there was no easy way to take a snapshot of the entire key space due to the
       randomness in key ranges, and this made the process of archival complicated. In this scheme, archiving
       the entire key space requires us to retrieve the keys from each node separately, which is highly
       inefficient.

       The fundamental issue with this strategy is that the schemes for data partitioning and data placement
       are intertwined. For instance, in some cases, it is preferred to add more nodes to the system in order to


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       handle an increase in request load. However, in this scenario, it is not possible to add nodes without
       affecting data partitioning. Ideally, it is desirable to use independent schemes for partitioning and
       placement. To this end, following strategies were evaluated:

       Strategy 2: T random tokens per node and equal sized partitions: In this strategy, the hash space is
       divided into Q equally sized partitions/ranges and each node is assigned T random tokens. Q is usually
       set such that Q >> N and Q >> S*T, where S is the number of nodes in the system. In this strategy, the
       tokens are only used to build the function that maps values in the hash space to the ordered lists of
       nodes and not to decide the partitioning. A partition is placed on the first N unique nodes that are
       encountered while walking the consistent hashing ring clockwise from the end of the partition. Figure 7
       illustrates this strategy for N=3. In this example, nodes A, B, C are encountered while walking the ring
       from the end of the partition that contains key k1. The primary advantages of this strategy are: (i)
       decoupling of partitioning and partition placement, and (ii) enabling the possibility of changing the
       placement scheme at runtime.




       Figure 7: Partitioning and placement of keys in the three strategies. A, B, and C depict the three unique
       nodes that form the preference list for the key k1 on the consistent hashing ring (N=3). The shaded area
        indicates the key range for which nodes A, B, and C form the preference list. Dark arrows indicate the
                                            token locations for various nodes.

       Strategy 3: Q/S tokens per node, equal-sized partitions: Similar to strategy 2, this strategy divides the
       hash space into Q equally sized partitions and the placement of partition is decoupled from the
       partitioning scheme. Moreover, each node is assigned Q/S tokens where S is the number of nodes in
       the system. When a node leaves the system, its tokens are randomly distributed to the remaining nodes
       such that these properties are preserved. Similarly, when a node joins the system it "steals" tokens from
       nodes in the system in a way that preserves these properties.

       The efficiency of these three strategies is evaluated for a system with S=30 and N=3. However,
       comparing these different strategies in a fair manner is hard as different strategies have different
       configurations to tune their efficiency. For instance, the load distribution property of strategy 1 depends
       on the number of tokens (i.e., T) while strategy 3 depends on the number of partitions (i.e., Q). One fair
       way to compare these strategies is to evaluate the skew in their load distribution while all strategies use
       the same amount of space to maintain their membership information. For instance, in strategy 1 each
       node needs to maintain the token positions of all the nodes in the ring and in strategy 3 each node
       needs to maintain the information regarding the partitions assigned to each node.

       In our next experiment, these strategies were evaluated by varying the relevant parameters (T and Q).
       The load balancing efficiency of each strategy was measured for different sizes of membership
       information that needs to be maintained at each node, where Load balancing efficiency is defined as the
       ratio of average number of requests served by each node to the maximum number of requests served
       by the hottest node.

       The results are given in Figure 8. As seen in the figure, strategy 3 achieves the best load balancing
       efficiency and strategy 2 has the worst load balancing efficiency. For a brief time, Strategy 2 served as
       an interim setup during the process of migrating Dynamo instances from using Strategy 1 to Strategy 3.
       Compared to Strategy 1, Strategy 3 achieves better efficiency and reduces the size of membership
       information maintained at each node by three orders of magnitude. While storage is not a major issue
       the nodes gossip the membership information periodically and as such it is desirable to keep this
       information as compact as possible. In addition to this, strategy 3 is advantageous and simpler to deploy
       for the following reasons: (i) Faster bootstrapping/recovery: Since partition ranges are fixed, they can be
       stored in separate files, meaning a partition can be relocated as a unit by simply transferring the file
       (avoiding random accesses needed to locate specific items). This simplifies the process of bootstrapping
       and recovery. (ii) Ease of archival: Periodical archiving of the dataset is a mandatory requirement for

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       most of Amazon storage services. Archiving the entire dataset stored by Dynamo is simpler in strategy 3
       because the partition files can be archived separately. By contrast, in Strategy 1, the tokens are chosen
       randomly and, archiving the data stored in Dynamo requires retrieving the keys from individual nodes
       separately and is usually inefficient and slow. The disadvantage of strategy 3 is that changing the node
       membership requires coordination in order to preserve the properties required of the assignment.




        Figure 8: Comparison of the load distribution efficiency of different strategies for system with 30 nodes
        and N=3 with equal amount of metadata maintained at each node. The values of the system size and
            number of replicas are based on the typical configuration deployed for majority of our services.

       6.3 Divergent Versions: When and How Many?

       As noted earlier, Dynamo is designed to tradeoff consistency for availability. To understand the precise
       impact of different failures on consistency, detailed data is required on multiple factors: outage length,
       type of failure, component reliability, workload etc. Presenting these numbers in detail is outside of the
       scope of this paper. However, this section discusses a good summary metric: the number of divergent
       versions seen by the application in a live production environment.

       Divergent versions of a data item arise in two scenarios. The first is when the system is facing failure
       scenarios such as node failures, data center failures, and network partitions. The second is when the
       system is handling a large number of concurrent writers to a single data item and multiple nodes end up
       coordinating the updates concurrently. From both a usability and efficiency perspective, it is preferred to
       keep the number of divergent versions at any given time as low as possible. If the versions cannot be
       syntactically reconciled based on vector clocks alone, they have to be passed to the business logic for
       semantic reconciliation. Semantic reconciliation introduces additional load on services, so it is desirable
       to minimize the need for it.

       In our next experiment, the number of versions returned to the shopping cart service was profiled for a
       period of 24 hours. During this period, 99.94% of requests saw exactly one version; 0.00057% of
       requests saw 2 versions; 0.00047% of requests saw 3 versions and 0.00009% of requests saw 4
       versions. This shows that divergent versions are created rarely.

       Experience shows that the increase in the number of divergent versions is contributed not by failures but
       due to the increase in number of concurrent writers. The increase in the number of concurrent writes is
       usually triggered by busy robots (automated client programs) and rarely by humans. This issue is not
       discussed in detail due to the sensitive nature of the story.

       6.4 Client­driven or Server­driven Coordination

       As mentioned in Section 5, Dynamo has a request coordination component that uses a state machine to
       handle incoming requests. Client requests are uniformly assigned to nodes in the ring by a load
       balancer. Any Dynamo node can act as a coordinator for a read request. Write requests on the other
       hand will be coordinated by a node in the key’s current preference list. This restriction is due to the fact
       that these preferred nodes have the added responsibility of creating a new version stamp that causally
       subsumes the version that has been updated by the write request. Note that if Dynamo’s versioning
       scheme is based on physical timestamps, any node can coordinate a write request.



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       An alternative approach to request coordination is to move the state machine to the client nodes. In this
       scheme client applications use a library to perform request coordination locally. A client periodically picks
       a random Dynamo node and downloads its current view of Dynamo membership state. Using this
       information the client can determine which set of nodes form the preference list for any given key. Read
       requests can be coordinated at the client node thereby avoiding the extra network hop that is incurred if
       the request were assigned to a random Dynamo node by the load balancer. Writes will either be
       forwarded to a node in the key’s preference list or can be coordinated locally if Dynamo is using
       timestamps based versioning.

       An important advantage of the client-driven coordination approach is that a load balancer is no longer
       required to uniformly distribute client load. Fair load distribution is implicitly guaranteed by the near
       uniform assignment of keys to the storage nodes. Obviously, the efficiency of this scheme is dependent
       on how fresh the membership information is at the client. Currently clients poll a random Dynamo node
       every 10 seconds for membership updates. A pull based approach was chosen over a push based one
       as the former scales better with large number of clients and requires very little state to be maintained at
       servers regarding clients. However, in the worst case the client can be exposed to stale membership for
       duration of 10 seconds. In case, if the client detects its membership table is stale (for instance, when
       some members are unreachable), it will immediately refresh its membership information.

       Table 2 shows the latency improvements at the 99.9th percentile and averages that were observed for a
       period of 24 hours using client-driven coordination compared to the server-driven approach. As seen in
       the table, the client-driven coordination approach reduces the latencies by at least 30 milliseconds for
       99.9th percentile latencies and decreases the average by 3 to 4 milliseconds. The latency improvement
       is because the client-driven approach eliminates the overhead of the load balancer and the extra
       network hop that may be incurred when a request is assigned to a random node. As seen in the table,
       average latencies tend to be significantly lower than latencies at the 99.9th percentile. This is because
       Dynamo’s storage engine caches and write buffer have good hit ratios. Moreover, since the load
       balancers and network introduce additional variability to the response time, the gain in response time is
       higher for the 99.9th percentile than the average.

                   Table 2: Performance of client-driven and server-driven coordination approaches.

                    99.9th percentile read      99.9th percentile write       Average read          Average write
                         latency (ms)                 latency (ms)             latency (ms)         latency (ms)

        Server-
                              68.9                        68.5                      3.9                  4.02
         driven

         Client-
                              30.4                        30.4                     1.55                  1.9
         driven


       6.5 Balancing background vs. foreground tasks
       Each node performs different kinds of background tasks for replica synchronization and data handoff
       (either due to hinting or adding/removing nodes) in addition to its normal foreground put/get operations.
       In early production settings, these background tasks triggered the problem of resource contention and
       affected the performance of the regular put and get operations. Hence, it became necessary to ensure
       that background tasks ran only when the regular critical operations are not affected significantly. To this
       end, the background tasks were integrated with an admission control mechanism. Each of the
       background tasks uses this controller to reserve runtime slices of the resource (e.g. database), shared
       across all background tasks. A feedback mechanism based on the monitored performance of the
       foreground tasks is employed to change the number of slices that are available to the background tasks.

       The admission controller constantly monitors the behavior of resource accesses while executing a
       "foreground" put/get operation. Monitored aspects include latencies for disk operations, failed database
       accesses due to lock-contention and transaction timeouts, and request queue wait times. This
       information is used to check whether the percentiles of latencies (or failures) in a given trailing time
       window are close to a desired threshold. For example, the background controller checks to see how
       close the 99th percentile database read latency (over the last 60 seconds) is to a preset threshold (say
       50ms). The controller uses such comparisons to assess the resource availability for the foreground
       operations. Subsequently, it decides on how many time slices will be available to background tasks,



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       thereby using the feedback loop to limit the intrusiveness of the background activities. Note that a similar
       problem of managing background tasks has been studied in [4].

       6.6 Discussion
       This section summarizes some of the experiences gained during the process of implementation and
       maintenance of Dynamo. Many Amazon internal services have used Dynamo for the past two years and
       it has provided significant levels of availability to its applications. In particular, applications have received
       successful responses (without timing out) for 99.9995% of its requests and no data loss event has
       occurred to date.

       Moreover, the primary advantage of Dynamo is that it provides the necessary knobs using the three
       parameters of (N,R,W) to tune their instance based on their needs.. Unlike popular commercial data
       stores, Dynamo exposes data consistency and reconciliation logic issues to the developers. At the
       outset, one may expect the application logic to become more complex. However, historically, Amazon’s
       platform is built for high availability and many applications are designed to handle different failure modes
       and inconsistencies that may arise. Hence, porting such applications to use Dynamo was a relatively
       simple task. For new applications that want to use Dynamo, some analysis is required during the initial
       stages of the development to pick the right conflict resolution mechanisms that meet the business case
       appropriately. Finally, Dynamo adopts a full membership model where each node is aware of the data
       hosted by its peers. To do this, each node actively gossips the full routing table with other nodes in the
       system. This model works well for a system that contains couple of hundreds of nodes. However, scaling
       such a design to run with tens of thousands of nodes is not trivial because the overhead in maintaining
       the routing table increases with the system size. This limitation might be overcome by introducing
       hierarchical extensions to Dynamo. Also, note that this problem is actively addressed by O(1) DHT
       systems(e.g., [14]).

       7. Conclusions

       This paper described Dynamo, a highly available and scalable data store, used for storing state of a
       number of core services of Amazon.com’s e-commerce platform. Dynamo has provided the desired
       levels of availability and performance and has been successful in handling server failures, data center
       failures and network partitions. Dynamo is incrementally scalable and allows service owners to scale up
       and down based on their current request load. Dynamo allows service owners to customize their storage
       system to meet their desired performance, durability and consistency SLAs by allowing them to tune the
       parameters N, R, and W.

       The production use of Dynamo for the past year demonstrates that decentralized techniques can be
       combined to provide a single highly-available system. Its success in one of the most challenging
       application environments shows that an eventual-consistent storage system can be a building block for
       highly-available applications.

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                ao • 5 years ago
                Very interesting (and long) read! thanks
                △ ▽ • Reply • Share ›

                Ravi Shakya • 5 years ago
                A detailed tech writing that provides a view to this interesting technology by Amazon!
                △ ▽ • Reply • Share ›

                Skisinde • 6 years ago
                hey this piece is great.thanks alot
                △ ▽ • Reply • Share ›

                Vinod • 9 years ago
                This is a great piece of work, congratulations and I hope there is more to come :)
                △ ▽ • Reply • Share ›

                Einar Vollset • 9 years ago




                A very nice paper, congrats on getting it to SOSP; hopefully more industry papers will make
                it in years to come.

                I guess the only thing I found dissappointing was the lack of a measurement of how the
                "sloppy quorum" approach impacted data persistance; all the measurements I saw were with
                "standard" overlapped quorums. Or did I miss something?


                △ ▽ • Reply • Share ›

                Luke Baker • 9 years ago
                In Section 4.2, the last bullet of that section:

                "The number of virtual nodes that a node is responsible can

                decided based on its capacity, accounting for heterogeneity

                in the physical infrastructure."

                seems to be missing a word or two around "responsible can decided based on".
                  △ ▽     Reply       Share ›
http://www.allthingsdistributed.com/2007/10/amazons_dynamo.html                                                                      24/25
                                                                                                              KoveIO Compl. Ex. 13
                                                                  Amazon's Dynamo - All Things Distributed
                △     ▽ • Reply • Share ›

                 Max • 9 years ago
                 Looks like a lot of thought has been put into this. I stopped reading about halfway through but
                 how much of this was inspired by memcached?
                △ ▽ • Reply • Share ›

                 Jason Watkins • 9 years ago
                 Will the video from Seattle be posted?
                △ ▽ • Reply • Share ›

                 Jesse Robbins • 9 years ago
                 Great to see this published, congratulations!

                 -Jesse Robbins
                △ ▽ • Reply • Share ›


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       10 Lessons from 10 Years of Amazon                      Expanding the Cloud: Introducing the
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             Andy Tapaswi — Good one! Next 10                         lily smith — Yeah, its really nice to hear that
             lessons would be even more interesting ..!               now cloud technology has been evolved in
                                                                      almost region.


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Exhibit 14




             KoveIO Compl. Ex. 14
All Things Distributed
Werner Vogels' weblog on building scalable and robust distributed systems.



Amazon DynamoDB – a Fast and Scalable NoSQL Database
Service Designed for Internet Scale Applications
By Werner Vogels on 18 January 2012 07:00 AM | Permalink | Comments ()

Today is a very exciting day as we release Amazon DynamoDB, a fast, highly reliable and cost-eﬀective
NoSQL database service designed for internet scale applications. DynamoDB is the result of 15 years of
learning in the areas of large scale non-relational databases and cloud services. Several years ago we
published a paper on the details of Amazon’s Dynamo technology, which was one of the ﬁrst non-
relational databases developed at Amazon. The original Dynamo design was based on a core set of
strong distributed systems principles resulting in an ultra-scalable and highly reliable database system.
Amazon DynamoDB, which is a new service, continues to build on these principles, and also builds on
our years of experience with running non-relational databases and cloud services, such as Amazon
SimpleDB and Amazon S3, at scale. It is very gratifying to see all of our learning and experience become
                                                                                                                Contact Info
available to our customers in the form of an easy-to-use managed service.
                                                                                                                Werner Vogels
Amazon DynamoDB is a fully managed NoSQL database service that provides fast performance at any                 CTO - Amazon.com
scale. Today’s web-based applications often encounter database scaling challenges when faced with
growth in users, traﬃc, and data. With Amazon DynamoDB, developers scaling cloud-based applications
can start small with just the capacity they need and then increase the request capacity of a given table as
their app grows in popularity. Their tables can also grow without limits as their users store increasing        Other places

amounts of data. Behind the scenes, Amazon DynamoDB automatically spreads the data and traﬃc for a              Follow werner on twitter if you want to
table over a suﬃcient number of servers to meet the request capacity speciﬁed by the customer. Amazon           know what he is current reading or
                                                                                                                thinking about.
DynamoDB oﬀers low, predictable latencies at any scale. Customers can typically achieve average
                                                                                                                At werner.ly he posts material that
service-side in the single-digit milliseconds. Amazon DynamoDB stores data on Solid State Drives (SSDs)
                                                                                                                doesn't belong on this blog or on
and replicates it synchronously across multiple AWS Availability Zones in an AWS Region to provide built-       twitter.
in high availability and data durability.
                                                                                                                Check out some great music
History of NoSQL at Amazon – Dynamo

The Amazon.com ecommerce platform consists of hundreds of decoupled services developed and
managed in a decentralized fashion. Each service encapsulates its own data and presents a hardened
API for others to use. Most importantly, direct database access to the data from outside its respective
service is not allowed. This architectural pattern was a response to the scaling challenges that had
challenged Amazon.com through its ﬁrst 5 years, when direct database access was one of the major
bottlenecks in scaling and operating the business. While a service-oriented architecture addressed the
problems of a centralized database architecture, each service was still using traditional data management
systems. The growth of Amazon’s business meant that many of these services needed more scalable
                                                                                                                Syndication
database solutions.
                                                                                                                  Subscribe to this weblog's
In response, we began to develop a collection of storage and database technologies to address the
                                                                                                                atom feed or rss feed
demanding scalability and reliability requirements of the Amazon.com ecommerce platform. We had been
pushing the scalability of commercially available technologies to their limits and ﬁnally reached a point       Archives
where these third party technologies could no longer be used without signiﬁcant risk. This was not our
                                                                                                                All postings
technology vendors’ fault; Amazon's scaling needs were beyond the specs for their technologies and we
were using them in ways that most of their customers were not. A number of outages at the height of the
2004 holiday shopping season can be traced back to scaling commercial technologies beyond their
boundaries.

Dynamo was born out of our need for a highly reliable, ultra-scalable key/value database. This non-
relational, or NoSQL, database was targeted at use cases that were core to the Amazon ecommerce
operation, such as the shopping cart and session service. Any downtime or performance degradation in
these services has an immediate ﬁnancial impact and their fault-tolerance and performance requirements
for their data systems are very strict. These services also require the ability to scale infrastructure
incrementally to accommodate growth in request rates or dataset sizes. Another important requirement



                                                                                                            KoveIO Compl. Ex. 14
for Dynamo was predictability. This is not just predictability of median performance and latency, but also                  Recent Entries
at the end of the distribution (the 99.9th percentile), so we could provide acceptable performance for           Make your voice count by simply
virtually every customer.                                                                                        saying, "Alexa, let's chat."
                                                                                                                 A one size ﬁts all database doesn't ﬁt
To achieve all of these goals, we needed to do groundbreaking work. After the successful launch of the
                                                                                                                 anyone
ﬁrst Dynamo system, we documented our experiences in a paper so others could beneﬁt from them.
                                                                                                                 The workplace of the future
Since then, several Dynamo clones have been built and the Dynamo paper has been the basis for several
                                                                                                                 Changing the calculus of containers in
other types of distributed databases. This demonstrates that Amazon is not the only company than needs           the cloud
better tools to meet their database needs.                                                                       Looking back at 10 years of
                                                                                                                 compartmentalization at AWS
Lessons learned from Amazon's Dynamo
                                                                                                                 Inﬁnitely scalable machine learning
Dynamo has been in use by a number of core services in the ecommerce platform, and their engineers               with Amazon SageMaker
have been very satisﬁed by its performance and incremental scalability. However, we never saw much               Unlocking Enterprise systems using
adoption beyond these core services. This was remarkable because although Dynamo was originally built            voice

to serve the needs of the shopping cart, its design and implementation were much broader and based on            Rethinking the 'production' of data
input from many other service architects. As we spoke to many senior engineers and service owners, we            'Paris s'éveille'! Introducing the AWS
saw a clear pattern start to emerge in their explanations of why they didn't adopt Dynamo more broadly:          EU (Paris) Region

while Dynamo gave them a system that met their reliability, performance, and scalability needs, it did           Expanding the AWS Cloud: Introducing
                                                                                                                 the AWS China (Ningxia) Region
nothing to reduce the operational complexity of running large database systems. Since they were
                                                                                                                 Accelerate Machine Learning with
responsible for running their own Dynamo installations, they had to become experts on the various
                                                                                                                 Amazon SageMaker
components running in multiple data centers. Also, they needed to make complex tradeoﬀ decisions
                                                                                                                 Scaling Amazon ElastiCache for Redis
between consistency, performance, and reliability. This operational complexity was a barrier that kept
                                                                                                                 with Online Cluster Resizing
them from adopting Dynamo.
                                                                                                                 A Decade of Dynamo: Powering the
During this period, several other systems appeared in the Amazon ecosystem that did meet their                   next wave of high-performance,
                                                                                                                 internet-scale applications
requirements for simpliﬁed operational complexity, notably Amazon S3 and Amazon SimpleDB. These
                                                                                                                 As-Salaam-Alaikum: The cloud arrives
were built as managed web services that eliminated the operational complexity of managing systems
                                                                                                                 in the Middle East!
while still providing extremely high durability. Amazon engineers preferred to use these services instead of
                                                                                                                 AI for everyone - How companies can
managing their own databases like Dynamo, even though Dynamo's functionality was better aligned with
                                                                                                                 beneﬁt from the advance of machine
their applications’ needs.                                                                                       learning
                                                                                                                 Improving Customer Service with
With Dynamo we had taken great care to build a system that met the requirements of our engineers. After
                                                                                                                 Amazon Connect and Amazon Lex
evaluations, it was often obvious that Dynamo was ideal for many database use cases. But ... we learned
                                                                                                                 Stop waiting for perfection and learn
that engineers found the prospect of running a large software system daunting and instead looked for
                                                                                                                 from your mistakes
less ideal design alternatives that freed them from the burden of managing databases and allowed them
                                                                                                                 Amazon DynamoDB Accelerator (DAX):
to focus on their applications.                                                                                  Speed Up DynamoDB Response
                                                                                                                 Times from Milliseconds to
It became obvious that developers strongly preferred simplicity to ﬁne-grained control as they voted "with
                                                                                                                 Microseconds without Application
their feet" and adopted cloud-based AWS solutions, like Amazon S3 and Amazon SimpleDB, over                      Rewrite.
Dynamo. Dynamo might have been the best technology in the world at the time but it was still software            Expanding the Cloud – An AWS
you had to run yourself. And nobody wanted to learn how to do that if they didn’t have to. Ultimately,           Region is coming to Hong Kong
developers wanted a service.                                                                                     Unlocking the Value of Device Data
                                                                                                                 with AWS Greengrass.
History of NoSQL at Amazon - SimpleDB

One of the cloud services Amazon developers preferred for their database needs was Amazon SimpleDB.
In the 5 years that SimpleDB has been operational, we have learned a lot from its customers.

First and foremost, we have learned that a database service that takes away the operational headache of
managing distributed systems is extremely powerful. Customers like SimpleDB’s table interface and its
ﬂexible data model. Not having to update their schemas when their systems evolve makes life much
easier. However, they most appreciate the fact that SimpleDB just works. It provides multi-data center
replication, high availability, and oﬀers rock-solid durability. And yet customers never need to worry about
setting up, conﬁguring, or patching their database.

Second, most database workloads do not require the complex query and transaction capabilities of a full-
blown relational database. A database service that only presents a table interface with a restricted query
set is a very important building block for many developers.

While SimpleDB has been successful and powers the applications of many customers, it has some
limitations that customers have consistently asked us to address.

Domain scaling limitations. SimpleDB requires customers to manage their datasets in containers called
Domains, which have a ﬁnite capacity in terms of storage (10 GB) and request throughput. Although


                                                                                                             KoveIO Compl. Ex. 14
many customers worked around SimpleDB’s scaling limitations by partitioning their workloads over many
Domains, this side of SimpleDB is certainly not simple. It also fails to meet the requirement of incremental
scalability, something that is critical to many customers looking to adopt a NoSQL solution.

Predictability of Performance. SimpleDB, in keeping with its goal to be simple, indexes all attributes for
each item stored in a domain. While this simpliﬁes the customer experience on schema design and
provides query ﬂexibility, it has a negative impact on the predictability of performance. For example,
every database write needs to update not just the basic record, but also all attribute indices (regardless of
whether the customer is using all the indices for querying). Similarly, since the Domain maintains a large
number of indices, its working set does not always ﬁt in memory. This impacts the predictability of a
Domain’s read latency, particularly as dataset sizes grow.
Consistency. SimpleDB’s original implementation had taken the "eventually consistent" approach to the
extreme and presented customers with consistency windows that were up to a second in duration. This
meant the system was not intuitive to use and developers used to a more traditional database solution
had trouble adapting to it. The SimpleDB team eventually addressed this issue by enabling customers to
specify whether a given read operation should be strongly or eventually consistent.

Pricing complexity. SimpleDB introduced a very ﬁne-grained pricing dimension called “Machine Hours.”
Although most customers have eventually learned how to predict their costs, it was not really transparent
or simple.

Introducing DynamoDB

As we thought about how to address the limitations of SimpleDB and provide 1) the most scalable
NoSQL solution available and 2) predictable high performance, we realized our goals could not be met
with the SimpleDB APIs. Some SimpleDB operations require that all data for a Domain is on a single
server, which prevents us from providing the seamless scalability our customers are demanding. In
addition, SimpleDB APIs assume all item attributes are automatically indexed, which limits performance.

We concluded that an ideal solution would combine the best parts of the original Dynamo design
(incremental scalability, predictable high performance) with the best parts of SimpleDB (ease of
administration of a cloud service, consistency, and a table-based data model that is richer than a pure
key-value store). These architectural discussions culminated in Amazon DynamoDB, a new NoSQL
service that we are excited to release today.

Amazon DynamoDB is based on the principles of Dynamo, a progenitor of NoSQL, and brings the power
of the cloud to the NoSQL database world. It oﬀers customers high-availability, reliability, and incremental
scalability, with no limits on dataset size or request throughput for a given table. And it is fast – it runs on
the latest in solid-state drive (SSD) technology and incorporates numerous other optimizations to deliver
low latency at any scale.

Amazon DynamoDB is the result of everything we’ve learned from building large-scale, non-relational
databases for Amazon.com and building highly scalable and reliable cloud computing services at AWS.
Amazon DynamoDB is a NoSQL database service that oﬀers the following beneﬁts:

     Managed. DynamoDB frees developers from the headaches of provisioning hardware and software,
     setting up and conﬁguring a distributed database cluster, and managing ongoing cluster operations.
     It handles all the complexities of scaling and partitions and re-partitions your data over more
     machine resources to meet your I/O performance requirements. It also automatically replicates your
     data across multiple Availability Zones (and automatically re-replicates in the case of disk or node
     failures) to meet stringent availability and durability requirements. From our experience of running
     Amazon.com, we know that manageability is a critical requirement. We have seen many job postings
     from companies using NoSQL products that are looking for NoSQL database engineers to help scale
     their installations. We know from our Amazon experiences that once these clusters start growing,
     managing them becomes the same nightmare that running large RDBMS installations was. Because
     Amazon DynamoDB is a managed service, you won’t need to hire experts to manage your NoSQL
     installation—your developers can do it themselves.

     Scalable. Amazon DynamoDB is designed to scale the resources dedicated to a table to hundreds
     or even thousands of servers spread over multiple Availability Zones to meet your storage and
     throughput requirements. There are no pre-deﬁned limits to the amount of data each table can store.
     Developers can store and retrieve any amount of data and DynamoDB will spread the data across
     more servers as the amount of data stored in your table grows.



                                                                                                                   KoveIO Compl. Ex. 14
     Fast. Amazon DynamoDB provides high throughput at very low latency. It is also built on Solid State
     Drives to help optimize for high performance even at high scale. Moreover, by not indexing all
     attributes, the cost of read and write operations is low as write operations involve updating only the
     primary key index thereby reducing the latency of both read and write operations. An application
     running in EC2 will typically see average service-side latencies in the single-digit millisecond range
     for a 1KB object. Most importantly, DynamoDB latencies are predictable. Even as datasets grow,
     latencies remain stable due to the distributed nature of DynamoDB's data placement and request
     routing algorithms.

     Durable and Highly Available. Amazon DynamoDB replicates its data over at least 3 diﬀerent data
     centers so that the system can continue to operate and serve data even under complex failure
     scenarios.

     Flexible. Amazon DynamoDB is an extremely ﬂexible system that does not force its users into a
     particular data model or a particular consistency model. DynamoDB tables do not have a ﬁxed
     schema but instead allow each data item to have any number of attributes, including multi-valued
     attributes. Developers can optionally use stronger consistency models when accessing the
     database, trading oﬀ some performance and availability for a simpler model. They can also take
     advantage of the atomic increment/decrement functionality of DynamoDB for counters.

     Low cost. Amazon DynamoDB’s pricing is simple and predictable: Storage is $1 per GB per month.
     Requests are priced based on how much capacity is reserved: $0.01 per hour for every 10 units of
     Write Capacity and $0.01 per hour for every 50 units of Read Capacity. A unit of Read (or Write)
     Capacity equals one read (or write) per second of capacity for items up to 1KB in size. If you use
     eventually consistent reads, you can achieve twice as many reads per second for a given amount of
     Read Capacity. Larger items will require additional throughput capacity.

In the current release, customers will have the choice of using two types of keys for primary index
querying: Simple Hash Keys and Composite Hash Key / Range Keys:

Simple Hash Key gives DynamoDB the Distributed Hash Table abstraction. The key is hashed over the
diﬀerent partitions to optimize workload distribution. For more background on this please read the
original Dynamo paper.

Composite Hash Key with Range Key allows the developer to create a primary key that is the composite
of two attributes, a “hash attribute” and a “range attribute.” When querying against a composite key, the
hash attribute needs to be uniquely matched but a range operation can be speciﬁed for the range
attribute: e.g. all orders from Werner in the past 24 hours, all log entries from server 16 with clients IP
addresses on subnet 192.168.1.0

Performance Predictability in DynamoDB

In addition to taking the best ideas of Dynamo and SimpleDB, we have added new functionality to
provide even greater performance predictability.

Cloud-based systems have invented solutions to ensure fairness and present their customers with
uniform performance, so that no burst load from any customer should adversely impact others. This is a
great approach and makes for many happy customers, but often does not give a single customer the
ability to ask for higher throughput if they need it.

As satisﬁed as engineers can be with the simplicity of cloud-based solutions, they would love to specify
the request throughput they need and let the system reconﬁgure itself to meet their requirements. Without
this ability, engineers often have to carefully manage caching systems to ensure they can achieve low-
latency and predictable performance as their workloads scale. This introduces complexity that takes
away some of the simplicity of using cloud-based solutions.

The number of applications that need this type of performance predictability is increasing: online gaming,
social graphs applications, online advertising, and real-time analytics to name a few. AWS customers are
building increasingly sophisticated applications that could beneﬁt from a database that can give them
fast, predictable performance that exactly matches their needs.

Amazon DynamoDB’s answer to this problem is “Provisioned Throughput.” Customers can now specify
the request throughput capacity they require for a given table. Behind the scenes, DynamoDB will
allocate suﬃcient resources to the table to predictably achieve this throughput with low-latency
performance. Throughput reservations are elastic, so customers can increase or decrease the throughput


                                                                                                              KoveIO Compl. Ex. 14
capacity of a table on-demand using the AWS Management Console or the DynamoDB APIs.
CloudWatch metrics enable customers to make informed decisions about the right amount of throughput
to dedicate to a particular table. Customers using the service tell us that it enables them to achieve the
appropriate amount of control over scaling and performance while maintaining simplicity. Rather than
adding server infrastructure and re-partitioning their data, they simply change a value in the management
console and DynamoDB takes care of the rest.

Summary

Amazon DynamoDB is designed to maintain predictably high performance and to be highly cost eﬃcient
for workloads of any scale, from the smallest to the largest internet-scale applications. You can get
started with Amazon DynamoDB using a free tier that enables 40 million of requests per month free of
charge. Additional request capacity is priced at cost-eﬃciently hourly rates as low as $.01 per hour for 10
units of Write Capacity or 50 strongly consistent units of Read Capacity (if you use eventually consistent
reads you can get twice the throughput at the same cost, or the same read throughput at half the cost)
Also, replicated solid state disk (SSD) storage is $1 per GB per month. Our low request pricing is
designed to meet the needs of typical database workloads that perform large numbers of reads and
writes against every GB of data stored.

To learn more about Amazon DynamoDB its functionality, APIs, use cases, and service pricing, please
visit the detail page at aws.amazon.com/DynamoDB and also the Developer Guide. I am excited to see
the years of experience with systems such as Amazon Dynamo result in an innovative database service
that can be broadly used by all our customers.




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                                                                                                             KoveIO Compl. Ex. 14
Exhibit 15




             KoveIO Compl. Ex. 15
Backup, Archive, and Restore
  Approaches Using AWS
                    Pawan Agnihotri
     AWS Certified Solutions Architect – Professional
                 Amazon Web Services

                     November 2014




                                                    KoveIO Compl. Ex. 15
Amazon Web Services – Backup, Archive and Restore Approaches Using AWS       November 2014




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               Abstract
               Over the past couple of years enterprise data has grown substantially, and the growth is
               accelerating. The need to protect the data has grown along with it. The increase in data
               also brings an increase in the complexity of methods used for the backing up the data.
               Questions such as durability and scalability of the backup solution are now
               commonplace. A common question is: How does cloud help my backup and archival
               needs?

               This document aims to answer this question and propose some solutions around using
               cloud to back up your data. It discusses best practices of protecting your data using
               cloud services from AWS. This guide for backup, archive and restore will assist
               enterprise solution architects, backup architects, and IT administrators who are
               responsible for the design and deployment of the data protection for their corporate IT
               environments.


               Introduction
               As a backup architect or engineer, you are responsible for backups and archive for your
               enterprise. You have to manage the infrastructure as well as the backup operations. This
               may include managing tapes, sending tapes offsite, managing tape drives, managing
               backup servers, managing backup software, creating backup policies, insuring the
               backup data is secure, meeting compliance requirements for data retention, and
               performing restores. Furthermore, cost cutting puts pressure on your budgets and, with
               business open for more hours, your window to perform the backup is getting smaller.

               These are some of the challenges that are faced by backup teams across many
               enterprises. The legacy environments are hard to scale, you need more tape and tape
               drives, and more storage capacity to back up the avalanche of data that the business is
               producing.

               For those of you dealing with backups and restores, you may be employing many
               different systems, processes, and techniques available in the market. Additionally, you
               may have to support multiple configurations. With AWS, organizations can obtain a
               flexible, secure, and cost-effective IT infrastructure in much the same way that national
               electric grids enable homes and organizations to plug into a centrally managed, efficient,
               and cost-effective energy source. When freed from creating their own electricity,
               organizations were able to focus on the core competencies of their business and the
               needs of their customers. Please review some of the terms related to backup and
               archiving in the appendix which will be used throughout this whitepaper.




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               Why Use AWS
               Amazon Web Services (AWS) is a secure, high-performance, flexible, cost-effective, and
               easy-to-use cloud computing platform. AWS takes care of the undifferentiated heavy
               lifting and provides the user with the necessary tools to accomplish the task of backing
               up the vast amounts of data from a variety of sources.

               The first question asked by many customers is about security: Will my data be secure in
               the cloud? Amazon Web Services takes security very seriously; every service that we
               launch focuses on security as the foundation. Our storage services like Amazon Simple
               Storage Service1 (Amazon S3) provide strong capabilities for access control and
               encryption both at rest and in transit. For encryption at rest, customers can use their own
               encryption keys2 with the Amazon S3 server side giving them control over their data.

               Switching to AWS offers many advantages:

                     Durability – Amazon S3 and Amazon Glacier3 are designed for 99.999999999%
                      durability for the objects stored in them.
                     Security – AWS provides a number of options for access control and encrypting
                      data in transit and at rest.
                     Global Infrastructure – Amazon Web Services are available across the globe so
                      you can back up and store data in the region that meets your compliance
                      requirement.
                     Compliance –AWS infrastructure is designed and managed in alignment with
                      regulations, standards and best-practices including (as of the date of this publication)
                      SOC, SSAE 16, ISO 27001, PCI DSS, HIPPA, and FedRamp so you can easily fit
                      the backup solution into your existing compliance regimen.
                     Scalability – With AWS, you don’t have to worry about capacity. You can scale your
                      consumption up or down as your needs change.
                     Lower TCO – The AWS scale of operations drives service costs down and helps
                      lower the overall TCO of the storage. AWS often passes these cost savings on to the
                      customer. As of the date of this publication, AWS has lowered prices 45 times since
                      they began offering web services.




               1
                   http://aws.amazon.com/s3/
               2
                   http://aws.amazon.com/blogs/aws/s3-encryption-with-your-keys/
               3
                   http://aws.amazon.com/glacier/



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               Backup and Archive
               Developing a comprehensive strategy for backing up and restoring data is not a simple
               task. In some industries, regulatory requirements for data security, privacy, and records
               retention can be important factors to consider when developing a backup strategy. A
               good backup process can be defined based on the objectives:

               1. Backing up file data
               2. Backing up database
               3. Backing up machine images
               In the following sections we describe the backup and archives approaches based on the
               organization of your infrastructure. IT infrastructure can broadly be categorized into the
               following scenarios - Cloud native, on premises, and hybrid.


               Cloud Native
               This scenario describes a workload environment that exists entirely on AWS. This
               includes web servers, application servers, databases, Active Directory, monitoring
               servers, etc. See Figure 1: AWS Native Scenario.




                                             Figure 1: AWS Native Scenario



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               With all the services in AWS, you can leverage many of the built-in features to
               accomplish the backup-archive tasks.

               Snapshot Options for Amazon EBS
               In AWS “file data” can be stored on either Amazon S3 or Amazon Elastic Block Store4
               (Amazon EBS) volumes. Let’s take a look at how you can backup data on these.

               Amazon Elastic Compute Cloud5 (Amazon EC2) can use Amazon EBS volumes to store
               block-based data. You can use this block storage for databases, or formatted into any
               OS-supported file system. Amazon EBS provides the ability to create snapshots
               (backups) of any Amazon EBS volume and write a copy of the data in the volume to
               Amazon S3, where it is stored redundantly in multiple Availability Zones. You can create
               the Amazon EBS snapshot by using the AWS Management Console, the command line
               interface (CLI), or the APIs. Using the Elastic Block Store Volumes page6 of the Amazon
               EC2 console, click Actions and then click Create Snapshot to commence the creation
               of a snapshot that is stored in Amazon S3.




                               Figure 2: Creating a Snapshot from Amazon EBS Using the Console

               You can also create the snapshot using the CLI command ec2-create-snapshot.

               When you create a snapshot, you protect your data directly to durable disk-based
               storage. You can schedule and issue the commands on a regular basis. And due to the
               economical pricing of Amazon S3, you can retain many generations of data. Further,



               4
                   http://aws.amazon.com/ebs/
               5
                   http://aws.amazon.com/ec2/
               6
                   https://console.aws.amazon.com/ec2/v2/#Volumes



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               because snapshots are block-based, you consume space only for changed data after
               the initial snapshot is created.

               To restore data from a snapshot, use AWS Management Console, the command line
               interface (CLI), or the APIs to create a new volume from an existing snapshot.

               For example, to restore a volume to a prior point-in-time backup, you could use the
               following sequence:

               1. Create a new volume from the backup snapshot by using the following command:

                      > ec2-create-volume –z us-west-1b –snapshot MySnapshotName
               2. Within the Amazon EC2 instance, unmount the existing volume (e.g., by using
                  umount in Linux or the Logical Volume Manager in Windows).
               3. Detach the existing volume from the instance by using the following command:

                      > ec2-detach-volume OldVolume


               4. Attach the new volume that was created from the snapshot by using the following
                  command:

                      > ec2-attach-volume VolumeID –I InstanceID –d Device
               5. Remount the volume on the running instance.
               This process is a fast and reliable way to restore full volume data as needed. If you need
               only a partial restore, you can attach the volume to the running instance under a different
               device name, mount it, and then use operating system copy commands to copy the data
               from the backup volume to the production volume.

               Amazon EBS snapshots can also be copied between AWS regions using the Amazon
               EBS snapshot copy capability that is available from the console or command line, as
               explained in the Amazon Elastic Compute Cloud User Guide.7 You can use this feature
               to store your backup in another region without having to manage the underlying
               replication technology.

               Creating Consistent or Hot Backups
               When you back up a system, the ideal is to have the system in a quiet state where it is
               not performing any I/O. From a backup perspective, the ideal state is a machine that is




               7
                   http://docs.aws.amazon.com/AWSEC2/latest/UserGuide/ebs-copy-snapshot.html



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               accepting no traffic. But this ideal is increasingly rare as 24/7 IT operations become the
               norm.

               Consequently, it is necessary to quiesce the file system or database in order to make a
               clean backup. How you do this depends on your database and/or file system, so due
               diligence is required. To summarize the process for a database:

                     If possible, put the database into hot backup mode. Alternatively, create a read
                      replica copy of the database; this is a copy of the database that is up to date but runs
                      on a separate instance. Keep in mind that on AWS you can run this instance for the
                      duration required to perform the backup and then close it down, saving resources.
                     Issue the relevant Amazon EBS snapshot commands.
                     Take the database out of hot backup mode or, if using a read replica, terminate the
                      read replica instance.
               Backing up a file system works similarly and depends highly on the capabilities of the
               particular operating system or file system. An example of a file system that can flush its
               data for a consistent backup is xfs (see xfs_freeze).8 If the file system in question
               does not support the ability to freeze, you should unmount it, issue the snapshot
               command, and then remount the file system. Alternatively, you can facilitate this process
               by using a logical volume manager that supports freezing of I/O.

               Because the snapshot process is fast to execute and captures a point in time, the
               volumes you are backing up only need be unmounted for a matter of seconds. This
               ensures that the backup window is as small as possible and that outage time is
               predictable and can be effectively scheduled. While the data copy process of creating
               the snapshot may take longer, the snapshot activity requiring the volume to be un-
               mounted is very quick. Don’t confuse the two processes when structuring your backup
               regime.

               Multivolume Backups
               In some cases, you may stripe data across multiple Amazon EBS volumes by using a
               logical volume manager in order to increase potential throughput. When using a logical
               volume manager (e.g., mdadm or LVM), it is important to perform the backup from the
               volume manager layer rather than the underlying devices. This ensures all metadata is
               consistent and that the various subcomponent volumes are coherent. You can take a
               number of approaches to accomplish this, an example being the script created by
               alestic.com.9



               8
                   https://access.redhat.com/documentation/en-
                   US/Red_Hat_Enterprise_Linux/6/html/Storage_Administration_Guide/xfsfreeze.html
               9
                   https://github.com/alestic/ec2-consistent-snapshot



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               You can also perform backups of this nature from the logical volume manager or file
               system level. In these cases, using a “traditional” backup agent enables the data to be
               backed up over the network. A number of agent-based backup solutions are available on
               the internet and the AWS Marketplace.10 It is important to remember that agent-based
               backup software expects a consistent server name/IP address. As a result, using these
               tools in concert with instances deployed in a virtual private cloud (VPC)11 is the best
               method to ensure reliability.

               An alternative approach is to create a replica of the primary system volumes that exist
               on a single large volume. This simplifies the backup process, as only one large volume
               needs to be backed up, and the backup does not take place on the primary system.
               However, it is important to ascertain whether the single volume can perform sufficiently
               to maintain changes during the backup and whether the maximum volume size is
               appropriate for the application.

               Backing Up Databases
               AWS has many options for running databases. You can run your own database on an
               Amazon EC2 instance or use one of the managed services offering. If you are running
               your own database on an Amazon EC2 instance, you can back up data to files using
               database native tools (e.g., MySQL,12 Oracle,13, 14 MSSQL,15 postgresSQL16) or create a
               snapshot of the volumes containing the data.

               Backing up data for database differs from the web and application layers. In general,
               databases contain larger amounts of business data (tens of GB to multiple TB) in
               database-specific formats that must be retained and protected at all times. In these
               cases, you can leverage efficient data movement techniques such as snapshots to
               create backups that are fast, reliable, and space efficient.

               For databases that are built upon RAID sets of Amazon EBS volumes (and have total
               storage less than 1 TB), an alternative backup approach is to asynchronously replicate
               data to another database instance built using a single Amazon EBS volume. While the
               destination Amazon EBS volume will have slower performance, it is not being used for
               data access, and you can easily send a snapshot to Amazon S3 using the Amazon EBS




               10
                    https://aws.amazon.com/marketplace/
               11
                    http://aws.amazon.com/vpc/
               12
                    http://dev.mysql.com/doc/refman/5.7/en/backup-and-recovery.html
               13
                    https://media.amazonwebservices.com/AWS_Amazon_Oracle_Backups.pdf
               14
                    http://docs.oracle.com/cd/E11882_01/backup.112/e10642/rcmbckba.htm#BRADV8003
               15
                    http://msdn.microsoft.com/en-us/library/ms187510.aspx
               16
                    http://www.postgresql.org/docs/9.3/static/backup.html



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                snapshot capability (see “Snapshot Options for Amazon EBS” earlier in this paper
                section).

                Backups for Amazon Relational Database Service
                The Amazon Relational Database Service (Amazon RDS)17 includes automated
                backups. This means that you do not need to issue specific commands to create
                backups of your database.

                Amazon RDS provides two different methods for backing up and restoring your DB
                Instance(s); automated backups and database snapshots (DB snapshots).

                      Automated backups enable point-in-time recovery of your DB Instance. When
                       automated backups are turned on for your DB instance, Amazon RDS automatically
                       performs a full daily backup of your data (during your preferred backup window) and
                       captures transaction logs (as updates to your DB instance are made).
                       When you initiate a point-in-time recovery, transaction logs are applied to the most
                       appropriate daily backup in order to restore your DB instance to the specific time you
                       requested. Amazon RDS retains backups of a DB instance for a limited, user-
                       specified period of time called the retention period, which, as of the date of this
                       publication, by default is one day but can be set to up to thirty-five days.

                       You can initiate a point-in-time restore and specify any second during your retention
                       period, up to the Latest Restorable Time. You can use the DescribeDBInstances
                       API call to return the latest restorable time for your DB instance(s), which is typically
                       within the last five minutes. Alternatively, you can find the Latest Restorable Time for
                       a DB instance by selecting it in the AWS Management Console and looking in the
                       Description tab in the lower panel of the console.

                      DB snapshots are user-initiated and enable you to back up your DB instance in a
                       known state as frequently as you wish, and then restore to that specific state at any
                       time. DB snapshots can be created with the AWS Management Console or by using
                       the CreateDBSnapshot API call. The snapshots are kept until you explicitly delete
                       them with the console or the DeleteDBSnapshot API call.
                Note that when you restore to a point in time or from a DB snapshot, a new DB instance
                is created with a new endpoint. (If you want, you can delete the old DB instance by using
                the AWS Management Console or a DeleteDBInstance call.) You do this so you can
                create multiple DB instances from a specific DB snapshot or point in time.




                17
                     http://aws.amazon.com/rds/



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                Backup of the Amazon Machine Image (AMI)
                Next we look at “machine images.” AWS stores system images in what are called
                Amazon Machine Images or AMI for short. These images consist of the template for the
                root volume required to launch an instance. To save your instance’s as a machine image
                you simply backup the root volume as an AMI.




                                 Figure 3: Using AMI to backup and launch an instance

                An AMI that you register is automatically stored in your account using Amazon EBS
                snapshots. These snapshots reside in Amazon S3 and are highly durable. This means
                that the underlying storage mechanism for the AMIs is protected from multiple failure
                scenarios.




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                               Figure 4: Using the EC2 console to create a machine image

                Once you have created an AMI of your Amazon EC2 instance you can use the AMI to
                recreate the instance or launch more copies of the instance. It is also possible to copy
                AMIs from one region to another. Consequently, you can save a copy of a system image
                to another region.


                On Premises
                This scenario describes a workload environment with no component in the cloud. All
                resources, including web servers, application servers, databases, Active Directory,
                monitoring, and more, are hosted either in the customer data center or colocation. See
                the following figure.




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                                                                                                                   Colocation Hosting




                                                           Internet
                                                                                                   Application                 Application                                    File
                                                                                                    Servers                     Servers                    Workstations     Servers



                                                                                                                                               Switches


                                           Customer
                                                                                                                                                                                      SAN Storage
                                         Interconnect
                                           Network

                                                                                                                      Routers


                                                                                                                                             Application                  Database
                                                                                                                                              Servers                      Servers




                                Corporate Data Center
                                                                                                                  Branch Office




                      Workstations      Management
                                          Server                     Routers
                                                                                                   Workstations       Workstations             Workstations           Routers


                                                                                           SAN
                                                        Switches                         Storage                                               Switches



                                                                                                                                                                                      SAN Storage




                           Web         Application             Database          File                            Application                         Database                 File
                          Servers       Servers                 Servers        Servers                            Servers                             Servers               Servers




                                                                          Figure 5: On-premises environment

                AWS can be leveraged very nicely for this scenario to help with backup and archiving.
                Using AWS storage services lets you focus on the backup and archiving task, leaving
                the heavy lifting on the storage side to AWS. With AWS you do not have to worry about
                storage scaling or infrastructure capacity to accomplish the backup task.

                Amazon storage services such as Amazon S3 and Amazon Glacier are natively API
                based and available via the Internet. This allows backup software vendors to directly
                integrate their applications with storage solutions provided by AWS as represented in the
                following figure. You can look at our partner directory18 for the backup software vendors
                who work with AWS.

                The primary solution in this scenario is to use backup and archive software that directly
                interfaces with AWS through the APIs. Here the backup software is AWS aware and will



                18
                     http://www.aws-partner-directory.com/PartnerDirectory/PartnerSearch?type=ISV



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                back up the data from the on premises servers directly to Amazon S3 or Amazon
                Glacier.




                                    Figure 6: Backup connector to Amazon S3 or Amazon Glacier

                If your existing backup software does not natively support the AWS cloud, the alternate
                solution is to use our storage gateway products. AWS Storage Gateway19 is a virtual
                appliance that provides seamless and secure integration between your data center and
                AWS’s storage infrastructure. The service allows you to securely store data in the AWS
                cloud for scalable and cost-effective storage. The AWS Storage Gateway supports
                industry-standard storage protocols that work with your existing applications while
                securely storing all of your data encrypted in Amazon S3 or Amazon Glacier.




                                          Figure 7: Connecting on-premises to AWS storage




                19
                     http://aws.amazon.com/storagegateway/




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                AWS Storage Gateway supports three configurations:

                      Gateway-cached volumes – You can store your primary data in Amazon S3 and
                       retain your frequently accessed data locally. Gateway-cached volumes provide
                       substantial cost savings on primary storage, minimize the need to scale your storage
                       on premises, and retain low-latency access to your frequently accessed data.
                      Gateway-stored volumes – In the event you need low-latency access to your entire
                       data set, you can configure your on-premises data gateway to store your primary
                       data locally, and asynchronously back up point-in-time snapshots of this data to
                       Amazon S3. Gateway-stored volumes provide durable and inexpensive off-site
                       backups that you can recover locally or from Amazon EC2.
                      Gateway-virtual tape library (gateway-VTL) – With gateway-VTL you can have a
                       limitless collection of virtual tapes. Each virtual tape can be stored in a virtual tape
                       library backed by Amazon S3 or a virtual tape shelf backed by Amazon Glacier. The
                       virtual tape library exposes an industry standard iSCSI interface, which provides your
                       backup application with online access to the virtual tapes. When you no longer
                       require immediate or frequent access to data contained on a virtual tape, you can
                       use your backup application to move it from its virtual tape library to your virtual tape
                       shelf to further reduce your storage costs.
                These gateways act as plug-and-play devices providing standard iSCSI devices, which
                can be integrated into your backup or archive framework. You can use the iSCSI disk
                devices as storage pools for your backup software or the gateway-VTL to offload tape-
                based backup or archive directly to Amazon S3 or Amazon Glacier.

                Using this method your backup and archives are automatically offsite (for compliance
                purposes) and stored on durable media, eliminating the complexity and security risks of
                off-site tape management.

                To offer flexibility to the customer, a multitude of third-party appliances and gateway
                devices work with Amazon storage services and can be found on our partner network
                website.20


                Hybrid
                The two infrastructure deployments addressed up to this point, “cloud native” and “on-
                premises,” can be combined into a hybrid scenario whose workload environment has
                infrastructure components in AWS as well as on premises. Resources, including web
                servers, application servers, databases, Active Directory, monitoring, and more, are




                20
                     http://www.aws-partner-directory.com/



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                hosted either in the customer data center or AWS. Applications running in the AWS are
                connected to applications running in the customer premises.

                This scenario is emerging as a very common case for enterprise workloads. Many
                enterprises have data centers of their own while leveraging AWS to augment capacity.
                These customer data centers are often connected to the AWS network by high capacity
                network links. For example, with AWS Direct Connect21 you can establish private
                dedicated connectivity from your premises to AWS.




                                                Figure 8: A hybrid infrastructure scenario

                You can leverage AWS to help with backup and archiving for this scenario as well. The
                techniques you use are a combination of the methods described previously in cloud-
                native and on-premises solutions.

                Hybrid Techniques
                If you already have an existing framework that backs up data for your on-premises
                servers, then it is easy to extend that framework to your AWS resources over a VPN



                21
                     http://aws.amazon.com/directconnect/




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                connection or AWS Direct Connect. You will install the backup agent on the Amazon
                EC2 instances and back them up per the existing data protection policies.

                Depending on your backup framework setup, you may have a master backup server
                along with one or more media servers. You may consider moving the master backup
                server to an Amazon EC2 instance to automatically protect your master backup server
                against on-premises disasters and have a highly available backup infrastructure.

                To manage the backup data flows, you may also consider creating one or more media
                servers on Amazon EC2 instances. This will help the cloud-based resources backup to a
                local media target rather than go over the network back to the on-premises environment.

                You can also leverage the AWS Storage Gateway or other third-party storage gateways
                from the AWS Marketplace to connect your backup framework to Amazon storage
                services. The storage gateways are connected to the media servers allowing data to be
                securely and durably stored on Amazon S3 or Amazon Glacier.




                                  Figure 9: Leveraging gateways in the hybrid scenario




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                Use Cases
                A use case can help explain the on-premises and hybrid scenarios: Assume that you are
                managing an environment where you are backing up a mixture of standalone servers,
                virtual machines, and database servers. This environment has 1,000 servers, and you
                backup operating system, file data, virtual machine images, and database backups. You
                have 20 databases to back up, which are a mixture of MySQL, MSSQL, and Oracle. You
                use “myqldump” to create a database dump file to disk for MySQL backups. Your
                backup software provides plugins or agents to back up operating system, virtual
                machine images, data, and MSSQL databases. Additionally this software has tight
                integration to backup Oracle database using RMAN.

                To support the above environment, your backup software has a global catalogue server
                or master server that controls the backup, archive and restore activities as well as
                multiple media serves that are connected to disk-based storage and LTO tape drives.

                Case 1: As the very first step, you check the vendor site to see if there is a plugin or
                built-in support for cloud storage backup and archive. If the software has cloud storage
                backup options, you can proceed to configure it. Many vendors support Amazon S3 as
                an option for cloud storage and Amazon Glacier for cloud archive. You can create the
                target bucket either from within the backup software or use the AWS Management
                Console to create a bucket in Amazon S3. Next you configure the media servers to
                create storage pools that use the Amazon S3 bucket. Once the storage pool is
                configured, the backup software starts using Amazon S3 to store the backup data.

                Case 2: If your backup software does not natively support cloud storage for backup or
                archive, you can use a storage gateway device as a bridge between the backup
                software and Amazon S3 or Amazon Glacier. If you want to attach disk-based storage to
                your media server, you can download the gateway – cached volumes storage gateway.
                If you want to attach tape drives to your media server you can download the gateway–
                virtual tape library storage gateway. You can download the storage gateway from the
                AWS Management Console. Once the gateway is downloaded and activated, you can
                create iSCSI targets, which can be attached to the media servers. The media server
                sees these iSCSI targets as local disks or tape drives. You can then configure these into
                the storage pools and used for backups or archives.




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                            Figure 10: Choose and download the appropriate storage gateway


                Cloud Paradigms
                As cloud-based computing has evolved, so has the strategy for using it in backup and
                recovery.

                Protecting Configurations Rather Than Servers
                The Amazon EC2 service simplifies the backup and recovery of a standard server, such
                as a web server or application server. Traditionally, you would back up the complete
                server via a central backup server. With Amazon EC2 you can focus on protecting
                configuration and stateful data, rather than the server itself. This set of data is much
                smaller than the aggregate set of server data, which typically includes various
                application files, operating system files, temporary files, and so on. This change of
                approach means that regular nightly incremental or weekly full backups can take far less
                time and consume less storage space.




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                                                Figure 11: Traditional backup approach

                When a compute instance is started in Amazon EC2, it is based upon an AMI and can
                also connect to existing storage volumes such as Amazon EBS. In addition, when
                launching a new instance, it is possible to pass “user data”22 to the instance that can be
                accessed internally as dynamic configuration parameters.

                A sample workflow is as follows:

                      Launch a new instance of a web server, passing it the “identity” of the web server
                       and any security credentials required for initial setup. The instance is based upon a
                       prebuilt AMI that contains the operating system and relevant web-server application
                       (e.g., Apache or IIS).
                      Upon startup, a boot script accesses a designated and secured Amazon S3 bucket
                       that contains the specified configuration file(s).




                22
                     http://docs.amazonwebservices.com/AWSEC2/latest/UserGuide/index.html?AESDG-chapter-instancedata.html



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                                                   Figure 12: Amazon EC2 Backup Approach

                      The configuration file contains various instructions for setting up the server (e.g., web
                       server parameters, locations of related servers, additional software to install, and
                       patch updates).
                      The server executes the specified configuration and is ready for service. An open
                       source tool for performing this process, called cloud-init,23 is already installed on
                       Amazon Linux AMIs and is also available for a number of other Linux distributions.
                In this case, there is no need to back up the server itself. The relevant configuration is
                contained in the combination of the AMI and the configuration file(s). So the only
                components requiring backup and recovery are the AMI and configuration file(s).

                Using Storage Fit for Purpose
                In traditional storage model you have a choice of SAN or NAS based storage. Amazon
                Web Services provides many storage options. If your data and workflow need a file- or
                object-based store then Amazon S3 is the best solution. Amazon S3 is highly durable
                data store designed for 99.999999999% data durability. The data is internally replicated
                across multiple data centers. In addition Amazon S3 provides many features such as
                versioning. With versioning enabled, you can automatically save versions of objects that
                are overwritten.24 This provides an automatic backup capability for the data stored in
                Amazon S3. Amazon S3 also offers data lifecycle management features so you can
                automatically archive or delete data when certain time criteria are met.




                23
                     https://launchpad.net/cloud-init
                24
                     http://docs.aws.amazon.com/AmazonS3/latest/dev/Versioning.html



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                            Figure 13: Using the console to enable versioning for an S3 bucket

                If your data and workflow need long-term retention with low chances of retrieval then
                Amazon Glacier is the best solution. Amazon Glacier is a storage service optimized for
                infrequently used data, or “cold data.” The service provides durable and extremely low-
                cost storage with security features for data archiving and backup. With Amazon Glacier,
                you can store your data cost-effectively for months, years, or even decades. With
                Amazon S3’s lifecycle management, you can automatically move data from Amazon S3
                to Amazon Glacier based on the lifecycle policy.




                                            Figure 14: Amazon Glacier storage

                If your data and workflow require a file system to store files or database data then
                Amazon EBS is the best storage option. Amazon EBS provides many features such as
                high durability and reliability, encryption, provisioned IOPS, and point-in-time snapshots
                amongst others. The built-in volume snapshot feature is a good option for backing up
                data.




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                Automating Infrastructure
                One of the main advantages of using Amazon Web Services is that capacity is available
                to you on demand. You have no need to preprovision your infrastructure for future or
                backup use. Using tools such as AWS CloudFormation25 and AWS OpsWorks,26 you can
                automate the build out of your infrastructure, as explained in the Bootstrapping
                Applications whitepaper.27 With this approach, you can operate your infrastructure as
                code. You are then not tied to a specific system image that you have to backup. The
                application can be backed up in code repositories and used to create a full-blown
                infrastructure at the time it is needed. Anytime you need to create a server, you launch
                an automated deployment of the application, which creates the infrastructure within
                minutes to host your application.


                Conclusion
                The growth in data and an explosion in the creation and use of machine-generated data
                are increasing the need for robust, scalable and secure backup solutions. At the same
                time, organizations are struggling to deal with an explosion in retained data for
                compliance or business reuse. Providing IT teams with services and solutions that are
                optimized for usability in backup and archival environments is a critical requirement.

                Amazon Web Services provides cost-effective and scalable solutions to help
                organizations balance their requirements for backup and archiving. These services
                integrate well with new as well as existing technologies the customers are working with
                today. Gartner has recognized AWS as a leader in providing public cloud storage
                services28. AWS is well positioned to help organizations move their workloads to the
                cloud-based platforms that are the next generation of backup.



                Notices

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                25
                     http://aws.amazon.com/cloudformation/
                26
                     http://aws.amazon.com/opsworks/
                27
                     https://s3.amazonaws.com/cloudformation-examples/BoostrappingApplicationsWithAWSCloudFormation.pdf
                28
                     http://www.gartner.com/technology/reprints.do?id=1-1WWKTQ3&ct=140709&st=sb




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                customers are controlled by AWS agreements, and this document is not part of, nor does it modify, any agreement
                between AWS and its customers.




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                Appendices
                Terms
                Some important terms often used in backup and restore discussions

                      Archive – A strategy for long-term retention of data for use in case of compliance,
                       regulatory, or historical records requirement.
                      Backup – A strategy of copying files or databases for short-term retention for use in case
                       of failure or corruption.
                      Backup Frequency – The time between consecutive backups.
                      Data Lifecycle Management – The process of managing data information throughout its
                       lifecycle, from requirements through retirement.
                      Data Versioning – Maintaining multiple versions of data for backup purposes.
                      File / Data Backup – The process of copying individual data files to a backup medium so
                       that they will be preserved.
                      Image Backup – An exact copy of a drive or storage device containing the complete
                       contents and structure representing the operating system and all the data associated
                       with it, including the system state and application configurations.
                      Off-Site Backups – The process of storing the copy of data in a geographically different
                       location from the source.
                      Restore – A process that involves copying backup files from secondary storage (tape, zip
                       disk, or other backup media) to hard disk. A restore is performed in order to return data
                       to its original condition if files have become damaged or to copy or move data to a new
                       location.
                      Retention – The amount of time that a given set of data remains available for restore.
                       Some backup products rely on daily copies of data and measure retention in terms of
                       days. Others retain a number of copies of data changes regardless of the amount of
                       time.
                      RPO – The maximum tolerable period in which data might be lost from an IT service due
                       to a major incident.
                      RTO – The targeted duration of time and a service level within which a business process
                       must be restored after a disaster (or disruption) in order to avoid unacceptable
                       consequences associated with a break in business continuity.




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                Partner Solutions
                       Avere – Hybrid cloud NAS and AWS:
                        http://www.averesystems.com/amazon-web-services
                       Commvault – Cloud Integration with Amazon Web Services:
                        http://www.commvault.com/resource-library/1843/commvault-amazon-web-
                        services-solution-brief.pdf
                       CTERA – CTERA Cloud Storage Services Platform and Amazon Web Services:
                        http://www.ctera.com/amazon-aws-cloud-storage-platform
                       NetApp Riverbed SteelStore™ – cloud storage gateway:
                        http://www.riverbed.com/partners/find-a-partner/find-a-partner-tool/aws-
                        partner.html#Cloud_Storage
                       Symantec Solutions for Amazon Web Services – Symantec Netbackup Platform:
                        http://www.symantec.com/content/en/us/enterprise/fact_sheets/b-nbu-DS-
                        solutions-for-amazon-web-services-21281095.en-us.pdf
                       Zmanda – Backup to Amazon S3:
                        http://www.zmanda.com/backup-Amazon-S3.html




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                                                                           KoveIO Compl. Ex. 15
                       Exhibit 16




KoveIO Compl. Ex. 16
                             FILE SYNCHRONIZATION
                                                                                                                                                                                  Given the straightforward, stateless client-server architecture in

                   W S                                                                                                                                                            which web services are viewed as resources and can be identified
                                                                                                                                                                                  by their URLs, development teams are free to create file sharing
                A ce                                                                                                                                                              and syncing applications for their departments, for enterprises, or

                 enes
                                                                                                                                                                                  for consumers directly.

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                             SERVICE                                                                                                                                              This diagram represents the core architecture of a scalable and
                                                                                                                                                                                  cost-effective file sharing and synchronization platform, using
                                                                                                                                                                                  Amazon Web Services.

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   System                     1    The file synchronization service endpoint consists of an             4    Users upload files into Amazon Simple Storage                        any level of traffic.
                                   Elastic Load Balancer distributing incoming requests                      Service (Amazon S3), a highly durable storage
                             to a group of application servers hosted on Amazon Elastic               infrastructure designed for mission-critical and primary data                6     File change notifications can be sent via email to users
  Overview                   Compute Cloud (Amazon EC2) instances. An Auto Scaling
                             group automatically adjusts the number of Amazon EC2
                                                                                                      storage. Amazon S3 makes it easy to store and retrieve any
                                                                                                      amount of data, at any time. Large files can be uploaded by
                                                                                                                                                                                         following the resource with Amazon Simple Email
                                                                                                                                                                                  Service (Amazon SES), an easy-to-use, cost-effective email
                             instances depending on the application needs.                            the same client using multiple concurrent threads to maximize               solution.
                                                                                                      bandwidth usage.
                                      To upload a file, a client first needs to request the                                                                                        7     Other clients sharing the same files will query the
                              2       permission to the service and get a security token.              5 File      metadata, version information, and unique
                                                                                                            identifiers are stored by the application servers on an
                                                                                                                                                                                         service endpoint to check if newer versions are
                                                                                                                                                                                  available. This query compares the list of local files
                              3   After checking the user's identity, application servers             Amazon DynamoDB table. As the number of files to                            checksums with the checksums listed in an Amazon
                                  get a temporary credential from AWS Security Token                  maintain in the application grows, Amazon DynamoDB                          DynamoDB table. If the query finds newer files, they can be
                             Service (STS). This credential allows users to upload files.             tables can store and retrieve any amount of data, and serve                 retrieved from Amazon S3 and sent to the client application.
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Exhibit 17




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Amazon Simple Storage Service
         Developer Guide
      API Version 2006-03-01




                           KoveIO Compl. Ex. 17
                                      Amazon Simple Storage Service Developer Guide




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                            Amazon Simple Storage Service Developer Guide
                                            How Do I...?




What Is Amazon S3?
     Amazon Simple Storage Service is storage for the Internet. It is designed to make web-scale computing
     easier for developers.

     Amazon S3 has a simple web services interface that you can use to store and retrieve any amount of
     data, at any time, from anywhere on the web. It gives any developer access to the same highly scalable,
     reliable, fast, inexpensive data storage infrastructure that Amazon uses to run its own global network of
     web sites. The service aims to maximize beneﬁts of scale and to pass those beneﬁts on to developers.

     This guide explains the core concepts of Amazon S3, such as buckets and objects, and how to work with
     these resources using the Amazon S3 application programming interface (API).



How Do I...?
      Information                               Relevant Sections

      General product overview and pricing      Amazon S3

      Get a quick hands-on introduction to      Amazon Simple Storage Service Getting Started Guide
      Amazon S3

      Learn about Amazon S3 key                 Introduction to Amazon S3 (p. 2)
      terminology and concepts

      How do I work with buckets?               Working with Amazon S3 Buckets (p. 52)

      How do I work with objects?               Working with Amazon S3 Objects (p. 94)

      How do I make requests?                   Making Requests (p. 10)

      How do I manage access to my              Managing Access Permissions to Your Amazon S3
      resources?                                Resources (p. 266)




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                              Overview of Amazon S3 and This Guide




Introduction to Amazon S3
    This introduction to Amazon Simple Storage Service is intended to give you a detailed summary of this
    web service. After reading this section, you should have a good idea of what it oﬀers and how it can ﬁt in
    with your business.

    Topics
     • Overview of Amazon S3 and This Guide (p. 2)
     • Advantages to Amazon S3 (p. 2)
     • Amazon S3 Concepts (p. 3)
     • Amazon S3 Features (p. 6)
     • Amazon S3 Application Programming Interfaces (API) (p. 8)
     • Paying for Amazon S3 (p. 9)
     • Related Services (p. 9)



Overview of Amazon S3 and This Guide
    Amazon S3 has a simple web services interface that you can use to store and retrieve any amount of
    data, at any time, from anywhere on the web.

    This guide describes how you send requests to create buckets, store and retrieve your objects, and
    manage permissions on your resources. The guide also describes access control and the authentication
    process. Access control deﬁnes who can access objects and buckets within Amazon S3, and the type of
    access (e.g., READ and WRITE). The authentication process veriﬁes the identity of a user who is trying to
    access Amazon Web Services (AWS).



Advantages to Amazon S3
    Amazon S3 is intentionally built with a minimal feature set that focuses on simplicity and robustness.
    Following are some of advantages of the Amazon S3 service:

    • Create Buckets – Create and name a bucket that stores data. Buckets are the fundamental container in
      Amazon S3 for data storage.
    • Store data in Buckets – Store an inﬁnite amount of data in a bucket. Upload as many objects as you
      like into an Amazon S3 bucket. Each object can contain up to 5 TB of data. Each object is stored and
      retrieved using a unique developer-assigned key.
    • Download data – Download your data or enable others to do so. Download your data any time you like
      or allow others to do the same.
    • Permissions – Grant or deny access to others who want to upload or download data into your
      Amazon S3 bucket. Grant upload and download permissions to three types of users. Authentication
      mechanisms can help keep data secure from unauthorized access.
    • Standard interfaces – Use standards-based REST and SOAP interfaces designed to work with any
      Internet-development toolkit.

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                                      Amazon S3 Concepts


          Note
          SOAP support over HTTP is deprecated, but it is still available over HTTPS. New Amazon S3
          features will not be supported for SOAP. We recommend that you use either the REST API or
          the AWS SDKs.



Amazon S3 Concepts
    Topics
     • Buckets (p. 3)
     • Objects (p. 3)
     • Keys (p. 3)
     • Regions (p. 4)
     • Amazon S3 Data Consistency Model (p. 4)


    This section describes key concepts and terminology you need to understand to use Amazon S3
    eﬀectively. They are presented in the order you will most likely encounter them.


    Buckets
    A bucket is a container for objects stored in Amazon S3. Every object is contained in a bucket. For
    example, if the object named photos/puppy.jpg is stored in the johnsmith bucket, then it is
    addressable using the URL http://johnsmith.s3.amazonaws.com/photos/puppy.jpg

    Buckets serve several purposes: they organize the Amazon S3 namespace at the highest level, they
    identify the account responsible for storage and data transfer charges, they play a role in access control,
    and they serve as the unit of aggregation for usage reporting.

    You can conﬁgure buckets so that they are created in a speciﬁc region. For more information, see
    Buckets and Regions (p. 54). You can also conﬁgure a bucket so that every time an object is added
    to it, Amazon S3 generates a unique version ID and assigns it to the object. For more information, see
    Versioning (p. 416).

    For more information about buckets, see Working with Amazon S3 Buckets (p. 52).


    Objects
    Objects are the fundamental entities stored in Amazon S3. Objects consist of object data and metadata.
    The data portion is opaque to Amazon S3. The metadata is a set of name-value pairs that describe
    the object. These include some default metadata, such as the date last modiﬁed, and standard HTTP
    metadata, such as Content-Type. You can also specify custom metadata at the time the object is stored.

    An object is uniquely identiﬁed within a bucket by a key (name) and a version ID. For more information,
    see Keys (p. 3) and Versioning (p. 416).


    Keys
    A key is the unique identiﬁer for an object within a bucket. Every object in a bucket has exactly
    one key. Because the combination of a bucket, key, and version ID uniquely identify each object,
    Amazon S3 can be thought of as a basic data map between "bucket + key + version" and the object
    itself. Every object in Amazon S3 can be uniquely addressed through the combination of the web


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                                          Regions


service endpoint, bucket name, key, and optionally, a version. For example, in the URL http://
doc.s3.amazonaws.com/2006-03-01/AmazonS3.wsdl, "doc" is the name of the bucket and "2006-03-01/
AmazonS3.wsdl" is the key.

For more information about object keys, see Object Keys.


Regions
You can choose the geographical region where Amazon S3 will store the buckets you create. You might
choose a region to optimize latency, minimize costs, or address regulatory requirements. Objects stored
in a region never leave the region unless you explicitly transfer them to another region. For example,
objects stored in the EU (Ireland) region never leave it.

For a list of Amazon S3 regions and endpoints, see Regions and Endpoints in the AWS General Reference.


Amazon S3 Data Consistency Model
Amazon S3 provides read-after-write consistency for PUTS of new objects in your S3 bucket in all regions
with one caveat. The caveat is that if you make a HEAD or GET request to the key name (to ﬁnd if the
object exists) before creating the object, Amazon S3 provides eventual consistency for read-after-write.

Amazon S3 oﬀers eventual consistency for overwrite PUTS and DELETES in all regions.

Updates to a single key are atomic. For example, if you PUT to an existing key, a subsequent read might
return the old data or the updated data, but it will never return corrupted or partial data.

Amazon S3 achieves high availability by replicating data across multiple servers within Amazon's data
centers. If a PUT request is successful, your data is safely stored. However, information about the changes
must replicate across Amazon S3, which can take some time, and so you might observe the following
behaviors:

• A process writes a new object to Amazon S3 and immediately lists keys within its bucket. Until the
  change is fully propagated, the object might not appear in the list.
• A process replaces an existing object and immediately attempts to read it. Until the change is fully
  propagated, Amazon S3 might return the prior data.
• A process deletes an existing object and immediately attempts to read it. Until the deletion is fully
  propagated, Amazon S3 might return the deleted data.
• A process deletes an existing object and immediately lists keys within its bucket. Until the deletion is
  fully propagated, Amazon S3 might list the deleted object.


    Note
    Amazon S3 does not currently support object locking. If two PUT requests are simultaneously
    made to the same key, the request with the latest time stamp wins. If this is an issue, you will
    need to build an object-locking mechanism into your application.
    Updates are key-based; there is no way to make atomic updates across keys. For example, you
    cannot make the update of one key dependent on the update of another key unless you design
    this functionality into your application.

The following table describes the characteristics of eventually consistent read and consistent read.


 Eventually Consistent Read                            Consistent Read

 Stale reads possible                                  No stale reads


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                            Amazon S3 Data Consistency Model



 Eventually Consistent Read                          Consistent Read

 Lowest read latency                                 Potential higher read latency

 Highest read throughput                             Potential lower read throughput



Concurrent Applications
This section provides examples of eventually consistent and consistent read requests when multiple
clients are writing to the same items.

In this example, both W1 (write 1) and W2 (write 2) complete before the start of R1 (read 1) and R2 (read
2). For a consistent read, R1 and R2 both return color = ruby. For an eventually consistent read, R1
and R2 might return color = red, color = ruby, or no results, depending on the amount of time
that has elapsed.




In the next example, W2 does not complete before the start of R1. Therefore, R1 might return color =
ruby or color = garnet for either a consistent read or an eventually consistent read. Also, depending
on the amount of time that has elapsed, an eventually consistent read might return no results.

For a consistent read, R2 returns color = garnet. For an eventually consistent read, R2 might return
color = ruby, color = garnet, or no results depending on the amount of time that has elapsed.




In the last example, Client 2 performs W2 before Amazon S3 returns a success for W1, so the outcome
of the ﬁnal value is unknown (color = garnet or color = brick). Any subsequent reads (consistent
read or eventually consistent) might return either value. Also, depending on the amount of time that has
elapsed, an eventually consistent read might return no results.


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                                       Amazon S3 Features




Amazon S3 Features
    Topics
     • Storage Classes (p. 6)
     • Bucket Policies (p. 6)
     • AWS Identity and Access Management (p. 7)
     • Access Control Lists (p. 7)
     • Versioning (p. 7)
     • Operations (p. 7)


    This section describes important Amazon S3 features.


    Storage Classes
    Amazon S3 oﬀers a range of storage classes designed for diﬀerent use cases. These include Amazon S3
    STANDARD for general-purpose storage of frequently accessed data, Amazon S3 STANDARD_IA for long-
    lived, but less frequently accessed data, and GLACIER for long-term archive.

    For more information, see Storage Classes (p. 99).


    Bucket Policies
    Bucket policies provide centralized access control to buckets and objects based on a variety of conditions,
    including Amazon S3 operations, requesters, resources, and aspects of the request (e.g., IP address). The
    policies are expressed in our access policy language and enable centralized management of permissions.
    The permissions attached to a bucket apply to all of the objects in that bucket.

    Individuals as well as companies can use bucket policies. When companies register with Amazon S3
    they create an account. Thereafter, the company becomes synonymous with the account. Accounts
    are ﬁnancially responsible for the Amazon resources they (and their employees) create. Accounts have
    the power to grant bucket policy permissions and assign employees permissions based on a variety of
    conditions. For example, an account could create a policy that gives a user write access:

    • To a particular S3 bucket
    • From an account's corporate network

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                           AWS Identity and Access Management


• During business hours


An account can grant one user limited read and write access, but allow another to create and delete
buckets as well. An account could allow several ﬁeld oﬃces to store their daily reports in a single bucket,
allowing each oﬃce to write only to a certain set of names (e.g., "Nevada/*" or "Utah/*") and only from
the oﬃce's IP address range.

Unlike access control lists (described below), which can add (grant) permissions only on individual
objects, policies can either add or deny permissions across all (or a subset) of objects within a bucket.
With one request an account can set the permissions of any number of objects in a bucket. An account
can use wildcards (similar to regular expression operators) on Amazon resource names (ARNs) and other
values, so that an account can control access to groups of objects that begin with a common preﬁx or
end with a given extension such as .html.

Only the bucket owner is allowed to associate a policy with a bucket. Policies, written in the access policy
language, allow or deny requests based on:

• Amazon S3 bucket operations (such as PUT ?acl), and object operations (such as PUT Object, or
  GET Object)
• Requester
• Conditions speciﬁed in the policy


An account can control access based on speciﬁc Amazon S3 operations, such as GetObject,
GetObjectVersion, DeleteObject, or DeleteBucket.

The conditions can be such things as IP addresses, IP address ranges in CIDR notation, dates, user agents,
HTTP referrer and transports (HTTP and HTTPS).

For more information, see Using Bucket Policies and User Policies (p. 306).


AWS Identity and Access Management
For example, you can use IAM with Amazon S3 to control the type of access a user or group of users has
to speciﬁc parts of an Amazon S3 bucket your AWS account owns.

For more information about IAM, see the following:

• AWS Identity and Access Management (IAM)
• Getting Started
• IAM User Guide



Access Control Lists
For more information, see Managing Access with ACLs (p. 367)


Versioning
For more information, see Object Versioning (p. 104).


Operations
Following are the most common operations you'll execute through the API.

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                          Amazon S3 Application Programming Interfaces (API)


    Common Operations

    • Create a Bucket – Create and name your own bucket in which to store your objects.
    • Write an Object – Store data by creating or overwriting an object. When you write an object, you
      specify a unique key in the namespace of your bucket. This is also a good time to specify any access
      control you want on the object.
    • Read an Object – Read data back. You can download the data via HTTP or BitTorrent.
    • Deleting an Object – Delete some of your data.
    • Listing Keys – List the keys contained in one of your buckets. You can ﬁlter the key list based on a
      preﬁx.


    Details on this and all other functionality are described in detail later in this guide.



Amazon S3 Application Programming Interfaces
(API)
    The Amazon S3 architecture is designed to be programming language-neutral, using our supported
    interfaces to store and retrieve objects.

    Amazon S3 provides a REST and a SOAP interface. They are similar, but there are some diﬀerences. For
    example, in the REST interface, metadata is returned in HTTP headers. Because we only support HTTP
    requests of up to 4 KB (not including the body), the amount of metadata you can supply is restricted.
        Note
        SOAP support over HTTP is deprecated, but it is still available over HTTPS. New Amazon S3
        features will not be supported for SOAP. We recommend that you use either the REST API or the
        AWS SDKs.


    The REST Interface
    The REST API is an HTTP interface to Amazon S3. Using REST, you use standard HTTP requests to create,
    fetch, and delete buckets and objects.

    You can use any toolkit that supports HTTP to use the REST API. You can even use a browser to fetch
    objects, as long as they are anonymously readable.

    The REST API uses the standard HTTP headers and status codes, so that standard browsers and toolkits
    work as expected. In some areas, we have added functionality to HTTP (for example, we added headers
    to support access control). In these cases, we have done our best to add the new functionality in a way
    that matched the style of standard HTTP usage.


    The SOAP Interface
        Note
        SOAP support over HTTP is deprecated, but it is still available over HTTPS. New Amazon S3
        features will not be supported for SOAP. We recommend that you use either the REST API or the
        AWS SDKs.

    The SOAP API provides a SOAP 1.1 interface using document literal encoding. The most common way to
    use SOAP is to download the WSDL (go to http://doc.s3.amazonaws.com/2006-03-01/AmazonS3.wsdl),
    use a SOAP toolkit such as Apache Axis or Microsoft .NET to create bindings, and then write code that
    uses the bindings to call Amazon S3.

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                                      Paying for Amazon S3



Paying for Amazon S3
    Pricing for Amazon S3 is designed so that you don't have to plan for the storage requirements of your
    application. Most storage providers force you to purchase a predetermined amount of storage and
    network transfer capacity: If you exceed that capacity, your service is shut oﬀ or you are charged high
    overage fees. If you do not exceed that capacity, you pay as though you used it all.

    Amazon S3 charges you only for what you actually use, with no hidden fees and no overage charges.
    This gives developers a variable-cost service that can grow with their business while enjoying the cost
    advantages of Amazon's infrastructure.

    Before storing anything in Amazon S3, you need to register with the service and provide a payment
    instrument that will be charged at the end of each month. There are no set-up fees to begin using the
    service. At the end of the month, your payment instrument is automatically charged for that month's
    usage.

    For information about paying for Amazon S3 storage, see Amazon S3 Pricing.



Related Services
    Once you load your data into Amazon S3, you can use it with other services that we provide. The
    following services are the ones you might use most frequently:

    • Amazon Elastic Compute Cloud – This web service provides virtual compute resources in the cloud.
      For more information, go to the Amazon EC2 product details page.
    • Amazon EMR – This web service enables businesses, researchers, data analysts, and developers to
      easily and cost-eﬀectively process vast amounts of data. It utilizes a hosted Hadoop framework
      running on the web-scale infrastructure of Amazon EC2 and Amazon S3. For more information, go to
      the Amazon EMR product details page.
    • AWS Import/Export – AWS Import/Export enables you to mail a storage device, such as a RAID drive,
      to Amazon so that we can upload your (terabytes) of data into Amazon S3. For more information, go
      to the AWS Import/Export Developer Guide.




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                                       About Access Keys




Making Requests
    Topics
     • About Access Keys (p. 10)
     • Request Endpoints (p. 11)
     • Making Requests to Amazon S3 over IPv6 (p. 12)
     • Making Requests Using the AWS SDKs (p. 18)
     • Making Requests Using the REST API (p. 44)


    Amazon S3 is a REST service. You can send requests to Amazon S3 using the REST API or the AWS
    SDK (see Sample Code and Libraries) wrapper libraries that wrap the underlying Amazon S3 REST API,
    simplifying your programming tasks.

    Every interaction with Amazon S3 is either authenticated or anonymous. Authentication is a process
    of verifying the identity of the requester trying to access an Amazon Web Services (AWS) product.
    Authenticated requests must include a signature value that authenticates the request sender. The
    signature value is, in part, generated from the requester's AWS access keys (access key ID and secret
    access key). For more information about getting access keys, see How Do I Get Security Credentials? in
    the AWS General Reference.

    If you are using the AWS SDK, the libraries compute the signature from the keys you provide. However,
    if you make direct REST API calls in your application, you must write the code to compute the signature
    and add it to the request.



About Access Keys
    The following sections review the types of access keys that you can use to make authenticated requests.


    AWS Account Access Keys
    The account access keys provide full access to the AWS resources owned by the account. The following
    are examples of access keys:

    • Access key ID (a 20-character, alphanumeric string). For example: AKIAIOSFODNN7EXAMPLE
    • Secret access key (a 40-character string). For example: wJalrXUtnFEMI/K7MDENG/
      bPxRﬁCYEXAMPLEKEY


    The access key ID uniquely identiﬁes an AWS account. You can use these access keys to send
    authenticated requests to Amazon S3.


    IAM User Access Keys
    You can create one AWS account for your company; however, there may be several employees in the
    organization who need access to your organization's AWS resources. Sharing your AWS account access
    keys reduces security, and creating individual AWS accounts for each employee might not be practical.

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                                  Temporary Security Credentials


    Also, you cannot easily share resources such as buckets and objects because they are owned by diﬀerent
    accounts. To share resources, you must grant permissions, which is additional work.

    In such scenarios, you can use AWS Identity and Access Management (IAM) to create users under your
    AWS account with their own access keys and attach IAM user policies granting appropriate resource
    access permissions to them. To better manage these users, IAM enables you to create groups of users and
    grant group-level permissions that apply to all users in that group.

    These users are referred to as IAM users that you create and manage within AWS. The parent account
    controls a user's ability to access AWS. Any resources an IAM user creates are under the control of and
    paid for by the parent AWS account. These IAM users can send authenticated requests to Amazon S3
    using their own security credentials. For more information about creating and managing users under
    your AWS account, go to the AWS Identity and Access Management product details page.

    Temporary Security Credentials
    In addition to creating IAM users with their own access keys, IAM also enables you to grant temporary
    security credentials (temporary access keys and a security token) to any IAM user to enable them to
    access your AWS services and resources. You can also manage users in your system outside AWS. These
    are referred to as federated users. Additionally, users can be applications that you create to access your
    AWS resources.

    IAM provides the AWS Security Token Service API for you to request temporary security credentials. You
    can use either the AWS STS API or the AWS SDK to request these credentials. The API returns temporary
    security credentials (access key ID and secret access key), and a security token. These credentials are
    valid only for the duration you specify when you request them. You use the access key ID and secret key
    the same way you use them when sending requests using your AWS account or IAM user access keys. In
    addition, you must include the token in each request you send to Amazon S3.

    An IAM user can request these temporary security credentials for their own use or hand them out to
    federated users or applications. When requesting temporary security credentials for federated users, you
    must provide a user name and an IAM policy deﬁning the permissions you want to associate with these
    temporary security credentials. The federated user cannot get more permissions than the parent IAM
    user who requested the temporary credentials.

    You can use these temporary security credentials in making requests to Amazon S3. The API libraries
    compute the necessary signature value using those credentials to authenticate your request. If you send
    requests using expired credentials, Amazon S3 denies the request.

    For information on signing requests using temporary security credentials in your REST API requests, see
    Signing and Authenticating REST Requests (p. 592). For information about sending requests using AWS
    SDKs, see Making Requests Using the AWS SDKs (p. 18).

    For more information about IAM support for temporary security credentials, see Temporary Security
    Credentials in the IAM User Guide.

    For added security, you can require multifactor authentication (MFA) when accessing your Amazon
    S3 resources by conﬁguring a bucket policy. For information, see Adding a Bucket Policy to Require
    MFA (p. 339). After you require MFA to access your Amazon S3 resources, the only way you can access
    these resources is by providing temporary credentials that are created with an MFA key. For more
    information, see the AWS Multi-Factor Authentication detail page and Conﬁguring MFA-Protected API
    Access in the IAM User Guide.



Request Endpoints
    You send REST requests to the service's predeﬁned endpoint. For a list of all AWS services and their
    corresponding endpoints, go to Regions and Endpoints in the AWS General Reference.

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                              Request Redirection and the REST API




Request Routing
    Topics
     • Request Redirection and the REST API (p. 530)
     • DNS Considerations (p. 533)


    Programs that make requests against buckets created using the <CreateBucketConﬁguration> API must
    support redirects. Additionally, some clients that do not respect DNS TTLs might encounter issues.

    This section describes routing and DNS issues to consider when designing your service or application for
    use with Amazon S3.




Request Redirection and the REST API
    Amazon S3 uses the Domain Name System (DNS) to route requests to facilities that can process them.
    This system works eﬀectively, but temporary routing errors can occur. If a request arrives at the wrong
    Amazon S3 location, Amazon S3 responds with a temporary redirect that tells the requester to resend
    the request to a new endpoint. If a request is incorrectly formed, Amazon S3 uses permanent redirects to
    provide direction on how to perform the request correctly.
        Important
        To use this feature, you must have an application that can handle Amazon S3 redirect responses.
        The only exception is for applications that work exclusively with buckets that were created
        without <CreateBucketConfiguration>. For more information about location constraints,
        see Accessing a Bucket (p. 54).

    Topics
     • DNS Routing (p. 530)
     • Temporary Request Redirection (p. 531)
     • Permanent Request Redirection (p. 533)
     • Request Redirection Examples (p. 533)



    DNS Routing
    DNS routing routes requests to appropriate Amazon S3 facilities. The following ﬁgure and procedure
    show an example of DNS routing.




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                        Amazon Simple Storage Service Developer Guide
                               Temporary Request Redirection




DNS routing request steps

1.   The client makes a DNS request to get an object stored on Amazon S3.
2.   The client receives one or more IP addresses for facilities that can process the request. In this
     example, the IP address is for Facility B.
3.   The client makes a request to Amazon S3 Facility B.
4.   Facility B returns a copy of the object to the client.



Temporary Request Redirection
A temporary redirect is a type of error response that signals to the requester that they should resend the
request to a diﬀerent endpoint. Due to the distributed nature of Amazon S3, requests can be temporarily
routed to the wrong facility. This is most likely to occur immediately after buckets are created or deleted.

For example, if you create a new bucket and immediately make a request to the bucket, you might
receive a temporary redirect, depending on the location constraint of the bucket. If you created the
bucket in the US East (N. Virginia) AWS Region, you will not see the redirect because this is also the
default Amazon S3 endpoint.

However, if the bucket is created in any other Region, any requests for the bucket go to the default
endpoint while the bucket's DNS entry is propagated. The default endpoint redirects the request to the

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                        Amazon Simple Storage Service Developer Guide
                               Temporary Request Redirection


correct endpoint with an HTTP 302 response. Temporary redirects contain a URI to the correct facility,
which you can use to immediately resend the request.
     Important
     Don't reuse an endpoint provided by a previous redirect response. It might appear to work (even
     for long periods of time), but it might provide unpredictable results and will eventually fail
     without notice.

The following ﬁgure and procedure shows an example of a temporary redirect.




Temporary request redirection steps

1.   The client makes a DNS request to get an object stored on Amazon S3.
2.   The client receives one or more IP addresses for facilities that can process the request.
3.   The client makes a request to Amazon S3 Facility B.
4.   Facility B returns a redirect indicating the object is available from Location C.
5.   The client resends the request to Facility C.
6.   Facility C returns a copy of the object.




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                          Amazon Simple Storage Service Developer Guide
                                 Permanent Request Redirection



    Permanent Request Redirection
    A permanent redirect indicates that your request addressed a resource inappropriately. For example,
    permanent redirects occur if you use a path-style request to access a bucket that was created using
    <CreateBucketConfiguration>. For more information, see Accessing a Bucket (p. 54).

    To help you ﬁnd these errors during development, this type of redirect does not contain a Location HTTP
    header that allows you to automatically follow the request to the correct location. Consult the resulting
    XML error document for help using the correct Amazon S3 endpoint.


    Request Redirection Examples
    The following are examples of temporary request redirection responses.

    REST API Temporary Redirect Response

    HTTP/1.1 307 Temporary Redirect
    Location: http://johnsmith.s3-gztb4pa9sq.amazonaws.com/photos/puppy.jpg?rk=e2c69a31
    Content-Type: application/xml
    Transfer-Encoding: chunked
    Date: Fri, 12 Oct 2007 01:12:56 GMT
    Server: AmazonS3

    <?xml version="1.0" encoding="UTF-8"?>
    <Error>
      <Code>TemporaryRedirect</Code>
      <Message>Please re-send this request to the specified temporary endpoint.
      Continue to use the original request endpoint for future requests.</Message>
      <Endpoint>johnsmith.s3-gztb4pa9sq.amazonaws.com</Endpoint>
    </Error>


    SOAP API Temporary Redirect Response
        Note
        SOAP support over HTTP is deprecated, but it is still available over HTTPS. New Amazon S3
        features will not be supported for SOAP. We recommend that you use either the REST API or the
        AWS SDKs.

    <soapenv:Body>
      <soapenv:Fault>
        <Faultcode>soapenv:Client.TemporaryRedirect</Faultcode>
        <Faultstring>Please re-send this request to the specified temporary endpoint.
        Continue to use the original request endpoint for future requests.</Faultstring>
        <Detail>
          <Bucket>images</Bucket>
          <Endpoint>s3-gztb4pa9sq.amazonaws.com</Endpoint>
        </Detail>
      </soapenv:Fault>
    </soapenv:Body>




DNS Considerations
    One of the design requirements of Amazon S3 is extremely high availability. One of the ways we meet
    this requirement is by updating the IP addresses associated with the Amazon S3 endpoint in DNS

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                                  DNS Considerations


as needed. These changes are automatically reﬂected in short-lived clients, but not in some long-
lived clients. Long-lived clients will need to take special action to re-resolve the Amazon S3 endpoint
periodically to beneﬁt from these changes. For more information about virtual machines (VMs), refer to
the following:

• For Java, Sun's JVM caches DNS lookups forever by default; go to the "InetAddress Caching" section of
  the InetAddress documentation for information on how to change this behavior.
• For PHP, the persistent PHP VM that runs in the most popular deployment conﬁgurations caches DNS
  lookups until the VM is restarted. Go to the getHostByName PHP docs.




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                             Request Rate and Performance Guidelines




Performance Optimization
    This section discusses Amazon S3 best practices for optimizing performance in the following topics.

    Topics
     • Request Rate and Performance Guidelines (p. 535)
     • TCP Window Scaling (p. 535)
     • TCP Selective Acknowledgement (p. 536)


        Note
        For more information about high performance tuning, see Enabling High Performance Data
        Transfers at the Pittsburgh Supercomputing Center (PSC) website.



Request Rate and Performance Guidelines
    Amazon S3 automatically scales to high request rates. For example, your application can achieve at
    least 3,500 PUT/POST/DELETE and 5,500 GET requests per second per preﬁx in a bucket. There are
    no limits to the number of preﬁxes in a bucket. It is simple to increase your read or write performance
    exponentially. For example, if you create 10 preﬁxes in an Amazon S3 bucket to parallelize reads, you
    could scale your read performance to 55,000 read requests per second.

    If your Amazon S3 workload uses server-side encryption with AWS Key Management Service (SSE-KMS),
    see AWS KMS Limits in the AWS Key Management Service Developer Guide for information about the
    request rates supported for your use case.


    GET-Intensive Workloads
    If your workload is mainly sending GET requests, in addition to the preceding guidelines, you should
    consider using Amazon CloudFront for performance optimization. By integrating CloudFront with
    Amazon S3, you can distribute content to your users with low latency and a high data transfer rate. You
    also send fewer direct requests to Amazon S3, which reduces your costs.

    For example, suppose that you have a few objects that are very popular. CloudFront fetches those
    objects from Amazon S3 and caches them. CloudFront can then serve future requests for the objects
    from its cache, reducing the number of GET requests it sends to Amazon S3. For more information, see
    the Amazon CloudFront product detail page.



TCP Window Scaling
    TCP window scaling allows you to improve network throughput performance between your operating
    system and application layer and Amazon S3 by supporting window sizes larger than 64 KB. At the start
    of the TCP session, a client advertises its supported receive window WSCALE factor, and Amazon S3
    responds with its supported receive window WSCALE factor for the upstream direction.

    Although TCP window scaling can improve performance, it can be challenging to set correctly. Make
    sure to adjust settings at both the application and kernel level. For more information about TCP window
    scaling, refer to your operating system's documentation and go to RFC 1323.

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                         Amazon Simple Storage Service Developer Guide
                               TCP Selective Acknowledgement



TCP Selective Acknowledgement
    TCP selective acknowledgement is designed to improve recovery time after a large number of packet
    losses. TCP selective acknowledgement is supported by most newer operating systems, but might have
    to be enabled. For more information about TCP selective acknowledgements, refer to the documentation
    that accompanied your operating system and go to RFC 2018.




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                                               536



                                                                         KoveIO Compl. Ex. 17
Exhibit 18




             KoveIO Compl. Ex. 18
                                                                                                       


Summary of the Amazon S3 Service Disruption in the
Northern Virginia (US-EAST-1) Region
We’d like to give you some additional information about the service disruption that occurred in the Northern
Virginia (US-EAST-1) Region on the morning of February 28th, 2017. The Amazon Simple Storage Service (S3)
team was debugging an issue causing the S3 billing system to progress more slowly than expected. At 9:37AM
PST, an authorized S3 team member using an established playbook executed a command which was intended to
remove a small number of servers for one of the S3 subsystems that is used by the S3 billing process.
Unfortunately, one of the inputs to the command was entered incorrectly and a larger set of servers was removed
than intended. The servers that were inadvertently removed supported two other S3 subsystems. One of these
subsystems, the index subsystem, manages the metadata and location information of all S3 objects in the region.
This subsystem is necessary to serve all GET, LIST, PUT, and DELETE requests. The second subsystem, the
placement subsystem, manages allocation of new storage and requires the index subsystem to be functioning
properly to correctly operate. The placement subsystem is used during PUT requests to allocate storage for new
objects. Removing a signiﬁcant portion of the capacity caused each of these systems to require a full restart.
While these subsystems were being restarted, S3 was unable to service requests. Other AWS services in the US-
EAST-1 Region that rely on S3 for storage, including the S3 console, Amazon Elastic Compute Cloud (EC2) new
instance launches, Amazon Elastic Block Store (EBS) volumes (when data was needed from a S3 snapshot), and
AWS Lambda were also impacted while the S3 APIs were unavailable.

S3 subsystems are designed to support the removal or failure of signiﬁcant capacity with little or no customer
impact. We build our systems with the assumption that things will occasionally fail, and we rely on the ability to
remove and replace capacity as one of our core operational processes. While this is an operation that we have
relied on to maintain our systems since the launch of S3, we have not completely restarted the index subsystem
or the placement subsystem in our larger regions for many years. S3 has experienced massive growth over the
last several years and the process of restarting these services and running the necessary safety checks to validate
the integrity of the metadata took longer than expected. The index subsystem was the ﬁrst of the two aﬀected
subsystems that needed to be restarted. By 12:26PM PST, the index subsystem had activated enough capacity to
begin servicing S3 GET, LIST, and DELETE requests. By 1:18PM PST, the index subsystem was fully recovered and
GET, LIST, and DELETE APIs were functioning normally. The S3 PUT API also required the placement subsystem.
The placement subsystem began recovery when the index subsystem was functional and ﬁnished recovery at
1:54PM PST. At this point, S3 was operating normally. Other AWS services that were impacted by this event
began recovering. Some of these services had accumulated a backlog of work during the S3 disruption and
required additional time to fully recover.

We are making several changes as a result of this operational event. While removal of capacity is a key
operational practice, in this instance, the tool used allowed too much capacity to be removed too quickly. We
have modiﬁed this tool to remove capacity more slowly and added safeguards to prevent capacity from being
removed when it will take any subsystem below its minimum required capacity level. This will prevent an incorrect
input from triggering a similar event in the future. We are also auditing our other operational tools to ensure we

                                                                                  KoveIO Compl. Ex. 18
have similar safety checks. We will also make changes to improve the recovery time of key S3 subsystems. We
                                                                                                          
employ multiple techniques to allow our services to recover from any failure quickly. One of the most important
involves breaking services into small partitions which we call cells. By factoring services into cells, engineering
teams can assess and thoroughly test recovery processes of even the largest service or subsystem. As S3 has
scaled, the team has done considerable work to refactor parts of the service into smaller cells to reduce blast
radius and improve recovery. During this event, the recovery time of the index subsystem still took longer than we
expected. The S3 team had planned further partitioning of the index subsystem later this year. We are
reprioritizing that work to begin immediately.

From the beginning of this event until 11:37AM PST, we were unable to update the individual services’ status on
the AWS Service Health Dashboard (SHD) because of a dependency the SHD administration console has on
Amazon S3. Instead, we used the AWS Twitter feed (@AWSCloud) and SHD banner text to communicate status
until we were able to update the individual services’ status on the SHD. We understand that the SHD provides
important visibility to our customers during operational events and we have changed the SHD administration
console to run across multiple AWS regions.

Finally, we want to apologize for the impact this event caused for our customers. While we are proud of our long
track record of availability with Amazon S3, we know how critical this service is to our customers, their
applications and end users, and their businesses. We will do everything we can to learn from this event and use it
to improve our availability even further.




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                                                                                     KoveIO Compl. Ex. 18
Exhibit 19




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AWS Big Data Blog

Building and Maintaining an Amazon S3 Metadata Index
without Servers
by Mike Deck | on 12 AUG 2015 | in Amazon DynamoDB, Amazon Simple Storage Services (S3), AWS Lambda | Permalink | 
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Mike Deck is a Solutions Architect with AWS

Amazon S3 is a simple key-based object store whose scalability and low cost make it ideal for storing large
datasets. Its design enables S3 to provide excellent performance for storing and retrieving objects based on a
known key. Finding objects based on other attributes, however, requires doing a linear search using the LIST
operation. Because each listing can return at most 1000 keys, it may require many requests before ﬁnding the
object. Because of these additional requests, implementing attribute-based queries in S3 alone can be
challenging.

A common solution is to build an external index that maps queryable attributes to the S3 object key. This index
can leverage data repositories that are built for fast lookups but might not be great at storing large data blobs.
These types of indexes provide an entry point to your data that can be used by a variety of systems. For
instance, the AWS Lambda search function described in “Building Scalable and Responsive Big Data Interfaces
with AWS Lambda” could leverage an index instead of listing keys directly, to dramatically reduce the search
space and improve performance.

In this post, I walk through an approach for building such an index using Amazon DynamoDB and AWS Lambda.
With these technologies, you can create a high performance, low-cost index that scales and remains highly
available without the need to maintain traditional servers.

Example use case

For the purposes of illustration, this post focuses on a common use case in which S3 is used as the primary data
store for a ﬂeet of data ingestion servers. For this example, assume you have a large number of Amazon EC2
instances that receive data sent by customers via a public API. These servers batch the data in one-minute
increments and add an object per customer to S3 with the raw data items received in that minute. Because of
the distributed nature of the instances, there’s no way to know which servers might store data for a given
customer at any minute.

Assume that the servers upload objects with the following key structure:



                                                                                      KoveIO Compl. Ex. 19
[4­digit hash]/[server id]/[year]­[month]­[day]­[hour]­[minute]/[customer id]­[epoch
timestamp].data

Example: a5b2/i-31cc02/2015-07-05-00-25/87423-1436055953839.data

This key structure enables sustained, high-access rates to S3 but makes it diﬃcult to ﬁnd all keys for a given
customer or server using S3 LIST operations. For instance, to list all the data objects for a given customer
uploaded within the last 24 hours, you would have to iterate over every single key in the bucket and inspect the
customer ID for each one separately.

In addition to the information encoded in the key, each object has a user-deﬁned metadata ﬁeld that speciﬁes
whether a transaction record is present in the data. A very small percentage of these objects contain transaction
records. However, these records are particularly important for certain analyses.

For data collected in this manner there are a number of analyses you could run. This post focuses on building a
metadata index to facilitate four speciﬁc reports and queries:

    1. Find all objects for a given customer collected during a time range.
    2. Calculate the total storage used for a given customer.
    3. List all objects for a given customer that contain a transaction record.
    4. Find all objects uploaded by a given server during a time range.

Architecture

In addition to fulﬁlling the functional requirements outlined above, below are the primary architectural goals
for this system:

      Zero administration cost – This system should not require the creation or administration of any servers.
      Scalable and elastic – The index should be able to accommodate a growing number of entries seamlessly
      as well as scaling up and down to handle changing rates of insertions and queries.
      Automatic – Adding objects to the index should not require any additional operations beyond adding the
      object to S3.

DynamoDB is a NoSQL data store that can be used for storing the index itself, and AWS Lambda is a compute
service that can run code to add index entries. Both of these services are fully managed, providing scalable and
highly available components without the need to administer servers directly.

To update the index automatically when new objects are created, the AWS Lambda function that creates the
index entries can be conﬁgured to execute in response to S3 object creation events.

The process is illustrated below.




                                                                                   KoveIO Compl. Ex. 19
Note: The example code in this post only handles object creation, but the same approach can also be used to
remove entries from the index when objects are deleted from the bucket.

DynamoDB table design

The heart of the S3 object index is a DynamoDB table with one item per object, which associates various
attributes with the object’s S3 key. Each item contains the S3 key, the size of the object, and any additional
attributes to use for lookups.

Because DynamoDB tables are schema-less, the only things you need to deﬁne explicitly are the primary key
and any additional indexes to support your queries. When selecting a primary key and indexes, you need to
consider how the table will be queried. The following sections look at each of the four queries from the example
and show an index optimized for each one.

In this example, you deﬁne all of your indexes up front. In a more iterative development context, you could
deﬁne only the primary key to begin with and then add secondary indexes as your requirements demand.

1. Find all objects for a given customer collected during a time range

For this query type, use a hash and range primary key. By making the customer ID the hash key, you can ﬁnd all
the objects for a given customer. Additionally, if the range key is the timestamp you can narrow the results to a
speciﬁc time range. You can’t use just these two pieces of information alone because there’s no guarantee that
two diﬀerent servers won’t upload an object for the same customer at the same time, violating the uniqueness
requirement of your primary key. To guarantee uniqueness while still enabling the ability to query on time
range, you can append the server ID to the timestamp for the range key. The resulting key layout is shown
below.




                                                                                  KoveIO Compl. Ex. 19
2. Calculate the total storage used for a given customer

Because your primary key always allows you to retrieve all of the attributes for each item, you’ll also be able to
use this index to track the storage consumed for each customer by retrieving all of the records for a given
customer ID and summing the size attribute.

3. List all objects for a given customer that contain a transaction record.

Because most of the objects won’t contain a transaction, you can use a sparse secondary index to enable fast
lookups of log ﬁles with transactions for a customer. To create a sparse index you need a “HasTransaction”
attribute that is only present when a transaction exists in the object. When no transaction is present you should
omit the attribute entirely.

For this index, use the same customer ID hash key and set the range key to the “HasTransaction” attribute.
Because this index’s hash key is the same as the primary key you can deﬁne the index to be a local secondary
index.

4. Find all objects uploaded by a given server during a time range

This query will require a global secondary index since the lookup will use a diﬀerent hash key than the primary
key. Use the server ID as the hash key and reuse the concatenated timestamp and server ID attribute for the
range key. Because global secondary indexes do not have the same uniqueness constraint as primary keys, you
don’t need to worry about including the customer ID in this index.




Lambda function overview

Now that you have your DynamoDB table deﬁned, you can build the Lambda function that handles the object
creation events ﬁred by S3. The event handler needs to complete the following tasks for each object added to
your bucket:

    1. Extract the key and object size from the event data.


                                                                                  KoveIO Compl. Ex. 19
    2. Request the user-deﬁned metadata ﬁelds for the object from S3.
    3. Determine the name of the index DynamoDB table.
    4. Put an item into the table.

Steps 1, 2, and 4 are very straightforward, and are shown in the example code that accompanies this post.

Determining the name of the DynamoDB table to use can be done in several ways. For the sake of simplicity, the
code example uses a simple naming convention in which an “-index” suﬃx is appended to the bucket name. This
way, the same Lambda function can be reused on multiple buckets. Other alternatives to this strategy would be
to simply hard-code the index table name in the function or use the event notiﬁcation conﬁguration ID to
encode the table name in the S3 event itself.

Practical considerations

The approach described in this post is an eﬀective way to build and maintain an index for S3 buckets across a
variety of usage patterns, but there are some issues you should consider before using this architecture in
production.

Error Handling

While all of the services used for this index are designed to be highly available, there’s always the potential that
the indexing function could encounter an error. We can write our function defensively and handle many
scenarios gracefully, but we also need a mechanism for dealing with unrecoverable failures.

Fortunately, Lambda functions create and write to Amazon CloudWatch log streams by default. Each invocation
of the function is logged. If it does not complete successfully, there is a record of what caused the failure. You
can also create a CloudWatch alarm that notiﬁes a human whenever there is an error that our automated
process couldn’t deal with, so that the problem can be investigated and remedied.

Object creation rate

When conﬁguring your index, consider the rate at which objects will be created in S3 to properly set the
provisioned throughput for the DynamoDB table as well as the concurrency rates for the Lambda function. This
style of index generally requires DynamoDB write capacity equivalent to the maximum object creation rate. For
more information about provisioning throughput, see the Use Burst Capacity Sparingly section in the Guidelines
for Working with Tables topic.

You should also test your Lambda function under various loads to determine its concurrency requirements. After
you’ve determined the maximum request rate and concurrent invocations needed to support your usage
patterns, you can request an appropriate increase to the default limits if necessary.

Performance Tuning

Depending on your AWS Lambda function’s complexity, you may need to adjust the available resources
(memory, CPU, and network). You can adjust the memory allocated to your function at any time and AWS
Lambda assigns proportional CPU and network resources based on that value.



                                                                                   KoveIO Compl. Ex. 19
Sample code and query examples

The AWS Big Data Blog’s Github repository contains sample code and instructions for deploying this system.

I’ve also created a video that demonstrates deploying the sample code.

Conclusion

By leveraging S3’s integration with other fully-managed AWS services, you can build extremely useful
extensions with minimal development and ongoing administrative costs. Because both Lambda and DynamoDB
provide highly ﬂexible platforms for executing arbitrary code or storing schema-less data, respectively, you can
use the overarching approach described in this post to build sophisticated solutions that don’t create the
operational burden of provisioning and maintaining traditional servers.


TAGS: AWS Lambda, DynamoDB, S3




    Resources
    Amazon Athena
    Amazon EMR
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    Amazon DynamoDB
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                                                                                 KoveIO Compl. Ex. 19
Exhibit 20




             KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)




   PRODUCTS & SERVICES
                                        Frequently Asked Questions About Amazon
   Amazon DynamoDB                      DynamoDB
                                        

   Product Details                      
                                                                                                            Get Started with AWS for
   DynamoDB Accelerator (DAX)            What is Amazon DynamoDB?                                                    Free

   Global Tables                         Getting started                                                         Create a Free Account

   Backup and Restore                    Data model and APIs
                                                                                                             AWS Free Tier oﬀers 25 GB of
   Getting Started                       Scalability, availability, and durability                           storage, up to 200 million
                                                                                                           requests per month with Amazon
   Developer Resources                   Auto Scaling                                                                 DynamoDB.

   FAQs                                  Global secondary indexes                                           View AWS Free Tier Details »


   Pricing                               Local secondary indexes

   Community                             Security and control

   Ad Tech                               Pricing

   Gaming                                Reserved capacity

   IoT                                   Cross-region replication

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   Discussion Forum                         Time to Live (TTL)
   What is NoSQL?
                                            Amazon DynamoDB Accelerator (DAX)
   Get Started with a Self-Paced Lab
                                            Global tables

                                            Backup and restore

                                            Encryption at rest

                                            VPC endpoints




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                                            experience with AWS                            using AWS in minutes
                                            for 12 months


https://aws.amazon.com/dynamodb/faqs/                                                                                                       1/53
                                                                                                 KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        What is Amazon DynamoDB?
                                        Q: What is Amazon DynamoDB?

                                        Amazon DynamoDB is a fully managed NoSQL database service that provides fast and predictable
   PRODUCTS & SERVICES                  performance with seamless scalability. DynamoDB enables customers to oﬄoad the administrative burdens
                                        of operating and scaling distributed databases to AWS so that they don’t have to worry about hardware
   Amazon DynamoDB                      
                                        provisioning, setup and conﬁguration, throughput capacity planning, replication, software patching, or
                                        cluster scaling.
   Product Details                      
                                        Q: What does Amazon DynamoDB manage on my behalf?
   DynamoDB Accelerator (DAX)           
                                        Amazon DynamoDB takes away one of the main stumbling blocks of scaling databases: the management of
   Global Tables                        database
                                                software and the provisioning of the hardware needed to run it. You can deploy a nonrelational
                                        database in a matter of minutes. DynamoDB automatically scales throughput capacity to meet workload
   Backup and Restore                   
                                        demands and partitions and repartitions your data as your table size grows. In addition, DynamoDB
                                        synchronously replicates data across three facilities in an AWS Region, giving you high availability and data
   Getting Started                      
                                        durability.

   Developer Resources                   What does read consistency mean? Why should I care?
                                        Q:

   FAQs                                 
                                        Amazon DynamoDB stores three geographically distributed replicas of each table to enable high availability
                                        and data durability. Read consistency represents the manner and timing in which the successful write or
   Pricing                              
                                        update of a data item is reﬂected in a subsequent read operation of that same item. DynamoDB exposes
                                        logic that enables you to specify the consistency characteristics you desire for each read request within your
   Community                            
                                        application.
   Ad Tech                              
                                        Q: What is the consistency model of Amazon DynamoDB?

   Gaming                               
                                        When reading data from Amazon DynamoDB, users can specify whether they want the read to be eventually
                                        consistent or strongly consistent:
   IoT                                  
                                            Eventually consistent reads (Default) – The eventual consistency option maximizes your read throughput.
   DynamoDB Partner Solutions            However, an eventually consistent read might not reﬂect the results of a recently completed write.
                                            Consistency across all copies of data is usually reached within a second. Repeating a read after a short

   RELATED LINKS
                                            time should return the updated data.

   Documentation                            Strongly consistent reads — In addition to eventual consistency, Amazon DynamoDB also gives you the
   Management Console                       ﬂexibility and control to request a strongly consistent read if your application, or an element of your
                                            application, requires it. A strongly consistent read returns a result that reﬂects all writes that received a
   Release Notes
                                            successful response prior to the read.
   Discussion Forum
                                        Q: Does DynamoDB support in-place atomic updates?
   What is NoSQL?
                                        Amazon DynamoDB supports fast, in-place updates. You can increment or decrement a numeric attribute in
   Get Started with a Self-Paced Lab
                                        a row using a single API call. Similarly, you can atomically add or remove sets, lists, or maps. For more
                                        information about atomic updates, see Atomic Counters.

                                        Q: Why is Amazon DynamoDB built on solid-state drives?

                                        Amazon DynamoDB runs exclusively on solid-state drives (SSDs). SSDs help AWS achieve the design goals of
                                        predictable low-latency response times for storing and accessing data at any scale. The high I/O (high
                                        reads/second and writes/second) performance of SSDs also enables us to serve high-scale request
                                        workloads cost-eﬃciently, and to pass this eﬃciency along in low request pricing.

                                        Q: The storage cost of DynamoDB seems high. Is this a cost-eﬀective service?

                                        As with any product, we encourage potential customers of Amazon DynamoDB to consider the total cost of
                                        a solution, not just a single pricing dimension. The total cost of servicing a database workload is a function
                                        of the request traﬃc requirements and the amount of data stored. Most database workloads are
                                        characterized by a requirement for high I/O (high reads/second and writes/second) per GB stored.
                                        DynamoDB is built on SSD drives, which raises the cost per GB stored, relative to spinning media, but it also
                                        allows us to oﬀer very low request costs. Based on what we see in typical database workloads, we believe
                                        that the total bill for using SSD-based DynamoDB will usually be lower than the cost of using a typical
                                        spinning media-based relational or nonrelational database. If you need to store a large amount of data that

https://aws.amazon.com/dynamodb/faqs/                                                                                                                       2/53
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                                        you rarely access, DynamoDB may not be right for you. We recommend that you use Amazon S3 for such use
                                        cases.

                                        You also should note that the storage cost reﬂects the cost of storing multiple copies of each data item
                                        across multiple facilities in an AWS Region.
   PRODUCTS & SERVICES
                                        Q: Is DynamoDB only for high-scale applications?

   Amazon DynamoDB                      No.
                                         Amazon DynamoDB oﬀers seamless scaling so that you can scale automatically as your application
                                        requirements increase. If you need fast, predictable performance at any scale, DynamoDB may be the right
   Product Details                      
                                        choice for you.

   DynamoDB Accelerator (DAX)           
                                        Getting started
   Global Tables                        
                                        Q: How do I get started with Amazon DynamoDB?
   Backup and Restore                   
                                        Click “Sign Up” to get started with Amazon DynamoDB today. From there, you can begin interacting with
   Getting Started                      
                                        Amazon DynamoDB using either the AWS Management Console or Amazon DynamoDB APIs. If you are using
                                        the AWS Management Console, you can create a table with Amazon DynamoDB and begin exploring with
   Developer Resources                  
                                        just a few clicks.

   FAQs                                  What kind of query functionality does DynamoDB support?
                                        Q:

   Pricing                              Amazon
                                              DynamoDB supports GET/PUT operations using a user-deﬁned primary key. The primary key is the
                                        only required attribute for items in a table and it uniquely identiﬁes each item. You specify the primary key
   Community                            
                                        when you create a table. In addition to that DynamoDB provides ﬂexible querying by letting you query on
                                        non-primary key attributes using Global Secondary Indexes and Local Secondary Indexes.
   Ad Tech                              
                                        A primary key can either be a single-attribute partition key or a composite partition-sort key. A single
   Gaming                               
                                        attribute partition primary key could be, for example, “UserID”. This would allow you to quickly read and
                                        write data for an item associated with a given user ID.
   IoT                                  
                                        A composite partition-sort key is indexed as a partition key element and a sort key element. This multi-part
   DynamoDB Partner Solutions           
                                        key maintains a hierarchy between the ﬁrst and second element values. For example, a composite partition-
                                        sort key could be a combination of “UserID” (partition) and “Timestamp” (sort). Holding the partition key
   RELATED LINKS                        element constant, you can search across the sort key element to retrieve items. This would allow you to use
                                        the Query API to, for example, retrieve all items for a single UserID across a range of timestamps.
   Documentation

   Management Console                   For more information on Global Secondary Indexing and its query capabilities, see the Secondary Indexes
                                        section in FAQ.
   Release Notes

   Discussion Forum
                                        Q: How do I update and query data items with Amazon DynamoDB?
   What is NoSQL?

   Get Started with a Self-Paced Lab    After you have created a table using the AWS Management Console or CreateTable API, you can use the
                                        PutItem or BatchWriteItem APIs to insert items. Then you can use the GetItem, BatchGetItem, or, if
                                        composite primary keys are enabled and in use in your table, the Query API to retrieve the item(s) you added
                                        to the table.

                                        Q: Does Amazon DynamoDB support conditional operations?

                                        Yes, you can specify a condition that must be satisﬁed for a put, update, or delete operation to be
                                        completed on an item. To perform a conditional operation, you can deﬁne a ConditionExpression that is
                                        constructed from the following:

                                            Boolean functions: ATTRIBUTE_EXIST, CONTAINS, and BEGINS_WITH

                                            Comparison operators: =, <>, <, >, <=, >=, BETWEEN, and IN

                                            Logical operators: NOT, AND, and OR.

                                        You can construct a free-form conditional expression that combines multiple conditional clauses, including
                                        nested clauses. Conditional operations allow users to implement optimistic concurrency control systems on
                                        DynamoDB. For more information on conditional operations, please see our documentation.



https://aws.amazon.com/dynamodb/faqs/                                                                                                                3/53
                                                                                                           KoveIO Compl. Ex. 20
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                                          Q: Are expressions supported for key conditions?

                                          Yes, you can specify an expression as part of the Query API call to ﬁlter results based on values of primary
                                          keys on a table using the KeyConditionExpression parameter.

                                          Q: Are expressions supported for partition and partition-sort keys?
   PRODUCTS & SERVICES

                                          Yes, you can use expressions for both partition and partition-sort keys. Refer to the documentation page for

   Amazon DynamoDB                        more
                                              information on which expressions work on partition and partition-sort keys.

                                          Q: Does Amazon DynamoDB support increment or decrement operations?
   Product Details                        
                                          Yes, Amazon DynamoDB allows atomic increment and decrement operations on scalar values.
   DynamoDB Accelerator (DAX)                                                                                                                
                                          Q: When should I use Amazon DynamoDB vs a relational database engine on Amazon RDS or Amazon
   Global Tables                          
                                          EC2?

   Backup and Restore                     Today’s
                                                 web-based applications generate and consume massive amounts of data. For example, an online
                                          game might start out with only a few thousand users and a light database workload consisting of 10 writes
   Getting Started                         second and 50 reads per second. However, if the game becomes successful, it may rapidly grow to
                                          per
                                          millions of users and generate tens (or even hundreds) of thousands of writes and reads per second. It may
   Developer Resources                    
                                          also create terabytes or more of data per day. Developing your applications against Amazon DynamoDB
                                          enables
                                                 you to start small and simply dial-up your request capacity for a table as your requirements scale,
   FAQs
                                          without incurring downtime. You pay highly cost-eﬃcient rates for the request capacity you provision, and
   Pricing                                let
                                           Amazon DynamoDB do the work over partitioning your data and traﬃc over suﬃcient server capacity to
                                          meet your needs. Amazon DynamoDB does the database management and administration, and you simply
   Community                              
                                          store and request your data. Automatic replication and failover provides built-in fault tolerance, high
                                          availability, and data durability. Amazon DynamoDB gives you the peace of mind that your database is fully
   Ad Tech                                
                                          managed and can grow with your application requirements.

   Gaming                                 
                                          While Amazon DynamoDB tackles the core problems of database scalability, management, performance, and
                                          reliability, the datamodel, just like any NoSQL, must be designed speciﬁcally for the access patterns required
   IoT                                    
                                          by the application. In other words, running adhoc queries on DynamoDB can be ineﬃcient. Refer to the
   DynamoDB Partner Solutions             design
                                                guidance that shows how to eﬀectively migrate from any Relational database to DynamoDB. If your
                                          workload requires this functionality, or you are looking for compatibility with an existing relational engine,
                                          you may wish to run a relational engine on Amazon RDS or Amazon EC2. While relational database engines
   RELATED LINKS
                                          provide robust features and functionality, scaling a workload beyond a single relational database instance is
   Documentation                          highly complex and requires signiﬁcant time and expertise. As such, if you anticipate scaling requirements
   Management Console                     for your new application and do not need relational features, Amazon DynamoDB may be the best choice for
                                          you.
   Release Notes
                                          Q: How does Amazon DynamoDB diﬀer from Amazon SimpleDB?
   Discussion Forum

   What is NoSQL?                         Which should I use? Both services are non-relational databases that remove the work of database
                                          administration. Amazon DynamoDB focuses on providing seamless scalability and fast, predictable
   Get Started with a Self-Paced Lab
                                          performance. It runs on solid state disks (SSDs) for low-latency response times, and there are no limits on
                                          the request capacity or storage size for a given table. This is because Amazon DynamoDB automatically
                                          partitions your data and workload over a suﬃcient number of servers to meet the scale requirements you
                                          provide. In contrast, a table in Amazon SimpleDB has a strict storage limitation of 10 GB and is limited in the
                                          request capacity it can achieve (typically under 25 writes/second); it is up to you to manage the partitioning
                                          and re-partitioning of your data over additional SimpleDB tables if you need additional scale. While
                                          SimpleDB has scaling limitations, it may be a good ﬁt for smaller workloads that require query ﬂexibility.
                                          Amazon SimpleDB automatically indexes all item attributes and thus supports query ﬂexibility at the cost of
                                          performance and scale.

                                          Amazon CTO Werner Vogels' DynamoDB blog post provides additional context on the evolution of non-
                                          relational database technology at Amazon.

                   Get Started for Free   Q: When should I use Amazon DynamoDB vs Amazon S3?

                                          Amazon DynamoDB stores structured data, indexed by primary key, and allows low latency read and write
                   Create Free Account
                                          access to items ranging from 1 byte up to 400KB. Amazon S3 stores unstructured blobs and suited for
                                          storing large objects up to 5 TB. In order to optimize your costs across AWS services, large objects or




https://aws.amazon.com/dynamodb/faqs/                                                                                                                      4/53
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                                        infrequently accessed data sets should be stored in Amazon S3, while smaller data elements or ﬁle pointers
                                        (possibly to Amazon S3 objects) are best saved in Amazon DynamoDB.

                                        Q: Can DynamoDB be used by applications running on any operating system?

                                        Yes. DynamoDB is a fully managed cloud service that you access via API. DynamoDB can be used by
   PRODUCTS & SERVICES
                                        applications running on any operating system (e.g. Linux, Windows, iOS, Android, Solaris, AIX, HP-UX, etc.).
                                        We recommend using the AWS SDKs to get started with DynamoDB. You can ﬁnd a list of the AWS SDKs on
   Amazon DynamoDB                       Developer Resources page. If you have trouble installing or using one of our SDKs, please let us know by
                                        our
                                        posting to the relevant AWS Forum.
   Product Details                      

   DynamoDB Accelerator (DAX)           

   Global Tables                        Data
                                            models and APIs
   Backup and Restore                    What is the Data Model?
                                        Q:

   Getting Started                       data model for Amazon DynamoDB is as follows:
                                        The

   Developer Resources                  Table:
                                              A table is a collection of data items – just like a table in a relational database is a collection of rows.
                                        Each table can have an inﬁnite number of data items. Amazon DynamoDB is schema-less, in that the data
   FAQs                                 
                                        items in a table need not have the same attributes or even the same number of attributes. Each table must
                                        have a primary key. The primary key can be a single attribute key or a “composite” attribute key that
   Pricing                              
                                        combines two attributes. The attribute(s) you designate as a primary key must exist for every item as
                                        primary keys uniquely identify each item within the table.
   Community                            
                                        Item: An Item is composed of a primary or composite key and a ﬂexible number of attributes. There is no
   Ad Tech                              
                                        explicit limitation on the number of attributes associated with an individual item, but the aggregate size of
                                        an item, including all the attribute names and attribute values, cannot exceed 400KB.
   Gaming                               
                                        Attribute: Each attribute associated with a data item is composed of an attribute name (e.g. “Color”) and a
   IoT                                  
                                        value or set of values (e.g. “Red” or “Red, Yellow, Green”). Individual attributes have no explicit size limit, but
                                        the
                                         total value of an item (including all attribute names and values) cannot exceed 400KB.
   DynamoDB Partner Solutions
                                        Q: Is there a limit on the size of an item?
   RELATED LINKS
                                        The total size of an item, including attribute names and attribute values, cannot exceed 400KB. Refer to the
   Documentation                        design guidance for using ‘Composite Sort Keys’ to design for items that exceed the 400K limit.

   Management Console                   Q: Is there a limit on the number of attributes an item can have?
   Release Notes                        There is no limit to the number of attributes that an item can have. However, the total size of an item,
   Discussion Forum                     including attribute names and attribute values, cannot exceed 400KB.

   What is NoSQL?                       Q: What are the APIs?

   Get Started with a Self-Paced Lab        CreateTable – Creates a table and speciﬁes the primary index used for data access.

                                            UpdateTable – Updates the provisioned throughput values for the given table.

                                            DeleteTable – Deletes a table.

                                            DescribeTable – Returns table size, status, and index information.

                                            ListTables – Returns a list of all tables associated with the current account and endpoint.

                                            PutItem – Creates a new item, or replaces an old item with a new item (including all the attributes). If an
                                            item already exists in the speciﬁed table with the same primary key, the new item completely replaces the
                                            existing item. You can also use conditional operators to replace an item only if its attribute values match
                                            certain conditions, or to insert a new item only if that item doesn’t already exist.

                                            BatchWriteItem – Inserts, replaces, and deletes multiple items across multiple tables in a single request,
                                            but not as a single transaction. Supports batches of up to 25 items to Put or Delete, with a maximum
                                            total request size of 16 MB.




https://aws.amazon.com/dynamodb/faqs/                                                                                                                        5/53
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                                            UpdateItem – Edits an existing item's attributes. You can also use conditional operators to perform an
                                            update only if the item’s attribute values match certain conditions.

                                            DeleteItem – Deletes a single item in a table by primary key. You can also use conditional operators to
                                            perform a delete an item only if the item’s attribute values match certain conditions.
   PRODUCTS & SERVICES
                                            GetItem – The GetItem operation returns a set of Attributes for an item that matches the primary key.
                                            The GetItem operation provides an eventually consistent read by default. If eventually consistent reads
   Amazon DynamoDB                      
                                            are not acceptable for your application, use ConsistentRead.
   Product Details                      
                                            BatchGetItem – The BatchGetItem operation returns the attributes for multiple items from multiple

   DynamoDB Accelerator (DAX)            tables using their primary keys. A single response has a size limit of 16 MB and returns a maximum of 100
                                            items. Supports both strong and eventual consistency.
   Global Tables                        
                                            Query – Gets one or more items using the table primary key, or from a secondary index using the index
   Backup and Restore                    key. You can narrow the scope of the query on a table by using comparison operators or expressions. You
                                            can also ﬁlter the query results using ﬁlters on non-key attributes. Supports both strong and eventual
   Getting Started                       consistency. A single response has a size limit of 1 MB.

   Developer Resources                   Scan – Gets all items and attributes by performing a full scan across the table or a secondary index. You
                                            can limit the return set by specifying ﬁlters against one or more attributes.
   FAQs                                 
                                        Q: What is the consistency model of the Scan operation?
   Pricing                              
                                        The Scan operation supports eventually consistent and consistent reads. By default, the Scan operation is
   Community                            
                                        eventually consistent. However, you can modify the consistency model using the optional ConsistentRead
                                        parameter in the Scan API call. Setting the ConsistentRead parameter to true will enable you make
   Ad Tech                              
                                        consistent reads from the Scan operation. For more information, read the documentation for the Scan

   Gaming                               operation.
                                        
                                        Q: How does the Scan operation work?
   IoT                                  
                                        You can think of the Scan operation as an iterator. Once the aggregate size of items scanned for a given
   DynamoDB Partner Solutions           
                                        Scan API request exceeds a 1 MB limit, the given request will terminate and fetched results will be returned
                                        along with a LastEvaluatedKey (to continue the scan in a subsequent operation).
   RELATED LINKS
                                        Q: Are there any limitations for a Scan operation?
   Documentation
                                        A Scan operation on a table or secondary index has a limit of 1MB of data per operation. After the 1MB limit,
   Management Console                   it stops the operation and returns the matching values up to that point, and a LastEvaluatedKey to apply in
   Release Notes                        a subsequent operation, so that you can pick up where you left oﬀ.

   Discussion Forum                     Q: How many read capacity units does a Scan operation consume?

   What is NoSQL?                       The read units required is the number of bytes fetched by the scan operation, rounded to the nearest 4KB,
   Get Started with a Self-Paced Lab    divided by 4KB. Scanning a table with consistent reads consumes twice the read capacity as a scan with
                                        eventually consistent reads.

                                        Q: What data types does DynamoDB support?

                                        DynamoDB supports four scalar data types: Number, String, Binary, and Boolean. Additionally, DynamoDB
                                        supports collection data types: Number Set, String Set, Binary Set, heterogeneous List and heterogeneous
                                        Map. DynamoDB also supports NULL values.

                                        Q: What types of data structures does DynamoDB support?

                                        DynamoDB supports key-value and document data structures.

                                        Q: What is a key-value store?

                                        A key-value store is a database service that provides support for storing, querying and updating collections
                                        of objects that are identiﬁed using a key and values that contain the actual content being stored.

                                        Q: What is a document store?

                                        A document store provides support for storing, querying and updating items in a document format such as
                                        JSON, XML, and HTML.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                 6/53
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                                        Q: Does DynamoDB have a JSON data type?

                                        No, but you can use the document SDK to pass JSON data directly to DynamoDB. DynamoDB’s data types
                                        are a superset of the data types supported by JSON. The document SDK will automatically map JSON
                                        documents onto native DynamoDB data types.
   PRODUCTS & SERVICES
                                        Q: Can I use the AWS Management Console to view and edit JSON documents?

   Amazon DynamoDB                      Yes.
                                         The AWS Management Console provides a simple UI for exploring and editing the data stored in your
                                        DynamoDB tables, including JSON documents. To view or edit data in your table, please log in to the AWS
   Product Details                      
                                        Management Console, choose DynamoDB, select the table you want to view, then click on the “Explore
                                        Table” button.
   DynamoDB Accelerator (DAX)           
                                        Q: Is querying JSON data in DynamoDB any diﬀerent?
   Global Tables                        
                                        No. You can create a Global Secondary Index or Local Secondary Index on any top-level JSON element. For
   Backup and Restore                   example,
                                                suppose you stored a JSON document that contained the following information about a person:
                                        First Name, Last Name, Zip Code, and a list of all of their friends. First Name, Last Name and Zip code would
   Getting Started                       top-level JSON elements. You could create an index to let you query based on First Name, Last Name, or
                                        be
                                        Zip Code. The list of friends is not a top-level element, therefore you cannot index the list of friends. For
   Developer Resources                  
                                        more information on Global Secondary Indexing and its query capabilities, see the Secondary Indexes
                                        section
                                               in this FAQ.
   FAQs
                                        Q: If I have nested JSON data in DynamoDB, can I retrieve only a speciﬁc element of that data?
   Pricing                              
                                        Yes. When using the GetItem, BatchGetItem, Query, or Scan APIs, you can deﬁne a ProjectionExpression to
   Community                            
                                        determine which attributes should be retrieved from the table. Those attributes can include scalars, sets, or
                                        elements of a JSON document.
   Ad Tech                              
                                        Q. If I have nested JSON data in DynamoDB, can I update only a speciﬁc element of that data?
   Gaming                               
                                        Yes. When updating a DynamoDB item, you can specify the sub-element of the JSON document that you
   IoT                                  
                                        want to update.

   DynamoDB Partner Solutions           Q:What
                                              is the Document SDK?

                                        The Document SDK is a datatypes wrapper for JavaScript that allows easy interoperability between JS and
   RELATED LINKS                        DynamoDB datatypes. With this SDK, wrapping for requests will be handled for you; similarly for responses,
                                        datatypes will be unwrapped. For more information and downloading the SDK see our GitHub respository
   Documentation
                                        here.
   Management Console

   Release Notes

   Discussion Forum

   What is NoSQL?

   Get Started with a Self-Paced Lab
                                        Scalability, availability, and durability
                                        Q: Is there a limit to how much data I can store in Amazon DynamoDB?

                                        No. There is no limit to the amount of data you can store in an Amazon DynamoDB table. As the size of your
                                        data set grows, Amazon DynamoDB will automatically spread your data over suﬃcient machine resources to
                                        meet your storage requirements.

                                        Q: Is there a limit to how much throughput I can get out of a single table?

                                        No, you can increase the maximum capacity limit setting for Auto Scaling or increase the throughput you
                                        have manually provisioned for your table using the API or the AWS Management Console. DynamoDB is able
                                        to operate at massive scale and there is no theoretical limit on the maximum throughput you can achieve.
                                        DynamoDB automatically divides your table across multiple partitions, where each partition is an
                                        independent parallel computation unit. DynamoDB can achieve increasingly high throughput rates by
                                        adding more partitions.

                                        If you wish to exceed throughput rates of 10,000 writes/second or 10,000 reads/second, you must ﬁrst
                                        contact Amazon through this online form.

                                        Q: Does Amazon DynamoDB remain available when Auto Scaling triggers scaling or when I ask it to scale
                                        up or down by changing the provisioned throughput?

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                                        Yes. Amazon DynamoDB is designed to scale its provisioned throughput up or down while still remaining
                                        available, whether managed by Auto Scaling or manually.

                                        Q: Do I need to manage client-side partitioning on top of Amazon DynamoDB?

                                        No. Amazon DynamoDB removes the need to partition across database tables for throughput scalability.
   PRODUCTS & SERVICES

                                        Q: How highly available is Amazon DynamoDB?

   Amazon DynamoDB                       service runs across Amazon’s proven, high-availability data centers. The service replicates data across
                                        The
                                        three facilities in an AWS Region to provide fault tolerance in the event of a server failure or Availability
   Product Details                      
                                        Zone outage.
   DynamoDB Accelerator (DAX)           
                                        Q: How does Amazon DynamoDB achieve high uptime and durability?

   Global Tables                         achieve high uptime and durability, Amazon DynamoDB synchronously replicates data across three
                                        To
                                        facilities within an AWS Region.
   Backup and Restore                   

   Getting Started                      

   Developer Resources                  Auto
                                            Scaling
   FAQs                                  What is DynamoDB Auto Scaling?
                                        Q.

   Pricing                              
                                        DynamoDB Auto Scaling is a fully managed feature that automatically scales up or down provisioned read
                                        and write capacity of a DynamoDB table or a global secondary index, as application requests increase or
   Community                            
                                        decrease.
   Ad Tech                              
                                        Q. Why do I need to use Auto Scaling?
   Gaming                               
                                        Auto Scaling eliminates the guesswork involved in provisioning adequate capacity when creating new tables
   IoT                                  and
                                         reduces the operational burden of continuously monitoring consumed throughput and adjusting
                                        provisioned capacity manually. Auto Scaling helps ensure application availability and reduces costs from
   DynamoDB Partner Solutions           
                                        unused provisioned capacity.


   RELATED LINKS
                                        Q. What application request patterns and workload are suited for Auto Scaling?

   Documentation
                                        Auto Scaling is ideally suited for request patterns that are uniform, predictable, with sustained high and low
   Management Console                   throughput usage that lasts for several minutes to hours.
   Release Notes
                                        Q. How can I enable Auto Scaling for a DynamoDB table or global secondary index?
   Discussion Forum

   What is NoSQL?                       From the DynamoDB console, when you create a new table, leave the 'Use default settings' option checked,
                                        to enable Auto Scaling and apply the same settings for global secondary indexes for the table. If you
   Get Started with a Self-Paced Lab
                                        uncheck 'Use default settings', you can either set provisioned capacity manually or enable Auto Scaling with
                                        custom values for target utilization and minimum and maximum capacity. For existing tables, you can
                                        enable Auto Scaling or change existing Auto Scaling settings by navigating to the 'Capacity' tab and for
                                        indexes, you can enable Auto Scaling from under the 'Indexes' tab. Auto Scaling can also be
                                        programmatically managed using CLI or AWS SDK. Please refer to the DynamoDB developer guide to learn
                                        more.


                                        Q. What are settings I can conﬁgure for Auto Scaling?


                                        There are three conﬁgurable settings for Auto Scaling: Target Utilization, the percentage of actual consumed
                                        throughput to total provisioned throughput, at a point in time, the Minimum capacity to which Auto Scaling
                                        can scale down to, and Maximum capacity, to which the Auto Scaling can scale up to. The default value for
                                        Target Utilization is 70% (allowed range is 20% - 80% in one percent increments), minimum capacity is 1
                                        unit and maximum capacity is the table limit for your account in the region. Please refer to the Limits in
                                        DynamoDB page for region-level default table limits.


                                        Q. Can I change the settings of an existing Auto Scaling policy?


https://aws.amazon.com/dynamodb/faqs/                                                                                                                   8/53
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                                        Yes, you can change the settings of an existing Auto Scaling policy at any time, by navigating to the
                                        'Capacity' tab in the management console or programmatically from the CLI or SDK using the AutoScaling
                                        APIs.


                                        Q. How does Auto Scaling work?
   PRODUCTS & SERVICES


                                        When you create a new Auto Scaling policy for your DynamoDB table, Amazon CloudWatch alarms are
   Amazon DynamoDB                      
                                        created with thresholds for target utilization you specify, calculated based on consumed and provisioned
                                        capacity metrics published to CloudWatch. If the table's actual utilization deviates from target for a speciﬁc
   Product Details                      
                                        length of time, the CloudWatch alarms activates Auto Scaling, which evaluates your policy and in turn makes

   DynamoDB Accelerator (DAX)           an
                                         UpdateTable API request to DynamoDB to dynamically increase (or decrease) the table's provisioned
                                        throughput capacity to bring the actual utilization closer to the target.
   Global Tables                        
                                        Q. Can I enable a single Auto Scaling policy across multiple tables in multiple regions?
   Backup and Restore                   
                                        No, an Auto Scaling policy can only be set to a single table or a global secondary indexes within a single
   Getting Started                      
                                        region.
   Developer Resources                  
                                        Q. Can I force an Auto Scaling policy to scale up to maximum capacity or scale down to minimum
   FAQs                                 
                                        capacity instantly?

   Pricing                              
                                        No, scaling up instantly to maximum capacity or scaling down to minimum capacity is not supported.
                                        Instead,
                                                you can temporarily disable Auto Scaling, set desired capacity you need manually for required
   Community
                                        duration, and re-enable Auto Scaling later.
   Ad Tech                              
                                        Q. Where can I monitor the scaling actions triggered by Auto Scaling?

   Gaming                               
                                        You can monitor status of scaling actions triggered by Auto Scaling under the 'Capacity' tab in the
   IoT                                  
                                        management console and from CloudWatch graphs under the 'Metrics' tab.

   DynamoDB Partner Solutions            How can I tell if a table has an active Auto Scaling policy or not?
                                        Q.


   RELATED LINKS                        From the DynamoDB console, click on Tables in the left menu, to bring up the list view of all DynamoDB
                                        tables in your account. For tables with an active Auto Scaling policy, the 'Auto Scaling' column shows either
   Documentation
                                        READ_CAPACITY, WRITE_CAPACITY or READ_AND_WRITE depending on whether Auto Scaling is enabled for
   Management Console                   read or write or both. Additionally, under the 'Table details' section of the 'Overview' tab of a table, the
   Release Notes                        provisioned capacity label shows whether Auto Scaling is enabled for read, write or both.

   Discussion Forum
                                        Q. What happens to the Auto Scaling policy when I delete a table or global secondary index with an
   What is NoSQL?                       active policy?
   Get Started with a Self-Paced Lab
                                        When you delete a table or global secondary index from the console, its Auto Scaling policy and supporting
                                        Cloud Watch alarms are also deleted.


                                        Q. Are there any additional costs to use Auto Scaling?


                                        No, there are no additional cost to using Auto Scaling, beyond what you already pay for DynamoDB and
                                        CloudWatch alarms. To learn about DynamoDB pricing, please visit the DynamoDB pricing page.


                                        Q. How does throughput capacity managed by Auto Scaling work with my Reserved Capacity?


                                        Auto Scaling works with reserved capacity in the same manner as manually provisioned throughput capacity
                                        does today. Reserved Capacity is applied to the total provisioned capacity for the region you purchased it in.
                                        Capacity provisioned by Auto Scaling will consume the reserved capacity ﬁrst, billed at discounted prices,
                                        and any excess capacity will be charged at standard rates. To limit total consumption to the reserved
                                        capacity you purchased, distribute maximum capacity limit across all tables with Auto Scaling enabled, to be
                                        cumulatively less than total reserved capacity amount you have purchased.




https://aws.amazon.com/dynamodb/faqs/                                                                                                                  9/53
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                                        Global secondary indexes
                                        Q: What are global secondary indexes?

                                        Global secondary indexes are indexes that contain a partition or partition-and-sort keys that can be diﬀerent
   PRODUCTS & SERVICES                  from the table's primary key.

                                        For eﬃcient access to data in a table, Amazon DynamoDB creates and maintains indexes for the primary key
   Amazon DynamoDB                      
                                        attributes. This allows applications to quickly retrieve data by specifying primary key values. However, many
   Product Details                      applications
                                                    might beneﬁt from having one or more secondary (or alternate) keys available to allow eﬃcient
                                        access to data with attributes other than the primary key. To address this, you can create one or more
   DynamoDB Accelerator (DAX)           
                                        secondary indexes on a table, and issue Query requests against these indexes.

   Global Tables                        Amazon
                                              DynamoDB supports two types of secondary indexes:

   Backup and Restore                    Local secondary index — an index that has the same partition key as the table, but a diﬀerent sort key. A
                                            local secondary index is "local" in the sense that every partition of a local secondary index is scoped to a
   Getting Started                       table partition that has the same partition key.

   Developer Resources                   Global secondary index — an index with a partition or a partition-and-sort key that can be diﬀerent from
                                            those on the table. A global secondary index is considered "global" because queries on the index can span
   FAQs                                  all items in a table, across all partitions.

   Pricing                              
                                        Secondary indexes are automatically maintained by Amazon DynamoDB as sparse objects. Items will only
                                        appear in an index if they exist in the table on which the index is deﬁned. This makes queries against an
   Community                            
                                        index very eﬃcient, because the number of items in the index will often be signiﬁcantly less than the
                                        number of items in the table.
   Ad Tech                              
                                        Global secondary indexes support non-unique attributes, which increases query ﬂexibility by enabling
   Gaming                               
                                        queries against any non-key attribute in the table.

   IoT                                  
                                        Consider a gaming application that stores the information of its players in a DynamoDB table whose primary
                                        key consists of UserId (partition) and GameTitle (sort). Items have attributes named TopScore, Timestamp,
   DynamoDB Partner Solutions           
                                        ZipCode, and others. Upon table creation, DynamoDB provides an implicit index (primary index) on the
                                        primary key that can support eﬃcient queries that return a speciﬁc user’s top scores for all games.
   RELATED LINKS
                                        However, if the application requires top scores of users for a particular game, using this primary index would
   Documentation                        be ineﬃcient, and would require scanning through the entire table. Instead, a global secondary index with
   Management Console                   GameTitle as the partition key element and TopScore as the sort key element would enable the application
                                        to rapidly retrieve top scores for a game.
   Release Notes

   Discussion Forum                     A GSI does not need to have a sort key element. For instance, you could have a GSI with a key that only has
                                        a partition element GameTitle. In the example below, the GSI has no projected attributes, so it will just
   What is NoSQL?
                                        return all items (identiﬁed by primary key) that have an attribute matching the GameTitle you are querying
   Get Started with a Self-Paced Lab    on.

                                        Q: When should I use global secondary indexes?

                                        Global secondary indexes are particularly useful for tracking relationships between attributes that have a lot
                                        of diﬀerent values. For example, you could create a DynamoDB table with CustomerID as the
                                        primary partition key for the table and ZipCode as the partition key for a global secondary index, since there
                                        are a lot of zip codes and since you will probably have a lot of customers. Using the primary key, you could
                                        quickly get the record for any customer. Using the global secondary index, you could eﬃciently query for all
                                        customers that live in a given zip code.

                                        To ensure that you get the most out of your global secondary index's capacity, please review our best
                                        practices documentation on uniform workloads.

                                        Q: How do I create a global secondary index for a DynamoDB table?

                                        GSIs associated with a table can be speciﬁed at any time. For detailed steps on creating a Table and its
                                        indexes, see here. You can create a maximum of 5 global secondary indexes per table.

                                        Q: Does the local version of DynamoDB support global secondary indexes?



https://aws.amazon.com/dynamodb/faqs/                                                                                                                 10/53
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                                        Yes. The local version of DynamoDB is useful for developing and testing DynamoDB-backed applications.
                                        You can download the local version of DynamoDB here.

                                        Q: What are projected attributes?

                                        The data in a secondary index consists of attributes that are projected, or copied, from the table into the
   PRODUCTS & SERVICES
                                        index. When you create a secondary index, you deﬁne the alternate key for the index, along with any other
                                        attributes that you want to be projected in the index. Amazon DynamoDB copies these attributes into the
   Amazon DynamoDB                      
                                        index, along with the primary key attributes from the table. You can then query the index just as you would
                                        query a table.
   Product Details                      
                                        Q: Can a global secondary index key be deﬁned on non-unique attributes?
   DynamoDB Accelerator (DAX)           
                                        Yes. Unlike the primary key on a table, a GSI index does not require the indexed attributes to be unique. For
   Global Tables                        
                                        instance, a GSI on GameTitle could index all items that track scores of users for every game. In this example,
                                        this GSI can be queried to return all users that have played the game "TicTacToe."
   Backup and Restore                   
                                        Q: How do global secondary indexes diﬀer from local secondary indexes?
   Getting Started                      
                                        Both global and local secondary indexes enhance query ﬂexibility. An LSI is attached to a speciﬁc partition
   Developer Resources                  key
                                         value, whereas a GSI spans all partition key values. Since items having the same partition key value share
                                        the same partition in DynamoDB, the "Local" Secondary Index only covers items that are stored together (on
   FAQs                                  same partition). Thus, the purpose of the LSI is to query items that have the same partition key value but
                                        the
                                        diﬀerent sort key values. For example, consider a DynamoDB table that tracks Orders for customers, where
   Pricing                              
                                        CustomerId is the partition key.

   Community                             LSI on OrderTime allows for eﬃcient queries to retrieve the most recently ordered items for a particular
                                        An
                                        customer.
   Ad Tech                              
                                        In contrast, a GSI is not restricted to items with a common partition key value. Instead, a GSI spans all items
   Gaming                                the table just like the primary key. For the table above, a GSI on ProductId can be used to eﬃciently ﬁnd
                                        of
                                        all orders of a particular product. Note that in this case, no GSI sort key is speciﬁed, and even though there
   IoT                                  
                                        might be many orders with the same ProductId, they will be stored as separate items in the GSI.
   DynamoDB Partner Solutions           
                                        In order to ensure that data in the table and the index are co-located on the same partition, LSIs limit the
                                        total size of all elements (tables and indexes) to 10 GB per partition key value. GSIs do not enforce data co-
   RELATED LINKS                        location, and have no such restriction.

   Documentation                        When you write to a table, DynamoDB atomically updates all the LSIs aﬀected. In contrast, updates to any
   Management Console                   GSIs deﬁned on the table are eventually consistent.

   Release Notes                        LSIs allow the Query API to retrieve attributes that are not part of the projection list. This is not supported
                                        behavior for GSIs.
   Discussion Forum
                                        Q: How do global secondary indexes work?
   What is NoSQL?

   Get Started with a Self-Paced Lab    In many ways, GSI behavior is similar to that of a DynamoDB table. You can query a GSI using its partition
                                        key element, with conditional ﬁlters on the GSI sort key element. However, unlike a primary key of a
                                        DynamoDB table, which must be unique, a GSI key can be the same for multiple items. If multiple items with
                                        the same GSI key exist, they are tracked as separate GSI items, and a GSI query will retrieve all of them as
                                        individual items. Internally, DynamoDB will ensure that the contents of the GSI are updated appropriately as
                                        items are added, removed or updated.

                                        DynamoDB stores a GSI’s projected attributes in the GSI data structure, along with the GSI key and the
                                        matching items’ primary keys. GSI’s consume storage for projected items that exist in the source table. This
                                        enables queries to be issued against the GSI rather than the table, increasing query ﬂexibility and improving
                                        workload distribution. Attributes that are part of an item in a table, but not part of the GSI key, primary key
                                        of the table, or projected attributes are thus not returned on querying the GSI index. Applications that need
                                        additional data from the table after querying the GSI, can retrieve the primary key from the GSI and then
                                        use either the GetItem or BatchGetItem APIs to retrieve the desired attributes from the table. As GSI’s are
                                        eventually consistent, applications that use this pattern have to accommodate item deletion (from the table)
                                        in between the calls to the GSI and GetItem/BatchItem.

                                        DynamoDB automatically handles item additions, updates and deletes in a GSI when corresponding changes
                                        are made to the table. When an item (with GSI key attributes) is added to the table, DynamoDB updates the


https://aws.amazon.com/dynamodb/faqs/                                                                                                                  11/53
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                                        GSI asynchronously to add the new item. Similarly, when an item is deleted from the table, DynamoDB
                                        removes the item from the impacted GSI.

                                        Q: Can I create global secondary indexes for partition-based tables and partition-sort schema tables?

                                        Yes, you can create a global secondary index regardless of the type of primary key the DynamoDB table has.
   PRODUCTS & SERVICES
                                        The table's primary key can include just a partition key, or it may include both a partition key and a sort key.

   Amazon DynamoDB                      Q:
                                         What is the consistency model for global secondary indexes?
                                        GSIs support eventual consistency. When items are inserted or updated in a table, the GSIs are not updated
   Product Details                      
                                        synchronously. Under normal operating conditions, a write to a global secondary index will propagate in a
   DynamoDB Accelerator (DAX)           fraction
                                                of a second. In unlikely failure scenarios, longer delays may occur. Because of this, your application
                                        logic should be capable of handling GSI query results that are potentially out-of-date. Note that this is the
   Global Tables                        
                                        same behavior exhibited by other DynamoDB APIs that support eventually consistent reads.

   Backup and Restore                   Consider
                                                a table tracking top scores where each item has attributes UserId, GameTitle and TopScore. The
                                        partition key is UserId, and the primary sort key is GameTitle. If the application adds an item denoting a new
   Getting Started                       score for GameTitle "TicTacToe" and UserId "GAMER123," and then subsequently queries the GSI, it is
                                        top
                                        possible that the new score will not be in the result of the query. However, once the GSI propagation has
   Developer Resources                  
                                        completed, the new item will start appearing in such queries on the GSI.

   FAQs                                  Can I provision throughput separately for the table and for each global secondary index?
                                        Q:

   Pricing                              Yes.
                                         GSIs manage throughput independently of the table they are based on. When you enable Auto Scaling
                                        for a new or existing table from the console, you can optionally choose to apply the same settings to GSIs.
   Community                             can also provision diﬀerent throughput for tables and global secondary indexes manually.
                                        You

   Ad Tech                              
                                        Depending upon on your application, the request workload on a GSI can vary signiﬁcantly from that of the
                                        table or other GSIs. Some scenarios that show this are given below:
   Gaming                               
                                            A GSI that contains a small fraction of the table items needs a much lower write throughput compared to
   IoT                                   the table.

   DynamoDB Partner Solutions            A GSI that is used for infrequent item lookups needs a much lower read throughput, compared to the
                                            table.

   RELATED LINKS
                                            A GSI used by a read-heavy background task may need high read throughput for a few hours per day.
   Documentation
                                        As your needs evolve, you can change the provisioned throughput of the GSI, independently of the
   Management Console                   provisioned throughput of the table.
   Release Notes
                                        Consider a DynamoDB table with a GSI that projects all attributes, and has the GSI key present in 50% of the
   Discussion Forum                     items. In this case, the GSI’s provisioned write capacity units should be set at 50% of the table’s provisioned

   What is NoSQL?                       write capacity units. Using a similar approach, the read throughput of the GSI can be estimated. Please see
                                        DynamoDB GSI Documentation for more details.
   Get Started with a Self-Paced Lab
                                        Q: How does adding a global secondary index impact provisioned throughput and storage for a table?

                                        Similar to a DynamoDB table, a GSI consumes provisioned throughput when reads or writes are performed
                                        to it. A write that adds or updates a GSI item will consume write capacity units based on the size of the
                                        update. The capacity consumed by the GSI write is in addition to that needed for updating the item in the
                                        table.

                                        Note that if you add, delete, or update an item in a DynamoDB table, and if this does not result in a change
                                        to a GSI, then the GSI will not consume any write capacity units. This happens when an item without any GSI
                                        key attributes is added to the DynamoDB table, or an item is updated without changing any GSI key or
                                        projected attributes.

                                        A query to a GSI consumes read capacity units, based on the size of the items examined by the query.

                                        Storage costs for a GSI are based on the total number of bytes stored in that GSI. This includes the GSI key
                                        and projected attributes and values, and an overhead of 100 bytes for indexing purposes.

                                        Q: Can DynamoDB throttle my application writes to a table because of a GSI’s provisioned throughput?




https://aws.amazon.com/dynamodb/faqs/                                                                                                                12/53
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                                        Because some or all writes to a DynamoDB table result in writes to related GSIs, it is possible that a GSI’s
                                        provisioned throughput can be exhausted. In such a scenario, subsequent writes to the table will be
                                        throttled. This can occur even if the table has available write capacity units.

                                        Q: How often can I change provisioned throughput at the index level?
   PRODUCTS & SERVICES
                                        Tables with GSIs have the same daily limits on the number of throughput change operations as normal
                                        tables.
   Amazon DynamoDB                      
                                        Q: How am I charged for DynamoDB global secondary index?
   Product Details                      
                                        You are charged for the aggregate provisioned throughput for a table and its GSIs by the hour. When you
   DynamoDB Accelerator (DAX)           provision
                                                 manually, while not required, You are charged for the aggregate provisioned throughput for a
                                        table and its GSIs by the hour. In addition, you are charged for the data storage taken up by the GSI as well
   Global Tables                         standard data transfer (external) fees. If you would like to change your GSI’s provisioned throughput
                                        as
                                        capacity, you can do so using the DynamoDB Console or the UpdateTable API or the PutScalingPolicy API for
   Backup and Restore                   
                                        updating Auto Scaling policy settings.

   Getting Started                       Can I specify which global secondary index should be used for a query?
                                        Q:

   Developer Resources                   In addition to the common query parameters, a GSI Query command explicitly includes the name of the
                                        Yes.
                                        GSI to operate against. Note that a query can use only one GSI.
   FAQs                                 
                                        Q: What API calls are supported by a global secondary index?
   Pricing                              
                                        The API calls supported by a GSI are Query and Scan. A Query operation only searches index key attribute
                                        values
                                              and supports a subset of comparison operators. Because GSIs are updated asynchronously, you
   Community
                                        cannot use the ConsistentRead parameter with the query. Please see here for details on using GSIs with
   Ad Tech                              
                                        queries and scans.

   Gaming                               Q:
                                         What is the order of the results in scan on a global secondary index?
                                        For a global secondary index, with a partition-only key schema there is no ordering. For global secondary
   IoT                                  
                                        index with partition-sort key schema the ordering of the results for the same partition key is based on the
   DynamoDB Partner Solutions           sort
                                         key attribute.
                                        Q. Can I change Global Secondary Indexes after a table has been created?
   RELATED LINKS
                                        Yes, Global Secondary Indexes can be changed at any time, even after the table has been created.
   Documentation
                                        Q. How can I add a Global Secondary Index to an existing table?
   Management Console
                                        You can add a Global Secondary Indexes through the console or through an API call. On the DynamoDB
   Release Notes
                                        console, ﬁrst select the table for which you want to add a Global Secondary Index and click the “Create
   Discussion Forum                     Index” button to add a new index. Follow the steps in the index creation wizard and select “Create” when

   What is NoSQL?                       done. You can also add or delete a Global Secondary Index using the UpdateTable API call with the
                                        GlobalSecondaryIndexes parameter.You can learn more by reading our documentation page.
   Get Started with a Self-Paced Lab
                                        Q. How can I delete a Global Secondary Index?

                                        You can delete a Global Secondary Index from the console or through an API call. On the DynamoDB
                                        console, select the table for which you want to delete a Global Secondary Index. Then, select the “Indexes”
                                        tab under “Table Items” and click on the “Delete” button next to delete the index. You can also delete a
                                        Global Secondary Index using the UpdateTable API call.You can learn more by reading our documentation
                                        page.

                                        Q. Can I add or delete more than one index in a single API call on the same table?


                                        You can only add or delete one index per API call.

                                        Q. What happens if I submit multiple requests to add the same index?

                                        Only the ﬁrst add request is accepted and all subsequent add requests will fail till the ﬁrst add request is
                                        ﬁnished.

                                        Q. Can I concurrently add or delete several indexes on the same table?

                                        No, at any time there can be only one active add or delete index operation on a table.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                  13/53
                                                                                                            KoveIO Compl. Ex. 20
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                                        Q. Should I provision additional throughput to add a Global Secondary Index?

                                        With Auto Scaling, it is recommended that you apply the same settings to Global Secondary Index as the
                                        table. When you provision manually, while not required, it is highly recommended that you provision
                                        additional write throughput that is separate from the throughput for the index. If you do not provision
   PRODUCTS & SERVICES                  additional write throughput, the write throughput from the index will be consumed for adding the new
                                        index. This will aﬀect the write performance of the index while the index is being created as well as increase
                                        the
                                         time to create the new index.
   Amazon DynamoDB
                                        Q. Do I have to reduce the additional throughput on a Global Secondary Index once the index has been
   Product Details                      
                                        created?

   DynamoDB Accelerator (DAX)           
                                        Yes, you would have to dial back the additional write throughput you provisioned for adding an index, once
                                        the process is complete.
   Global Tables                        
                                        Q. Can I modify the write throughput that is provisioned for adding a Global Secondary Index?
   Backup and Restore                   
                                        Yes, you can dial up or dial down the provisioned write throughput for index creation at any time during the
   Getting Started                      
                                        creation process.

   Developer Resources                  Q.
                                         When a Global Secondary Index is being added or deleted, is the table still available?
                                        Yes,
                                         the table is available when the Global Secondary Index is being updated.
   FAQs
                                        Q. When a Global Secondary Index is being added or deleted, are the existing indexes still available?
   Pricing                              
                                        Yes, the existing indexes are available when the Global Secondary Index is being updated.
   Community                            
                                        Q. When a Global Secondary Index is being created added, is the new index available?
   Ad Tech                              
                                        No, the new index becomes available only after the index creation process is ﬁnished.
   Gaming                               
                                        Q. How long does adding a Global Secondary Index take?

   IoT                                   length of time depends on the size of the table and the amount of additional provisioned write
                                        The
                                        throughput for Global Secondary Index creation. The process of adding or deleting an index could vary from
   DynamoDB Partner Solutions           
                                        a few minutes to a few hours. For example, let's assume that you have a 1GB table that has 500 write
                                        capacity units provisioned and you have provisioned 1000 additional write capacity units for the index and
   RELATED LINKS                        new index creation. If the new index includes all the attributes in the table and the table is using all the
                                        write capacity units, we expect the index creation will take roughly 30 minutes.
   Documentation

   Management Console                   Q. How long does deleting a Global Secondary Index take?

   Release Notes                        Deleting an index will typically ﬁnish in a few minutes. For example, deleting an index with 1GB of data will
                                        typically take less than 1 minute.
   Discussion Forum

   What is NoSQL?                       Q. How do I track the progress of add or delete operation for a Global Secondary Index?

   Get Started with a Self-Paced Lab    You can use the DynamoDB console or DescribeTable API to check the status of all indexes associated with
                                        the table. For an add index operation, while the index is being created, the status of the index will be
                                        “CREATING”. Once the creation of the index is ﬁnished, the index state will change from “CREATING” to
                                        “ACTIVE”. For a delete index operation, when the request is complete, the deleted index will cease to exist.

                                        Q. Can I get a notiﬁcation when the index creation process for adding a Global Secondary Index is
                                        complete?

                                        You can request a notiﬁcation to be sent to your email address conﬁrming that the index addition has been
                                        completed. When you add an index through the console, you can request a notiﬁcation on the last step
                                        before creating the index. When the index creation is complete, DynamoDB will send an SNS notiﬁcation to
                                        your email.

                                        Q. What happens when I try to add more Global Secondary Indexes, when I already have 5?

                                        You are currently limited to 5 GSIs. The “Add” operation will fail and you will get an error.

                                        Q. Can I reuse a name for a Global Secondary Index after an index with the same name has been
                                        deleted?




https://aws.amazon.com/dynamodb/faqs/                                                                                                                  14/53
                                                                                                            KoveIO Compl. Ex. 20
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                                        Yes, once a Global Secondary Index has been deleted, that index name can be used again when a new index
                                        is added.

                                        Q. Can I cancel an index add while it is being created?

                                        No, once index creation starts, the index creation process cannot be canceled.
   PRODUCTS & SERVICES

                                        Q: Are GSI key attributes required in all items of a DynamoDB table?

   Amazon DynamoDB                       GSIs are sparse indexes. Unlike the requirement of having a primary key, an item in a DynamoDB table
                                        No.
                                        does not have to contain any of the GSI keys. If a GSI key has both partition and sort elements, and a table
   Product Details                      
                                        item omits either of them, then that item will not be indexed by the corresponding GSI. In such cases, a GSI
   DynamoDB Accelerator (DAX)           can
                                         be very useful in eﬃciently locating items that have an uncommon attribute.
                                        Q: Can I retrieve all attributes of a DynamoDB table from a global secondary index?
   Global Tables                        
                                        A query on a GSI can only return attributes that were speciﬁed to be included in the GSI at creation time.
   Backup and Restore                   
                                        The attributes included in the GSI are those that are projected by default such as the GSI’s key attribute(s)
                                        and table’s primary key attribute(s), and those that the user speciﬁed to be projected. For this reason, a GSI
   Getting Started                      
                                        query will not return attributes of items that are part of the table, but not included in the GSI. A GSI that
   Developer Resources                  speciﬁes
                                                all attributes as projected attributes can be used to retrieve any table attributes. See here for
                                        documentation on using GSIs for queries.
   FAQs                                 
                                        Q: How can I list GSIs associated with a table?
   Pricing                              
                                        The DescribeTable API will return detailed information about global secondary indexes on a table.

   Community                             What data types can be indexed?
                                        Q:

   Ad Tech                               scalar data types (Number, String, Binary, and Boolean) can be used for the sort key element of the local
                                        All
                                        secondary index key. Set, list, and map types cannot be indexed.
   Gaming                               
                                        Q: Are composite attribute indexes possible?
   IoT                                  
                                        No. But you can concatenate attributes into a string and use this as a key.
   DynamoDB Partner Solutions           
                                        Q: What data types can be part of the projected attributes for a GSI?

                                        You can specify attributes with any data types (including set types) to be projected into a GSI.
   RELATED LINKS


   Documentation                        Q: What are some scalability considerations of GSIs?

   Management Console                   Performance considerations of the primary key of a DynamoDB table also apply to GSI keys. A GSI assumes a
                                        relatively random access pattern across all its keys. To get the most out of secondary index provisioned
   Release Notes
                                        throughput, you should select a GSI partition key attribute that has a large number of distinct values, and a
   Discussion Forum                     GSI sort key attribute that is requested fairly uniformly, as randomly as possible.
   What is NoSQL?                       Q: What new metrics will be available through CloudWatch for global secondary indexes?
   Get Started with a Self-Paced Lab
                                        Tables with GSI will provide aggregate metrics for the table and GSIs, as well as breakouts of metrics for the
                                        table and each GSI.

                                        Reports for individual GSIs will support a subset of the CloudWatch metrics that are supported by a table.
                                        These include:

                                            Read Capacity (Provisioned Read Capacity, Consumed Read Capacity)

                                            Write Capacity (Provisioned Write Capacity, Consumed Write Capacity)

                                            Throttled read events

                                            Throttled write events

                                        For more details on metrics supported by DynamoDB tables and indexes see here.

                                        Q: How can I scan a Global Secondary Index?

                                        Global secondary indexes can be scanned via the Console or the Scan API.

                                        To scan a global secondary index, explicitly reference the index in addition to the name of the table you’d
                                        like to scan. You must specify the index partition attribute name and value. You can optionally specify a

https://aws.amazon.com/dynamodb/faqs/                                                                                                                   15/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        condition against the index key sort attribute.

                                        Q: Will a Scan on Global secondary index allow me to specify non-projected attributes to be returned in
                                        the result set?

                                        Scan on global secondary indexes will not support fetching of non-projected attributes.
   PRODUCTS & SERVICES

                                        Q: Will there be parallel scan support for indexes?

   Amazon DynamoDB                       parallel scan will be supported for indexes and the semantics are the same as that for the main table.
                                        Yes,

   Product Details                      

   DynamoDB Accelerator (DAX)           

   Global Tables                        Local
                                             secondary indexes
   Backup and Restore                    What are local secondary indexes?
                                        Q:

   Getting Started                      
                                        Local secondary indexes enable some common queries to run more quickly and cost-eﬃciently, that would
                                        otherwise require retrieving a large number of items and then ﬁltering the results. It means your
   Developer Resources                  
                                        applications can rely on more ﬂexible queries based on a wider range of attributes.

   FAQs                                 
                                        Before the launch of local secondary indexes, if you wanted to ﬁnd speciﬁc items within a partition (items
                                        that share the same partition key), DynamoDB would have fetched all objects that share a single partition
   Pricing                              
                                        key, and ﬁlter the results accordingly. For instance, consider an e-commerce application that stores customer
                                        order data in a DynamoDB table with partition-sort schema of customer id-order timestamp. Without LSI, to
   Community                            
                                        ﬁnd an answer to the question “Display all orders made by Customer X with shipping date in the past 30
   Ad Tech                              days,
                                             sorted by shipping date”, you had to use the Query API to retrieve all the objects under the partition
                                        key “X”, sort the results by shipment date and then ﬁlter out older records.
   Gaming                               
                                        With local secondary indexes, we are simplifying this experience. Now, you can create an index on “shipping
   IoT                                  date”
                                             attribute and execute this query eﬃciently and just retieve only the necessary items. This signiﬁcantly
                                        reduces the latency and cost of your queries as you will retrieve only items that meet your speciﬁc criteria.
   DynamoDB Partner Solutions           
                                        Moreover, it also simpliﬁes the programming model for your application as you no longer have to write
                                        customer logic to ﬁlter the results. We call this new secondary index a ‘local’ secondary index because it is
   RELATED LINKS
                                        used along with the partition key and hence allows you to search locally within a partition key bucket. So
                                        while previously you could only search using the partition key and the sort key, now you can also search
   Documentation
                                        using a secondary index in place of the sort key, thus expanding the number of attributes that can be used
   Management Console                   for queries which can be conducted eﬃciently.
   Release Notes                        Redundant copies of data attributes are copied into the local secondary indexes you deﬁne. These attributes
   Discussion Forum                     include the table partition and sort key, plus the alternate sort key you deﬁne. You can also redundantly
                                        store other data attributes in the local secondary index, in order to access those other attributes without
   What is NoSQL?
                                        having to access the table itself.
   Get Started with a Self-Paced Lab
                                        Local secondary indexes are not appropriate for every application. They introduce some constraints on the
                                        volume of data you can store within a single partition key value. For more information, see the FAQ items
                                        below about item collections.

                                        Q: What are Projections?

                                        The set of attributes that is copied into a local secondary index is called a projection. The projection
                                        determines the attributes that you will be able to retrieve with the most eﬃciency. When you query a local
                                        secondary index, Amazon DynamoDB can access any of the projected attributes, with the same performance
                                        characteristics as if those attributes were in a table of their own. If you need to retrieve any attributes that
                                        are not projected, Amazon DynamoDB will automatically fetch those attributes from the table.

                                        When you deﬁne a local secondary index, you need to specify the attributes that will be projected into the
                                        index. At a minimum, each index entry consists of: (1) the table partition key value, (2) an attribute to serve
                                        as the index sort key, and (3) the table sort key value.

                                        Beyond the minimum, you can also choose a user-speciﬁed list of other non-key attributes to project into
                                        the index. You can even choose to project all attributes into the index, in which case the index replicates the
                                        same data as the table itself, but the data is organized by the alternate sort key you specify.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                  16/53
                                                                                                             KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: How can I create a LSI?

                                        You need to create a LSI at the time of table creation. It can’t currently be added later on. To create an LSI,
                                        specify the following two parameters:

                                        Indexed Sort key – the attribute that will be indexed and queried on.
   PRODUCTS & SERVICES

                                        Projected Attributes – the list of attributes from the table that will be copied directly into the local

   Amazon DynamoDB                      secondary
                                                 index, so they can be returned more quickly without fetching data from the primary index, which
                                        contains all the items of the table. Without projected attributes, local secondary index contains only primary
   Product Details                       secondary index keys.
                                        and

   DynamoDB Accelerator (DAX)           Q:
                                         What is the consistency model for LSI?
                                        Local secondary indexes are updated automatically when the primary index is updated. Similar to reads from
   Global Tables                        
                                        a primary index, LSI supports both strong and eventually consistent read options.
   Backup and Restore                   
                                        Q: Do local secondary indexes contain references to all items in the table?

   Getting Started                       not necessarily. Local secondary indexes only reference those items that contain the indexed sort key
                                        No,
                                        speciﬁed for that LSI. DynamoDB’s ﬂexible schema means that not all items will necessarily contain all
   Developer Resources                  
                                        attributes.

   FAQs                                  means local secondary index can be sparsely populated, compared with the primary index. Because
                                        This
                                        local secondary indexes are sparse, they are eﬃcient to support queries on attributes that are uncommon.
   Pricing                              
                                        For example, in the Orders example described above, a customer may have some additional attributes in an
   Community                             that are included only if the order is canceled (such as CanceledDateTime, CanceledReason). For queries
                                        item
                                        related to canceled items, an local secondary index on either of these attributes would be eﬃcient since the
   Ad Tech                              
                                        only items referenced in the index would be those that had these attributes present.
   Gaming                               
                                        Q: How do I query local secondary indexes?

   IoT                                  
                                        Local secondary indexes can only be queried via the Query API.

   DynamoDB Partner Solutions           To
                                         query a local secondary index, explicitly reference the index in addition to the name of the table you’d
                                        like to query. You must specify the index partition attribute name and value. You can optionally specify a
                                        condition against the index key sort attribute.
   RELATED LINKS

                                        Your query can retrieve non-projected attributes stored in the primary index by performing a table fetch
   Documentation
                                        operation, with a cost of additional read capacity units.
   Management Console
                                        Both strongly consistent and eventually consistent reads are supported for query using local secondary
   Release Notes
                                        index.
   Discussion Forum
                                        Q: How do I create local secondary indexes?
   What is NoSQL?
                                        Local secondary indexes must be deﬁned at time of table creation. The primary index of the table must use a
   Get Started with a Self-Paced Lab
                                        partition-sort composite key.

                                        Q: Can I add local secondary indexes to an existing table?

                                        No, it’s not possible to add local secondary indexes to existing tables at this time. We are working on adding
                                        this capability and will be releasing it in the future. When you create a table with local secondary index, you
                                        may decide to create local secondary index for future use by deﬁning a sort key element that is currently not
                                        used. Since local secondary index are sparse, this index costs nothing until you decide to use it.

                                        Q: How many local secondary indexes can I create on one table?

                                        Each table can have up to ﬁve local secondary indexes.

                                        Q: How many projected non-key attributes can I create on one table?

                                        Each table can have up to 20 projected non-key attributes, in total across all local secondary indexes within
                                        the table. Each index may also speciﬁfy that all non-key attributes from the primary index are projected.

                                        Q: Can I modify the index once it is created?

                                        No, an index cannot be modiﬁed once it is created. We are working to add this capability in the future.



https://aws.amazon.com/dynamodb/faqs/                                                                                                                 17/53
                                                                                                             KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: Can I delete local secondary indexes?

                                        No, local secondary indexes cannot be removed from a table once they are created at this time. Of course,
                                        they are deleted if you also decide to delete the entire table. We are working on adding this capability and
                                        will be releasing it in the future.
   PRODUCTS & SERVICES
                                        Q: How do local secondary indexes consume provisioned capacity?

   Amazon DynamoDB                      You
                                         don’t need to explicitly provision capacity for a local secondary index. It consumes provisioned capacity
                                        as part of the table with which it is associated.
   Product Details                      
                                        Reads from LSIs and writes to tables with LSIs consume capacity by the standard formula of 1 unit per 1KB
   DynamoDB Accelerator (DAX)           of
                                         data, with the following diﬀerences:
                                        When writes contain data that are relevant to one or more local secondary indexes, those writes are
   Global Tables                        
                                        mirrored to the appropriate local secondary indexes. In these cases, write capacity will be consumed for the
   Backup and Restore                   table
                                             itself, and additional write capacity will be consumed for each relevant LSI.

                                        Updates that overwrite an existing item can result in two operations– delete and insert – and thereby
   Getting Started                      
                                        consume extra units of write capacity per 1KB of data.
   Developer Resources                  
                                        When a read query requests attributes that are not projected into the LSI, DynamoDB will fetch those
                                        attributes
                                                  from the primary index. This implicit GetItem request consumes one read capacity unit per 4KB of
   FAQs
                                        item data fetched.
   Pricing                              
                                        Q: How much storage will local secondary indexes consume?

   Community                            
                                        Local secondary indexes consume storage for the attribute name and value of each LSI’s primary and index
                                        keys, for all projected non-key attributes, plus 100 bytes per item reﬂected in the LSI.
   Ad Tech                              
                                        Q: What data types can be indexed?
   Gaming                               
                                        All scalar data types (Number, String, Binary) can be used for the sort key element of the local secondary
   IoT                                  
                                        index key. Set types cannot be used.

   DynamoDB Partner Solutions           Q:
                                         What data types can be projected into a local secondary index?
                                        All data types (including set types) can be projected into a local secondary index.
   RELATED LINKS
                                        Q: What are item collections and how are they related to LSI?
   Documentation
                                        In Amazon DynamoDB, an item collection is any group of items that have the same partition key, across a
   Management Console
                                        table and all of its local secondary indexes. Traditional partitioned (or sharded) relational database systems
   Release Notes                        call these shards or partitions, referring to all database items or rows stored under a partition key.

   Discussion Forum                     Item collections are automatically created and maintained for every table that includes local secondary
   What is NoSQL?                       indexes. DynamoDB stores each item collection within a single disk partition.

   Get Started with a Self-Paced Lab    Q: Are there limits on the size of an item collection?

                                        Every item collection in Amazon DynamoDB is subject to a maximum size limit of 10 gigabytes. For any
                                        distinct partition key value, the sum of the item sizes in the table plus the sum of the item sizes across all of
                                        that table's local secondary indexes must not exceed 10 GB.

                                        The 10 GB limit for item collections does not apply to tables without local secondary indexes; only tables
                                        that have one or more local secondary indexes are aﬀected.

                                        Although individual item collections are limited in size, the storage size of an overall table with local
                                        secondary indexes is not limited. The total size of an indexed table in Amazon DynamoDB is eﬀectively
                                        unlimited, provided the total storage size (table and indexes) for any one partition key value does not exceed
                                        the 10 GB threshold.

                                        Q: How can I track the size of an item collection?

                                        DynamoDB’s write APIs (PutItem, UpdateItem, DeleteItem, and BatchWriteItem) include an option, which
                                        allows the API response to include an estimate of the relevant item collection’s size. This estimate includes
                                        lower and upper size estimate for the data in a particular item collection, measured in gigabytes.




https://aws.amazon.com/dynamodb/faqs/                                                                                                                 18/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        We recommend that you instrument your application to monitor the sizes of your item collections. Your
                                        applications should examine the API responses regarding item collection size, and log an error message
                                        whenever an item collection exceeds a user-deﬁned limit (8 GB, for example). This would provide an early
                                        warning system, letting you know that an item collection is growing larger, but giving you enough time to
                                        do something about it.
   PRODUCTS & SERVICES

                                        Q: What if I exceed the 10GB limit for an item collection?

   Amazon DynamoDB                       a particular item collection exceeds the 10GB limit, then you will not be able to write new items, or
                                        If
                                        increase the size of existing items, for that particular partition key. Read and write operations that shrink the
   Product Details                      
                                        size of the item collection are still allowed. Other item collections in the table are not aﬀected.

   DynamoDB Accelerator (DAX)           
                                        To address this problem , you can remove items or reduce item sizes in the collection that has exceeded
                                        10GB. Alternatively, you can introduce new items under a new partition key value to work around this
   Global Tables                        
                                        problem. If your table includes historical data that is infrequently accessed, consider archiving the historical
   Backup and Restore                   data
                                         to Amazon S3, Amazon Glacier or another data store.
                                        Q: How can I scan a local secondary index?
   Getting Started                      
                                        To scan a local secondary index, explicitly reference the index in addition to the name of the table you’d like
   Developer Resources                  
                                        to scan. You must specify the index partition attribute name and value. You can optionally specify a
                                        condition
                                                 against the index key sort attribute.
   FAQs
                                        Your scan can retrieve non-projected attributes stored in the primary index by performing a table fetch
   Pricing                              
                                        operation, with a cost of additional read capacity units.

   Community                             Will a Scan on a local secondary index allow me to specify non-projected attributes to be returned in
                                        Q:
                                        the result set?
   Ad Tech                              
                                        Scan on local secondary indexes will support fetching of non-projected attributes.
   Gaming                               
                                        Q: What is the order of the results in scan on a local secondary index?
   IoT                                  
                                        For local secondary index, the ordering within a collection will be the based on the order of the indexed
   DynamoDB Partner Solutions           attribute.
                                        


   RELATED LINKS


   Documentation                        Security and control
   Management Console
                                        Q: What is DynamoDB Fine-Grained Access Control?
   Release Notes
                                        Fine Grained Access Control (FGAC) gives a DynamoDB table owner a high degree of control over data in the
   Discussion Forum
                                        table. Speciﬁcally, the table owner can indicate who (caller) can access which items or attributes of the table
   What is NoSQL?                       and perform what actions (read / write capability). FGAC is used in concert with AWS Identity and Access
                                        Management (IAM), which manages the security credentials and the associated permissions.
   Get Started with a Self-Paced Lab
                                        Q: What are the common use cases for DynamoDB FGAC?

                                        FGAC can beneﬁt any application that tracks information in a DynamoDB table, where the end user (or
                                        application client acting on behalf of an end user) wants to read or modify the table directly, without a
                                        middle-tier service. For instance, a developer of a mobile app named Acme can use FGAC to track the top
                                        score of every Acme user in a DynamoDB table. FGAC allows the application client to modify only the top
                                        score for the user that is currently running the application.

                                        Q: Can I use Fine Grain Access Control with JSON documents?

                                        Yes. You can use Fine Grain Access Control (FGAC) to restrict access to your data based on top-level
                                        attributes in your document. You cannot use FGAC to restrict access based on nested attributes. For
                                        example, suppose you stored a JSON document that contained the following information about a person: ID,
                                        ﬁrst name, last name, and a list of all of their friends. You could use FGAC to restrict access based on their ID,
                                        ﬁrst name, or last name, but not based on the list of friends.

                                        Q: Without FGAC, how can a developer achieve item level access control?

                                        To achieve this level of control without FGAC, a developer would have to choose from a few potentially
                                        onerous approaches. Some of these are:

https://aws.amazon.com/dynamodb/faqs/                                                                                                                 19/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        1. Proxy: The application client sends a request to a brokering proxy that performs the authentication and
                                            authorization. Such a solution increases the complexity of the system architecture and can result in a
                                            higher total cost of ownership (TCO).

                                        2. Per Client Table: Every application client is assigned its own table. Since application clients access
   PRODUCTS & SERVICES                      diﬀerent tables, they would be protected from one another. This could potentially require a developer to
                                            create millions of tables, thereby making database management extremely painful.
   Amazon DynamoDB                      
                                        3. Per-Client Embedded Token: A secret token is embedded in the application client. The shortcoming of
   Product Details                       this is the diﬃculty in changing the token and handling its impact on the stored data. Here, the key of
                                            the items accessible by this client would contain the secret token.
   DynamoDB Accelerator (DAX)           
                                        Q: How does DynamoDB FGAC work?
   Global Tables                        
                                        With FGAC, an application requests a security token that authorizes the application to access only speciﬁc
   Backup and Restore                   items
                                             in a speciﬁc DynamoDB table. With this token, the end user application agent can make requests to
                                        DynamoDB directly. Upon receiving the request, the incoming request’s credentials are ﬁrst evaluated by
   Getting Started                      
                                        DynamoDB, which will use IAM to authenticate the request and determine the capabilities allowed for the
                                        user. If the user’s request is not permitted, FGAC will prevent the data from being accessed.
   Developer Resources                  
                                        Q: How much does DynamoDB FGAC cost?
   FAQs                                 
                                        There is no additional charge for using FGAC. As always, you only pay for the provisioned throughput and
   Pricing                              
                                        storage associated with the DynamoDB table.

   Community                            Q:
                                         How do I get started?
                                        Refer to the Fine-Grained Access Control section of the DynamoDB Developer Guide to learn how to create
   Ad Tech                              
                                        an access policy, create an IAM role for your app (e.g. a role named AcmeFacebookUsers for a Facebook
   Gaming                               app_id
                                              of 34567), and assign your access policy to the role. The trust policy of the role determines which
                                        identity providers are accepted (e.g. Login with Amazon, Facebook, or Google), and the access policy
   IoT                                  
                                        describes which AWS resources can be accessed (e.g. a DynamoDB table). Using the role, your app can now
                                        to obtain temporary credentials for DynamoDB by calling the AssumeRoleWithIdentityRequest API of the
   DynamoDB Partner Solutions           
                                        AWS Security Token Service (STS).

                                        Q: How do I allow users to Query a Local Secondary Index, but prevent them from causing a table fetch
   RELATED LINKS
                                        to retrieve non-projected attributes?
   Documentation
                                        Some Query operations on a Local Secondary Index can be more expensive than others if they request
   Management Console                   attributes that are not projected into an index. You an restrict such potentially expensive “fetch” operations
   Release Notes                        by limiting the permissions to only projected attributes, using the "dynamodb:Attributes" context key.

   Discussion Forum                     Q: How do I prevent users from accessing speciﬁc attributes?
   What is NoSQL?                       The recommended approach to preventing access to speciﬁc attributes is to follow the principle of least
   Get Started with a Self-Paced Lab    privilege, and Allow access to only speciﬁc attributes.

                                        Alternatively, you can use a Deny policy to specify attributes that are disallowed. However, this is not
                                        recommended for the following reasons:

                                        1. With a Deny policy, it is possible for the user to discover the hidden attribute names by issuing repeated
                                            requests for every possible attribute name, until the user is ultimately denied access.

                                        2. Deny policies are more fragile, since DynamoDB could introduce new API functionality in the future that
                                            might allow an access pattern that you had previously intended to block.

                                        Q: How do I prevent users from adding invalid data to a table?

                                        The available FGAC controls can determine which items changed or read, and which attributes can be
                                        changed or read. Users can add new items without those blocked attributes, and change any value of any
                                        attribute that is modiﬁable.

                                        Q: Can I grant access to multiple attributes without listing all of them?

                                        Yes, the IAM policy language supports a rich set of comparison operations, including StringLike,
                                        StringNotLike, and many others. For additional details, please see the IAM Policy Reference.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                20/53
                                                                                                            KoveIO Compl. Ex. 20
                                                        Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: How do I create an appropriate policy?

                                        We recommend that you use the DynamoDB Policy Generator from the DynamoDB console. You may also
                                        compare your policy to those listed in the Amazon DynamoDB Developer Guide to make sure you are
                                        following a recommended pattern. You can post policies to the AWS Forums to get thoughts from the
   PRODUCTS & SERVICES                  DynamoDB community.

                                        Q: Can I grant access based on a canonical user id instead of separate ids for the user based on the
   Amazon DynamoDB                      
                                        identity provider they logged in with?

   Product Details                       without running a “token vending machine”. If a user retrieves federated access to your IAM role directly
                                        Not
                                        using Facebook credentials with STS, those temporary credentials only have information about that user’s
   DynamoDB Accelerator (DAX)           
                                        Facebook login, and not their Amazon login, or Google login. If you want to internally store a mapping of
                                        each of these logins to your own stable identiﬁer, you can run a service that the user contacts to log in, and
   Global Tables                        
                                        then call STS and provide them with credentials scoped to whatever partition key value you come up with as
   Backup and Restore                   their
                                             canonical user id.

                                        Q: What information cannot be hidden from callers using FGAC?
   Getting Started                      
                                        Certain information cannot currently be blocked from the caller about the items in the table:
   Developer Resources                  
                                            Item collection metrics. The caller can ask for the estimated number of items and size in bytes of the item
   FAQs                                  collection.

   Pricing                               Consumed throughput The caller can ask for the detailed breakdown or summary of the provisioned
                                            throughput consumed by operations.
   Community                            
                                            Validation cases. In certain cases, the caller can learn about the existence and primary key schema of a
   Ad Tech                               table when you did not intend to give them access. To prevent this, follow the principle of least privilege

   Gaming                                and only allow access to the tables and actions that you intended to allow access to.
                                            If you deny access to speciﬁc attributes instead of whitelisting access to speciﬁc attributes, the caller can
   IoT                                  
                                            theoretically determine the names of the hidden attributes if “allow all except for” logic. It is safer to
   DynamoDB Partner Solutions            whitelist speciﬁc attribute names instead.

                                        Q: Does Amazon DynamoDB support IAM permissions?
   RELATED LINKS
                                        Yes, DynamoDB supports API-level permissions through AWS Identity and Access Management (IAM) service
   Documentation                        integration.
   Management Console
                                        For more information about IAM, go to:
   Release Notes
                                            AWS Identity and Access Management
   Discussion Forum
                                            AWS Identity and Access Management Getting Started Guide
   What is NoSQL?

   Get Started with a Self-Paced Lab        Using AWS Identity and Access Management

                                        Q: I wish to perform security analysis or operational troubleshooting on my DynamoDB tables. Can I get
                                        a history of all DynamoDB API calls made on my account?

                                        Yes. AWS CloudTrail is a web service that records AWS API calls for your account and delivers log ﬁles to you.
                                        The AWS API call history produced by AWS CloudTrail enables security analysis, resource change tracking,
                                        and compliance auditing. Details about DynamoDB support for CloudTrail can be found here. Learn more
                                        about CloudTrail at the AWS CloudTrail detail page, and turn it on via CloudTrail's AWS Management Console
                                        home page.




                                        Pricing
                                        Q: How will I be charged for my use of Amazon DynamoDB?

                                        Each DynamoDB table has provisioned read-throughput and write-throughput associated with it. You are
                                        billed by the hour for that throughput capacity if you exceed the free tier.



https://aws.amazon.com/dynamodb/faqs/                                                                                                                    21/53
                                                                                                              KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Please note that you are charged by the hour for the throughput capacity, whether or not you are sending
                                        requests to your table. If you would like to change your table’s provisioned throughput capacity, you can do
                                        so using the AWS Management Console, the UpdateTable API or the PutScalingPolicy API for Auto Scaling..

                                        In addition, DynamoDB also charges for indexed data storage as well as the standard internet data transfer
   PRODUCTS & SERVICES                  fees

                                        To learn more about DynamoDB pricing, please visit the DynamoDB pricing page.
   Amazon DynamoDB                      
                                        Q: What are some pricing examples?
   Product Details                      
                                        Here is an example of how to calculate your throughput costs using US East (Northern Virginia) Region
   DynamoDB Accelerator (DAX)           pricing.
                                                To view prices for other regions, visit our pricing page.

                                        If you create a table and request 10 units of write capacity and 200 units of read capacity of provisioned
   Global Tables                        
                                        throughput, you would be charged:
   Backup and Restore                   
                                        $0.01 + (4 x $0.01) = $0.05 per hour

   Getting Started                       your throughput needs changed and you increased your reserved throughput requirement to 10,000 units
                                        If
                                        of write capacity and 50,000 units of read capacity, your bill would then change to:
   Developer Resources                  
                                        (1,000 x $0.01) + (1,000 x $0.01) = $20/hour
   FAQs                                 
                                        To learn more about DynamoDB pricing, please visit the DynamoDB pricing page.
   Pricing                              
                                        Q: Do your prices include taxes?

   Community                             details on taxes, see Amazon Web Services Tax Help.
                                        For

   Ad Tech                              
                                        Q: What is provisioned throughput?
   Gaming                               
                                        Amazon DynamoDB Auto Scaling adjusts throughput capacity automatically as request volumes change,
                                        based
                                             on your desired target utilization and minimum and maximum capacity limits, or lets you specify the
   IoT
                                        request throughput you want your table to be able to achieve manually. Behind the scenes, the service handles
   DynamoDB Partner Solutions            provisioning of resources to achieve the requested throughput rate. Rather than asking you to think about
                                        the
                                        instances, hardware, memory, and other factors that could affect your throughput rate, we simply ask you to
                                        provision the throughput level you want to achieve. This is the provisioned throughput model of service.
   RELATED LINKS


   Documentation                        During creation of a new table or global secondary index, Auto Scaling is enabled by default with default
                                        settings for target utilization, minimum and maximum capacity; or you can specify your required read and write
   Management Console
                                        capacity needs manually; and Amazon DynamoDB automatically partitions and reserves the appropriate
   Release Notes                        amount of resources to meet your throughput requirements.

   Discussion Forum                     Q: How does selection of primary key inﬂuence the scalability I can achieve?
   What is NoSQL?
                                        When storing data, Amazon DynamoDB divides a table into multiple partitions and distributes the data based
   Get Started with a Self-Paced Lab    on the partition key element of the primary key. While allocating capacity resources, Amazon DynamoDB
                                        assumes a relatively random access pattern across all primary keys. You should set up your data model so that
                                        your requests result in a fairly even distribution of traffic across primary keys. If a table has a very small number
                                        of heavily-accessed partition key elements, possibly even a single very heavily-used partition key element,
                                        traffic is concentrated on a small number of partitions – potentially only one partition. If the workload is heavily
                                        unbalanced, meaning disproportionately focused on one or a few partitions, the operations will not achieve the
                                        overall provisioned throughput level. To get the most out of Amazon DynamoDB throughput, build tables where
                                        the partition key element has a large number of distinct values, and values are requested fairly uniformly, as
                                        randomly as possible. An example of a good primary key is CustomerID if the application has many customers
                                        and requests made to various customer records tend to be more or less uniform. An example of a heavily
                                        skewed primary key is “Product Category Name” where certain product categories are more popular than the
                                        rest.

                                        Q: What is a read/write capacity unit?

                                        How do I estimate how many read and write capacity units I need for my application? A unit of Write Capacity
                                        enables you to perform one write per second for items of up to 1KB in size. Similarly, a unit of Read Capacity
                                        enables you to perform one strongly consistent read per second (or two eventually consistent reads per
                                        second) of items of up to 4KB in size. Larger items will require more capacity. You can calculate the number of


https://aws.amazon.com/dynamodb/faqs/                                                                                                                     22/53
                                                                                                               KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        units of read and write capacity you need by estimating the number of reads or writes you need to do per
                                        second and multiplying by the size of your items (rounded up to the nearest KB).

                                        Units of Capacity required for writes = Number of item writes per second x item size in 1KB blocks

                                        Units of Capacity required for reads* = Number of item reads per second x item size in 4KB blocks
   PRODUCTS & SERVICES

                                        * If you use eventually consistent reads you’ll get twice the throughput in terms of reads per second.

   Amazon DynamoDB                      If your items are less than 1KB in size, then each unit of Read Capacity will give you 1 strongly consistent
                                        read/second and each unit of Write Capacity will give you 1 write/second of capacity. For example, if your items
   Product Details                      
                                        are 512 bytes and you need to read 100 items per second from your table, then you need to provision 100 units

   DynamoDB Accelerator (DAX)           of
                                         Read Capacity.
                                        If your items are larger than 4KB in size, then you should calculate the number of units of Read Capacity and
   Global Tables                        
                                        Write Capacity that you need. For example, if your items are 4.5KB and you want to do 100 strongly consistent
   Backup and Restore                   reads/second,
                                                     then you would need to provision 100 (read per second) x 2 (number of 4KB blocks required to
                                        store 4.5KB) = 200 units of Read Capacity.
   Getting Started                      
                                        Note that the required number of units of Read Capacity is determined by the number of items being read per
   Developer Resources                  second,
                                               not the number of API calls. For example, if you need to read 500 items per second from your table,
                                        and if your items are 4KB or less, then you need 500 units of Read Capacity. It doesn’t matter if you do 500
   FAQs                                 
                                        individual GetItem calls or 50 BatchGetItem calls that each return 10 items.

   Pricing                              Q:
                                         Will I always be able to achieve my level of provisioned throughput?
                                        Amazon
                                              DynamoDB assumes a relatively random access pattern across all primary keys. You should set up
   Community
                                        your data model so that your requests result in a fairly even distribution of traffic across primary keys. If you
   Ad Tech                              
                                        have a highly uneven or skewed access pattern, you may not be able to achieve your level of provisioned
                                        throughput.
   Gaming                               
                                        When storing data, Amazon DynamoDB divides a table into multiple partitions and distributes the data based
   IoT                                   the partition key element of the primary key. The provisioned throughput associated with a table is also
                                        on
                                        divided among the partitions; each partition's throughput is managed independently based on the quota allotted
   DynamoDB Partner Solutions           
                                        to it. There is no sharing of provisioned throughput across partitions. Consequently, a table in Amazon
                                        DynamoDB is best able to meet the provisioned throughput levels if the workload is spread fairly uniformly
   RELATED LINKS                        across the partition key values. Distributing requests across partition key values distributes the requests across
                                        partitions, which helps achieve your full provisioned throughput level.
   Documentation

   Management Console                   If you have an uneven workload pattern across primary keys and are unable to achieve your provisioned
                                        throughput level, you may be able to meet your throughput needs by increasing your provisioned throughput
   Release Notes
                                        level further, which will give more throughput to each partition. However, it is recommended that you
   Discussion Forum                     considering modifying your request pattern or your data model in order to achieve a relatively random access
                                        pattern across primary keys.
   What is NoSQL?

   Get Started with a Self-Paced Lab    Q: If I retrieve only a single element of a JSON document, will I be charged for reading the whole item?

                                        Yes. When reading data out of DynamoDB, you consume the throughput required to read the entire item.

                                        Q: What is the maximum throughput I can provision for a single DynamoDB table?

                                        DynamoDB is designed to scale without limits However, if you wish to exceed throughput rates of 10,000 write
                                        capacity units or 10,000 read capacity units for an individual table, you must first contact Amazon through this
                                        online form. If you wish to provision more than 20,000 write capacity units or 20,000 read capacity units from a
                                        single subscriber account you must first contact us using the form described above.

                                        Q: What is the minimum throughput I can provision for a single DynamoDB table?

                                        The smallest provisioned throughput you can request is 1 write capacity unit and 1 read capacity unit for both
                                        Auto Scaling and manual throughput provisioning..

                                        This falls within the free tier which allows for 25 units of write capacity and 25 units of read capacity. The free
                                        tier applies at the account level, not the table level. In other words, if you add up the provisioned capacity of all
                                        your tables, and if the total capacity is no more than 25 units of write capacity and 25 units of read capacity,
                                        your provisioned capacity would fall into the free tier.

                                        Q: Is there any limit on how much I can change my provisioned throughput with a single request?

https://aws.amazon.com/dynamodb/faqs/                                                                                                                       23/53
                                                                                                               KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        You can increase the provisioned throughput capacity of your table by any amount using the UpdateTable API.
                                        For example, you could increase your table’s provisioned write capacity from 1 write capacity unit to 10,000
                                        write capacity units with a single API call. Your account is still subject to table-level and account-level limits on
                                        capacity, as described in our documentation page. If you need to raise your provisioned capacity limits, you can
                                        visit our Support Center, click “Open a new case”, and file a service limit increase request.
   PRODUCTS & SERVICES

                                        Q: How am I charged for provisioned throughput?

   Amazon DynamoDB                      
                                        Every Amazon DynamoDB table has pre-provisioned the resources it needs to achieve the throughput rate you
                                        asked for. You are billed at an hourly rate for as long as your table holds on to those resources. For a complete
   Product Details                      
                                        list of prices with examples, see the DynamoDB pricing page.

   DynamoDB Accelerator (DAX)           
                                        Q: How do I change the provisioned throughput for an existing DynamoDB table?

   Global Tables                        
                                        There are two ways to update the provisioned throughput of an Amazon DynamoDB table. You can either
                                        make the change in the management console, or you can use the UpdateTable API call. In either case,
   Backup and Restore                   
                                        Amazon DynamoDB will remain available while your provisioned throughput level increases or decreases.

   Getting Started                       How often can I change my provisioned throughput?
                                        Q:

   Developer Resources                  You
                                         can increase your provisioned throughput as often as you want. You can decrease up to four times any
                                        time per day. A day is defined according to the GMT time zone. Additionally, if there was no decrease in the
   FAQs                                  four hours, an additional dial down is allowed, effectively bringing maximum number of decreases in a day
                                        past
                                        to 9 (4 decreases in the first 4 hours, and 1 decrease for each of the subsequent 4 hour windows in a day).
   Pricing                              
                                        Keep in mind that you can’t change your provisioned throughput if your Amazon DynamoDB table is still in the
   Community                            
                                        process of responding to your last request to change provisioned throughput. Use the management console or
                                        the DescribeTables API to check the status of your table. If the status is “CREATING”, “DELETING”, or
   Ad Tech                              
                                        “UPDATING”, you won’t be able to adjust the throughput of your table. Please wait until you have a table in

   Gaming                               “ACTIVE”
                                                status and try again.

                                        Q: Does the consistency level aﬀect the throughput rate?
   IoT                                  
                                        Yes. For a given allocation of resources, the read-rate that a DynamoDB table can achieve is different for
   DynamoDB Partner Solutions           
                                        strongly consistent and eventually consistent reads. If you request “1,000 read capacity units”, DynamoDB will
                                        allocate sufficient resources to achieve 1,000 strongly consistent reads per second of items up to 4KB. If you
   RELATED LINKS                        want to achieve 1,000 eventually consistent reads of items up to 4KB, you will need half of that capacity, i.e.,
                                        500 read capacity units. For additional guidance on choosing the appropriate throughput rate for your table,
   Documentation
                                        see our provisioned throughput guide.
   Management Console
                                        Q: Does the item size aﬀect the throughput rate?
   Release Notes
                                        Yes. For a given allocation of resources, the read-rate that a DynamoDB table can achieve does depend on the
   Discussion Forum
                                        size of an item. When you specify the provisioned read throughput you would like to achieve, DynamoDB
   What is NoSQL?                       provisions its resources on the assumption that items will be less than 4KB in size. Every increase of up to 4KB
   Get Started with a Self-Paced Lab    will linearly increase the resources you need to achieve the same throughput rate. For example, if you have
                                        provisioned a DynamoDB table with 100 units of read capacity, that means that it can handle 100 4KB reads
                                        per second, or 50 8KB reads per second, or 25 16KB reads per second, and so on.

                                        Similarly the write-rate that a DynamoDB table can achieve does depend on the size of an item. When you
                                        specify the provisioned write throughput you would like to achieve, DynamoDB provisions its resources on the
                                        assumption that items will be less than 1KB in size. Every increase of up to 1KB will linearly increase the
                                        resources you need to achieve the same throughput rate. For example, if you have provisioned a DynamoDB
                                        table with 100 units of write capacity, that means that it can handle 100 1KB writes per second, or 50 2KB
                                        writes per second, or 25 4KB writes per second, and so on.

                                        For additional guidance on choosing the appropriate throughput rate for your table, see our provisioned
                                        throughput guide.

                                        Q: What happens if my application performs more reads or writes than my provisioned capacity?

                                        If your application performs more reads/second or writes/second than your table’s provisioned throughput
                                        capacity allows, requests above your provisioned capacity will be throttled and you will receive 400 error codes.
                                        For instance, if you had asked for 1,000 write capacity units and try to do 1,500 writes/second of 1 KB items,
                                        DynamoDB will only allow 1,000 writes/second to go through and you will receive error code 400 on your extra


https://aws.amazon.com/dynamodb/faqs/                                                                                                                      24/53
                                                                                                               KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        requests. You should use CloudWatch to monitor your request rate to ensure that you always have enough
                                        provisioned throughput to achieve the request rate that you need.

                                        Q: How do I know if I am exceeding my provisioned throughput capacity?

                                        DynamoDB publishes your consumed throughput capacity as a CloudWatch metric. You can set an alarm on
   PRODUCTS & SERVICES
                                        this metric so that you will be notified if you get close to your provisioned capacity.

   Amazon DynamoDB                      Q:
                                         How long does it take to change the provisioned throughput level of a table?
                                        In general, decreases in throughput will take anywhere from a few seconds to a few minutes, while increases in
   Product Details                      
                                        throughput will typically take anywhere from a few minutes to a few hours.
   DynamoDB Accelerator (DAX)           
                                        We strongly recommend that you do not try and schedule increases in throughput to occur at almost the same
                                        time when that extra throughput is needed. We recommend provisioning throughput capacity sufficiently far in
   Global Tables                        
                                        advance to ensure that it is there when you need it.
   Backup and Restore                   

   Getting Started
                                        Reserved
                                                capacity
   Developer Resources                  Q:
                                         What is Reserved Capacity?
                                        Reserved Capacity is a billing feature that allows you to obtain discounts on your provisioned throughput
   FAQs                                 
                                        capacity in exchange for:
   Pricing                              
                                            A one-time up-front payment

   Community                             A commitment to a minimum monthly usage level for the duration of the term of the agreement.

   Ad Tech                              
                                        Reserved Capacity applies within a single AWS Region and can be purchased with 1-year or 3-year terms.
                                        Every DynamoDB table has provisioned throughput capacity associated with it, whether managed by Auto
   Gaming                               
                                        Scaling or provisioned manually when you create or update a table. This capacity is what determines the
   IoT                                  read
                                         and write throughput rate that your DynamoDB table can achieve. Reserved Capacity is a billing
                                        arrangement and has no direct impact on the performance or capacity of your DynamoDB tables. For
   DynamoDB Partner Solutions           
                                        example, if you buy 100 write capacity units of Reserved Capacity, you have agreed to pay for that much
                                        capacity for the duration of the agreement (1 or 3 years) in exchange for discounted pricing.

   RELATED LINKS
                                        Q: How do I buy Reserved Capacity?
   Documentation
                                        Log into the AWS Management Console, go to the DynamoDB console page, and then click on "Reserved
   Management Console                   Capacity”. This will take you to the "Reserved Capacity Usage" page. Click on "Purchase Reserved Capacity"

   Release Notes                        and this will bring up a form you can ﬁll out to purchase Reserved Capacity. Make sure you have selected the
                                        AWS Region in which your Reserved Capacity will be used. After you have ﬁnished purchasing Reserved
   Discussion Forum
                                        Capacity, you will see purchase you made on the "Reserved Capacity Usage" page.
   What is NoSQL?
                                        Q: Can I cancel a Reserved Capacity purchase?
   Get Started with a Self-Paced Lab
                                        No, you cannot cancel your Reserved Capacity and the one-time payment is not refundable. You will
                                        continue to pay for every hour during your Reserved Capacity term regardless of your usage.

                                        Q: What is the smallest amount of Reserved Capacity that I can buy?

                                        The smallest Reserved Capacity oﬀering is 100 capacity units (reads or writes).

                                        Q: Are there APIs that I can use to buy Reserved Capacity?

                                        Not yet. We will provide APIs and add more Reserved Capacity options over time.

                                        Q: Can I move Reserved Capacity from one Region to another?

                                        No. Reserved Capacity is associated with a single Region.

                                        Q: Can I provision more throughput capacity than my Reserved Capacity?

                                        Yes. When you purchase Reserved Capacity, you are agreeing to a minimum usage level and you pay a
                                        discounted rate for that usage level. If you provision more capacity than that minimum level, you will be
                                        charged at standard rates for the additional capacity.

                                        Q: How do I use my Reserved Capacity?

https://aws.amazon.com/dynamodb/faqs/                                                                                                               25/53
                                                                                                               KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Reserved Capacity is automatically applied to your bill. For example, if you purchased 100 write capacity
                                        units of Reserved Capacity and you have provisioned 300, then your Reserved Capacity purchase will
                                        automatically cover the cost of 100 write capacity units and you will pay standard rates for the remaining
                                        200 write capacity units.

   PRODUCTS & SERVICES                  Q: What happens if I provision less throughput capacity than my Reserved Capacity?

                                        A Reserved Capacity purchase is an agreement to pay for a minimum amount of provisioned throughput
   Amazon DynamoDB                      
                                        capacity, for the duration of the term of the agreement, in exchange for discounted pricing. If you use less
                                        than your Reserved Capacity, you will still be charged each month for that minimum amount of provisioned
   Product Details                      
                                        throughput capacity.

   DynamoDB Accelerator (DAX)           
                                        Q: Can I use my Reserved Capacity for multiple DynamoDB tables?

   Global Tables                         Reserved Capacity is applied to the total provisioned capacity within the Region in which you purchased
                                        Yes.
                                        your Reserved Capacity. For example, if you purchased 5,000 write capacity units of Reserved Capacity, then
   Backup and Restore                   
                                        you can apply that to one table with 5,000 write capacity units, or 100 tables with 50 write capacity units, or
                                        1,000 tables with 5 write capacity units, etc.
   Getting Started                      
                                        Q: Does Reserved Capacity apply to DynamoDB usage in Consolidated Billing accounts?
   Developer Resources                  
                                        Yes. If you have multiple accounts linked with Consolidated Billing, Reserved Capacity units purchased either
   FAQs                                  the Payer Account level or Linked Account level are shared with all accounts connected to the Payer
                                        at
                                        Account. Reserved capacity will ﬁrst be applied to the account which purchased it and then any unused
   Pricing                              
                                        capacity will be applied to other linked accounts.

   Community                            

   Ad Tech
                                        Cross-region
                                                    replication
   Gaming                               
                                        Q: What is a DynamoDB cross-region replication?
   IoT                                  
                                        DynamoDB cross-region replication allows you to maintain identical copies (called replicas) of a DynamoDB
   DynamoDB Partner Solutions           
                                        table (called master table) in one or more AWS regions. After you enable cross-region replication for a table,
                                        identical copies of the table are created in other AWS regions. Writes to the table will be automatically
   RELATED LINKS                        propagated to all replicas.

   Documentation

   Management Console                   Q: When should I use cross-region replication?
   Release Notes
                                        You can use cross-region replication for the following scenarios.
   Discussion Forum
                                            Eﬃcient disaster recovery: By replicating tables in multiple data centers, you can switch over to using
   What is NoSQL?                           DynamoDB tables from another region in case a data center failure occurs.
   Get Started with a Self-Paced Lab
                                            Faster reads: If you have customers in multiple regions, you can deliver data faster by reading a
                                            DynamoDB table from the closest AWS data center.

                                            Easier traﬃc management: You can use replicas to distribute the read workload across tables and
                                            thereby consume less read capacity in the master table.

                                            Easy regional migration: By creating a read replica in a new region and then promoting the replica to be
                                            a master, you migrate your application to that region more easily.

                                            Live data migration: To move a DynamoDB table from one region to another, you can create a replica of
                                            the table from the source region in the destination region. When the tables are in sync, you can switch
                                            your application to write to the destination region.

                                        Q: What cross-region replication modes are supported?

                                        Cross-region replication currently supports single master mode. A single master has one master table and
                                        one or more replica tables.

                                        Q. How can I set up single master cross-region replication for a table?

                                        You can create cross-region replicas using the DynamoDB Cross-region Replication library.

https://aws.amazon.com/dynamodb/faqs/                                                                                                                 26/53
                                                                                                            KoveIO Compl. Ex. 20
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                                        Q: How do I know when the bootstrapping is complete?

                                        On the replication management application, the state of the replication changes from Bootstrapping to
                                        Active.

                                        Q: Can I have multiple replicas for a single master table?
   PRODUCTS & SERVICES

                                        Yes, there are no limits on the number of replicas tables from a single master table. A DynamoDB Streams

   Amazon DynamoDB                      reader
                                              is created for each replica table and copies data from the master table, keeping the replicas in sync.

                                        Q: How much does it cost to set up cross-region replication for a table?
   Product Details                      
                                        DynamoDB cross-region replication is enabled using the DynamoDB Cross-region Replication Library. While
   DynamoDB Accelerator (DAX)           
                                        there is no additional charge for the cross-region replication library, you pay the usual prices for the
                                        following resources used by the process. You will be billed for:
   Global Tables                        
                                            Provisioned throughput (Writes and Reads) and storage for the replica tables.
   Backup and Restore                   
                                            Data Transfer across regions.
   Getting Started                      
                                            Reading data from DynamoDB Streams to keep the tables in sync.
   Developer Resources                  
                                            The EC2 instances provisioned to host the replication process. The cost of the instances will depend on
   FAQs                                  the instance type you choose and the region hosting the instances.

   Pricing                               In which region does the Amazon EC2 instance hosting the cross-region replication run?
                                        Q:

   Community                            The
                                         cross-region replication application is hosted in an Amazon EC2 instance in the same region where the
                                        cross-region replication application was originally launched. You will be charged the instance price in this
   Ad Tech                              
                                        region.

   Gaming                                Does the Amazon EC2 instance Auto Scale as the size and throughput of the master and replica tables
                                        Q:
                                        change?
   IoT                                  
                                        Currently, we will not auto scale the EC2 instance. You will need to pick the instance size when conﬁguring
   DynamoDB Partner Solutions           
                                        DynamoDB Cross-region Replication.

                                        Q: What happens if the Amazon EC2 instance managing the replication fails?
   RELATED LINKS
                                        The Amazon EC2 instance runs behind an auto scaling group, which means the application will automatically
   Documentation
                                        fail over to another instance. The application underneath uses the Kinesis Client Library (KCL), which
   Management Console                   checkpoints the copy. In case of an instance failure, the application knows to ﬁnd the checkpoint and resume
                                        from there.
   Release Notes

   Discussion Forum                     Q: Can I keep using my DynamoDB table while a Read Replica is being created?

   What is NoSQL?                       Yes, creating a replica is an online operation. Your table will remain available for reads and writes while the
                                        read replica is being created. The bootstrapping uses the Scan operation to copy from the source table. We
   Get Started with a Self-Paced Lab
                                        recommend that the table is provisioned with suﬃcient read capacity units to support the Scan operation.



                                        Q: How long does it take to create a replica?

                                        The time to initially copy the master table to the replica table depends on the size of the master table, the
                                        provisioned capacity of the master table and replica table. The time to propagate an item-level change on
                                        the master table to the replica table depends on the provisioned capacity on the master and replica tables,
                                        and the size of the Amazon EC2 instance running the replication application.

                                        Q: If I change provisioned capacity on my master table, does the provisioned capacity on my replica
                                        table also update?

                                        After the replication has been created, any changes to the provisioned capacity on the master table will not
                                        result in an update in throughput capacity on the replica table.



                                        Q: Will my replica tables have the same indexes as the master table?



https://aws.amazon.com/dynamodb/faqs/                                                                                                                  27/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        If you choose to create the replica table from the replication application, the secondary indexes on the
                                        master table will NOT be automatically created on the replica table. The replication application will not
                                        propagate changes made on secondary indices on the master table to replica tables. You will have to
                                        add/update/delete indexes on each of the replica tables through the AWS Management Console as you
                                        would with regular DynamoDB tables.
   PRODUCTS & SERVICES




   Amazon DynamoDB                       Will my replica have the same provisioned throughput capacity as the master table?
                                        Q:

   Product Details                      
                                        When creating the replica table, we recommend that you provision at least the same write capacity as the
                                        master table to ensure that it has enough capacity to handle all incoming writes. You can set the provisioned
   DynamoDB Accelerator (DAX)           
                                        read capacity of your replica table at whatever level is appropriate for your application.

   Global Tables                        

   Backup and Restore                   Q:
                                         What is the consistency model for replicated tables?
                                        Replicas are updated asynchronously. DynamoDB will acknowledge a write operation as successful once it
   Getting Started                      
                                        has been accepted by the master table. The write will then be propagated to each replica. This means that
   Developer Resources                  there
                                             will be a slight delay before a write has been propagated to all replica tables.

                                        Q:
                                         Are there CloudWatch metrics for cross-region replication?
   FAQs
                                        CloudWatch metrics are available for every replication conﬁguration. You can see the metric by selecting the
   Pricing                              
                                        replication group and navigating to the Monitoring tab. Metrics on throughput and number of record

   Community                            processed
                                                 are available, and you can monitor for any discrepancies in the throughput of the master and
                                        replica tables.
   Ad Tech                              
                                        Q: Can I have a replica in the same region as the master table?
   Gaming                               
                                        Yes, as long as the replica table and the master table have diﬀerent names, both tables can exist in the same
                                        region.
   IoT                                  
                                        Q: Can I add or delete a replica after creating a replication group?
   DynamoDB Partner Solutions           
                                        Yes, you can add or delete a replica from that replication group at any time.

   RELATED LINKS                        Q: Can I delete a replica group after it is created ?

   Documentation                        Yes, deleting the replication group will delete the EC2 instance for the group. However, you will have to
   Management Console                   delete the DynamoDB metadata table.

   Release Notes

   Discussion Forum                     Triggers
   What is NoSQL?                       Q. What is DynamoDB Triggers?
   Get Started with a Self-Paced Lab
                                        DynamoDB Triggers is a feature which allows you to execute custom actions based on item-level updates on
                                        a DynamoDB table. You can specify the custom action in code.

                                        Q. What can I do with DynamoDB Triggers?

                                        There are several application scenarios where DynamoDB Triggers can be useful. Some use cases include
                                        sending notiﬁcations, updating an aggregate table, and connecting DynamoDB tables to other data sources.

                                        Q. How does DynamoDB Triggers work?

                                        The custom logic for a DynamoDB trigger is stored in an AWS Lambda function as code. To create a trigger
                                        for a given table, you can associate an AWS Lambda function to the stream (via DynamoDB Streams) on a
                                        DynamoDB table. When the table is updated, the updates are published to DynamoDB Streams. In turn, AWS
                                        Lambda reads the updates from the associated stream and executes the code in the function.

                                        Q: What does it cost to use DynamoDB Triggers?

                                        With DynamoDB Triggers, you only pay for the number of requests for your AWS Lambda function and the
                                        amount of time it takes for your AWS Lambda function to execute. Learn more about AWS Lambda pricing
                                        here. You are not charged for the reads that your AWS Lambda function makes to the stream (via
                                        DynamoDB Streams) associated with the table.

https://aws.amazon.com/dynamodb/faqs/                                                                                                               28/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q. Is there a limit to the number of triggers for a table?

                                        There is no limit on the number of triggers for a table.

                                        Q. What languages does DynamoDB Triggers support?

   PRODUCTS & SERVICES                  Currently, DynamoDB Triggers supports Javascript, Java, and Python for trigger functions.

                                        Q. Is there API support for creating, editing or deleting DynamoDB triggers?
   Amazon DynamoDB                      
                                        No, currently there are no native APIs to create, edit, or delete DynamoDB triggers. You have to use the AWS
   Product Details                      
                                        Lambda console to create an AWS Lambda function and associate it with a stream in DynamoDB Streams.
                                        For more information, see the AWS Lambda FAQ page.
   DynamoDB Accelerator (DAX)           
                                        Q. How do I create a DynamoDB trigger?
   Global Tables                        
                                        You can create a trigger by creating an AWS Lambda function and associating the event-source for the
   Backup and Restore                   function
                                                to a stream in DynamoDB Streams. For more information, see the AWS Lambda FAQ page.

                                        Q.
                                         How do I delete a DynamoDB trigger?
   Getting Started
                                        You can delete a trigger by deleting the associated AWS Lambda function. You can delete an AWS Lambda
   Developer Resources                  
                                        function from the AWS Lambda console or throughput an AWS Lambda API call. For more information, see
                                        the
                                         AWS Lambda FAQ and documentation page.
   FAQs
                                        Q. I have an existing AWS Lambda function, how do I create a DynamoDB trigger using this function?
   Pricing                              
                                        You can change the event source for the AWS Lambda function to point to a stream in DynamoDB Streams.
   Community                             can do this from the DynamoDB console. In the table for which the stream is enabled, choose the
                                        You
                                        stream, choose the Associate Lambda Function button, and then choose the function that you want to use
   Ad Tech                              
                                        for the DynamoDB trigger from the list of Lambda functions.
   Gaming                               
                                        Q. In what regions is DynamoDB Triggers available?

   IoT                                  
                                        DynamoDB Triggers is available in all AWS regions where AWS Lambda and DynamoDB are available.

   DynamoDB Partner Solutions           
                                        Streams
   RELATED LINKS
                                        Q: What is DynamoDB Streams?
   Documentation
                                        DynamoDB Streams provides a time-ordered sequence of item-level changes made to data in a table in the
   Management Console                   last 24 hours. You can access a stream with a simple API call and use it to keep other data stores up-to-date
   Release Notes                        with the latest changes to DynamoDB or to take actions based on the changes made to your table.

   Discussion Forum                     Q: What are the beneﬁts of DynamoDB Streams?

   What is NoSQL?                       Using the DynamoDB Streams APIs, developers can consume updates and receive the item-level data before
   Get Started with a Self-Paced Lab    and after items are changed. This can be used to build creative extensions to your applications built on top
                                        of DynamoDB. For example, a developer building a global multi-player game using DynamoDB can use the
                                        DynamoDB Streams APIs to build a multi-master topology and keep the masters in sync by consuming the
                                        DynamoDB Streams for each master and replaying the updates in the remote masters. As another example,
                                        developers can use the DynamoDB Streams APIs to build mobile applications that automatically notify the
                                        mobile devices of all friends in a circle as soon as a user uploads a new selﬁe. Developers could also use
                                        DynamoDB Streams to keep data warehousing tools, such as Amazon Redshift, in sync with all changes to
                                        their DynamoDB table to enable real-time analytics. DynamoDB also integrates with Elasticsearch using the
                                        Amazon DynamoDB Logstash Plugin, thus enabling developers to add free-text search for DynamoDB
                                        content.

                                        You can read more about DynamoDB Streams in our documentation.

                                        Q: How long are changes to my DynamoDB table available via DynamoDB Streams?

                                        DynamoDB Streams keep records of all changes to a table for 24 hours. After that, they will be erased.

                                        Q: How do I enable DynamoDB Streams?

                                        DynamoDB Streams have to be enabled on a per-table basis. To enable DynamoDB Streams for an existing
                                        DynamoDB table, select the table through the AWS Management Console, choose the Overview tab, click

https://aws.amazon.com/dynamodb/faqs/                                                                                                                29/53
                                                                                                           KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        the Manage Stream button, choose a view type, and then click Enable.

                                        For more information, see our documentation.

                                        Q: How do I verify that DynamoDB Streams has been enabled?

   PRODUCTS & SERVICES                  After enabling DynamoDB Streams, you can see the stream in the AWS Management Console. Select your
                                        table, and then choose the Overview tab. Under Stream details, verify Stream enabled is set to Yes.

   Amazon DynamoDB                       How can I access DynamoDB Streams?
                                        Q:

   Product Details                       can access a stream available through DynamoDB Streams with a simple API call using the DynamoDB
                                        You
                                        SDK or using the Kinesis Client Library (KCL). KCL helps you consume and process the data from a stream
   DynamoDB Accelerator (DAX)           
                                        and also helps you manage tasks such as load balancing across multiple readers, responding to instance
                                        failures, and checkpointing processed records.
   Global Tables                        
                                        For more information about accessing DynamoDB Streams, see our documentation.
   Backup and Restore                   
                                        Q: Does DynamoDB Streams display all updates made to my DynamoDB table in order?
   Getting Started                      
                                        Changes made to any individual item will appear in the correct order. Changes made to diﬀerent items may
   Developer Resources                  appear
                                              in DynamoDB Streams in a diﬀerent order than they were received.

                                        For
                                         example, suppose that you have a DynamoDB table tracking high scores for a game and that each item
   FAQs
                                        in the table represents an individual player. If you make the following three updates in this order:
   Pricing                              
                                            Update 1: Change Player 1’s high score to 100 points

   Community                            
                                            Update 2: Change Player 2’s high score to 50 points

   Ad Tech                              
                                            Update 3: Change Player 1’s high score to 125 points

   Gaming                               
                                        Update 1 and Update 3 both changed the same item (Player 1), so DynamoDB Streams will show you that
                                        Update 3 came after Update 1. This allows you to retrieve the most up-to-date high score for each player.
   IoT                                  
                                        The stream might not show that all three updates were made in the same order (i.e., that Update 2
   DynamoDB Partner Solutions           happened
                                                after Update 1 and before Update 3), but updates to each individual player’s record will be in the
                                        right order.

   RELATED LINKS                        Q: Do I need to manage the capacity of a stream in DynamoDB Streams?

   Documentation                        No, capacity for your stream is managed automatically in DynamoDB Streams. If you signiﬁcantly increase
   Management Console                   the traﬃc to your DynamoDB table, DynamoDB will automatically adjust the capacity of the stream to allow
                                        it to continue to accept all updates.
   Release Notes
                                        Q: At what rate can I read from DynamoDB Streams?
   Discussion Forum

   What is NoSQL?                       You can read updates from your stream in DynamoDB Streams at up to twice the rate of the provisioned
                                        write capacity of your DynamoDB table. For example, if you have provisioned enough capacity to update
   Get Started with a Self-Paced Lab
                                        1,000 items per second in your DynamoDB table, you could read up to 2,000 updates per second from your
                                        stream.

                                        Q: If I delete my DynamoDB table, does the stream also get deleted in DynamoDB Streams?

                                        No, not immediately. The stream will persist in DynamoDB Streams for 24 hours to give you a chance to read
                                        the last updates that were made to your table. After 24 hours, the stream will be deleted automatically from
                                        DynamoDB Streams.

                                        Q: What happens if I turn oﬀ DynamoDB Streams for my table?

                                        If you turn oﬀ DynamoDB Streams, the stream will persist for 24 hours but will not be updated with any
                                        additional changes made to your DynamoDB table.

                                        Q: What happens if I turn oﬀ DynamoDB Streams and then turn it back on?

                                        When you turn oﬀ DynamoDB Streams, the stream will persist for 24 hours but will not be updated with any
                                        additional changes made to your DynamoDB table. If you turn DynamoDB Streams back on, this will create a
                                        new stream in DynamoDB Streams that contains the changes made to your DynamoDB table starting from
                                        the time that the new stream was created.



https://aws.amazon.com/dynamodb/faqs/                                                                                                               30/53
                                                                                                           KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: Will there be duplicates or gaps in DynamoDB Streams?

                                        No, DynamoDB Streams is designed so that every update made to your table will be represented exactly
                                        once in the stream.

                                        Q: What information is included in DynamoDB Streams?
   PRODUCTS & SERVICES

                                        A DynamoDB stream contains information about both the previous value and the changed value of the item.

   Amazon DynamoDB                      The
                                         stream also includes the change type (INSERT, REMOVE, and MODIFY) and the primary key for the item
                                        that changed.
   Product Details                      
                                        Q: How do I choose what information is included in DynamoDB Streams?
   DynamoDB Accelerator (DAX)           
                                        For new tables, use the CreateTable API call and specify the ViewType parameter to choose what
                                        information you want to include in the stream.
   Global Tables                        
                                        For an existing table, use the UpdateTable API call and specify the ViewType parameter to choose what
   Backup and Restore                   information
                                                   to include in the stream.

                                        The ViewType parameter takes the following values:
   Getting Started                      
                                        ViewType: {
   Developer Resources                  
                                                      { KEYS_ONLY,

                                                      NEW_IMAGE,
   FAQs
                                                       OLD_IMAGE,
   Pricing                                            NEW_AND_OLD_IMAGES}
                                                  }
   Community                            
                                        The values have the following meaning: KEYS_ONLY: Only the name of the key of items that changed are
   Ad Tech                              
                                        included in the stream.

   Gaming                                NEW_IMAGE: The name of the key and the item after the update (new item) are included in the stream.

   IoT                                   OLD_IMAGE: The name of the key and the item before the update (old item) are included in the stream.

   DynamoDB Partner Solutions            NEW_AND_OLD_IMAGES: The name of the key, the item before (old item) and after (new item) the
                                            update are included in the stream.

   RELATED LINKS                        Q: Can I use my Kinesis Client Library to access DynamoDB Streams?

   Documentation                        Yes, developers who are familiar with Kinesis APIs will be able to consume DynamoDB Streams easily. You
   Management Console                   can use the DynamoDB Streams Adapter, which implements the Amazon Kinesis interface, to allow your
                                        application to use the Amazon Kinesis Client Libraries (KCL) to access DynamoDB Streams. For more
   Release Notes
                                        information about using the KCL to access DynamoDB Streams, please see our documentation.
   Discussion Forum
                                        Q: Can I change what type of information is included in DynamoDB Streams?
   What is NoSQL?
                                        If you want to change the type of information stored in a stream after it has been created, you must disable
   Get Started with a Self-Paced Lab
                                        the stream and create a new one using the UpdateTable API.

                                        Q: When I make a change to my DynamoDB table, how quickly will that change show up in a DynamoDB
                                        stream?

                                        Changes are typically reﬂected in a DynamoDB stream in less than one second.

                                        Q: If I delete an item, will that change be included in DynamoDB Streams?

                                        Yes, each update in a DynamoDB stream will include a parameter that speciﬁes whether the update was a
                                        deletion, insertion of a new item, or a modiﬁcation to an existing item. For more information on the type of
                                        update, see our documentation.

                                        Q: After I turn on DynamoDB Streams for my table, when can I start reading from the stream?

                                        You can use the DescribeStream API to get the current status of the stream. Once the status changes to
                                        ENABLED, all updates to your table will be represented in the stream.

                                        You can start reading from the stream as soon as you start creating it, but the stream may not include all
                                        updates to the table until the status changes to ENABLED.

                                        Q: What is the Amazon DynamoDB Logstash Plugin for Elasticsearch?

https://aws.amazon.com/dynamodb/faqs/                                                                                                                31/53
                                                                                                          KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Elasticsearch is a popular open source search and analytics engine designed to simplify real-time search and
                                        big data analytics. Logstash is an open source data pipeline that works together with Elasticsearch to help
                                        you process logs and other event data. The Amazon DynamoDB Logstash Plugin make is easy to integrate
                                        DynamoDB tables with Elasticsearch clusters.

   PRODUCTS & SERVICES                  Q: How much does the Amazon DynamoDB Logstash Plugin cost?

                                        The Amazon DynamoDB Logstash Plugin is free to download and use.
   Amazon DynamoDB                      
                                        Q: How do I download and install the Amazon DynamoDB Logstash Plugin?
   Product Details                      
                                        The Amazon DynamoDB Logstash Plugin is available on GitHub. Read our documentation page to learn
   DynamoDB Accelerator (DAX)           more
                                            about installing and running the plugin.


   Global Tables                        

   Backup and Restore
                                        Storage
                                        
                                                backend for Titan
   Getting Started                      
                                        Q: What is the DynamoDB Storage Backend for Titan?

   Developer Resources                   DynamoDB Storage Backend for Titan is a plug-in that allows you to use DynamoDB as the underlying
                                        The
                                        storage layer for Titan graph database. It is a client side solution that implements index free adjacency for
   FAQs                                 
                                        fast graph traversals on top of DynamoDB.
   Pricing                              
                                        Q: What is a graph database?

   Community                             graph database is a store of vertices and directed edges that connect those vertices. Both vertices and
                                        A
                                        edges can have properties stored as key-value pairs.
   Ad Tech                              
                                        A graph database uses adjacency lists for storing edges to allow simple traversal. A graph in a graph
   Gaming                               
                                        database can be traversed along speciﬁc edge types, or across the entire graph. Graph databases can
                                        represent how entities relate by using actions, ownership, parentage, and so on.
   IoT                                  
                                        Q: What applications are well suited to graph databases?
   DynamoDB Partner Solutions           
                                        Whenever connections or relationships between entities are at the core of the data you are trying to model,
                                        a graph database is a natural choice. Therefore, graph databases are useful for modeling and querying social
   RELATED LINKS
                                        networks, business relationships, dependencies, shipping movements, and more.
   Documentation
                                        Q: How do I get started using the DynamoDB Storage Backend for Titan?
   Management Console
                                        The easiest way to get started is to launch an EC2 instance running Gremlin Server with the DynamoDB
   Release Notes                        Storage Backend for Titan, using the CloudFormation templates referred to in this documentation page. You
   Discussion Forum                     can also clone the project from the GitHub repository and start by following the Marvel and Graph-Of-The-
                                        Gods tutorials on your own computer by following the instructions in the documentation here. When you’re
   What is NoSQL?
                                        ready to expand your testing or run in production, you can switch the backend to use the DynamoDB service.
   Get Started with a Self-Paced Lab    Please see the AWS documentation for further guidance.

                                        Q: How does the DynamoDB Storage Backend diﬀer from other Titan storage backends?

                                        DynamoDB is a managed service, thus using it as the storage backend for Titan enables you to run graph
                                        workloads without having to manage your own cluster for graph storage.

                                        Q: Is the DynamoDB Storage Backend for Titan a fully managed service?

                                        No. The DynamoDB storage backend for Titan manages the storage layer for your Titan workload. However,
                                        the plugin does not do provisioning and managing of the client side. For simple provisioning of Titan we
                                        have developed a CloudFormation template that sets up DynamoDB Storage Backend for Titan with Gremlin
                                        Server; see the instructions available here.

                                        Q: How much does using the DynamoDB Storage Backend for Titan cost?

                                        You are charged the regular DynamoDB throughput and storage costs. There is no additional cost for using
                                        DynamoDB as the storage backend for a Titan graph workload.

                                        Q: Does DynamoDB backend provide full compatibility with the Titan feature set on other backends?

                                        A table comparing feature sets of diﬀerent Titan storage backends is available in the documentation.

https://aws.amazon.com/dynamodb/faqs/                                                                                                               32/53
                                                                                                           KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: Which versions of Titan does the plugin support?

                                        We have released DynamoDB storage backend plugins for Titan versions 0.5.4 and 1.0.0.

                                        Q: I use Titan with a diﬀerent backend today. Can I migrate to DynamoDB?

   PRODUCTS & SERVICES                  Absolutely. The DynamoDB Storage Backend for Titan implements the Titan KCV Store interface so you can
                                        switch from a diﬀerent storage backend to DynamoDB with minimal changes to your application. For full

   Amazon DynamoDB                      comparison
                                                  of storage backends for Titan please see our documentation.

                                        Q: I use Titan with a diﬀerent backend today. How do I migrate to DynamoDB?
   Product Details                      
                                        You can use bulk loading to copy your graph from one storage backend to the DynamoDB Storage Backend
   DynamoDB Accelerator (DAX)           
                                        for Titan.

   Global Tables                         How do I connect my Titan instance to DynamoDB via the plugin?
                                        Q:

   Backup and Restore                   If
                                         you create a graph and Gremlin server instance with the DynamoDB Storage Backend for Titan installed,
                                        all you need to do to connect to DynamoDB is provide a principal/credential set to the default AWS
   Getting Started                      
                                        credential provider chain. This can be done with an EC2 instance proﬁle, environment variables, or the
                                        credentials ﬁle in your home folder. Finally, you need to choose a DynamoDB endpoint to connect to.
   Developer Resources                  
                                        Q: How durable is my data when using the DynamoDB Storage Backend for Titan?
   FAQs                                 
                                        When using the DynamoDB Storage Backend for Titan, your data enjoys the strong protection of
   Pricing                              
                                        DynamoDB, which runs across Amazon’s proven, high-availability data centers. The service replicates data
                                        across three facilities in an AWS Region to provide fault tolerance in the event of a server failure or
   Community                            
                                        Availability Zone outage.

   Ad Tech                               How secure is the DynamoDB Storage Backend for Titan?
                                        Q:

   Gaming                               The
                                         DynamoDB Storage Backend for Titan stores graph data in multiple DynamoDB tables, thus is enjoys the
                                        same high security available on all DynamoDB workloads. Fine-Grained Access Control, IAM roles, and AWS
   IoT                                  
                                        principal/credential sets control access to DynamoDB tables and items in DynamoDB tables.

   DynamoDB Partner Solutions           Q:
                                         How does the DynamoDB Storage Backend for Titan scale?
                                        The DynamoDB Storage Backend for Titan scales just like any other workload of DynamoDB. You can choose
   RELATED LINKS                        to increase or decrease the required throughput at any time.

   Documentation                        Q: How many vertices and edges can my graph contain?
   Management Console
                                        You are limited by Titan’s limits for (2^60) for the maximum number of edges and half as many vertices in a
   Release Notes                        graph, as long as you use the multiple-item model for edgestore. If you use the single-item model, the
                                        number of edges that you can store at a particular out-vertex key is limited by DynamoDB’s maximum item
   Discussion Forum
                                        size, currently 400kb.
   What is NoSQL?
                                        Q: How large can my vertex and edge properties get?
   Get Started with a Self-Paced Lab
                                        The sum of all edge properties in the multiple-item model cannot exceed 400kb, the maximum item size. In
                                        the multiple item model, each vertex property can be up to 400kb. In the single-item model, the total item
                                        size (including vertex properties, edges and edge properties) can’t exceed 400kb.

                                        Q: How many data models are there? What are the diﬀerences?

                                        There are two diﬀerent storage models for the DynamoDB Storage Backend for Titan – single item model
                                        and multiple item model. In the single item storage model, vertices, vertex properties, and edges are stored
                                        in one item. In the multiple item data model, vertices, vertex properties and edges are stored in diﬀerent
                                        items. In both cases, edge properties are stored in the same items as the edges they correspond to.

                                        Q: Which data model should I use?

                                        In general, we recommend you use the multiple-item data model for the edgestore and graphindex tables.
                                        Otherwise, you either limit the number of edges/vertex-properties you can store for one out-vertex, or you
                                        limit the number of entities that can be indexed at a particular property name-value pair in graph index. In
                                        general, you can use the single-item data model for the other 4 KCV stores in Titan versions 0.5.4 and 1.0.0
                                        because the items stored in them are usually less than 400KB each. For full list of tables that the Titan
                                        plugin creates on DynamoDB please see here.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                33/53
                                                                                                            KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q: Do I have to create a schema for Titan graph databases?

                                        Titan supports automatic type creation, so new edge/vertex properties and labels will get registered on the
                                        ﬂy (see here for details) with the ﬁrst use. The Gremlin Structure (Edge labels=MULTI, Vertex
                                        properties=SINGLE) is used by default.
   PRODUCTS & SERVICES
                                        Q: Can I change the schema of a Titan graph database?

   Amazon DynamoDB                      Yes,
                                         however, you cannot change the schema of existing vertex/edge properties and labels. For details
                                        please see here.
   Product Details                      
                                        Q: How does the DynamoDB Storage Backend for Titan deal with supernodes?
   DynamoDB Accelerator (DAX)           
                                        DynamoDB deals with supernodes via vertex label partitioning. If you deﬁne a vertex label as partitioned in
                                        the management system upon creation, you can key diﬀerent subsets of the edges and vertex properties
   Global Tables                        
                                        going out of a vertex at diﬀerent partition keys of the partition-sort key space in the edgestore table. This
   Backup and Restore                   usually
                                               results in the virtual vertex label partitions being stored in diﬀerent physical DynamoDB partitions,
                                        as long as your edgestore has more than one physical partition. To estimate the number of physical
   Getting Started                      
                                        partitions backing your edgestore table, please see guidance in the documentation.

   Developer Resources                  Q:
                                         Does the DynamoDB Storage Backend for Titan support batch graph operations?
                                        Yes,
                                         the DynamoDB Storage Backend for Titan supports batch graph with the Blueprints BatchGraph
   FAQs
                                        implementation and through Titan’s bulk loading conﬁguration options.
   Pricing                              
                                        Q: Does the DynamoDB Storage Backend for Titan support transactions?

   Community                             DynamoDB Storage Backend for Titan supports optimistic locking. That means that the DynamoDB
                                        The
                                        Storage Backend for Titan can condition writes of individual Key-Column pairs (in the multiple item model)
   Ad Tech                              
                                        or individual Keys (in the single item model) on the existing value of said Key-Column pair or Key.
   Gaming                               
                                        Q: Can I have a Titan instance in one region and access DynamoDB in another?

   IoT                                  
                                        Accessing a DynamoDB endpoint in another region than the EC2 Titan instance is possible but not
                                        recommended. When running a Gremlin Server out of EC2, we recommend connecting to the DynamoDB
   DynamoDB Partner Solutions           
                                        endpoint in your EC2 instance’s region, to reduce the latency impact of cross-region requests. We also
                                        recommend running the EC2 instance in a VPC to improve network performance. The CloudFormation
   RELATED LINKS                        template performs this entire conﬁguration for you.

   Documentation                        Q: Can I use this plugin with other DynamoDB features such as update streams and cross-region
   Management Console                   replication?

   Release Notes                        You can use Cross-Region Replication with the DynamoDB Streams feature to create read-only replicas of
                                        your graph tables in other regions.
   Discussion Forum

   What is NoSQL?

   Get Started with a Self-Paced Lab
                                        CloudWatch metrics
                                        Q: Does Amazon DynamoDB report CloudWatch metrics?


                                        Yes, Amazon DynamoDB reports several table-level metrics on CloudWatch. You can make operational
                                        decisions about your Amazon DynamoDB tables and take speciﬁc actions, like setting up alarms, based on
                                        these metrics. For a full list of reported metrics, see the Monitoring DynamoDB with CloudWatch section of
                                        our documentation.


                                        Q: How can I see CloudWatch metrics for an Amazon DynamoDB table?


                                        On the Amazon DynamoDB console, select the table for which you wish to see CloudWatch metrics and then
                                        select the Metrics tab.


                                        Q: How often are metrics reported?


                                        Most CloudWatch metrics for Amazon DynamoDB are reported in 1-minute intervals while the rest of the


https://aws.amazon.com/dynamodb/faqs/                                                                                                               34/53
                                                                                                           KoveIO Compl. Ex. 20
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                                        metrics are reported in 5-minute intervals. For more details, see the Monitoring DynamoDB with
                                        CloudWatch section of our documentation.




   PRODUCTS & SERVICES
                                        Tagging
   Amazon DynamoDB                       What is a tag?
                                        Q:

   Product Details                      A
                                         tag is a label you assign to an AWS resource. Each tag consists of a key and a value, both of which you can
                                        deﬁne. AWS uses tags as a mechanism to organize your resource costs on your cost allocation report. For
   DynamoDB Accelerator (DAX)           
                                        more about tagging, see the AWS Billing and Cost Management User Guide.

   Global Tables                        
                                        Q: What DynamoDB resources can I tag?

   Backup and Restore                    can tag DynamoDB tables. Local Secondary Indexes and Global Secondary Indexes associated with the
                                        You
                                        tagged tables are automatically tagged with the same tags. Costs for Local Secondary Indexes and Global
   Getting Started                      
                                        Secondary Indexes will show up under the tags used for the corresponding DynamoDB table.

   Developer Resources                  
                                        Q: Why should I use Tagging for DynamoDB?
   FAQs                                 
                                        You can use Tagging for DynamoDB for cost allocation. Using tags for cost allocation enables you to label

   Pricing                              your
                                         DynamoDB resources so that you can easily track their costs against projects or other criteria to reﬂect
                                        your own cost structure.
   Community                            
                                        Q: How can I use tags for cost allocation?
   Ad Tech                              
                                        You can use cost allocation tags to categorize and track your AWS costs. AWS Cost Explorer and detailed
                                        billing reports support the ability to break down AWS costs by tag. Typically, customers use business tags
   Gaming                               
                                        such as cost center/business unit, customer, or project to associate AWS costs with traditional cost-allocation
   IoT                                  dimensions.
                                                   However, a cost allocation report can include any tag. This enables you to easily associate costs
                                        with technical or security dimensions, such as speciﬁc applications, environments, or compliance programs.
   DynamoDB Partner Solutions           
                                        Q: How can I see costs allocated to my AWS tagged resources?

   RELATED LINKS
                                        You can see costs allocated to your AWS tagged resources through either Cost Explorer or your cost
                                        allocation report.
   Documentation
                                        Cost Explorer is a free AWS tool that you can use to view your costs for up to the last 13 months, and
   Management Console
                                        forecast how much you are likely to spend for the next three months. You can see your costs for speciﬁc tags
   Release Notes                        by ﬁltering by “Tag” and then choose the tag key and value (choose “No tag” if no tag value is speciﬁed).
   Discussion Forum
                                        The cost allocation report includes all of your AWS costs for each billing period. The report includes both
   What is NoSQL?                       tagged and untagged resources, so you can clearly organize the charges for resources. For example, if you
                                        tag resources with an application name, you can track the total cost of a single application that runs on
   Get Started with a Self-Paced Lab
                                        those resources. More information on cost allocation can be found in AWS Billing and Cost Management
                                        User Guide.

                                        Q: Can DynamoDB Streams usage be tagged?

                                        No, DynamoDB Streams usage cannot be tagged at present.

                                        Q: Will Reserved Capacity usage show up under my table tags in my bill?

                                        Yes, DynamoDB Reserved Capacity charges per table will show up under relevant tags. Please note that
                                        Reserved Capacity is applied to DynamoDB usage on a ﬁrst come, ﬁrst serve basis, and across all linked AWS
                                        accounts. This means that even if your DynamoDB usage across tables and indexes is similar from month to
                                        month, you may see diﬀerences in your cost allocation reports per tag since Reserved Capacity will be
                                        distributed based on which DynamoDB resources are metered ﬁrst.

                                        Q: Will data usage charges show up under my table tags in my bill?

                                        No, DynamoDB data usage charges are not tagged. This is because data usage is billed at an account level
                                        and not at table level.

                                        Q: Do my tags require a value attribute?

https://aws.amazon.com/dynamodb/faqs/                                                                                                                 35/53
                                                                                                           KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        No, tag values can be null.

                                        Q: Are tags case sensitive?

                                        Yes, tag keys and values are case sensitive.

   PRODUCTS & SERVICES                  Q: How many tags can I add to single DynamoDB table?

                                        You can add up to 50 tags to a single DynamoDB table. Tags with the preﬁx “aws:” cannot be manually
   Amazon DynamoDB                      
                                        created and do not count against your tags per resource limit.

   Product Details                       Can I apply tags retroactively to my DynamoDB tables?
                                        Q:

   DynamoDB Accelerator (DAX)           No,
                                         tags begin to organize and track data on the day you apply them. If you create a table on January 1st
                                        but don’t designate a tag for it until February 1st, then all of that table’s usage for January will remain
   Global Tables                        
                                        untagged.

   Backup and Restore                   Q:
                                         If I remove a tag from my DynamoDB table before the end of the month, will that tag still show up in
                                        my bill?
   Getting Started                      
                                        Yes, if you build a report of your tracked spending for a speciﬁc time period, your cost reports will show the
   Developer Resources                  costs
                                             of the resources that were tagged during that timeframe.

                                        Q.
                                         What happens to existing tags when a DynamoDB table is deleted?
   FAQs
                                        When a DynamoDB table is deleted, its tags are automatically removed.
   Pricing                              
                                        Q. What happens if I add a tag with a key that is same as one for an existing tag?
   Community                            
                                        Each DynamoDB table can only have up to one tag with the same key. If you add a tag with the same key as
   Ad Tech                               existing tag, the existing tag is updated with the new value.
                                        an

   Gaming                               

                                        
   IoT
                                        Time to Live (TTL)
   DynamoDB Partner Solutions           
                                        Q: What is DynamoDB Time-to-Live (TTL)?

   RELATED LINKS
                                        DynamoDB Time-to-Live (TTL) is a mechanism that lets you set a speciﬁc timestamp to delete expired items
                                        from your tables. Once the timestamp expires, the corresponding item is marked as expired and is
   Documentation
                                        subsequently deleted from the table. By using this functionality, you do not have to track expired data and
   Management Console                   delete it manually. TTL can help you reduce storage usage and reduce the cost of storing data that is no
   Release Notes                        longer relevant.

   Discussion Forum
                                        Q: Why do I need to use TTL?
   What is NoSQL?
                                        There are two main scenarios where TTL can come in handy:
   Get Started with a Self-Paced Lab
                                            Deleting old data that is no longer relevant – data like event logs, usage history, session data, etc. when
                                            collected can get bloated over time and the old data though stored in the system may not be relevant
                                            any more. In such situations, you are better oﬀ clearing these stale records from the system and saving
                                            the money used for storing it.

                                            Sometimes you may want data to be kept in DynamoDB for a speciﬁed time period in order to comply
                                            with your data retention and management policies. You might want to eventually delete this data once
                                            the obligated duration expires. Please do know however that TTL works on a best eﬀort basis to ensure
                                            there is throughput available for other critical operations. DynamoDB will aim to delete expired items
                                            within a two-day period. The actual time taken may be longer based on the size of the data.

                                        Q: How does DynamoDB TTL work?

                                        To enable TTL for a table, ﬁrst ensure that there is an attribute that can store the expiration timestamp for
                                        each item in the table. This timestamp needs to be in the epoch time format. This helps avoid time zone
                                        discrepancies between clients and servers.

                                        DynamoDB runs a background scanner that monitors all the items. If the timestamp has expired, the process
                                        will mark the item as expired and queue it for subsequent deletion.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                 36/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Note: TTL requires a numeric DynamoDB table attribute populated with an epoch timestamp to specify the
                                        expiration criterion for the data. You should be careful when setting a value for the TTL attribute since a
                                        wrong value could cause premature item deletion.

                                        Q: How do I specify TTL?
   PRODUCTS & SERVICES
                                        To specify TTL, ﬁrst enable the TTL setting on the table and specify the attribute to be used as the TTL
                                        value. As you add items to the table, you can specify a TTL attribute if you would like DynamoDB to
   Amazon DynamoDB                      
                                        automatically delete it after its expiration. This value is the expiry time, speciﬁed in epoch time format.
                                        DynamoDB takes care of the rest. TTL can be speciﬁed from the console from the overview tab for the table.
   Product Details                      
                                        Alternatively, developers can invoke the TTL API to conﬁgure TTL on the table. See our documentation and

   DynamoDB Accelerator (DAX)           our
                                         API guide.
                                        Q: Can I set TTL on existing tables?
   Global Tables                        
                                        Yes. If a table is already created and has an attribute that can be used as TTL for its items, then you only
   Backup and Restore                   
                                        need to enable TTL for the table and designate the appropriate attribute for TTL. If the table does not have
                                        an attribute that can be used for TTL, you will have to create such an attribute and update the items with
   Getting Started                      
                                        values for TTL.
   Developer Resources                  
                                        Q: Can I delete an entire table by setting TTL on the whole table?

   FAQs                                  While you need to deﬁne an attribute to be used for TTL at the table level, the granularity for deleting
                                        No.
                                        data is at the item level. That is, each item in a table that needs to be deleted after expiry will need to have a
   Pricing                              
                                        value deﬁned for the TTL attribute. There is no option to automatically delete the entire table.

   Community                             Can I set TTL only for a subset of items in the table?
                                        Q:

   Ad Tech                               TTL takes aﬀect only for those items that have a deﬁned value in the TTL attribute. Other items in the
                                        Yes.
                                        table remain unaﬀected.
   Gaming                               
                                        Q: What is the format for specifying TTL?
   IoT                                  
                                        The TTL value should use the epoch time format, which is number of seconds since January 1, 1970 UTC. If
   DynamoDB Partner Solutions           the
                                         value speciﬁed in the TTL attribute for an item is not in the right format, the value is ignored and the
                                        item won’t be deleted.

   RELATED LINKS                        Q: How can I read the TTL value for items in my table?

   Documentation                        The TTL value is just like any attribute on an item. It can be read the same way as any other attribute. In
   Management Console                   order to make it easier to visually conﬁrm TTL values, the DynamoDB Console allows you to hover over a TTL
                                        attribute to see its value in human-readable local and UTC time.
   Release Notes
                                        Q: Can I create an index based on the TTL values assigned to items in a table?
   Discussion Forum

   What is NoSQL?                       Yes. TTL behaves like any other item attribute. You can create indexes the same as with other item
                                        attributes.
   Get Started with a Self-Paced Lab
                                        Q: Can the TTL attribute be projected to an index?

                                        Yes. TTL attribute can be projected onto an index just like any other attribute.

                                        Q: Can I edit the TTL attribute value once it has been set for an item?

                                        Yes. You can modify the TTL attribute value just as you modify any other attribute on an item.

                                        Q: Can I change the TTL attribute for a table?

                                        Yes. If a table already has TTL enabled and you want to specify a diﬀerent TTL attribute, then you need to
                                        disable TTL for the table ﬁrst, then you can re-enable TTL on the table with a new TTL attribute. Note that
                                        Disabling TTL can take up to one hour to apply across all partitions, and you will not be able to re-enable
                                        TTL until this action is complete.

                                        Q: Can I use AWS Management Console to view and edit the TTL values?

                                        Yes. The AWS Management Console allows you to easily view, set or update the TTL value.

                                        Q: Can I set an attribute within a JSON document to be the TTL attribute?



https://aws.amazon.com/dynamodb/faqs/                                                                                                                  37/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        No. We currently do not support specifying an attribute in a JSON document as the TTL attribute. To set
                                        TTL, you must explicitly add the TTL attribute to each item.

                                        Q: Can I set TTL for a speciﬁc element in a JSON Document?

                                        No. TTL values can only be set for the whole document. We do not support deleting a speciﬁc item in a
   PRODUCTS & SERVICES
                                        JSON document once it expires.

   Amazon DynamoDB                      Q:
                                         What if I need to remove the TTL on speciﬁc items?
                                        Removing TTL is as simple as removing the value assigned to the TTL attribute or removing the attribute
   Product Details                      
                                        itself for an item.
   DynamoDB Accelerator (DAX)           
                                        Q: What if I set the TTL timestamp value to sometime in the past?

   Global Tables                        
                                        Updating items with an older TTL values is allowed. Whenever the background process checks for expired
                                        items, it will ﬁnd, mark and subsequently delete the item. However, if the value in the TTL attribute contains
   Backup and Restore                   
                                        an epoch value for a timestamp that is over 5 years in the past, DynamoDB will ignore the timestamp and
                                        not delete the item. This is done to mitigate accidental deletion of items when really low values are stored in
   Getting Started                      
                                        the TTL attribute.
   Developer Resources                  
                                        Q: What is the delay between the TTL expiry on an item and the actual deletion of that item?

   FAQs                                  scans and deletes expired items using background throughput available in the system. As a result, the
                                        TTL
                                        expired item may not be deleted from the table immediately. DynamoDB will aim to delete expired items
   Pricing                              
                                        within a two-day window on a best-eﬀort basis, to ensure availability of system background throughput for

   Community                            other
                                             data operations. The exact duration within which an item truly gets deleted after expiration will be
                                        speciﬁc to the nature of the workload and the size of the table.
   Ad Tech                              
                                        Q: What happens if I try to query or scan for items that have been expired by TTL?
   Gaming                               
                                        Given that there might be a delay between when an item expires and when it actually gets deleted by the
                                        background process, if you try to read items that have expired but haven’t yet been deleted, the returned
   IoT                                  
                                        result will include the expired items. You can ﬁlter these items out based on the TTL value if the intent is to
   DynamoDB Partner Solutions           not
                                         show expired items.
                                        Q: What happens to the data in my Local Secondary Index (LSI) if it has expired?
   RELATED LINKS
                                        The impact is the same as any delete operation. The local secondary index is stored in the same partition as
   Documentation                        the item itself. Hence if an item is deleted it immediately gets removed from the Local Secondary Index.
   Management Console                   Q: What happens to the data in my Global Secondary Index (GSI) if it has expired?
   Release Notes
                                        The impact is the same as any delete operation. A Global Secondary Index (GSI) is eventually consistent and
   Discussion Forum                     so while the original item that expired will be deleted it may take some time for the GSI to get updated.
   What is NoSQL?                       Q: How does TTL work with DynamoDB Streams?
   Get Started with a Self-Paced Lab
                                        The expiry of data in a table on account of the TTL value triggering a purge is recorded as a delete
                                        operation. Therefore, the Streams will also have the delete operation recorded in it. The delete record will
                                        have an additional qualiﬁer so that you can distinguish between your deletes and deletes happening due to
                                        TTL. The stream entry will be written at the point of deletion, not the TTL expiration time, to reﬂect the
                                        actual time at which the record was deleted. See our documentation and our API guide.

                                        Q: When should I use the delete operation vs TTL?

                                        TTL is ideal for removing expired records from a table. However, this is intended as a best-eﬀort operation to
                                        help you remove unwanted data and does not provide a guarantee on the deletion timeframe. As a result, if
                                        data in your table needs to be deleted within a speciﬁc time period (often immediately), we recommend
                                        using the delete command.

                                        Q: Can I control who has access to set or update the TTL value?

                                        Yes. The TTL attribute is just like any other attribute on a table. You have the ability to control access at an
                                        attribute level on a table. The TTL attribute will follow the regular access controls speciﬁed for the table.

                                        Q: Is there a way to retrieve the data that has been deleted after TTL expiry?



https://aws.amazon.com/dynamodb/faqs/                                                                                                                   38/53
                                                                                                             KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        No. Expired items are not backed up before deletion. You can leverage the DynamoDB Streams to keep track
                                        of the changes on a table and restore values if needed. The delete record is available in Streams for 24 hours
                                        since the time it is deleted.

                                        Q: How can I know whether TTL is enabled on a table?
   PRODUCTS & SERVICES
                                        You can get the status of TTL at any time by invoking the DescribeTable API or viewing the table details in
                                        the DynamoDB console. See our documentation and our API guide.
   Amazon DynamoDB                      
                                        Q: How do I track the items deleted by TTL?
   Product Details                      
                                        If you have DynamoDB streams enabled, all TTL deletes will show up in the DynamoDB Streams and will be
   DynamoDB Accelerator (DAX)           designated
                                                  as a system delete in order to diﬀerentiate it from an explicit delete done by you. You can read
                                        the items from the streams and process them as needed. They can also write a Lambda function to archive
   Global Tables                         item separately. See our documentation and our API guide.
                                        the

   Backup and Restore                   Q:
                                         Do I have to pay a speciﬁc fee to enable the TTL feature for my data?
                                        No. Enabling TTL requires no additional fees.
   Getting Started                      
                                        Q: How will enabling TTL aﬀect my overall provisioned throughput usage?
   Developer Resources                  
                                        The scan and delete operations needed for TTL are carried out by the system and does not count toward
   FAQs                                  provisioned throughput or usage.
                                        your

   Pricing                               Will I have to pay for the scan operations to monitor TTL?
                                        Q:

   Community                            No.
                                         You are not charged for the internal scan operations to monitor TTL expiry for items. Also these
                                        operations will not aﬀect your throughput usage for the table.
   Ad Tech                              
                                        Q: Do expired items accrue storage costs till they are deleted?
   Gaming                               
                                        Yes. After an item has expired it is added to the delete queue for subsequent deletion. However, until it has
                                        been deleted, it is just like any regular item that can be read or updated and will incur storage costs.
   IoT                                  
                                        Q: If I query for an expired item, does it use up my read capacity?
   DynamoDB Partner Solutions           
                                        Yes. This behavior is the same as when you query for an item that does not exist in the table.

   RELATED LINKS


   Documentation

   Management Console                   Amazon DynamoDB Accelerator (DAX)
   Release Notes
                                        Q. What is DynamoDB Accelerator (DAX)?
   Discussion Forum
                                        Amazon DynamoDB Accelerator (DAX) is a fully managed, highly available, in-memory cache for DynamoDB
   What is NoSQL?                       that enables you to beneﬁt from fast in-memory performance for demanding applications. DAX improves
   Get Started with a Self-Paced Lab    the performance of read-intensive DynamoDB workloads so repeat reads of cached data can be served
                                        immediately with extremely low latency, without needing to be re-queried from DynamoDB. DAX will
                                        automatically retrieve data from DynamoDB tables upon a cache miss. Writes are designated as write-
                                        through (data is written to DynamoDB ﬁrst and then updated in the DAX cache).

                                        Just like DynamoDB, DAX is fault-tolerant and scalable. A DAX cluster has a primary node and zero or more
                                        read-replica nodes. Upon a failure for a primary node, DAX will automatically fail over and elect a new
                                        primary. For scaling, you may add or remove read replicas.

                                        To get started, create a DAX cluster, download the DAX SDK for Java or Node.js (compatible with the
                                        DynamoDB APIs), re-build your application to use the DAX client as opposed to the DynamoDB client, and
                                        ﬁnally point the DAX client to the DAX cluster endpoint. You do not need to implement any additional
                                        caching logic into your application as DAX client implements the same API calls as DynamoDB.

                                        Q. What does "DynamoDB-compatible" mean?

                                        It means that most of the code, applications, and tools you already use today with DynamoDB can be used
                                        with DAX with little or no change. The DAX engine is designed to support the DynamoDB APIs for reading
                                        and modifying data in DynamoDB. Operations for table management such as
                                        CreateTable/DescribeTable/UpdateTable/DeleteTable are not supported.


https://aws.amazon.com/dynamodb/faqs/                                                                                                              39/53
                                                                                                            KoveIO Compl. Ex. 20
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                                        Q. What is in-memory caching, and how does it help my application?

                                        Caching improves application performance by storing critical pieces of data in memory for low-latency and
                                        high throughput access. In the case of DAX, the results of DynamoDB operations are cached. When an
                                        application requests data that is stored in the cache, DAX can serve that data immediately without needing
   PRODUCTS & SERVICES                  to run a query against the regular DynamoDB tables. Data is aged or evicted from DAX by specifying a Time-
                                        to-Live (TTL) value for the data or, once all available memory is exhausted, items will be evicted based on
                                        the
                                         Least Recently Used (LRU) algorithm.
   Amazon DynamoDB
                                        Q. What is the consistency model of DAX?
   Product Details                      
                                        When reading data from DAX, users can specify whether they want the read to be eventually consistent or
   DynamoDB Accelerator (DAX)           
                                        strongly consistent:

   Global Tables                        
                                        Eventually Consistent Reads (Default) – the eventual consistency option maximizes your read throughput
                                        and minimizes latency. On a cache hit, the DAX client will return the result directly from the cache. On a
   Backup and Restore                   
                                        cache miss, DAX will query DynamoDB, update the cache, and return the result set. It should be noted that
                                        an eventually consistent read might not reﬂect the results of a recently completed write. If your application
   Getting Started                      
                                        requires full consistency, then we suggest using strongly consistent reads.
   Developer Resources                  
                                        Strongly Consistent Reads — in addition to eventual consistency, DAX also gives you the ﬂexibility and
                                        control
                                               to request a strongly consistent read if your application, or an element of your application, requires
   FAQs
                                        it. A strongly consistent read is pass-through for DAX, does not cache the results in DAX, and returns a result
   Pricing                              that
                                         reﬂects all writes that received a successful response in DynamoDB prior to the read.
                                        Q.
                                         What are the common use cases for DAX?
   Community

   Ad Tech                               has a number of use cases that are not mutually exclusive:
                                        DAX

   Gaming                               Applications
                                                    that require the fastest possible response times for reads. Some examples include real-time
                                        bidding, social gaming, and trading applications. DAX delivers fast, in-memory read performance for these
   IoT                                   cases.
                                        use

   DynamoDB Partner Solutions           Applications
                                                    that read a small number of items more frequently than others. For example, consider an e-
                                        commerce system that has a one-day sale on a popular product. During the sale, demand for that product
                                        (and its data in DynamoDB) would sharply increase, compared to all of the other products. To mitigate the
   RELATED LINKS
                                        impacts of a "hot" key and a non-uniform data distribution, you could oﬄoad the read activity to a DAX
   Documentation                        cache until the one-day sale is over.
   Management Console                   Applications that are read-intensive, but are also cost-sensitive. With DynamoDB, you provision the number
   Release Notes                        of reads per second that your application requires. If read activity increases, you can increase your table’s
                                        provisioned read throughput (at an additional cost). Alternatively, you can oﬄoad the activity from your
   Discussion Forum
                                        application to a DAX cluster, and reduce the amount of read capacity units you'd need to purchase
   What is NoSQL?                       otherwise.
   Get Started with a Self-Paced Lab
                                        Applications that require repeated reads against a large set of data. Such an application could potentially
                                        divert database resources from other applications. For example, a long-running analysis of regional weather
                                        data could temporarily consume all of the read capacity in a DynamoDB table, which would negatively
                                        impact other applications that need to access the same data. With DAX, the weather analysis could be
                                        performed against cached data instead.


                                        How It Works


                                        Q. What does DAX manage on my behalf?

                                        DAX is a fully-managed cache for DynamoDB. It manages the work involved in setting up dedicated caching
                                        nodes, from provisioning the server resources to installing the DAX software. Once your DAX cache cluster is
                                        set up and running, the service automates common administrative tasks such as failure detection and
                                        recovery, and software patching. DAX provides detailed CloudWatch monitoring metrics associated with
                                        your cluster, enabling you to diagnose and react to issues quickly. Using these metrics, you can set up
                                        thresholds to receive CloudWatch alarms. DAX handles all of the data caching, retrieval, and eviction so your
                                        application does not have to. You can simply use the DynamoDB API to write and retrieve data, and DAX
                                        handles all of the caching logic behind the scenes to deliver improved performance.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                   40/53
                                                                                                            KoveIO Compl. Ex. 20
                                                        Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q. What kinds of data does DAX cache?

                                        All read API calls will be cached by DAX, with strongly consistent requests being read directly from
                                        DynamoDB, while eventually consistent reads will be read from DAX if the item is available. Write API calls
                                        are write-through (synchronous write to DynamoDB which is updated in the cache upon a successful write).
   PRODUCTS & SERVICES
                                        The following API calls will result in examining the cache. Upon a hit, the item will be returned. Upon a miss,
                                        the request will pass through, and upon a successful retrieval the item will be cached and returned.
   Amazon DynamoDB                      
                                        • GetItem
   Product Details                      
                                        • BatchGetItem

   DynamoDB Accelerator (DAX)           • Query
                                        • Scan
   Global Tables                        
                                        The following API calls are write-through operations.
   Backup and Restore                   
                                        • BatchWriteItem
   Getting Started                      • UpdateItem
                                        • DeleteItem
   Developer Resources                  
                                        • PutItem

   FAQs                                  How does DAX handle data eviction?
                                        Q.

   Pricing                              DAX
                                         handles cache eviction in three diﬀerent ways. First, it uses a Time-to-Live (TTL) value that denotes the
                                        absolute period of time that an item is available in the cache. Second, when the cache is full, a DAX cluster
   Community                             a Least Recently Used (LRU) algorithm to decide which items to evict. Third, with the write-through
                                        uses
                                        functionality, DAX evicts older values as new values are written through DAX. This helps keep the DAX item
   Ad Tech                              
                                        cache consistent with the underlying data store using a single API call.

   Gaming                                Does DAX work with DynamoDB GSIs and LSIs?
                                        Q.

   IoT                                   like DynamoDB tables, DAX will cache the result sets from both query and scan operations against both
                                        Just
                                        DynamoDB GSIs and LSIs.
   DynamoDB Partner Solutions           
                                        Q. How does DAX handle Query and Scan result sets?

   RELATED LINKS                        Within a DAX cluster, there are two diﬀerent caches: 1) item cache and 2) query cache. The item cache
                                        manages GetItem, PutItem, and DeleteItem requests for individual key-value pairs. The query cache
   Documentation
                                        manages the result sets from Scan and Query requests. In this regard, the Scan/Query text is the “key” and
   Management Console                   the result set is the “value”. While both the item cache and the query cache are managed in the same cluster
   Release Notes                        (and you can specify diﬀerent TTL values for each cache), they do not overlap. For example, a scan of a table
                                        does not populate the item cache, but instead records an entry in the query cache that stores the result set
   Discussion Forum
                                        of the scan.
   What is NoSQL?
                                        Q. Does an update to the item cache either update or invalidate result sets in my query cache?
   Get Started with a Self-Paced Lab
                                        No. The best way to mitigate inconsistencies between result sets in the item cache and query cache is to set
                                        the TTL for the query cache to be of an acceptable period of time for which your application can handle such
                                        inconsistencies.

                                        Q. Can I connect to my DAX cluster from outside of my VPC?

                                        The only way to connect to your DAX cluster from outside of your VPC is through a VPN connection.

                                        Q. When using DAX, what happens if my underlying DynamoDB tables are throttled?

                                        If DAX is either reading or writing to a DynamoDB table and receives a throttling exception, DAX will return
                                        the exception back to the DAX client. Further, the DAX service does not attempt server-side retries.

                                        Q. Does DAX support pre-warming of the cache?

                                        DAX utilizes lazy-loading to populate the cache. What this means is that on the ﬁrst read of an item, DAX
                                        will fetch the item from DynamoDB and then populate the cache. While DAX does not support cache pre-
                                        warming as a feature, the DAX cache can be pre-warmed for an application by running an external
                                        script/application that reads the desired data.

                                        Q. How does DAX work with the DynamoDB TTL feature?

https://aws.amazon.com/dynamodb/faqs/                                                                                                               41/53
                                                                                                           KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Both DynamoDB and DAX have the concept of a "TTL" (or Time to Live) feature. In the context of DynamoDB,
                                        TTL is a feature that enables customers to age out their data by tagging the data with a particular attribute
                                        and corresponding timestamp. For example, if customers wanted data to be deleted after the data has aged
                                        for one month, they would use the DynamoDB TTL feature to accomplish this task as opposed to managing
                                        the aging workﬂow themselves.
   PRODUCTS & SERVICES

                                        In the context of DAX, TTL speciﬁes the duration of time in which an item in cache is valid. For instance, if a
                                        TTL
                                         is set for 5-minutes, once an item has been populated in cache it will continue to be valid and served
   Amazon DynamoDB
                                        from the cache until the 5-minute period has elapsed. Although not central to this conversation, TTL can be
   Product Details                      
                                        preempted by writes to the cache for the same item or if there is memory pressure on the DAX node and
                                        LRU evicts the items as it was the least recently used.
   DynamoDB Accelerator (DAX)           
                                        While TTL for DynamoDB and DAX will typically be operating in very diﬀerent time scales (i.e., DAX TTL
   Global Tables                        
                                        operating in the scope of minutes/hours and DynamoDB TTL operating in the scope of
                                        weeks/months/years), there is a potential when customers will need to be present of how these two
   Backup and Restore                   
                                        features aﬀect each other. For example, let's imagine a scenario in which the TTL value for DynamoDB is less
                                        than the TTL value for DAX. In this scenario, an item could conceivably be cached in DAX and subsequently
   Getting Started                      
                                        deleted from DynamoDB via the DynamoDB TTL feature. The result would be an inconsistent cache. While
   Developer Resources                  we
                                         don’t expect this scenario to happen often as the time scales for the two features are typically order of
                                        magnitude apart, it is good to be aware of how the two features relate to each other.
   FAQs                                 
                                        Q. Does DAX support cross-region replication?
   Pricing                              
                                        Currently DAX only supports DynamoDB tables in the same AWS region as the DAX cluster.

   Community                             Is DAX supported as a resource type in AWS CloudFormation?
                                        Q.

   Ad Tech                               You can create, update and delete DAX clusters, parameter groups, and subnet groups using AWS
                                        Yes.
                                        CloudFormation.
   Gaming                               
                                        Getting
                                               Started
   IoT

   DynamoDB Partner Solutions           Q.
                                         How do I get started with DAX?
                                        You can create a new DAX cluster through the AWS console or AWS SDK to obtain the DAX cluster endpoint.
                                        A DAX-compatible client will need to be downloaded and used in the application with the new DAX
   RELATED LINKS
                                        endpoint.
   Documentation
                                        Q. How do I create a DAX cluster?
   Management Console
                                        You can create a DAX cluster using the AWS Management Console or the DAX CLI. DAX clusters range from a
   Release Notes
                                        13 GiB cache (dax.r3.large) to 216 GiB (dax.r3.8xlarge) in the R3 instance types, 15.25GiB cache (dax.r4.large)
   Discussion Forum                     to 488 GiB (dax.r4.16xlarge) in the R4 instance types, and 2 GiB (dax.t2.small) to 4 GiB (data.t2.medium) for
   What is NoSQL?                       the smaller T2 instance types. With a few clicks in the console or a single API call, you can add up to 10
                                        replicas to your cluster for increased throughput.
   Get Started with a Self-Paced Lab
                                        The single node conﬁguration enables you to get started with DAX quickly and cost-eﬀectively, and then
                                        scale out to a multi-node conﬁguration as your needs grow. The multi-node conﬁguration consists of a
                                        primary node that manages writes, and up to nine read replica nodes. The primary node is provisioned for
                                        you automatically.

                                        Specify your preferred subnet groups and Availability Zones (optional), the number of nodes, node types,
                                        VPC subnet group, and other system settings. After you've chosen your desired conﬁguration, DAX will
                                        provision the required resources and set up your caching cluster speciﬁcally for DynamoDB.

                                        Q. Does all my data need to ﬁt in memory to use DAX?

                                        No. DAX will utilize the available memory on the node. Using either TTL and/or LRU, items will be expunged
                                        to make space for new data when the memory space is exhausted.

                                        Q. Which languages does DAX support?

                                        DAX provides DAX SDKs for Java, Node.js, Python, and .NET that you can download. We are actively working
                                        on adding support for additional client SDKs.

                                        Q. Can I use DAX and DynamoDB at the same time?


https://aws.amazon.com/dynamodb/faqs/                                                                                                                42/53
                                                                                                           KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Yes, you can access the DAX endpoint and DynamoDB at the same time through diﬀerent clients. However,
                                        DAX will not be able to detect changes in data written directly to DynamoDB unless these changes are
                                        explicitly populated in to DAX through a read operation after the update was made directly to DynamoDB.

                                        Q. Can I utilize multiple DAX clusters for the same DynamoDB table?
   PRODUCTS & SERVICES
                                        Yes, you can provision multiple DAX clusters for the same DynamoDB table. These clusters will provide
                                        diﬀerent endpoints that can be used for diﬀerent use cases, ensuring optimal caching for each scenario. Two
   Amazon DynamoDB                       clusters will be independent of each other and will not share state or updates, so users are best served
                                        DAX
                                        using these for completely diﬀerent tables.
   Product Details                      
                                        Q. How will I know what DAX node type I'll need for my workload?
   DynamoDB Accelerator (DAX)           
                                        Sizing of a DAX cluster is an iterative process. It is recommended to provision a three-node cluster (for high
   Global Tables                        
                                        availability) with enough memory to ﬁt the application's working set in memory. Based on the performance
                                        and throughput of the application, the utilization of the DAX cluster, and the cache hit/miss ratio you may
   Backup and Restore                   
                                        need to scale your DAX cluster to achieve desired results.

   Getting Started                       On what kinds of Amazon EC2 instances can DAX run?
                                        Q.

   Developer Resources                  See
                                         the Amazon DynamoDB Pricing page for the latest instance types supported by DAX.
                                        Q.
                                         Does DAX support Reserved Instances or the AWS Free Usage Tier?
   FAQs
                                        Currently DAX only supports on-demand instances.
   Pricing                              
                                        Q. How is DAX priced?
   Community                            
                                        DAX is priced per node-hour consumed, from the time a node is launched until it is terminated. Each partial
   Ad Tech                              
                                        node-hour consumed will be billed as a full hour. Pricing applies to all individual nodes in the DAX cluster.
                                        For example, if you have a three node DAX cluster, you will be billed for each of the separate nodes (three
   Gaming                               
                                        nodes in total) on an hourly basis.

   IoT                                  
                                        Availability
   DynamoDB Partner Solutions           
                                        Q. How can I achieve high availability with my DAX cluster?

                                        DAX provides built-in multi-AZ support, letting you choose the preferred availability zones for the nodes in
   RELATED LINKS
                                        your DAX cluster. DAX uses asynchronous replication to provide consistency between the nodes, so that in
   Documentation                        the event of a failure, there will be additional nodes that can service requests. To achieve high availability for
   Management Console                   your DAX cluster, for both planned and unplanned outages, we recommend that you deploy at least three
                                        nodes in three separate availability zones. Each AZ runs on its own physically distinct, independent
   Release Notes
                                        infrastructure, and is engineered to be highly reliable.
   Discussion Forum
                                        Q. What happens if a DAX node fails?
   What is NoSQL?
                                        If the primary node fails, DAX automatically detects the failure, selects one of the available read replicas,
   Get Started with a Self-Paced Lab
                                        and promotes it to become the new primary. In addition, DAX provisions a new node in the same availability
                                        zone of the failed primary; this new node replaces the newly-promoted read replica. If the primary fails due
                                        to a temporary availability zone disruption, the new replica will be launched as soon as the AZ has
                                        recovered. If a single-node cluster fails, DAX launches a new node in the same availability zone.

                                        Scalability

                                        Q. What type of scaling does DAX support?

                                        DAX supports two scaling options today. The ﬁrst option is read scaling to gain additional throughput by
                                        adding read replicas to a cluster. A single DAX cluster supports up to 10 nodes, oﬀering millions of requests
                                        per second. Adding or removing additional replicas is an online operation. The second way to scale a cluster
                                        is to scale up or down by selecting larger or smaller r3 instance types. Larger nodes will enable the cluster to
                                        store more of the application's data set in memory and thus reduce cache misses and improve overall
                                        performance of the application. When creating a DAX cluster, all nodes in the cluster must be of the same
                                        instance type. Additionally, if you desire to change the instance type for your DAX cluster (i.e., scale up from
                                        r3.large to r3.2xlarge), you must create a new DAX cluster with the desired instance type. DAX does not
                                        currently support online scale-up or scale-down operations.

                                        Q. How do I write-scale my application?

https://aws.amazon.com/dynamodb/faqs/                                                                                                                   43/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Within a DAX cluster, only the primary node handles write operations to DynamoDB. Thus, adding more
                                        nodes to the DAX cluster will increase the read throughput, but not the write throughput. To increase write
                                        throughput for your application, you will need to either scale-up to a larger instance size or provision
                                        multiple DAX clusters and shard your key-space in the application layer.

   PRODUCTS & SERVICES                  Monitoring

                                        Q. How do I monitor the performance of my DAX cluster?
   Amazon DynamoDB                      
                                        Metrics for CPU utilization, cache hit/miss counts and read/write traﬃc to your DAX cluster are available via
                                        the AWS Management Console or Amazon CloudWatch APIs. You can also add additional, user-deﬁned
   Product Details                      
                                        metrics via Amazon CloudWatch's custom metric functionality. In addition to CloudWatch metrics, DAX also

   DynamoDB Accelerator (DAX)           provides
                                                information on cache hit, miss, query and cluster performance via the AWS Management Console.

                                        Maintenance
   Global Tables                        
                                        Q. What is a maintenance window? Will my DAX cluster be available during software maintenance?
   Backup and Restore                   
                                        You can think of the DAX maintenance window as an opportunity to control when cluster modiﬁcations such
   Getting Started                       software patching occur. If a "maintenance" event is scheduled for a given week, it will be initiated and
                                        as
                                        completed at some point during the maintenance window you identify.
   Developer Resources                  
                                        Required patching is automatically scheduled only for patches that are security and reliability related. Such
   FAQs                                 
                                        patching occurs infrequently (typically once every few months). If you do not specify a preferred weekly
                                        maintenance window when creating your cluster, a default value will be assigned. If you wish to modify
   Pricing                              
                                        when maintenance is performed on your behalf, you can do so by modifying your cluster in the AWS
                                        Management
                                                  Console or by using the UpdateCluster API. Each of your clusters can have diﬀerent preferred
   Community
                                        maintenance windows.
   Ad Tech                              
                                        For multi-node clusters, updates in the cluster are performed serially, and one node will be updated at a

   Gaming                               time.
                                             After the node is updated, it will sync with one of the peers in the cluster so that the node has the
                                        current working set of data. For a single-node cluster, we will provision a replica (at no charge to you), sync
   IoT                                   replica with the latest data, and then perform a failover to make the new replica the primary node. This
                                        the
                                        way, you don’t lose any data during an upgrade for a one-node cluster.
   DynamoDB Partner Solutions           


   RELATED LINKS
                                        Global tables
   Documentation                        Q. What is DynamoDB Global Tables?

   Management Console                   DynamoDB Global Tables is a new multi-master, cross-region replication capability of DynamoDB to support
   Release Notes                        data access locality and regional fault tolerance for database workloads. Applications can now perform
                                        reads and writes to DynamoDB in AWS regions around the world, with changes in any region propagated to
   Discussion Forum
                                        every region where a table is replicated.
   What is NoSQL?
                                        Q. Why should I use Global Tables?
   Get Started with a Self-Paced Lab
                                        Global Tables enable you to build applications that take advantage of data locality to reduce overall latency.
                                        Your applications can read/write data to the region closest to your end users, thereby improving the overall
                                        responsiveness of your application. In addition, Global Tables enables your applications to stay highly
                                        available even in the unlikely event of isolation or degradation of an entire region.

                                        Q. Which AWS regions support Global Tables?

                                        Global Tables is currently supported in ﬁve regions: US East (Ohio), US East (N. Virginia), US West (Oregon),
                                        EU (Ireland), and EU (Frankfurt).

                                        Q. How many AWS regions can I replicate to?

                                        You can have one replica table per region, for as many regions in which Global Tables is supported.

                                        Q. What consistency guarantees does Global Table provide?

                                        Global Tables ensures eventual consistency, meaning that any update made to any item in any replica table
                                        will be replicated to all other replicas in the same global table. If there are multiple updates to the same
                                        item, all replicas in the global table will agree on the latest update, and hence all replicas will converge
                                        continually towards a state in which they store identical data.


https://aws.amazon.com/dynamodb/faqs/                                                                                                                  44/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q. What latency can I expect when accessing a replica table?

                                        If your application is hosted in a region with a global table, accessing the local replica table through its
                                        regional endpoint will exhibit the same single-digit millisecond latencies that you have come to expect from
                                        DynamoDB.
   PRODUCTS & SERVICES
                                        Q. What is the pricing for Global Tables?

   Amazon DynamoDB                      Please
                                              refer to the pricing page for details.

                                        Q. Can I use Global Tables with DynamoDB’s free tier?
   Product Details                      
                                        Yes. You can create a global table with replica tables that each fall within free tier, as long as it is replicated
   DynamoDB Accelerator (DAX)           
                                        in no more than two AWS regions.

   Global Tables                         Does DynamoDB Global Tables support cross-account access (i.e. replicating data from one AWS
                                        Q.
                                        account to another)?
   Backup and Restore                   
                                        A: No. Currently, Global Tables replicates data among regions within a single AWS account.
   Getting Started                      

   Developer Resources                  Backup
                                              and restore
   FAQs                                  What backup options does DynamoDB support for my tables?
                                        Q.

   Pricing                              You
                                         can enable point-in-time recovery (PITR) as well as create an on-demand backup for your Amazon
                                        DynamoDB tables.
   Community                            
                                        PITR provides continuous backups of your DynamoDB table data. You can enable PITR with a single click
   Ad Tech                              
                                        from the AWS Management Console or a single API call. When enabled, DynamoDB maintains continuous
                                        backups of your table up to the last 35 days. You can recover a copy of that table to a previous state at any
   Gaming                               
                                        point in time from the moment you enable PITR, up to a maximum of the 35 preceding days. PITR provides
                                        continuous backups until you explicitly disable it.
   IoT                                  
                                        On-demand backups allow you to create backups of DynamoDB table data and its settings. You can initiate
   DynamoDB Partner Solutions           
                                        an on-demand backup at any time with a single click from the AWS Management Console or a single API
                                        call. You can restore the backups to a new DynamoDB table in the same AWS Region at any time.
   RELATED LINKS
                                        For both PITR and on-demand backups, DynamoDB encrypts, catalogs, and stores the backups
   Documentation                        automatically.
   Management Console                   Q. Why should I use PITR and on-demand backups?
   Release Notes
                                        Amazon DynamoDB provides two complementary options for your data protection and archival.
   Discussion Forum
                                        PITR gives your DynamoDB tables continuous protection from accidental writes and deletes. With PITR, you
   What is NoSQL?                       do not have to worry about creating, maintaining, or scheduling backups. You enable PITR on your table and
   Get Started with a Self-Paced Lab    your backup is available for restore at any point in time from the moment you enable it, up to a maximum of
                                        the 35 preceding days. For example, imagine a test script writing accidentally to a production DynamoDB
                                        table. You could recover your table to any point in time within the last 35 days.

                                        On-demand backups help with long-term archival requirements for regulatory compliance. On-demand
                                        backups give you full-control of managing the lifecycle of your backups, from creating as many backups as
                                        you need to retaining these for as long as you need.

                                        Q. How do I enable or disable PITR?

                                        You can enable or disable PITR by using the Amazon DynamoDB console, the AWS CLI, or any AWS SDK.

                                        Q. How do I initiate an on-demand backup?

                                        You can initiate an on-demand backup from the DynamoDB console, the AWS CLI, or any AWS SDK. All on-
                                        demand backup actions—create, restore, and delete—are available from the Backups tab of a DynamoDB
                                        table. You also can browse the full list of on-demand backups in your account from the navigation pane of
                                        the console. For more information about the on-demand backup and restore API, see the DynamoDB API
                                        Reference documentation.

                                        Q. How long are on-demand backups and PITR backups retained?


https://aws.amazon.com/dynamodb/faqs/                                                                                                                    45/53
                                                                                                              KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        DynamoDB retains on-demand backups until you delete those backups. PITR retains backups from the last
                                        35 days.

                                        Q. What happens with my backups after I delete the source table?

                                        On-demand backups remain accessible even after you delete the source table. When you delete a table that
   PRODUCTS & SERVICES
                                        has PITR enabled, the system stops tracking changes. If you need to recover a table that you deleted, you
                                        need to contact AWS Support to restore that table from a PITR backup within the 35-day recovery window.
   Amazon DynamoDB                      
                                        Q. Do backups consume provisioned read or write capacity of the source table?
   Product Details                      
                                        No. DynamoDB executes backup and restore actions within the service and does not consume any
   DynamoDB Accelerator (DAX)           provisioned
                                                   read or write capacity of the source table.

                                        Q. Do backups aﬀect the performance of my table?
   Global Tables                        
                                        No.
   Backup and Restore                   
                                        Q. Where are my backups stored?
   Getting Started                      
                                        Backups are stored using the highly durable managed storage of DynamoDB to provide a simple, high-
   Developer Resources                  performing,
                                                   and easy experience.

                                        Q.
                                         What does DynamoDB restore with PITR?
   FAQs
                                        When you restore a backup created by PITR, DynamoDB restores your table data to the state based on the
   Pricing                              
                                        selected date and time (day:hour:minute:second) to a new table. The settings for that new table come from

   Community                            the
                                         current settings of the source table and include local secondary indexes, global secondary indexes,
                                        encryption, and read capacity unit and write capacity unit settings.
   Ad Tech                              
                                        Q. Can I restore a table in a diﬀerent account or AWS Region with PITR?
   Gaming                               
                                        No. You can restore a table only to the same AWS Region and account where the source table resided.

   IoT                                   Can a table restore overwrite an existing table?
                                        Q.

   DynamoDB Partner Solutions           No.
                                         When you restore your table from backup, the process always writes to a new table.
                                        Q. Which AWS Regions support on-demand backups and PITR?
   RELATED LINKS
                                        See Pricing Details for the latest regional availability and pricing.
   Documentation
                                        Q. What does DynamoDB retain with on-demand backups and PITR?
   Management Console
                                        Along with the data, on-demand backups retain your table’s settings for read capacity units, write capacity
   Release Notes
                                        units, local secondary indexes, global secondary indexes, streams, and encryption. On-demand backups do
   Discussion Forum                     not preserve auto scaling policies, PITR settings, Time To Live (TTL), tags, and CloudWatch metrics and
   What is NoSQL?                       alarms.

   Get Started with a Self-Paced Lab    PITR backs up the content of the table and uses the current settings of that table at the time of restore.

                                        Q. What does DynamoDB restore from an on-demand backup?

                                        On restore, the destination table is set with the same provisioned read capacity units and write capacity
                                        units as the source table, as recorded at the time backup was requested. The process restores the local
                                        secondary indexes and the global secondary indexes and does not restore streams and TTL data.

                                        Q. What happens if I disable PITR and later reenable it?

                                        If you disable PITR and later reenable it on a table, you reset the start time for which you can recover that
                                        table. For example, when you disable PITR, you remove the restore snapshot and logs. As a result, you
                                        cannot recover that table. If you later enable PITR again for that table, DynamoDB will create a new
                                        sequence of snapshots and logs.

                                        Q. How long do backup and restore operations take to complete?

                                        DynamoDB processes backup requests in seconds and those backups become available for restore
                                        immediately. The time it takes you to restore a table will vary based on multiple factors, and the restore
                                        times are not always correlated directly to the size of the table. For example, because of parallelization, it is



https://aws.amazon.com/dynamodb/faqs/                                                                                                                   46/53
                                                                                                                KoveIO Compl. Ex. 20
                                                     Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        possible that restoring a 300 GB table could take the same amount of time as restoring a 3 GB table. Here
                                        are some of the considerations for restore times:

                                              1. You restore backups to a new table. It can take up to 20 minutes (even if the table is empty) to
                                              perform all the actions to create the new table and initiate the restore process.
   PRODUCTS & SERVICES
                                              2. For tables with even data distribution across your primary keys, the restore time is proportional to
                                              the largest single partition by item count and not the overall table size. For the largest partitions with
   Amazon DynamoDB                           billions of items, a restore could take less than 10 hours.

   Product Details                           3. If your source table contains data with signiﬁcant skew, the time to restore may increase. For
                                              example, if your table’s primary key is using the month of the year for partitioning and all your data is
   DynamoDB Accelerator (DAX)                from the month of December, you have skewed data.

   Global Tables                         Is there a limit to the number of on-demand backups I can create?
                                        Q.

   Backup and Restore                   No.
                                         There is no limit to the number of on-demand backups you can create for a table. There is also no limit
                                        to the number of backups you can retain in your AWS account.
   Getting Started                      
                                        Q. How much does it cost to use on-demand backups and PITR?
   Developer Resources                  
                                        See Pricing Details to learn more about pricing for on-demand backups and PITR.

   FAQs                                  Can I use on-demand backups or PITR to back up my DynamoDB tables and restore these to another
                                        Q.
                                        AWS account?
   Pricing                              
                                        No. Currently, you must recover a table from backup to the same AWS Region within the same AWS account
   Community                            
                                        where you took the backup.

   Ad Tech                               Can I back up a DynamoDB global table?
                                        Q.

   Gaming                               You
                                         can create an on-demand backup or enable PITR on each local replica of your global table. When you
                                        restore from backup, it creates a new independent table that is not part of the global table.
   IoT                                  
                                        Q. Can I back up an encrypted table?
   DynamoDB Partner Solutions           
                                        Yes. You can create an on-demand backup or enable PITR on an encrypted table.

                                        Q. How is on-demand backup diﬀerent from import and export using AWS Data Pipeline?
   RELATED LINKS


   Documentation                        The AWS Data Pipeline import and export capability uses your table’s provisioned read and write throughput
                                        capacity and impacts table performance because DynamoDB table data is moved using full table scans. On-
   Management Console
                                        demand backups, on the other hand, do not consume any throughput capacity, with no impact to table
   Release Notes                        performance and availability. The import and export options under the Actions menu in the DynamoDB
                                        console have been removed, but they are still accessible from the AWS Data Pipeline console.
   Discussion Forum

   What is NoSQL?

   Get Started with a Self-Paced Lab
                                        Encryption at rest
                                        Q. What is DynamoDB encryption at rest?

                                        DynamoDB encryption at rest provides you with the ability to enable encryption for the data persisted (data
                                        at rest) in your DynamoDB tables. This includes - base table, local secondary indexes, and global secondary
                                        indexes. Encryption at rest automatically integrates with AWS Key Management Service (KMS) for managing
                                        the keys used for encrypting your tables.

                                        Q. Why do I need to use encryption at rest?

                                        Encryption at rest is a managed server side encryption feature using AWS KMS keys stored in your AWS
                                        account. You do not have to implement and maintain additional code to encrypt data before it is sent to
                                        DynamoDB and decrypt data after it is retrieved. Once encryption at rest is enabled for a DynamoDB table,
                                        your application will work seamlessly without any other changes.

                                        Q. How do I encrypt a table?

                                        You can enable encryption at rest for your new DynamoDB tables using the console, AWS CLI, or API. At
                                        present, you cannot enable encryption at rest for an existing DynamoDB table.




https://aws.amazon.com/dynamodb/faqs/                                                                                                                47/53
                                                                                                            KoveIO Compl. Ex. 20
                                                       Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q. Are my Global Secondary Indexes (GSI) and Local Secondary Indexes (LSI) encrypted in encryption at
                                        rest?

                                        Yes, Global Secondary Indexes (GSI) and Local Secondary Indexes (LSI) associated with an encrypted table
                                        are encrypted by default using the same key that is used to encrypt the table.
   PRODUCTS & SERVICES
                                        Q. What are the additional costs for using DynamoDB encryption at rest?

   Amazon DynamoDB                      There
                                             are no additional DynamoDB costs for using DynamoDB encryption at rest. However, KMS charges will
                                        apply for using a service default key. These charges can be seen on the AWS KMS pricing page.
   Product Details                      
                                        Q. Can I encrypt DynamoDB Streams?
   DynamoDB Accelerator (DAX)           
                                        Currently, you cannot enable encryption at rest for DynamoDB Streams. If encryption at rest is a
                                        compliance/regulatory requirement, we recommend turning oﬀ DynamoDB Streams for encrypted tables.
   Global Tables                        
                                        Q. Are DynamoDB On-Demand Backups encrypted as well?
   Backup and Restore                   
                                        Yes, On-Demand Backups of encrypted DynamoDB tables are encrypted (using S3’s Server-Side Encryption).
   Getting Started                       present, these backups are partially encrypted using your service default keys and service managed keys.
                                        At
                                        We are working towards encrypting all data related to On-Demand Backups using only customer owned
   Developer Resources                  
                                        KMS keys.

   FAQs                                  How does encryption at rest encrypt my data?
                                        Q.

   Pricing                              
                                        DynamoDB uses envelope encryption to encrypt your data in which it uses a hierarchy of encryption keys to
                                        encrypt the database. You use AWS KMS to manage the top-level encryption keys in this hierarchy. Once
   Community                             data is encrypted, Amazon DynamoDB handles decryption of your data transparently with a minimal
                                        your
                                        impact on performance. You don't need to modify your database client applications to use encryption.
   Ad Tech                              
                                        Q. How do I manage my keys used for encryption at rest?
   Gaming                               
                                        DynamoDB is integrated with AWS KMS for ease of managing the key(s) used to encrypt your tables.
   IoT                                  
                                        DynamoDB encryption at rest uses service default keys (speciﬁc to DynamoDB) stored in your KMS account.
                                        If a service default key does not exist when creating your encrypted DynamoDB table, KMS will
   DynamoDB Partner Solutions           
                                        automatically create a new key for you that will be used with encrypted tables created in the future. For
                                        more information, see the AWS Key Management Service Developer Guide.
   RELATED LINKS
                                        Q. Which encryption keys can I choose to encrypt my DynamoDB table?
   Documentation
                                        Currently, you can only use the service default key used for your DynamoDB tables. If this key doesn’t exist,
   Management Console                   it will be created.
   Release Notes
                                        Q. What is the role of my service default key in AWS Key Management Service (KMS) in encryption at
   Discussion Forum                     rest?
   What is NoSQL?                       DynamoDB cannot read your table data without access to your KMS service default key. DynamoDB uses
   Get Started with a Self-Paced Lab    envelope encryption and key hierarchy to encrypt data. Your KMS encryption key is used to encrypt the root
                                        key of this key hierarchy. For more information, see How Envelope Encryption Works with Supported AWS
                                        Service.

                                        Q. Can I use diﬀerent service default keys for diﬀerent tables?

                                        No, DynamoDB uses a single service default key for encrypting all of your DynamoDB tables.

                                        Q. Can I encrypt only a subset of items in a table?

                                        No. Encryption at Rest works at a table level granularity.

                                        Q. How can I check if encryption at rest is enabled on my table?

                                        From the console, you can get the status of encryption from the "Table details" section of the "Overview"
                                        tab. You can also use DescribeTable command to get the status of encryption on the table.

                                        Q. Can I disable encryption at rest on a table once it is enabled?

                                        No, you cannot disable encryption at rest on an encrypted table.

                                        Q. How is encryption at rest diﬀerent from the DynamoDB client side encryption library?



https://aws.amazon.com/dynamodb/faqs/                                                                                                               48/53
                                                                                                           KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        The client side encryption library - Amazon DynamoDB Encryption Client for Java - performs encryption and
                                        decryption of your data at the client side (in your application using the AWS SDK). The encryption keys
                                        reside on the client side. Since DynamoDB does not have access to your encryption keys, DynamoDB cannot
                                        access your decrypted data. The server side encryption at rest feature encrypts your data just before storing
                                        it in DynamoDB tables. The encryption and decryption of your data is performed at the server side by
   PRODUCTS & SERVICES
                                        DynamoDB using your speciﬁed KMS encryption keys. You can still use full querying capabilities for your
                                        encrypted data.
   Amazon DynamoDB                      
                                        Q. Does encryption at rest protect my data while it is being transferred over the network?
   Product Details                      
                                        No. Encryption at rest only encrypts data while it is static (at rest) on a persistent storage media. You have to

   DynamoDB Accelerator (DAX)           ensure
                                              protection of data while it is actively moving over a public or a private network (data in transit) by
                                        encrypting sensitive data on the client side or using encrypted connections (TLS).
   Global Tables                        
                                        Q. What encryption algorithm does encryption at rest use?
   Backup and Restore                   
                                        Encryption at rest encrypts your data using 256-bit AES encryption.

   Getting Started                       How does encryption at rest work with DynamoDB Global Tables?
                                        Q.

   Developer Resources                  You
                                         can enable encryption at rest on your Global Table replicas. Note that Global Tables uses DynamoDB
                                        Streams, which does not yet support Encryption at Rest. As a result, replicated data on DynamoDB Streams
   FAQs                                  not be encrypted at rest.
                                        will

   Pricing                              
                                        VPC
                                        
                                            endpoints
   Community
                                        Q. What are VPC endpoints for Amazon DynamoDB?
   Ad Tech                              
                                        Amazon Virtual Private Cloud (VPC) is an AWS service that provides users a virtual private cloud, by
   Gaming                               
                                        provisioning a logically isolated section of the AWS Cloud. VPC endpoints for Amazon DynamoDB are logical
                                        entities within a VPC that create a private connection between a VPC and DynamoDB without requiring
   IoT                                  
                                        access over the internet, through a network address translation (NAT) device, or a VPN connection. For more

   DynamoDB Partner Solutions           information
                                                   about VPC endpoints, see VPC Endpoints.

                                        Q. Why should I use VPC endpoints for DynamoDB?
   RELATED LINKS
                                        In the past, the main way of accessing Amazon DynamoDB from within a VPC was to traverse the internet,
   Documentation                        which may have required complex conﬁgurations such as ﬁrewalls and VPNs. VPC endpoints for DynamoDB
   Management Console                   improve privacy and security for customers, especially those dealing with sensitive workloads with
                                        compliance and audit requirements, by enabling private access to DynamoDB from within a VPC without the
   Release Notes
                                        need for an internet gateway or NAT gateway. In addition, VPC endpoints for DynamoDB support AWS
   Discussion Forum                     Identity and Access Management (IAM) policies to simplify DynamoDB access control. You can now easily
                                        restrict access to your DynamoDB tables to a speciﬁc VPC endpoint.
   What is NoSQL?

   Get Started with a Self-Paced Lab    Q. How do I get started using VPC endpoints for DynamoDB?

                                        You can create VPC endpoints for Amazon DynamoDB by using the AWS Management Console, AWS SDK, or
                                        AWS Command Line Interface (CLI). You must specify the VPC and existing route tables in the VPC, and
                                        describe the IAM policy to attach to the endpoint. A route is automatically added to each of the speciﬁed
                                        VPC’s route tables.

                                        Q. Do VPC endpoints for DynamoDB ensure that traﬃc will not be routed outside of the Amazon
                                        network?

                                        Yes, when using VPC endpoints for Amazon DynamoDB, data packets between DynamoDB and your VPC will
                                        remain in the Amazon network.

                                        Q. Can I connect to a DynamoDB table in an AWS Region diﬀerent from my VPC using VPC endpoints for
                                        DynamoDB?

                                        No, VPC endpoints can be created only for Amazon DynamoDB tables in the same AWS Region as the VPC.

                                        Q. Do VPC endpoints for DynamoDB limit throughput to DynamoDB?

                                        No, you will continue to get the same throughput to Amazon DynamoDB as you do today from an instance
                                        with a public IP within your VPC.

https://aws.amazon.com/dynamodb/faqs/                                                                                                                   49/53
                                                                                                            KoveIO Compl. Ex. 20
                                                      Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                        Q. What is the price of using VPC endpoints for DynamoDB?

                                        There is no additional cost for using VPC endpoints for Amazon DynamoDB.

                                        Q. Can I access DynamoDB Streams using VPC endpoints for DynamoDB?

   PRODUCTS & SERVICES                  Currently, you cannot access Amazon DynamoDB Streams using VPC endpoints for Amazon DynamoDB.

                                        Q. I currently use an internet gateway and a NAT gateway to send requests to DynamoDB. Do I need to
   Amazon DynamoDB                      
                                        change my application code when I use a VPC endpoint?

   Product Details                      
                                        Your application code does not need to change. Simply create a VPC endpoint, update your route table to
                                        point Amazon DynamoDB traﬃc at the DynamoDB VPC endpoint, and access DynamoDB directly. You can
   DynamoDB Accelerator (DAX)           
                                        continue using the same code and same DNS names to access DynamoDB.

   Global Tables                         Can I use one VPC endpoint for both DynamoDB and another AWS service?
                                        Q.

   Backup and Restore                   No,
                                         each VPC endpoint supports one service. You can create one for Amazon DynamoDB and another for the
                                        other AWS service and use both of them in a route table.
   Getting Started                      
                                        Q. Can I have multiple VPC endpoints in a single VPC?
   Developer Resources                  
                                        Yes, you can have multiple VPC endpoints in a single VPC. For example, you can have one VPC endpoint for
                                        Amazon
                                              S3 and one VPC endpoint for Amazon DynamoDB.
   FAQs
                                        Q. Can I have multiple VPC endpoints for DynamoDB in a single VPC?
   Pricing                              
                                        Yes, you can have multiple VPC endpoints for Amazon DynamoDB in a single VPC. Individual VPC endpoints
   Community                             have diﬀerent VPC endpoint policies. For example, you could have a VPC endpoint that is read-only and
                                        can
                                        one that is read/write. However, a single route table in a VPC can only be associated with a single VPC
   Ad Tech                              
                                        endpoint for DynamoDB, because that route table will route all traﬃc to DynamoDB through the speciﬁed
   Gaming                               VPC
                                         endpoint.
                                        Q. What are the diﬀerences between VPC endpoints for S3 and VCP endpoints for DynamoDB?
   IoT                                  
                                        The main diﬀerence is that these two VPC endpoints support diﬀerent services – Amazon S3 and Amazon
   DynamoDB Partner Solutions           
                                        DynamoDB.

                                        Q. What IP address will I see in AWS CloudTrail logs for traﬃc coming from the VPC endpoint for
   RELATED LINKS
                                        DynamoDB?
   Documentation
                                        AWS CloudTrail logs for Amazon DynamoDB will contain the private IP address of the Amazon EC2 instance
   Management Console
                                        in the VPC, and the VPC endpoint identiﬁer (for example, sourceIpAddress=10.89.76.54,
   Release Notes                        VpcEndpointId=vpce-12345678).

   Discussion Forum                     Q. How can I manage VPC endpoints using the AWS Command Line Interface (CLI)?
   What is NoSQL?                       You can use the following CLI commands to manage VPC endpoints: create-vpc-endpoint, modify-vpc-
   Get Started with a Self-Paced Lab    endpoint, describe-vpc-endpoint, delete-vpc-endpoint, and describe-vpc-endpoint-services. You should
                                        specify the Amazon DynamoDB service name speciﬁc to your VPC and DynamoDB Region (for example,
                                        com.amazon.us.east-1.DynamoDB). For more information, see create-vpc-endpoint.

                                        Q. Do VPC endpoints for DynamoDB require customers to know and manage the public IP address
                                        ranges of DynamoDB?

                                        No, customers don’t need to know or manage the public IP address ranges for Amazon DynamoDB in order
                                        to use this feature. A preﬁx list will be provided to use in route tables and security groups. AWS maintains
                                        the address ranges in the list. The preﬁx list name is: com.amazonaws.<region>.DynamoDB (for example,
                                        com.amazonaws.us-east-1.DynamoDB).

                                        Q. Can I use AWS IAM policies on a VPC endpoint for DynamoDB?

                                        Yes. You can attach an AWS IAM policy to your VPC endpoint and this policy will apply to all traﬃc through
                                        this endpoint. For example, a VPC endpoint using this policy allows only describe* API calls:
                                        {
                                            "Statement": [
                                             {
                                                 "Sid": "Stmt1415116195105",


https://aws.amazon.com/dynamodb/faqs/                                                                                                                  50/53
                                                                                                           KoveIO Compl. Ex. 20
                                                               Amazon DynamoDB FAQs – Amazon Web Services (AWS)

                                                        "Action": "dynamodb:describe*",
                                                        "Eﬀect": "Allow",
                                                        "Resource": "arn:aws:dynamodb:region:account-id:table/table-name",
                                                        "Principal": "*"
                                                    }
   PRODUCTS & SERVICES
                                                ]
                                            }
   Amazon DynamoDB                          
                                            Q. Can I limit access to my DynamoDB table from a VPC endpoint?
   Product Details                          
                                            Yes, you can create an AWS IAM policy to restrict an IAM user, group, or role to a particular VPC endpoint for

   DynamoDB Accelerator (DAX)               DynamoDB
                                                    tables.

                                            This can be done by setting the IAM policy’s Resource element to a DynamoDB table and the Condition
   Global Tables                            
                                            element’s key to aws:sourceVpce. For more details, see the IAM JSON Policy Elements Reference.
   Backup and Restore                       
                                            For example, the following IAM policy restricts access to DynamoDB tables unless sourceVpce matches
                                            “vpce-111bbb22”
   Getting Started                          
                                            {
   Developer Resources                      
                                                "Statement": [

                                                   {
   FAQs
                                                        "Sid": "Stmt1415116195105",
   Pricing                                             "Action": "dynamodb:*",
                                                        "Eﬀect": "Deny",
   Community                                           "Resource": "arn:aws:dynamodb:region:account-id:*",
                                                        "Condition": { "StringNotEquals" : { "aws:sourceVpce": "vpce-111bbb22" } }
   Ad Tech                                  
                                                    }

   Gaming                                    ]
                                            }
   IoT                                      
                                            Q. Do VPC endpoints for DynamoDB support IAM policy conditions for ﬁne-grained access control?
   DynamoDB Partner Solutions               
                                            Yes. VPC endpoints for DynamoDB support all ﬁne-grained access control access keys. You can use AWS IAM
                                            policy conditions for ﬁne-grained access control to control access to individual data items and attributes. For
   RELATED LINKS                            more information about ﬁne-grained access control, see Using IAM Policy Conditions for Fine-Grained Access
                                            Control.
   Documentation

   Management Console                       Q. Can I use the AWS Policy Generator to create VPC endpoint policies for DynamoDB?

   Release Notes                            Yes, you can use the AWS Policy Generator to create VPC endpoint policies.

   Discussion Forum
                                            Q. Does DynamoDB support resource-based policies similar to Amazon S3 bucket policies?
   What is NoSQL?
                                            No, Amazon DynamoDB does not support resource-based policies pertaining to individual tables, items, and
   Get Started with a Self-Paced Lab
                                            the like.




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https://aws.amazon.com/dynamodb/faqs/                                                                                                                   51/53
                                                                                                                  KoveIO Compl. Ex. 20
Exhibit 21




             KoveIO Compl. Ex. 21
       Dynamo: Amazon’s Highly Available Key-value Store
          Giuseppe DeCandia, Deniz Hastorun, Madan Jampani, Gunavardhan Kakulapati,
          Avinash Lakshman, Alex Pilchin, Swaminathan Sivasubramanian, Peter Vosshall
                                       and Werner Vogels
                                                                     Amazon.com


                                                                                   One of the lessons our organization has learned from operating
ABSTRACT                                                                           Amazon’s platform is that the reliability and scalability of a
Reliability at massive scale is one of the biggest challenges we
                                                                                   system is dependent on how its application state is managed.
face at Amazon.com, one of the largest e-commerce operations in
                                                                                   Amazon uses a highly decentralized, loosely coupled, service
the world; even the slightest outage has significant financial
                                                                                   oriented architecture consisting of hundreds of services. In this
consequences and impacts customer trust. The Amazon.com
                                                                                   environment there is a particular need for storage technologies
platform, which provides services for many web sites worldwide,
                                                                                   that are always available. For example, customers should be able
is implemented on top of an infrastructure of tens of thousands of
                                                                                   to view and add items to their shopping cart even if disks are
servers and network components located in many datacenters
                                                                                   failing, network routes are flapping, or data centers are being
around the world. At this scale, small and large components fail
                                                                                   destroyed by tornados. Therefore, the service responsible for
continuously and the way persistent state is managed in the face
                                                                                   managing shopping carts requires that it can always write to and
of these failures drives the reliability and scalability of the
                                                                                   read from its data store, and that its data needs to be available
software systems.
                                                                                   across multiple data centers.
This paper presents the design and implementation of Dynamo, a
                                                                                   Dealing with failures in an infrastructure comprised of millions of
highly available key-value storage system that some of Amazon’s
                                                                                   components is our standard mode of operation; there are always a
core services use to provide an “always-on” experience. To
                                                                                   small but significant number of server and network components
achieve this level of availability, Dynamo sacrifices consistency
                                                                                   that are failing at any given time. As such Amazon’s software
under certain failure scenarios. It makes extensive use of object
                                                                                   systems need to be constructed in a manner that treats failure
versioning and application-assisted conflict resolution in a manner
                                                                                   handling as the normal case without impacting availability or
that provides a novel interface for developers to use.
                                                                                   performance.
Categories and Subject Descriptors                                                 To meet the reliability and scaling needs, Amazon has developed
D.4.2 [Operating Systems]: Storage Management; D.4.5                               a number of storage technologies, of which the Amazon Simple
[Operating Systems]: Reliability; D.4.2 [Operating Systems]:                       Storage Service (also available outside of Amazon and known as
Performance;                                                                       Amazon S3), is probably the best known. This paper presents the
                                                                                   design and implementation of Dynamo, another highly available
General Terms                                                                      and scalable distributed data store built for Amazon’s platform.
Algorithms, Management, Measurement, Performance, Design,                          Dynamo is used to manage the state of services that have very
Reliability.                                                                       high reliability requirements and need tight control over the
                                                                                   tradeoffs between availability, consistency, cost-effectiveness and
1. INTRODUCTION                                                                    performance. Amazon’s platform has a very diverse set of
Amazon runs a world-wide e-commerce platform that serves tens                      applications with different storage requirements. A select set of
of millions customers at peak times using tens of thousands of                     applications requires a storage technology that is flexible enough
servers located in many data centers around the world. There are                   to let application designers configure their data store appropriately
strict operational requirements on Amazon’s platform in terms of                   based on these tradeoffs to achieve high availability and
performance, reliability and efficiency, and to support continuous                 guaranteed performance in the most cost effective manner.
growth the platform needs to be highly scalable. Reliability is one
of the most important requirements because even the slightest                      There are many services on Amazon’s platform that only need
outage has significant financial consequences and impacts                          primary-key access to a data store. For many services, such as
customer trust. In addition, to support continuous growth, the                     those that provide best seller lists, shopping carts, customer
platform needs to be highly scalable.                                              preferences, session management, sales rank, and product catalog,
                                                                                   the common pattern of using a relational database would lead to
                                                                                   inefficiencies and limit scale and availability. Dynamo provides a
                                                                                   simple primary-key only interface to meet the requirements of
                                                                                   these applications.
 Permission to make digital or hard copies of all or part of this work for
 personal or classroom use is granted without fee provided that copies are         Dynamo uses a synthesis of well known techniques to achieve
 not made or distributed for profit or commercial advantage and that               scalability and availability: Data is partitioned and replicated
 copies bear this notice and the full citation on the first page. To copy          using consistent hashing [10], and consistency is facilitated by
 otherwise, or republish, to post on servers or to redistribute to lists,
                                                                                   object versioning [12]. The consistency among replicas during
 requires prior specific permission and/or a fee.
 SOSP’07, October 14–17, 2007, Stevenson, Washington, USA.
                                                                                   updates is maintained by a quorum-like technique and a
 Copyright 2007 ACM 978-1-59593-591-5/07/0010...$5.00.                             decentralized replica synchronization protocol. Dynamo employs




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                                                                                                                KoveIO Compl. Ex. 21
a gossip based distributed failure detection and membership                   This paper describes Dynamo, a highly available data storage
protocol. Dynamo is a completely decentralized system with                    technology that addresses the needs of these important classes of
minimal need for manual administration. Storage nodes can be                  services. Dynamo has a simple key/value interface, is highly
added and removed from Dynamo without requiring any manual                    available with a clearly defined consistency window, is efficient
partitioning or redistribution.                                               in its resource usage, and has a simple scale out scheme to address
                                                                              growth in data set size or request rates. Each service that uses
In the past year, Dynamo has been the underlying storage                      Dynamo runs its own Dynamo instances.
technology for a number of the core services in Amazon’s e-
commerce platform. It was able to scale to extreme peak loads                 2.1     System Assumptions and Requirements
efficiently without any downtime during the busy holiday                      The storage system for this class of services has the following
shopping season. For example, the service that maintains                      requirements:
shopping cart (Shopping Cart Service) served tens of millions
requests that resulted in well over 3 million checkouts in a single           Query Model: simple read and write operations to a data item that
day and the service that manages session state handled hundreds               is uniquely identified by a key. State is stored as binary objects
of thousands of concurrently active sessions.                                 (i.e., blobs) identified by unique keys. No operations span
                                                                              multiple data items and there is no need for relational schema.
The main contribution of this work for the research community is              This requirement is based on the observation that a significant
the evaluation of how different techniques can be combined to                 portion of Amazon’s services can work with this simple query
provide a single highly-available system. It demonstrates that an             model and do not need any relational schema. Dynamo targets
eventually-consistent storage system can be used in production                applications that need to store objects that are relatively small
with demanding applications. It also provides insight into the                (usually less than 1 MB).
tuning of these techniques to meet the requirements of production
systems with very strict performance demands.                                 ACID Properties: ACID (Atomicity, Consistency, Isolation,
                                                                              Durability) is a set of properties that guarantee that database
The paper is structured as follows. Section 2 presents the                    transactions are processed reliably. In the context of databases, a
background and Section 3 presents the related work. Section 4                 single logical operation on the data is called a transaction.
presents the system design and Section 5 describes the                        Experience at Amazon has shown that data stores that provide
implementation. Section 6 details the experiences and insights                ACID guarantees tend to have poor availability. This has been
gained by running Dynamo in production and Section 7 concludes                widely acknowledged by both the industry and academia [5].
the paper. There are a number of places in this paper where                   Dynamo targets applications that operate with weaker consistency
additional information may have been appropriate but where                    (the “C” in ACID) if this results in high availability. Dynamo
protecting Amazon’s business interests require us to reduce some              does not provide any isolation guarantees and permits only single
level of detail. For this reason, the intra- and inter-datacenter             key updates.
latencies in section 6, the absolute request rates in section 6.2 and
outage lengths and workloads in section 6.3 are provided through              Efficiency: The system needs to function on a commodity
aggregate measures instead of absolute details.                               hardware infrastructure. In Amazon’s platform, services have
                                                                              stringent latency requirements which are in general measured at
2. BACKGROUND                                                                 the 99.9th percentile of the distribution. Given that state access
Amazon’s e-commerce platform is composed of hundreds of                       plays a crucial role in service operation the storage system must
services that work in concert to deliver functionality ranging from           be capable of meeting such stringent SLAs (see Section 2.2
recommendations to order fulfillment to fraud detection. Each                 below). Services must be able to configure Dynamo such that they
service is exposed through a well defined interface and is                    consistently achieve their latency and throughput requirements.
accessible over the network. These services are hosted in an                  The tradeoffs are in performance, cost efficiency, availability, and
infrastructure that consists of tens of thousands of servers located          durability guarantees.
across many data centers world-wide. Some of these services are
stateless (i.e., services which aggregate responses from other                Other Assumptions: Dynamo is used only by Amazon’s internal
services) and some are stateful (i.e., a service that generates its           services. Its operation environment is assumed to be non-hostile
response by executing business logic on its state stored in                   and there are no security related requirements such as
persistent store).                                                            authentication and authorization. Moreover, since each service
                                                                              uses its distinct instance of Dynamo, its initial design targets a
Traditionally production systems store their state in relational              scale of up to hundreds of storage hosts. We will discuss the
databases. For many of the more common usage patterns of state                scalability limitations of Dynamo and possible scalability related
persistence, however, a relational database is a solution that is far         extensions in later sections.
from ideal. Most of these services only store and retrieve data by
primary key and do not require the complex querying and                       2.2     Service Level Agreements (SLA)
management functionality offered by an RDBMS. This excess                     To guarantee that the application can deliver its functionality in a
functionality requires expensive hardware and highly skilled                  bounded time, each and every dependency in the platform needs
personnel for its operation, making it a very inefficient solution.           to deliver its functionality with even tighter bounds. Clients and
In addition, the available replication technologies are limited and           services engage in a Service Level Agreement (SLA), a formally
typically choose consistency over availability. Although many                 negotiated contract where a client and a service agree on several
advances have been made in the recent years, it is still not easy to          system-related characteristics, which most prominently include
scale-out databases or use smart partitioning schemes for load                the client’s expected request rate distribution for a particular API
balancing.                                                                    and the expected service latency under those conditions. An
                                                                              example of a simple SLA is a service guaranteeing that it will




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                                                                            production systems have shown that this approach provides a
                                                                            better overall experience compared to those systems that meet
                                                                            SLAs defined based on the mean or median.
                                                                            In this paper there are many references to this 99.9th percentile of
                                                                            distributions, which reflects Amazon engineers’ relentless focus
                                                                            on performance from the perspective of the customers’
                                                                            experience. Many papers report on averages, so these are included
                                                                            where it makes sense for comparison purposes. Nevertheless,
                                                                            Amazon’s engineering and optimization efforts are not focused on
                                                                            averages. Several techniques, such as the load balanced selection
                                                                            of write coordinators, are purely targeted at controlling
                                                                            performance at the 99.9th percentile.
                                                                            Storage systems often play an important role in establishing a
                                                                            service’s SLA, especially if the business logic is relatively
                                                                            lightweight, as is the case for many Amazon services. State
                                                                            management then becomes the main component of a service’s
                                                                            SLA. One of the main design considerations for Dynamo is to
                                                                            give services control over their system properties, such as
                                                                            durability and consistency, and to let services make their own
                                                                            tradeoffs between functionality, performance and cost-
                                                                            effectiveness.
 Figure 1: Service-oriented architecture of Amazon’s                        2.3     Design Considerations
 platform                                                                   Data replication algorithms used in commercial systems
                                                                            traditionally perform synchronous replica coordination in order to
provide a response within 300ms for 99.9% of its requests for a
                                                                            provide a strongly consistent data access interface. To achieve this
peak client load of 500 requests per second.
                                                                            level of consistency, these algorithms are forced to tradeoff the
In Amazon’s decentralized service oriented infrastructure, SLAs             availability of the data under certain failure scenarios. For
play an important role. For example a page request to one of the            instance, rather than dealing with the uncertainty of the
e-commerce sites typically requires the rendering engine to                 correctness of an answer, the data is made unavailable until it is
construct its response by sending requests to over 150 services.            absolutely certain that it is correct. From the very early replicated
These services often have multiple dependencies, which                      database works, it is well known that when dealing with the
frequently are other services, and as such it is not uncommon for           possibility of network failures, strong consistency and high data
the call graph of an application to have more than one level. To            availability cannot be achieved simultaneously [2, 11]. As such
ensure that the page rendering engine can maintain a clear bound            systems and applications need to be aware which properties can
on page delivery each service within the call chain must obey its           be achieved under which conditions.
performance contract.
                                                                            For systems prone to server and network failures, availability can
Figure 1 shows an abstract view of the architecture of Amazon’s             be increased by using optimistic replication techniques, where
platform, where dynamic web content is generated by page                    changes are allowed to propagate to replicas in the background,
rendering components which in turn query many other services. A             and concurrent, disconnected work is tolerated. The challenge
service can use different data stores to manage its state and these         with this approach is that it can lead to conflicting changes which
data stores are only accessible within its service boundaries. Some         must be detected and resolved. This process of conflict resolution
services act as aggregators by using several other services to              introduces two problems: when to resolve them and who resolves
produce a composite response. Typically, the aggregator services            them. Dynamo is designed to be an eventually consistent data
are stateless, although they use extensive caching.                         store; that is all updates reach all replicas eventually.
A common approach in the industry for forming a performance                 An important design consideration is to decide when to perform
oriented SLA is to describe it using average, median and expected           the process of resolving update conflicts, i.e., whether conflicts
variance. At Amazon we have found that these metrics are not                should be resolved during reads or writes. Many traditional data
good enough if the goal is to build a system where all customers            stores execute conflict resolution during writes and keep the read
have a good experience, rather than just the majority. For                  complexity simple [7]. In such systems, writes may be rejected if
example if extensive personalization techniques are used then               the data store cannot reach all (or a majority of) the replicas at a
customers with longer histories require more processing which               given time. On the other hand, Dynamo targets the design space
impacts performance at the high-end of the distribution. An SLA             of an “always writeable” data store (i.e., a data store that is highly
stated in terms of mean or median response times will not address           available for writes). For a number of Amazon services, rejecting
the performance of this important customer segment. To address              customer updates could result in a poor customer experience. For
this issue, at Amazon, SLAs are expressed and measured at the               instance, the shopping cart service must allow customers to add
99.9th percentile of the distribution. The choice for 99.9% over an         and remove items from their shopping cart even amidst network
even higher percentile has been made based on a cost-benefit                and server failures. This requirement forces us to push the
analysis which demonstrated a significant increase in cost to               complexity of conflict resolution to the reads in order to ensure
improve performance that much. Experiences with Amazon’s                    that writes are never rejected.



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The next design choice is who performs the process of conflict                Various storage systems, such as Oceanstore [9] and PAST [17]
resolution. This can be done by the data store or the application. If         were built on top of these routing overlays. Oceanstore provides a
conflict resolution is done by the data store, its choices are rather         global, transactional, persistent storage service that supports
limited. In such cases, the data store can only use simple policies,          serialized updates on widely replicated data. To allow for
such as “last write wins” [22], to resolve conflicting updates. On            concurrent updates while avoiding many of the problems inherent
the other hand, since the application is aware of the data schema it          with wide-area locking, it uses an update model based on conflict
can decide on the conflict resolution method that is best suited for          resolution. Conflict resolution was introduced in [21] to reduce
its client’s experience. For instance, the application that maintains         the number of transaction aborts. Oceanstore resolves conflicts by
customer shopping carts can choose to “merge” the conflicting                 processing a series of updates, choosing a total order among them,
versions and return a single unified shopping cart. Despite this              and then applying them atomically in that order. It is built for an
flexibility, some application developers may not want to write                environment where the data is replicated on an untrusted
their own conflict resolution mechanisms and choose to push it                infrastructure. By comparison, PAST provides a simple
down to the data store, which in turn chooses a simple policy such            abstraction layer on top of Pastry for persistent and immutable
as “last write wins”.                                                         objects. It assumes that the application can build the necessary
                                                                              storage semantics (such as mutable files) on top of it.
Other key principles embraced in the design are:
Incremental scalability: Dynamo should be able to scale out one               3.2     Distributed File Systems and Databases
storage host (henceforth, referred to as “node”) at a time, with              Distributing data for performance, availability and durability has
minimal impact on both operators of the system and the system                 been widely studied in the file system and database systems
itself.                                                                       community. Compared to P2P storage systems that only support
                                                                              flat namespaces, distributed file systems typically support
Symmetry: Every node in Dynamo should have the same set of                    hierarchical namespaces. Systems like Ficus [15] and Coda [19]
responsibilities as its peers; there should be no distinguished node          replicate files for high availability at the expense of consistency.
or nodes that take special roles or extra set of responsibilities. In         Update conflicts are typically managed using specialized conflict
our experience, symmetry simplifies the process of system                     resolution procedures. The Farsite system [1] is a distributed file
provisioning and maintenance.                                                 system that does not use any centralized server like NFS. Farsite
Decentralization: An extension of symmetry, the design should                 achieves high availability and scalability using replication. The
favor decentralized peer-to-peer techniques over centralized                  Google File System [6] is another distributed file system built for
control. In the past, centralized control has resulted in outages and         hosting the state of Google’s internal applications. GFS uses a
the goal is to avoid it as much as possible. This leads to a simpler,         simple design with a single master server for hosting the entire
more scalable, and more available system.                                     metadata and where the data is split into chunks and stored in
                                                                              chunkservers. Bayou is a distributed relational database system
Heterogeneity: The system needs to be able to exploit                         that allows disconnected operations and provides eventual data
heterogeneity in the infrastructure it runs on. e.g. the work                 consistency [21].
distribution must be proportional to the capabilities of the
individual servers. This is essential in adding new nodes with                Among these systems, Bayou, Coda and Ficus allow disconnected
higher capacity without having to upgrade all hosts at once.                  operations and are resilient to issues such as network partitions
                                                                              and outages. These systems differ on their conflict resolution
3. RELATED WORK                                                               procedures. For instance, Coda and Ficus perform system level
                                                                              conflict resolution and Bayou allows application level resolution.
3.1 Peer to Peer Systems                                                      All of them, however, guarantee eventual consistency. Similar to
There are several peer-to-peer (P2P) systems that have looked at              these systems, Dynamo allows read and write operations to
the problem of data storage and distribution. The first generation            continue even during network partitions and resolves updated
of P2P systems, such as Freenet and Gnutella1, were                           conflicts using different conflict resolution mechanisms.
predominantly used as file sharing systems. These were examples               Distributed block storage systems like FAB [18] split large size
of unstructured P2P networks where the overlay links between                  objects into smaller blocks and stores each block in a highly
peers were established arbitrarily. In these networks, a search               available manner. In comparison to these systems, a key-value
query is usually flooded through the network to find as many                  store is more suitable in this case because: (a) it is intended to
peers as possible that share the data. P2P systems evolved to the             store relatively small objects (size < 1M) and (b) key-value stores
next generation into what is widely known as structured P2P                   are easier to configure on a per-application basis. Antiquity is a
networks. These networks employ a globally consistent protocol                wide-area distributed storage system designed to handle multiple
to ensure that any node can efficiently route a search query to               server failures [23]. It uses a secure log to preserve data integrity,
some peer that has the desired data. Systems like Pastry [16] and             replicates each log on multiple servers for durability, and uses
Chord [20] use routing mechanisms to ensure that queries can be               Byzantine fault tolerance protocols to ensure data consistency. In
answered within a bounded number of hops. To reduce the                       contrast to Antiquity, Dynamo does not focus on the problem of
additional latency introduced by multi-hop routing, some P2P                  data integrity and security and is built for a trusted environment.
systems (e.g., [14]) employ O(1) routing where each peer                      Bigtable is a distributed storage system for managing structured
maintains enough routing information locally so that it can route             data. It maintains a sparse, multi-dimensional sorted map and
requests (to access a data item) to the appropriate peer within a             allows applications to access their data using multiple attributes
constant number of hops.                                                      [2]. Compared to Bigtable, Dynamo targets applications that
                                                                              require only key/value access with primary focus on high
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    http://freenetproject.org/, http://www.gnutella.org                       availability where updates are not rejected even in the wake of
                                                                              network partitions or server failures.



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                                                                                 Table 1: Summary of techniques used in Dynamo and
                                   Key K                                                        their advantages.
                       A                                                           Problem              Technique               Advantage
            G                                                                     Partitioning     Consistent Hashing           Incremental
                                  B                                                                                              Scalability
                                            Nodes B, C
                                            and D store                       High Availability     Vector clocks with        Version size is
                                              keys in                            for writes        reconciliation during      decoupled from
        F                             C     range (A,B)                                                    reads               update rates.
                                             including
                                                                             Handling temporary    Sloppy Quorum and           Provides high
                                                 K.
                                                                                  failures            hinted handoff          availability and
                E            D                                                                                              durability guarantee
                                                                                                                             when some of the
                                                                                                                              replicas are not
                                                                                                                                 available.
 Figure 2: Partitioning and replication of keys in Dynamo                     Recovering from       Anti-entropy using          Synchronizes
 ring.                                                                       permanent failures       Merkle trees          divergent replicas in
                                                                                                                              the background.
Traditional replicated relational database systems focus on the
problem of guaranteeing strong consistency to replicated data.                Membership and          Gossip-based          Preserves symmetry
Although strong consistency provides the application writer a                 failure detection    membership protocol      and avoids having a
                                                                                                   and failure detection.   centralized registry
convenient programming model, these systems are limited in
                                                                                                                                 for storing
scalability and availability [7]. These systems are not capable of                                                           membership and
handling network partitions because they typically provide strong                                                              node liveness
consistency guarantees.                                                                                                         information.

3.3    Discussion
Dynamo differs from the aforementioned decentralized storage               Table 1 presents a summary of the list of techniques Dynamo uses
systems in terms of its target requirements. First, Dynamo is              and their respective advantages.
targeted mainly at applications that need an “always writeable”
data store where no updates are rejected due to failures or                4.1      System Interface
concurrent writes. This is a crucial requirement for many Amazon           Dynamo stores objects associated with a key through a simple
applications. Second, as noted earlier, Dynamo is built for an             interface; it exposes two operations: get() and put(). The get(key)
infrastructure within a single administrative domain where all             operation locates the object replicas associated with the key in the
nodes are assumed to be trusted. Third, applications that use              storage system and returns a single object or a list of objects with
Dynamo do not require support for hierarchical namespaces (a               conflicting versions along with a context. The put(key, context,
norm in many file systems) or complex relational schema                    object) operation determines where the replicas of the object
(supported by traditional databases). Fourth, Dynamo is built for          should be placed based on the associated key, and writes the
latency sensitive applications that require at least 99.9% of read         replicas to disk. The context encodes system metadata about the
and write operations to be performed within a few hundred                  object that is opaque to the caller and includes information such as
milliseconds. To meet these stringent latency requirements, it was         the version of the object. The context information is stored along
imperative for us to avoid routing requests through multiple nodes         with the object so that the system can verify the validity of the
(which is the typical design adopted by several distributed hash           context object supplied in the put request.
table systems such as Chord and Pastry). This is because multi-            Dynamo treats both the key and the object supplied by the caller
hop routing increases variability in response times, thereby               as an opaque array of bytes. It applies a MD5 hash on the key to
increasing the latency at higher percentiles. Dynamo can be                generate a 128-bit identifier, which is used to determine the
characterized as a zero-hop DHT, where each node maintains                 storage nodes that are responsible for serving the key.
enough routing information locally to route a request to the
appropriate node directly.                                                 4.2      Partitioning Algorithm
                                                                           One of the key design requirements for Dynamo is that it must
4. SYSTEM ARCHITECTURE                                                     scale incrementally. This requires a mechanism to dynamically
The architecture of a storage system that needs to operate in a            partition the data over the set of nodes (i.e., storage hosts) in the
production setting is complex. In addition to the actual data              system. Dynamo’s partitioning scheme relies on consistent
persistence component, the system needs to have scalable and               hashing to distribute the load across multiple storage hosts. In
robust solutions for load balancing, membership and failure                consistent hashing [10], the output range of a hash function is
detection, failure recovery, replica synchronization, overload             treated as a fixed circular space or “ring” (i.e. the largest hash
handling, state transfer, concurrency and job scheduling, request          value wraps around to the smallest hash value). Each node in the
marshalling, request routing, system monitoring and alarming,              system is assigned a random value within this space which
and configuration management. Describing the details of each of            represents its “position” on the ring. Each data item identified by
the solutions is not possible, so this paper focuses on the core           a key is assigned to a node by hashing the data item’s key to yield
distributed systems techniques used in Dynamo: partitioning,               its position on the ring, and then walking the ring clockwise to
replication, versioning, membership, failure handling and scaling.         find the first node with a position larger than the item’s position.




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Thus, each node becomes responsible for the region in the ring                return to its caller before the update has been applied at all the
between it and its predecessor node on the ring. The principle                replicas, which can result in scenarios where a subsequent get()
advantage of consistent hashing is that departure or arrival of a             operation may return an object that does not have the latest
node only affects its immediate neighbors and other nodes remain              updates.. If there are no failures then there is a bound on the
unaffected.                                                                   update propagation times. However, under certain failure
                                                                              scenarios (e.g., server outages or network partitions), updates may
The basic consistent hashing algorithm presents some challenges.              not arrive at all replicas for an extended period of time.
First, the random position assignment of each node on the ring
leads to non-uniform data and load distribution. Second, the basic            There is a category of applications in Amazon’s platform that can
algorithm is oblivious to the heterogeneity in the performance of             tolerate such inconsistencies and can be constructed to operate
nodes. To address these issues, Dynamo uses a variant of                      under these conditions. For example, the shopping cart application
consistent hashing (similar to the one used in [10, 20]): instead of          requires that an “Add to Cart” operation can never be forgotten or
mapping a node to a single point in the circle, each node gets                rejected. If the most recent state of the cart is unavailable, and a
assigned to multiple points in the ring. To this end, Dynamo uses             user makes changes to an older version of the cart, that change is
the concept of “virtual nodes”. A virtual node looks like a single            still meaningful and should be preserved. But at the same time it
node in the system, but each node can be responsible for more                 shouldn’t supersede the currently unavailable state of the cart,
than one virtual node. Effectively, when a new node is added to               which itself may contain changes that should be preserved. Note
the system, it is assigned multiple positions (henceforth, “tokens”)          that both “add to cart” and “delete item from cart” operations are
in the ring. The process of fine-tuning Dynamo’s partitioning                 translated into put requests to Dynamo. When a customer wants to
scheme is discussed in Section 6.                                             add an item to (or remove from) a shopping cart and the latest
                                                                              version is not available, the item is added to (or removed from)
Using virtual nodes has the following advantages:                             the older version and the divergent versions are reconciled later.
•     If a node becomes unavailable (due to failures or routine               In order to provide this kind of guarantee, Dynamo treats the
      maintenance), the load handled by this node is evenly                   result of each modification as a new and immutable version of the
      dispersed across the remaining available nodes.                         data. It allows for multiple versions of an object to be present in
•     When a node becomes available again, or a new node is                   the system at the same time. Most of the time, new versions
      added to the system, the newly available node accepts a                 subsume the previous version(s), and the system itself can
      roughly equivalent amount of load from each of the other                determine the authoritative version (syntactic reconciliation).
      available nodes.                                                        However, version branching may happen, in the presence of
                                                                              failures combined with concurrent updates, resulting in
•     The number of virtual nodes that a node is responsible can              conflicting versions of an object. In these cases, the system cannot
      decided based on its capacity, accounting for heterogeneity             reconcile the multiple versions of the same object and the client
      in the physical infrastructure.                                         must perform the reconciliation in order to collapse multiple
                                                                              branches of data evolution back into one (semantic
4.3     Replication                                                           reconciliation). A typical example of a collapse operation is
To achieve high availability and durability, Dynamo replicates its            “merging” different versions of a customer’s shopping cart. Using
data on multiple hosts. Each data item is replicated at N hosts,              this reconciliation mechanism, an “add to cart” operation is never
where N is a parameter configured “per-instance”. Each key, k, is             lost. However, deleted items can resurface.
assigned to a coordinator node (described in the previous section).
The coordinator is in charge of the replication of the data items             It is important to understand that certain failure modes can
that fall within its range. In addition to locally storing each key           potentially result in the system having not just two but several
within its range, the coordinator replicates these keys at the N-1            versions of the same data. Updates in the presence of network
clockwise successor nodes in the ring. This results in a system               partitions and node failures can potentially result in an object
where each node is responsible for the region of the ring between             having distinct version sub-histories, which the system will need
it and its Nth predecessor. In Figure 2, node B replicates the key k          to reconcile in the future. This requires us to design applications
at nodes C and D in addition to storing it locally. Node D will               that explicitly acknowledge the possibility of multiple versions of
store the keys that fall in the ranges (A, B], (B, C], and (C, D].            the same data (in order to never lose any updates).

The list of nodes that is responsible for storing a particular key is         Dynamo uses vector clocks [12] in order to capture causality
called the preference list. The system is designed, as will be                between different versions of the same object. A vector clock is
explained in Section 4.8, so that every node in the system can                effectively a list of (node, counter) pairs. One vector clock is
determine which nodes should be in this list for any particular               associated with every version of every object. One can determine
key. To account for node failures, preference list contains more              whether two versions of an object are on parallel branches or have
than N nodes. Note that with the use of virtual nodes, it is possible         a causal ordering, by examine their vector clocks. If the counters
that the first N successor positions for a particular key may be              on the first object’s clock are less-than-or-equal to all of the nodes
owned by less than N distinct physical nodes (i.e. a node may                 in the second clock, then the first is an ancestor of the second and
hold more than one of the first N positions). To address this, the            can be forgotten. Otherwise, the two changes are considered to be
preference list for a key is constructed by skipping positions in the         in conflict and require reconciliation.
ring to ensure that the list contains only distinct physical nodes.           In Dynamo, when a client wishes to update an object, it must
                                                                              specify which version it is updating. This is done by passing the
4.4     Data Versioning                                                       context it obtained from an earlier read operation, which contains
Dynamo provides eventual consistency, which allows for updates                the vector clock information. Upon processing a read request, if
to be propagated to all replicas asynchronously. A put() call may



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                                                                                object. In practice, this is not likely because the writes are usually
                                                                                handled by one of the top N nodes in the preference list. In case of
                                                                                network partitions or multiple server failures, write requests may
                                                                                be handled by nodes that are not in the top N nodes in the
                                                                                preference list causing the size of vector clock to grow. In these
                                                                                scenarios, it is desirable to limit the size of vector clock. To this
                                                                                end, Dynamo employs the following clock truncation scheme:
                                                                                Along with each (node, counter) pair, Dynamo stores a timestamp
                                                                                that indicates the last time the node updated the data item. When
                                                                                the number of (node, counter) pairs in the vector clock reaches a
                                                                                threshold (say 10), the oldest pair is removed from the clock.
                                                                                Clearly, this truncation scheme can lead to inefficiencies in
                                                                                reconciliation as the descendant relationships cannot be derived
                                                                                accurately. However, this problem has not surfaced in production
                                                                                and therefore this issue has not been thoroughly investigated.

                                                                                4.5     Execution of get () and put () operations
                                                                                Any storage node in Dynamo is eligible to receive client get and
                                                                                put operations for any key. In this section, for sake of simplicity,
                                                                                we describe how these operations are performed in a failure-free
   Figure 3: Version evolution of an object over time.                          environment and in the subsequent section we describe how read
                                                                                and write operations are executed during failures.
Dynamo has access to multiple branches that cannot be
syntactically reconciled, it will return all the objects at the leaves,         Both get and put operations are invoked using Amazon’s
with the corresponding version information in the context. An                   infrastructure-specific request processing framework over HTTP.
update using this context is considered to have reconciled the                  There are two strategies that a client can use to select a node: (1)
divergent versions and the branches are collapsed into a single                 route its request through a generic load balancer that will select a
new version.                                                                    node based on load information, or (2) use a partition-aware client
                                                                                library that routes requests directly to the appropriate coordinator
To illustrate the use of vector clocks, let us consider the example             nodes. The advantage of the first approach is that the client does
shown in Figure 3. A client writes a new object. The node (say                  not have to link any code specific to Dynamo in its application,
Sx) that handles the write for this key increases its sequence                  whereas the second strategy can achieve lower latency because it
number and uses it to create the data's vector clock. The system                skips a potential forwarding step.
now has the object D1 and its associated clock [(Sx, 1)]. The
client updates the object. Assume the same node handles this                    A node handling a read or write operation is known as the
request as well. The system now also has object D2 and its                      coordinator. Typically, this is the first among the top N nodes in
associated clock [(Sx, 2)]. D2 descends from D1 and therefore                   the preference list. If the requests are received through a load
over-writes D1, however there may be replicas of D1 lingering at                balancer, requests to access a key may be routed to any random
nodes that have not yet seen D2. Let us assume that the same                    node in the ring. In this scenario, the node that receives the
client updates the object again and a different server (say Sy)                 request will not coordinate it if the node is not in the top N of the
handles the request. The system now has data D3 and its                         requested key’s preference list. Instead, that node will forward the
associated clock [(Sx, 2), (Sy, 1)].                                            request to the first among the top N nodes in the preference list.

Next assume a different client reads D2 and then tries to update it,             Read and write operations involve the first N healthy nodes in the
and another node (say Sz) does the write. The system now has D4                 preference list, skipping over those that are down or inaccessible.
(descendant of D2) whose version clock is [(Sx, 2), (Sz, 1)]. A                 When all nodes are healthy, the top N nodes in a key’s preference
node that is aware of D1 or D2 could determine, upon receiving                  list are accessed. When there are node failures or network
D4 and its clock, that D1 and D2 are overwritten by the new data                partitions, nodes that are lower ranked in the preference list are
and can be garbage collected. A node that is aware of D3 and                    accessed.
receives D4 will find that there is no causal relation between                  To maintain consistency among its replicas, Dynamo uses a
them. In other words, there are changes in D3 and D4 that are not               consistency protocol similar to those used in quorum systems.
reflected in each other. Both versions of the data must be kept and             This protocol has two key configurable values: R and W. R is the
presented to a client (upon a read) for semantic reconciliation.                minimum number of nodes that must participate in a successful
 Now assume some client reads both D3 and D4 (the context will                  read operation. W is the minimum number of nodes that must
reflect that both values were found by the read). The read's                    participate in a successful write operation. Setting R and W such
context is a summary of the clocks of D3 and D4, namely [(Sx, 2),               that R + W > N yields a quorum-like system. In this model, the
(Sy, 1), (Sz, 1)]. If the client performs the reconciliation and node           latency of a get (or put) operation is dictated by the slowest of the
Sx coordinates the write, Sx will update its sequence number in                 R (or W) replicas. For this reason, R and W are usually
the clock. The new data D5 will have the following clock: [(Sx,                 configured to be less than N, to provide better latency.
3), (Sy, 1), (Sz, 1)].                                                          Upon receiving a put() request for a key, the coordinator generates
A possible issue with vector clocks is that the size of vector                  the vector clock for the new version and writes the new version
clocks may grow if many servers coordinate the writes to an                     locally. The coordinator then sends the new version (along with




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the new vector clock) to the N highest-ranked reachable nodes. If             the original replica node. To handle this and other threats to
at least W-1 nodes respond then the write is considered                       durability, Dynamo implements an anti-entropy (replica
successful.                                                                   synchronization) protocol to keep the replicas synchronized.
Similarly, for a get() request, the coordinator requests all existing         To detect the inconsistencies between replicas faster and to
versions of data for that key from the N highest-ranked reachable             minimize the amount of transferred data, Dynamo uses Merkle
nodes in the preference list for that key, and then waits for R               trees [13]. A Merkle tree is a hash tree where leaves are hashes of
responses before returning the result to the client. If the                   the values of individual keys. Parent nodes higher in the tree are
coordinator ends up gathering multiple versions of the data, it               hashes of their respective children. The principal advantage of
returns all the versions it deems to be causally unrelated. The               Merkle tree is that each branch of the tree can be checked
divergent versions are then reconciled and the reconciled version             independently without requiring nodes to download the entire tree
superseding the current versions is written back.                             or the entire data set. Moreover, Merkle trees help in reducing the
                                                                              amount of data that needs to be transferred while checking for
4.6     Handling Failures: Hinted Handoff                                     inconsistencies among replicas. For instance, if the hash values of
If Dynamo used a traditional quorum approach it would be                      the root of two trees are equal, then the values of the leaf nodes in
unavailable during server failures and network partitions, and                the tree are equal and the nodes require no synchronization. If not,
would have reduced durability even under the simplest of failure              it implies that the values of some replicas are different. In such
conditions. To remedy this it does not enforce strict quorum                  cases, the nodes may exchange the hash values of children and the
membership and instead it uses a “sloppy quorum”; all read and                process continues until it reaches the leaves of the trees, at which
write operations are performed on the first N healthy nodes from              point the hosts can identify the keys that are “out of sync”. Merkle
the preference list, which may not always be the first N nodes                trees minimize the amount of data that needs to be transferred for
encountered while walking the consistent hashing ring.                        synchronization and reduce the number of disk reads performed
                                                                              during the anti-entropy process.
Consider the example of Dynamo configuration given in Figure 2
with N=3. In this example, if node A is temporarily down or                   Dynamo uses Merkle trees for anti-entropy as follows: Each node
unreachable during a write operation then a replica that would                maintains a separate Merkle tree for each key range (the set of
normally have lived on A will now be sent to node D. This is done             keys covered by a virtual node) it hosts. This allows nodes to
to maintain the desired availability and durability guarantees. The           compare whether the keys within a key range are up-to-date. In
replica sent to D will have a hint in its metadata that suggests              this scheme, two nodes exchange the root of the Merkle tree
which node was the intended recipient of the replica (in this case            corresponding to the key ranges that they host in common.
A). Nodes that receive hinted replicas will keep them in a                    Subsequently, using the tree traversal scheme described above the
separate local database that is scanned periodically. Upon                    nodes determine if they have any differences and perform the
detecting that A has recovered, D will attempt to deliver the                 appropriate synchronization action. The disadvantage with this
replica to A. Once the transfer succeeds, D may delete the object             scheme is that many key ranges change when a node joins or
from its local store without decreasing the total number of replicas          leaves the system thereby requiring the tree(s) to be recalculated.
in the system.                                                                This issue is addressed, however, by the refined partitioning
                                                                              scheme described in Section 6.2.
Using hinted handoff, Dynamo ensures that the read and write
operations are not failed due to temporary node or network                    4.8     Membership and Failure Detection
failures. Applications that need the highest level of availability
can set W to 1, which ensures that a write is accepted as long as a           4.8.1     Ring Membership
single node in the system has durably written the key it to its local         In Amazon’s environment node outages (due to failures and
store. Thus, the write request is only rejected if all nodes in the           maintenance tasks) are often transient but may last for extended
system are unavailable. However, in practice, most Amazon                     intervals. A node outage rarely signifies a permanent departure
services in production set a higher W to meet the desired level of            and therefore should not result in rebalancing of the partition
durability. A more detailed discussion of configuring N, R and W              assignment or repair of the unreachable replicas. Similarly,
follows in section 6.                                                         manual error could result in the unintentional startup of new
                                                                              Dynamo nodes. For these reasons, it was deemed appropriate to
It is imperative that a highly available storage system be capable            use an explicit mechanism to initiate the addition and removal of
of handling the failure of an entire data center(s). Data center              nodes from a Dynamo ring. An administrator uses a command
failures happen due to power outages, cooling failures, network               line tool or a browser to connect to a Dynamo node and issue a
failures, and natural disasters. Dynamo is configured such that               membership change to join a node to a ring or remove a node
each object is replicated across multiple data centers. In essence,           from a ring. The node that serves the request writes the
the preference list of a key is constructed such that the storage             membership change and its time of issue to persistent store. The
nodes are spread across multiple data centers. These datacenters              membership changes form a history because nodes can be
are connected through high speed network links. This scheme of                removed and added back multiple times. A gossip-based protocol
replicating across multiple datacenters allows us to handle entire            propagates membership changes and maintains an eventually
data center failures without a data outage.                                   consistent view of membership. Each node contacts a peer chosen
                                                                              at random every second and the two nodes efficiently reconcile
4.7 Handling permanent failures: Replica                                      their persisted membership change histories.
synchronization
Hinted handoff works best if the system membership churn is low               When a node starts for the first time, it chooses its set of tokens
and node failures are transient. There are scenarios under which              (virtual nodes in the consistent hash space) and maps nodes to
hinted replicas become unavailable before they can be returned to             their respective token sets. The mapping is persisted on disk and




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initially contains only the local node and token set. The mappings            us consider a simple bootstrapping scenario where node X is
stored at different Dynamo nodes are reconciled during the same               added to the ring shown in Figure 2 between A and B. When X is
communication exchange that reconciles the membership change                  added to the system, it is in charge of storing keys in the ranges
histories. Therefore, partitioning and placement information also             (F, G], (G, A] and (A, X]. As a consequence, nodes B, C and D no
propagates via the gossip-based protocol and each storage node is             longer have to store the keys in these respective ranges.
aware of the token ranges handled by its peers. This allows each              Therefore, nodes B, C, and D will offer to and upon confirmation
node to forward a key’s read/write operations to the right set of             from X transfer the appropriate set of keys. When a node is
nodes directly.                                                               removed from the system, the reallocation of keys happens in a
                                                                              reverse process.
4.8.2     External Discovery
The mechanism described above could temporarily result in a                   Operational experience has shown that this approach distributes
logically partitioned Dynamo ring.             For example, the               the load of key distribution uniformly across the storage nodes,
administrator could contact node A to join A to the ring, then                which is important to meet the latency requirements and to ensure
contact node B to join B to the ring. In this scenario, nodes A and           fast bootstrapping. Finally, by adding a confirmation round
B would each consider itself a member of the ring, yet neither                between the source and the destination, it is made sure that the
would be immediately aware of the other. To prevent logical                   destination node does not receive any duplicate transfers for a
partitions, some Dynamo nodes play the role of seeds. Seeds are               given key range.
nodes that are discovered via an external mechanism and are
known to all nodes. Because all nodes eventually reconcile their              5. IMPLEMENTATION
membership with a seed, logical partitions are highly unlikely.               In Dynamo, each storage node has three main software
Seeds can be obtained either from static configuration or from a              components: request coordination, membership and failure
configuration service. Typically seeds are fully functional nodes             detection, and a local persistence engine. All these components
in the Dynamo ring.                                                           are implemented in Java.
                                                                              Dynamo’s local persistence component allows for different
4.8.3     Failure Detection                                                   storage engines to be plugged in. Engines that are in use are
Failure detection in Dynamo is used to avoid attempts to
                                                                              Berkeley Database (BDB) Transactional Data Store2, BDB Java
communicate with unreachable peers during get() and put()
                                                                              Edition, MySQL, and an in-memory buffer with persistent
operations and when transferring partitions and hinted replicas.
                                                                              backing store. The main reason for designing a pluggable
For the purpose of avoiding failed attempts at communication, a
                                                                              persistence component is to choose the storage engine best suited
purely local notion of failure detection is entirely sufficient: node
                                                                              for an application’s access patterns. For instance, BDB can handle
A may consider node B failed if node B does not respond to node
                                                                              objects typically in the order of tens of kilobytes whereas MySQL
A’s messages (even if B is responsive to node C's messages). In
                                                                              can handle objects of larger sizes. Applications choose Dynamo’s
the presence of a steady rate of client requests generating inter-
                                                                              local persistence engine based on their object size distribution.
node communication in the Dynamo ring, a node A quickly
                                                                              The majority of Dynamo’s production instances use BDB
discovers that a node B is unresponsive when B fails to respond to
                                                                              Transactional Data Store.
a message; Node A then uses alternate nodes to service requests
that map to B's partitions; A periodically retries B to check for the         The request coordination component is built on top of an event-
latter's recovery. In the absence of client requests to drive traffic         driven messaging substrate where the message processing pipeline
between two nodes, neither node really needs to know whether the              is split into multiple stages similar to the SEDA architecture [24].
other is reachable and responsive.                                            All communications are implemented using Java NIO channels.
                                                                              The coordinator executes the read and write requests on behalf of
Decentralized failure detection protocols use a simple gossip-style
                                                                              clients by collecting data from one or more nodes (in the case of
protocol that enable each node in the system to learn about the
                                                                              reads) or storing data at one or more nodes (for writes). Each
arrival (or departure) of other nodes. For detailed information on
                                                                              client request results in the creation of a state machine on the node
decentralized failure detectors and the parameters affecting their
                                                                              that received the client request. The state machine contains all the
accuracy, the interested reader is referred to [8]. Early designs of
                                                                              logic for identifying the nodes responsible for a key, sending the
Dynamo used a decentralized failure detector to maintain a
                                                                              requests, waiting for responses, potentially doing retries,
globally consistent view of failure state. Later it was determined
                                                                              processing the replies and packaging the response to the client.
that the explicit node join and leave methods obviates the need for
                                                                              Each state machine instance handles exactly one client request.
a global view of failure state. This is because nodes are notified of
                                                                              For instance, a read operation implements the following state
permanent node additions and removals by the explicit node join
                                                                              machine: (i) send read requests to the nodes, (ii) wait for
and leave methods and temporary node failures are detected by
                                                                              minimum number of required responses, (iii) if too few replies
the individual nodes when they fail to communicate with others
                                                                              were received within a given time bound, fail the request, (iv)
(while forwarding requests).
                                                                              otherwise gather all the data versions and determine the ones to be
4.9     Adding/Removing Storage Nodes                                         returned and (v) if versioning is enabled, perform syntactic
                                                                              reconciliation and generate an opaque write context that contains
When a new node (say X) is added into the system, it gets
                                                                              the vector clock that subsumes all the remaining versions. For the
assigned a number of tokens that are randomly scattered on the
                                                                              sake of brevity the failure handling and retry states are left out.
ring. For every key range that is assigned to node X, there may be
a number of nodes (less than or equal to N) that are currently in             After the read response has been returned to the caller the state
charge of handling keys that fall within its token range. Due to the
                                                                              2
allocation of key ranges to X, some existing nodes no longer have                 http://www.oracle.com/database/berkeley-db.html
to some of their keys and these nodes transfer those keys to X. Let




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Figure 4: Average and 99.9 percentiles of latencies for read and               Figure 5: Comparison of performance of 99.9th percentile
write requests during our peak request season of December 2006.                latencies for buffered vs. non-buffered writes over a period of
The intervals between consecutive ticks in the x-axis correspond               24 hours. The intervals between consecutive ticks in the x-axis
to 12 hours. Latencies follow a diurnal pattern similar to the                 correspond to one hour.
request rate and 99.9 percentile latencies are an order of
magnitude higher than averages
machine waits for a small period of time to receive any                        •    Timestamp based reconciliation: This case differs from the
outstanding responses. If stale versions were returned in any of                    previous one only in the reconciliation mechanism. In case of
the responses, the coordinator updates those nodes with the latest                  divergent versions, Dynamo performs simple timestamp
version. This process is called read repair because it repairs                      based reconciliation logic of “last write wins”; i.e., the object
replicas that have missed a recent update at an opportunistic time                  with the largest physical timestamp value is chosen as the
and relieves the anti-entropy protocol from having to do it.                        correct version. The service that maintains customer’s
                                                                                    session information is a good example of a service that uses
As noted earlier, write requests are coordinated by one of the top
                                                                                    this mode.
N nodes in the preference list. Although it is desirable always to
have the first node among the top N to coordinate the writes                   •    High performance read engine: While Dynamo is built to be
thereby serializing all writes at a single location, this approach has              an “always writeable” data store, a few services are tuning its
led to uneven load distribution resulting in SLA violations. This is                quorum characteristics and using it as a high performance
because the request load is not uniformly distributed across                        read engine. Typically, these services have a high read
objects. To counter this, any of the top N nodes in the preference                  request rate and only a small number of updates. In this
list is allowed to coordinate the writes. In particular, since each                 configuration, typically R is set to be 1 and W to be N. For
write usually follows a read operation, the coordinator for a write                 these services, Dynamo provides the ability to partition and
is chosen to be the node that replied fastest to the previous read                  replicate their data across multiple nodes thereby offering
operation which is stored in the context information of the                         incremental scalability. Some of these instances function as
request. This optimization enables us to pick the node that has the                 the authoritative persistence cache for data stored in more
data that was read by the preceding read operation thereby                          heavy weight backing stores. Services that maintain product
increasing the chances of getting “read-your-writes” consistency.                   catalog and promotional items fit in this category.
It also reduces variability in the performance of the request
handling which improves the performance at the 99.9 percentile.                The main advantage of Dynamo is that its client applications can
                                                                               tune the values of N, R and W to achieve their desired levels of
6. EXPERIENCES & LESSONS LEARNED                                               performance, availability and durability. For instance, the value of
Dynamo is used by several services with different configurations.              N determines the durability of each object. A typical value of N
These instances differ by their version reconciliation logic, and              used by Dynamo’s users is 3.
read/write quorum characteristics. The following are the main                  The values of W and R impact object availability, durability and
patterns in which Dynamo is used:                                              consistency. For instance, if W is set to 1, then the system will
•    Business logic specific reconciliation: This is a popular use             never reject a write request as long as there is at least one node in
     case for Dynamo. Each data object is replicated across                    the system that can successfully process a write request. However,
     multiple nodes. In case of divergent versions, the client                 low values of W and R can increase the risk of inconsistency as
     application performs its own reconciliation logic. The                    write requests are deemed successful and returned to the clients
     shopping cart service discussed earlier is a prime example of             even if they are not processed by a majority of the replicas. This
     this category. Its business logic reconciles objects by                   also introduces a vulnerability window for durability when a write
     merging different versions of a customer’s shopping cart.                 request is successfully returned to the client even though it has
                                                                               been persisted at only a small number of nodes.




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                                                                               significant difference in request rate between the daytime and
                                                                               night). Moreover, the write latencies are higher than read latencies
                                                                               obviously because write operations always results in disk access.
                                                                               Also, the 99.9th percentile latencies are around 200 ms and are an
                                                                               order of magnitude higher than the averages. This is because the
                                                                               99.9th percentile latencies are affected by several factors such as
                                                                               variability in request load, object sizes, and locality patterns.
                                                                               While this level of performance is acceptable for a number of
                                                                               services, a few customer-facing services required higher levels of
                                                                               performance. For these services, Dynamo provides the ability to
                                                                               trade-off durability guarantees for performance. In the
                                                                               optimization each storage node maintains an object buffer in its
                                                                               main memory. Each write operation is stored in the buffer and
Figure 6: Fraction of nodes that are out-of-balance (i.e., nodes               gets periodically written to storage by a writer thread. In this
whose request load is above a certain threshold from the                       scheme, read operations first check if the requested key is present
average system load) and their corresponding request load.                     in the buffer. If so, the object is read from the buffer instead of the
The interval between ticks in x-axis corresponds to a time                     storage engine.
period of 30 minutes.                                                          This optimization has resulted in lowering the 99.9th percentile
                                                                               latency by a factor of 5 during peak traffic even for a very small
Traditional wisdom holds that durability and availability go hand-
                                                                               buffer of a thousand objects (see Figure 5). Also, as seen in the
in-hand. However, this is not necessarily true here. For instance,
                                                                               figure, write buffering smoothes out higher percentile latencies.
the vulnerability window for durability can be decreased by
                                                                               Obviously, this scheme trades durability for performance. In this
increasing W. This may increase the probability of rejecting
                                                                               scheme, a server crash can result in missing writes that were
requests (thereby decreasing availability) because more storage
                                                                               queued up in the buffer. To reduce the durability risk, the write
hosts need to be alive to process a write request.
                                                                               operation is refined to have the coordinator choose one out of the
The common (N,R,W) configuration used by several instances of                  N replicas to perform a “durable write”. Since the coordinator
Dynamo is (3,2,2). These values are chosen to meet the necessary               waits only for W responses, the performance of the write
levels of performance, durability, consistency, and availability               operation is not affected by the performance of the durable write
SLAs.                                                                          operation performed by a single replica.
All the measurements presented in this section were taken on a                 6.2     Ensuring Uniform Load distribution
live system operating with a configuration of (3,2,2) and running              Dynamo uses consistent hashing to partition its key space across
a couple hundred nodes with homogenous hardware                                its replicas and to ensure uniform load distribution. A uniform key
configurations. As mentioned earlier, each instance of Dynamo                  distribution can help us achieve uniform load distribution
contains nodes that are located in multiple datacenters. These                 assuming the access distribution of keys is not highly skewed. In
datacenters are typically connected through high speed network                 particular, Dynamo’s design assumes that even where there is a
links. Recall that to generate a successful get (or put) response R            significant skew in the access distribution there are enough keys
(or W) nodes need to respond to the coordinator. Clearly, the                  in the popular end of the distribution so that the load of handling
network latencies between datacenters affect the response time                 popular keys can be spread across the nodes uniformly through
and the nodes (and their datacenter locations) are chosen such that            partitioning. This section discusses the load imbalance seen in
the applications target SLAs are met.                                          Dynamo and the impact of different partitioning strategies on load
                                                                               distribution.
6.1     Balancing Performance and Durability
While Dynamo’s principle design goal is to build a highly                      To study the load imbalance and its correlation with request load,
available data store, performance is an equally important criterion            the total number of requests received by each node was measured
in Amazon’s platform. As noted earlier, to provide a consistent                for a period of 24 hours - broken down into intervals of 30
customer experience, Amazon’s services set their performance                   minutes. In a given time window, a node is considered to be “in-
targets at higher percentiles (such as the 99.9th or 99.99th                   balance”, if the node’s request load deviates from the average load
percentiles). A typical SLA required of services that use Dynamo               by a value a less than a certain threshold (here 15%). Otherwise
is that 99.9% of the read and write requests execute within 300ms.             the node was deemed “out-of-balance”. Figure 6 presents the
                                                                               fraction of nodes that are “out-of-balance” (henceforth,
Since Dynamo is run on standard commodity hardware                             “imbalance ratio”) during this time period. For reference, the
components that have far less I/O throughput than high-end                     corresponding request load received by the entire system during
enterprise servers, providing consistently high performance for                this time period is also plotted. As seen in the figure, the
read and write operations is a non-trivial task. The involvement of            imbalance ratio decreases with increasing load. For instance,
multiple storage nodes in read and write operations makes it even              during low loads the imbalance ratio is as high as 20% and during
more challenging, since the performance of these operations is                 high loads it is close to 10%. Intuitively, this can be explained by
limited by the slowest of the R or W replicas. Figure 4 shows the              the fact that under high loads, a large number of popular keys are
average and 99.9th percentile latencies of Dynamo’s read and                   accessed and due to uniform distribution of keys the load is
write operations during a period of 30 days. As seen in the figure,            evenly distributed. However, during low loads (where load is 1/8th
the latencies exhibit a clear diurnal pattern which is a result of the
diurnal pattern in the incoming request rate (i.e., there is a



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  Figure 7: Partitioning and placement of keys in the three strategies. A, B, and C depict the three unique nodes that form the
  preference list for the key k1 on the consistent hashing ring (N=3). The shaded area indicates the key range for which nodes A,
  B, and C form the preference list. Dark arrows indicate the token locations for various nodes.


of the measured peak load), fewer popular keys are accessed,                   The fundamental issue with this strategy is that the schemes for
resulting in a higher load imbalance.                                          data partitioning and data placement are intertwined. For instance,
                                                                               in some cases, it is preferred to add more nodes to the system in
This section discusses how Dynamo’s partitioning scheme has                    order to handle an increase in request load. However, in this
evolved over time and its implications on load distribution.                   scenario, it is not possible to add nodes without affecting data
Strategy 1: T random tokens per node and partition by token                    partitioning. Ideally, it is desirable to use independent schemes for
value: This was the initial strategy deployed in production (and               partitioning and placement. To this end, following strategies were
described in Section 4.2). In this scheme, each node is assigned T             evaluated:
tokens (chosen uniformly at random from the hash space). The                   Strategy 2: T random tokens per node and equal sized partitions:
tokens of all nodes are ordered according to their values in the               In this strategy, the hash space is divided into Q equally sized
hash space. Every two consecutive tokens define a range. The last              partitions/ranges and each node is assigned T random tokens. Q is
token and the first token form a range that "wraps" around from                usually set such that Q >> N and Q >> S*T, where S is the
the highest value to the lowest value in the hash space. Because               number of nodes in the system. In this strategy, the tokens are
the tokens are chosen randomly, the ranges vary in size. As nodes              only used to build the function that maps values in the hash space
join and leave the system, the token set changes and consequently              to the ordered lists of nodes and not to decide the partitioning. A
the ranges change. Note that the space needed to maintain the                  partition is placed on the first N unique nodes that are encountered
membership at each node increases linearly with the number of                  while walking the consistent hashing ring clockwise from the end
nodes in the system.                                                           of the partition. Figure 7 illustrates this strategy for N=3. In this
While using this strategy, the following problems were                         example, nodes A, B, C are encountered while walking the ring
encountered. First, when a new node joins the system, it needs to              from the end of the partition that contains key k1. The primary
“steal” its key ranges from other nodes. However, the nodes                    advantages of this strategy are: (i) decoupling of partitioning and
handing the key ranges off to the new node have to scan their                  partition placement, and (ii) enabling the possibility of changing
local persistence store to retrieve the appropriate set of data items.         the placement scheme at runtime.
Note that performing such a scan operation on a production node                Strategy 3: Q/S tokens per node, equal-sized partitions: Similar to
is tricky as scans are highly resource intensive operations and they           strategy 2, this strategy divides the hash space into Q equally
need to be executed in the background without affecting the                    sized partitions and the placement of partition is decoupled from
customer performance. This requires us to run the bootstrapping                the partitioning scheme. Moreover, each node is assigned Q/S
task at the lowest priority. However, this significantly slows the             tokens where S is the number of nodes in the system. When a
bootstrapping process and during busy shopping season, when the                node leaves the system, its tokens are randomly distributed to the
nodes are handling millions of requests a day, the bootstrapping               remaining nodes such that these properties are preserved.
has taken almost a day to complete. Second, when a node                        Similarly, when a node joins the system it "steals" tokens from
joins/leaves the system, the key ranges handled by many nodes                  nodes in the system in a way that preserves these properties.
change and the Merkle trees for the new ranges need to be
recalculated, which is a non-trivial operation to perform on a                 The efficiency of these three strategies is evaluated for a system
production system. Finally, there was no easy way to take a                    with S=30 and N=3. However, comparing these different
snapshot of the entire key space due to the randomness in key                  strategies in a fair manner is hard as different strategies have
ranges, and this made the process of archival complicated. In this             different configurations to tune their efficiency. For instance, the
scheme, archiving the entire key space requires us to retrieve the             load distribution property of strategy 1 depends on the number of
keys from each node separately, which is highly inefficient.                   tokens (i.e., T) while strategy 3 depends on the number of
                                                                               partitions (i.e., Q). One fair way to compare these strategies is to




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                                   1                                                                                            6.3 Divergent Versions: When and
                                  0.9                                                                                           How Many?
                                                                                                                                As noted earlier, Dynamo is designed to tradeoff consistency for
 Efficieny (mean load/max load)




                                  0.8                                                                                           availability. To understand the precise impact of different failures
                                                                                                                                on consistency, detailed data is required on multiple factors:
                                  0.7
                                                                                                                                outage length, type of failure, component reliability, workload etc.
                                                                                                                                Presenting these numbers in detail is outside of the scope of this
                                  0.6
                                                                                                                                paper. However, this section discusses a good summary metric:
                                  0.5
                                                                                                     Strategy 1                 the number of divergent versions seen by the application in a live
                                                                                                     Strategy 2
                                                                                                                                production environment.
                                                                                                     Strategy 3
                                  0.4
                                        0   5000       10000      15000       20000       25000      30000        35000         Divergent versions of a data item arise in two scenarios. The first
                                             Size of me tadata maintained at each node (in abstract units)                      is when the system is facing failure scenarios such as node
                                                                                                                                failures, data center failures, and network partitions. The second is
                                                                                                                                when the system is handling a large number of concurrent writers
Figure 8: Comparison of the load distribution efficiency of                                                                     to a single data item and multiple nodes end up coordinating the
different strategies for system with 30 nodes and N=3 with                                                                      updates concurrently. From both a usability and efficiency
equal amount of metadata maintained at each node. The                                                                           perspective, it is preferred to keep the number of divergent
values of the system size and number of replicas are based on                                                                   versions at any given time as low as possible. If the versions
the typical configuration deployed for majority of our                                                                          cannot be syntactically reconciled based on vector clocks alone,
services.                                                                                                                       they have to be passed to the business logic for semantic
                                                                                                                                reconciliation. Semantic reconciliation introduces additional load
evaluate the skew in their load distribution while all strategies use                                                           on services, so it is desirable to minimize the need for it.
the same amount of space to maintain their membership
information. For instance, in strategy 1 each node needs to                                                                     In our next experiment, the number of versions returned to the
maintain the token positions of all the nodes in the ring and in                                                                shopping cart service was profiled for a period of 24 hours.
strategy 3 each node needs to maintain the information regarding                                                                During this period, 99.94% of requests saw exactly one version;
the partitions assigned to each node.                                                                                           0.00057% of requests saw 2 versions; 0.00047% of requests saw 3
                                                                                                                                versions and 0.00009% of requests saw 4 versions. This shows
In our next experiment, these strategies were evaluated by varying                                                              that divergent versions are created rarely.
the relevant parameters (T and Q). The load balancing efficiency
of each strategy was measured for different sizes of membership                                                                 Experience shows that the increase in the number of divergent
information that needs to be maintained at each node, where Load                                                                versions is contributed not by failures but due to the increase in
balancing efficiency is defined as the ratio of average number of                                                               number of concurrent writers. The increase in the number of
requests served by each node to the maximum number of requests                                                                  concurrent writes is usually triggered by busy robots (automated
served by the hottest node.                                                                                                     client programs) and rarely by humans. This issue is not discussed
                                                                                                                                in detail due to the sensitive nature of the story.
The results are given in Figure 8. As seen in the figure, strategy 3
achieves the best load balancing efficiency and strategy 2 has the                                                              6.4 Client-driven or Server-driven
worst load balancing efficiency. For a brief time, Strategy 2
served as an interim setup during the process of migrating
                                                                                                                                Coordination
                                                                                                                                As mentioned in Section 5, Dynamo has a request coordination
Dynamo instances from using Strategy 1 to Strategy 3. Compared
                                                                                                                                component that uses a state machine to handle incoming requests.
to Strategy 1, Strategy 3 achieves better efficiency and reduces the
                                                                                                                                Client requests are uniformly assigned to nodes in the ring by a
size of membership information maintained at each node by three
                                                                                                                                load balancer. Any Dynamo node can act as a coordinator for a
orders of magnitude. While storage is not a major issue the nodes
                                                                                                                                read request. Write requests on the other hand will be coordinated
gossip the membership information periodically and as such it is
                                                                                                                                by a node in the key’s current preference list. This restriction is
desirable to keep this information as compact as possible. In
                                                                                                                                due to the fact that these preferred nodes have the added
addition to this, strategy 3 is advantageous and simpler to deploy
                                                                                                                                responsibility of creating a new version stamp that causally
for the following reasons: (i) Faster bootstrapping/recovery:
                                                                                                                                subsumes the version that has been updated by the write request.
Since partition ranges are fixed, they can be stored in separate
                                                                                                                                Note that if Dynamo’s versioning scheme is based on physical
files, meaning a partition can be relocated as a unit by simply
                                                                                                                                timestamps, any node can coordinate a write request.
transferring the file (avoiding random accesses needed to locate
specific items). This simplifies the process of bootstrapping and                                                               An alternative approach to request coordination is to move the
recovery. (ii) Ease of archival: Periodical archiving of the dataset                                                            state machine to the client nodes. In this scheme client
is a mandatory requirement for most of Amazon storage services.                                                                 applications use a library to perform request coordination locally.
Archiving the entire dataset stored by Dynamo is simpler in                                                                     A client periodically picks a random Dynamo node and
strategy 3 because the partition files can be archived separately.                                                              downloads its current view of Dynamo membership state. Using
By contrast, in Strategy 1, the tokens are chosen randomly and,                                                                 this information the client can determine which set of nodes form
archiving the data stored in Dynamo requires retrieving the keys                                                                the preference list for any given key. Read requests can be
from individual nodes separately and is usually inefficient and                                                                 coordinated at the client node thereby avoiding the extra network
slow. The disadvantage of strategy 3 is that changing the node                                                                  hop that is incurred if the request were assigned to a random
membership requires coordination in order to preserve the                                                                       Dynamo node by the load balancer. Writes will either be
properties required of the assignment.                                                                                          forwarded to a node in the key’s preference list or can be



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                                                                                                                                                             KoveIO Compl. Ex. 21
Table 2: Performance of client-driven and server-driven                       shared across all background tasks. A feedback mechanism based
coordination approaches.                                                      on the monitored performance of the foreground tasks is
                                                                              employed to change the number of slices that are available to the
               99.9th         99.9th                                          background tasks.
             percentile     percentile      Average          Average
                read           write          read             write          The admission controller constantly monitors the behavior of
              latency        latency        latency          latency          resource accesses while executing a "foreground" put/get
                (ms)           (ms)           (ms)             (ms)           operation. Monitored aspects include latencies for disk operations,
Server-                                                                       failed database accesses due to lock-contention and transaction
driven          68.9           68.5            3.9            4.02            timeouts, and request queue wait times. This information is used
Client-                                                                       to check whether the percentiles of latencies (or failures) in a
driven          30.4           30.4           1.55             1.9            given trailing time window are close to a desired threshold. For
                                                                              example, the background controller checks to see how close the
                                                                              99th percentile database read latency (over the last 60 seconds) is
coordinated locally if Dynamo is using timestamps based                       to a preset threshold (say 50ms). The controller uses such
versioning.                                                                   comparisons to assess the resource availability for the foreground
An important advantage of the client-driven coordination                      operations. Subsequently, it decides on how many time slices will
approach is that a load balancer is no longer required to uniformly           be available to background tasks, thereby using the feedback loop
distribute client load. Fair load distribution is implicitly                  to limit the intrusiveness of the background activities. Note that a
guaranteed by the near uniform assignment of keys to the storage              similar problem of managing background tasks has been studied
nodes. Obviously, the efficiency of this scheme is dependent on               in [4].
how fresh the membership information is at the client. Currently
clients poll a random Dynamo node every 10 seconds for
                                                                              6.6     Discussion
                                                                              This section summarizes some of the experiences gained during
membership updates. A pull based approach was chosen over a
                                                                              the process of implementation and maintenance of Dynamo.
push based one as the former scales better with large number of
                                                                              Many Amazon internal services have used Dynamo for the past
clients and requires very little state to be maintained at servers
                                                                              two years and it has provided significant levels of availability to
regarding clients. However, in the worst case the client can be
                                                                              its applications. In particular, applications have received
exposed to stale membership for duration of 10 seconds. In case,
                                                                              successful responses (without timing out) for 99.9995% of its
if the client detects its membership table is stale (for instance,
                                                                              requests and no data loss event has occurred to date.
when some members are unreachable), it will immediately refresh
its membership information.                                                   Moreover, the primary advantage of Dynamo is that it provides
                                                        th                    the necessary knobs using the three parameters of (N,R,W) to tune
Table 2 shows the latency improvements at the 99.9 percentile
                                                                              their instance based on their needs.. Unlike popular commercial
and averages that were observed for a period of 24 hours using
                                                                              data stores, Dynamo exposes data consistency and reconciliation
client-driven coordination compared to the server-driven
                                                                              logic issues to the developers. At the outset, one may expect the
approach. As seen in the table, the client-driven coordination
                                                                              application logic to become more complex. However, historically,
approach reduces the latencies by at least 30 milliseconds for
                                                                              Amazon’s platform is built for high availability and many
99.9th percentile latencies and decreases the average by 3 to 4
                                                                              applications are designed to handle different failure modes and
milliseconds. The latency improvement is because the client-
                                                                              inconsistencies that may arise. Hence, porting such applications to
driven approach eliminates the overhead of the load balancer and
                                                                              use Dynamo was a relatively simple task. For new applications
the extra network hop that may be incurred when a request is
                                                                              that want to use Dynamo, some analysis is required during the
assigned to a random node. As seen in the table, average latencies
                                                                              initial stages of the development to pick the right conflict
tend to be significantly lower than latencies at the 99.9th
                                                                              resolution mechanisms that meet the business case appropriately.
percentile. This is because Dynamo’s storage engine caches and
                                                                              Finally, Dynamo adopts a full membership model where each
write buffer have good hit ratios. Moreover, since the load
                                                                              node is aware of the data hosted by its peers. To do this, each
balancers and network introduce additional variability to the
                                                                              node actively gossips the full routing table with other nodes in the
response time, the gain in response time is higher for the 99.9th
                                                                              system. This model works well for a system that contains couple
percentile than the average.
                                                                              of hundreds of nodes. However, scaling such a design to run with
6.5 Balancing background vs. foreground                                       tens of thousands of nodes is not trivial because the overhead in
                                                                              maintaining the routing table increases with the system size. This
tasks                                                                         limitation might be overcome by introducing hierarchical
Each node performs different kinds of background tasks for                    extensions to Dynamo. Also, note that this problem is actively
replica synchronization and data handoff (either due to hinting or            addressed by O(1) DHT systems(e.g., [14]).
adding/removing nodes) in addition to its normal foreground
put/get operations. In early production settings, these background            7. CONCLUSIONS
tasks triggered the problem of resource contention and affected               This paper described Dynamo, a highly available and scalable
the performance of the regular put and get operations. Hence, it              data store, used for storing state of a number of core services of
became necessary to ensure that background tasks ran only when                Amazon.com’s e-commerce platform. Dynamo has provided the
the regular critical operations are not affected significantly. To            desired levels of availability and performance and has been
this end, the background tasks were integrated with an admission              successful in handling server failures, data center failures and
control mechanism. Each of the background tasks uses this                     network partitions. Dynamo is incrementally scalable and allows
controller to reserve runtime slices of the resource (e.g. database),         service owners to scale up and down based on their current




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                                                                                                           KoveIO Compl. Ex. 21
request load. Dynamo allows service owners to customize their                   Principles of Distributed Computing (Newport, Rhode
storage system to meet their desired performance, durability and                Island, United States). PODC '01. ACM Press, New York,
consistency SLAs by allowing them to tune the parameters N, R,                  NY, 170-179.
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Exhibit 22




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AWS News Blog

Amazon S3 Update: New Storage Class and General
Availability of S3 Select
by Jeﬀ Barr | on 04 APR 2018 | in Amazon Simple Storage Services (S3), Launch, News, S3 Select | Permalink |  Share



I’ve got two big pieces of news for anyone who stores and retrieves data in Amazon Simple Storage Service (S3):

New S3 One Zone-IA Storage Class – This new storage class is 20% less expensive than the existing Standard-
IA storage class. It is designed to be used to store data that does not need the extra level of protection provided
by geographic redundancy.

General Availability of S3 Select – This unique retrieval option lets you retrieve subsets of data from S3 objects
using simple SQL expressions, with the possibility for a 400% performance improvement in the process.

Let’s take a look at both!

S3 One Zone-IA (Infrequent Access) Storage Class
This new storage class stores data in a single AWS Availability Zone and is designed to provide eleven 9’s
(99.99999999%) of data durability, just like the other S3 storage classes. Unlike those other classes, it is not
designed to be resilient to the physical loss of an AZ due to major event such as an earthquake or a ﬂood, and
data could be lost in the unlikely event that an AZ is destroyed. S3 One Zone-IA storage gives you a lower cost
option for secondary backups of on-premises data and for data that can be easily re-created. You can also use it
as the target of S3 Cross-Region Replication from another AWS region.

You can specify the use of S3 One Zone-IA storage when you upload a new object to S3:




                                                                                           KoveIO Compl. Ex. 22
You can also make use of it as part of an S3 lifecycle rule:




                                                               KoveIO Compl. Ex. 22
You can set up a lifecycle rule that moves previous versions of an object to S3 One Zone-IA after 30 or more
days:




                                                                                KoveIO Compl. Ex. 22
And you can modify the storage class of an existing object:




You can also manage storage classes using the S3 API, CLI, and CloudFormation templates.

The S3 One Zone-IA storage class can be used in all public AWS regions. As I noted earlier, pricing is 20% lower
than for the S3 Standard-IA storage class (see the S3 Pricing page for more info). There’s a 30 day minimum
retention period, and a 128 KB minimum object size.

General Availability of S3 Select
Randall wrote a detailed introduction to S3 Select last year and showed you how you can use it to retrieve
selected data from within S3 objects. During the preview we added support for server-side encryption and the
ability to run queries from the S3 Console.

I used a CSV ﬁle of airport codes to exercise the new console functionality:




                                                                                 KoveIO Compl. Ex. 22
This ﬁle contains listings for over 9100 airports, so it makes for useful test data but it deﬁnitely does not test
the limits of S3 Select in any way. I select the ﬁle, open the More menu, and choose Select from:




The console sets the ﬁle format and compression according to the ﬁle name and the encryption status. I set
delimiter and click Show ﬁle preview to verify that my settings are correct. Then I click Next to proceed:


                                                                                    KoveIO Compl. Ex. 22
I type SQL expressions in the SQL editor and click Run SQL to issue the query:




                                                                                 KoveIO Compl. Ex. 22
Or:




      KoveIO Compl. Ex. 22
I can also issue queries from the AWS SDKs. I initiate the select operation:



  s3 = boto3.client('s3', region_name='us-west-2')

  r = s3.select_object_content(
          Bucket='jbarr-us-west-2',
          Key='sample-data/airportCodes.csv',
          ExpressionType='SQL',
          Expression="select * from s3object s where s.\"Country (Name)\" like '%Unit
          InputSerialization = {'CSV': {"FileHeaderInfo": "Use"}},
          OutputSerialization = {'CSV': {}},
  )



And then I process the stream of results:


                                                                               KoveIO Compl. Ex. 22
  for event in r['Payload']:
      if 'Records' in event:
          records = event['Records']['Payload'].decode('utf-8')
          print(records)
         elif 'Stats' in event:
             statsDetails = event['Stats']['Details']
             print("Stats details bytesScanned: ")
             print(statsDetails['BytesScanned'])
             print("Stats details bytesProcessed: ")
             print(statsDetails['BytesProcessed'])


S3 Select is available in all public regions and you can start using it today. Pricing is based on the amount of
data scanned and the amount of data returned.

— Jeﬀ;




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                                                                                   KoveIO Compl. Ex. 22
Exhibit 23




             KoveIO Compl. Ex. 23
                                               Cloud Infrastructure Architect - Chicago - Job ID: 583645 - Amazon.jobs


   Cloud Infrastructure Architect - Chicago
   Job ID: 583645 | Amazon Web Services, Inc.




   DESCRIPTION
   Would you like to gain the deepest customer and partner insights while maximizing the value of cloud computing technologies?


   Do you want to work for the most customer centric company on earth?


   At AWS, we’re hiring highly technical cloud computing consultants to help our partners develop technical expertise and capacity, while
   also collaborating with our customers and partners on key engagements. Our consultants will deliver proof-of-concept projects, topical
   workshops, and lead implementation projects. These professional services engagements will focus on key customer solutions such
   as, web applications, enterprise applications, HPC, batch processing and big data, archiving and disaster recovery, education and
   government.


   Amazon aims to be the most customer centric company on earth. Amazon Web Services (AWS) provides a highly reliable, scalable,
   low-cost infrastructure platform in the cloud that powers critical applications for hundreds of thousands of businesses in 190 countries
   around the world.


   Responsibilities include:
   · Expertise - Collaborate with AWS field sales, pre-sales, training and support teams to help partners and customers learn and use
   AWS services such as Amazon Elastic Compute Cloud (EC2), Amazon Simple Storage Service (S3), Amazon SimpleDB/RDS
   databases, AWS Identity and Access Management (IAM), etc.
   · Solutions - Define and deliver on-site technical engagements with partners and customers. This includes participating in pre-sales
   on-site visits, understanding customer requirements, and proposing and delivering packaged offerings, and delivering custom solution
   engagements.
   · Delivery - Engagements include short on-site projects proving the use of AWS services to support new distributed computing
   solutions that often span private cloud and public cloud services. Engagements will include migration of existing applications and
   development of new applications using AWS cloud services.
   · Insights - Work with AWS engineering and support teams to convey partner and customer needs and feedback as input to
   technology roadmaps. Share real world implementation challenges and recommend new capabilities that would simplify adoption and
   drive greater value from use of AWS cloud services.



   BASIC QUALIFICATIONS
   · Customer facing skills to represent AWS well within the customer’s environment and drive discussions with senior personnel
   regarding trade-offs, best practices, project management and risk mitigation
   · Demonstrated ability to think strategically about business, product, and technical challenges
   · Highly technical and analytical, possessing 7 or more years of IT implementation experience
   · Deep hands-on experience leading the design, development and deployment of business software at scale or current hands on
   technology infrastructure, network, compute, storage, and virtualization experience


https://www.amazon.jobs/en/jobs/583645/cloud-infrastructure-architect-chicago                                                                 1/2
                                                                                                             KoveIO Compl. Ex. 23
                                               Cloud Infrastructure Architect - Chicago - Job ID: 583645 - Amazon.jobs

   · Proven experience with software development life cycle (SDLC) and agile/iterative methodologies required
   · Strong track record of implementing AWS services in a variety of distributed computing environments
   · Integration of AWS cloud services with on-premise technologies from Microsoft, IBM, Oracle, HP, SAP etc.
   · Experience with IT compliance and risk management requirements (eg. security, privacy, SOX, HIPAA etc.)
   · BS level technical degree required; Computer Science or Math background preferred; MS degree desired
   · Extended travel to customer locations may be required to sell and deliver professional services as needed



   PREFERRED QUALIFICATIONS
   · Managing Customer relationships through Service excellence.
   · IT Advisory services and Consulting skills.
   · Intermediate/advanced knowledge of the primary AWS services (EC2, ELB, RDS, Route53 & S3).
   · Leading highly-available and fault-tolerant enterprise and web-scale software deployments.
   · Infrastructure automation through DevOps scripting (E.g. shell, Python, Ruby, Powershell).
   · Configuration management using CloudFormation, Chef & Puppet.
   · Strong practical Linux and Windows-based systems administration skills in a Cloud or Virtualized environment.
   · Experience managing data center operations, including data assurance, monitoring, alerting and notifications.




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https://www.amazon.jobs/en/jobs/583645/cloud-infrastructure-architect-chicago                                                         2/2
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Exhibit 24




             KoveIO Compl. Ex. 24
AWS Management Console
   Getting Started Guide
        Version 1.0




                      KoveIO Compl. Ex. 24
                                      AWS Management Console Getting Started Guide




AWS Management Console: Getting Started Guide
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                                        AWS Management Console Getting Started Guide




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                           AWS Management Console Getting Started Guide
                              What Is the AWS Management Console?




Working with the AWS Management
Console
     Welcome to the AWS Management Console. This guide provides a short introduction to working with the
     console. To learn how to work with individual services in the console, see AWS Documentation.

     Topics
      • What Is the AWS Management Console? (p. 1)
      • Getting Started with a Service (p. 1)
      • Adding and Removing Shortcuts (p. 2)
      • Choosing a Region (p. 2)
      • Changing Your Password (p. 2)
      • Getting Billing Information (p. 3)
      • Using the Device of Your Choice (p. 3)
      • Troubleshooting (p. 3)



What Is the AWS Management Console?
     The AWS Management Console is a web application that comprises and refers to a broad collection of
     service consoles for managing Amazon Web Services. When you ﬁrst sign in, you see the console home
     page.

     The home page provides access to each service console as well as an intuitive user interface for exploring
     AWS and getting helpful tips. Among other things, the individual service consoles oﬀer tools for
     working with Amazon S3 buckets, launching and connecting to Amazon EC2 instances, setting Amazon
     CloudWatch alarms, and getting information about your account and about billing.



Getting Started with a Service
     The AWS Management Console provides multiple ways for navigating to individual service consoles.

     To open a console for a service

     Do one of the following:

     • Enter the name of the service in the search box. Then choose the service that you want from the list of
       search results.
     • Choose one of your recently visited services under the search box.


     • Choose Services to open a full list of services. On the upper right of the page, choose Group to see the
       services listed by category or choose A–Z to see an alphabetical listing. Then choose the service that
       you want.



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                                 Adding and Removing Shortcuts



Adding and Removing Shortcuts
    You can add shortcuts for the consoles that you use most.

    To add a shortcut

    1.   On the navigation bar, choose the pushpin icon.
    2.   Drag a service from the menu to the navigation bar.

         You can add more shortcuts and drop them onto the navigation bar in any order that you want.


    To remove a shortcut

    1.   On the navigation bar, choose the pushpin icon.
    2.   Drag the shortcut oﬀ the navigation bar.



Choosing a Region
    For many services, you can choose a Region that speciﬁes where your resources are managed. You do not
    choose a Region for the AWS Management Console or for some services, such as IAM.

    To choose a Region

    1.   In the AWS Management Console, choose a service (p. 1) to go to that service's console.
    2.   On the navigation bar, choose the name of the currently displayed Region.

         When you choose a Region, that Region becomes the default in the console.


         Note
         If you have created AWS resources, but you don’t see those resources in the console, the console
         might be displaying resources from a diﬀerent Region. Some resources (such as EC2 instances)
         are created in a speciﬁc Region. To see them, use the Region selector to choose the Region in
         which the resources were created.



Changing Your Password
    If you are an account owner, you can change your AWS account password from the AWS Management
    Console.

    To change your password

    1.   On the navigation bar, choose your account name.




    2.   Choose Security Credentials.
    3.   The page that you see varies with the type of account that you used to sign in. Follow the console
         instructions to get to the page for changing your password.
    4.   Enter your current password once and your new password twice.

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                                   Getting Billing Information


          The new password must be at least eight characters long and must include a symbol, a number, an
          uppercase letter, and a lowercase letter.
     5.   When you've completed the password form, choose Change Password or Save changes.



Getting Billing Information
     If you have the necessary permissions, you can get information about your AWS charges from the
     console.

     To get your billing information

     1.   On the navigation bar, choose your account name.
     2.   Choose My Billing Dashboard.
     3.   Use the AWS Billing and Cost Management dashboard to ﬁnd a summary and a breakdown of your
          monthly spending. To learn more, see the AWS Billing and Cost Management User Guide.



Using the Device of Your Choice
     The AWS Management Console has been designed to work on tablets as well as other kinds of devices:

     • Horizontal and vertical space is maximized to show more on your screen.


     • Buttons and selectors are larger for a better touch experience.


     The AWS Management Console is also available as an app for Android and iOS. This app provides mobile-
     relevant tasks that are a good companion to the full web experience. For example, you can easily view
     and manage your existing Amazon EC2 instances and Amazon CloudWatch alarms from your phone.

     You can download the AWS Console mobile app from Amazon Appstore, Google Play, or iTunes.



Troubleshooting
     Consult this section to ﬁnd solutions to common problems with the AWS Management Console.


     Fix Page Load Issues with Internet Explorer 11
     If you use the AWS Management Console with Internet Explorer 11, the browser might fail to load some
     pages of the console. This is a problem related to Internet Explorer's Compatibility View. To address
     this issue, in Internet Explorer, open Compatibility View Settings and disable Display intranet sites in
     Compatibility View.

     For more information, see Fix site display problems with Compatibility View.




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                                  What Are Resource Groups?




Working with Resource Groups
         Note
         This content describes legacy Resource Groups. For information about the new AWS Resource
         Groups service, see the AWS Resource Groups User Guide.

    You can maximize your eﬀectiveness with AWS oﬀerings by working with resource groups. This guide
    provides a short introduction to creating and managing resource groups in the AWS Management
    Console. To learn more about the AWS Management Console in general, see Working with the AWS
    Management Console (p. 1).

    To work with resource groups

    1.   Sign in to the AWS Management Console.
    2.   On the navigation bar, choose Resource Groups.
    3.   Choose the name of an existing resource group or choose Create a Resource Group.


    Topics
     • What Are Resource Groups? (p. 4)
     • Obtaining Permissions for Resource Groups and Tag Editor (p. 6)
     • Creating a Resource Group (p. 9)
     • Supported Resources (p. 11)
     • Accessing a Resource Group (p. 13)
     • Managing Resources (p. 14)
     • Managing Resource Groups (p. 15)



What Are Resource Groups?
         Note
         This content describes legacy Resource Groups. For information about the new AWS Resource
         Groups service, see the AWS Resource Groups User Guide.

    In AWS, a resource is an entity that you can work with. Examples include an Amazon EC2 instance, an
    AWS CloudFormation stack, and an Amazon S3 bucket. If you work with multiple resources, you might
    ﬁnd it useful to manage them as a group rather than move from one AWS service to another for each
    task.

    Resource Groups helps you do just that. By default, the AWS Management Console is organized by
    AWS service. But with the Resource Groups tool, you can create a custom console that organizes and
    consolidates information based on your project and the resources that you use. If you manage resources
    in multiple regions, you can create a resource group to view resources from diﬀerent regions on the same
    page.

    Resource Groups can display metrics, alarms, and conﬁguration details. If you need more detailed
    information or you want to change a setting for a given resource, choosing a link takes you to the page
    you need.

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                               What Are Resource Groups?




For example, let's say you are developing a web application, and you are maintaining separate sets
of resources for your alpha, beta, and release environments. Each version runs on Amazon EC2 with
an Amazon Elastic Block Store storage volume. You use Elastic Load Balancing to manage traﬃc
and Route 53 to manage your domain. Without the Resource Groups tool, you might have to access
multiple consoles just to check the status of your services or modify the settings for one version of your
application.

With the Resource Groups tool, you use a single page to view and manage your resources. For example,
let’s say you use the tool to create a resource group for each version—alpha, beta, and release—of
your application. To check your resources for the alpha version of your application and see whether any
CloudWatch alarms have been triggered, simply open your resource group. Then view the consolidated
information on your resource group page. To modify a speciﬁc resource, choose the appropriate links on
your resource group page to quickly access the service console with the settings that you need.

As other examples, you could also use the Resources Groups tool for the following types of projects:

• A blog that has diﬀerent phases, such as development, staging, and production



• Projects managed by multiple departments or individuals



• A set of AWS resources that you use together for a common project or that you want to manage or
  monitor as a group


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                                   How Resource Groups Work



    How Resource Groups Work
    A resource group is a collection of resources that share one or more tags or portions of tags. To create a
    resource group, you simply identify the tags that contain the items that members of the group should
    have in common.

    If you or your administrator uses the AWS Identity and Access Management (IAM) service to create
    multiple users in the same account, those users have their own individual resource groups. These groups
    are not visible to other users. However, each user can share a resource group with others in the same
    account by sharing a URL, which lets another user create a resource group with the same parameters. For
    information about creating IAM users, see Creating an IAM User in the IAM User Guide. For information
    about sharing resources, see Sharing a Resource Group (p. 17).

    The tags themselves function like properties of a resource, so they are shared across the entire account.
    That way, users in a department can draw from a common vocabulary (tags) within the department
    or account to create resource groups that are meaningful to their roles and responsibilities. Having a
    common pool of tags also means that when users share a resource group (p. 17), they don't have to
    worry about missing or conﬂicting tag information.

    How Tagging Works
    Tags are words or phrases that act as metadata for organizing your AWS resources. With most AWS
    resources, you have the option of adding tags when you create the resource, whether it's an Amazon EC2
    instance, an Amazon S3 bucket, or other resource. However, you can also add tags to multiple resources
    at once by using Tag Editor. You simply search for resources of various types and then add, remove, or
    replace tags for the resources in your search results.

    For more information about Tag Editor, see Working with Tag Editor (p. 18) in this guide. For more
    information about tagging, see Tag Basics in the Amazon EC2 User Guide for Linux Instances.



Obtaining Permissions for Resource Groups and
Tag Editor
        Note
        This content describes legacy Resource Groups. For information about the new AWS Resource
        Groups service, see the AWS Resource Groups User Guide. The managed policies that are
        used for legacy Resource Groups, ResourceGroupsandTagEditorFullAccess and
        ResourceGroupsandTagEditorReadOnlyAccess do not grant access to the new AWS
        Resource Groups service.

    To make full use of Resource Groups and Tag Editor, you might need additional permissions to tag
    resources or to see a resource's tag keys and values. These permissions fall into two categories:

    • Permissions for individual services so that you can tag resources from those services and include them
      in resource groups
    • Permissions that are required to use the Resource Groups and Tag Editor consoles


    If you need additional permissions, contact your administrator and request the permissions that you
    need.

    If you are an administrator, you can provide permissions for your users by creating policies through
    the AWS Identity and Access Management (AWS IAM) service. You ﬁrst create IAM users or groups, and
    then apply the policies with the permissions that they need. For general information about creating and
    attaching IAM policies, see Working with Policies.

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                            Permissions for Individual Services



Permissions for Individual Services
     Important
     This section describes permissions required for individual services if you want to tag resources
     from those services' consoles and APIs and include them in resource groups.

As explained in How Resource Groups Work (p. 6), each resource group represents a collection of
resources that share one or more tag keys or values. In order to add tags to a resource, you need the
necessary permissions for the service that the resource belongs to. For example, if you want to tag
Amazon EC2 instances, your administrator must give you permissions to the tagging actions in that
service's API, such as those listed in the Amazon EC2 user guide.

In addition, to make full use of the Resource Groups feature, you need other permissions that allow
you to access a service's console and interact with the resources there. For examples of such policies for
Amazon EC2, see Example Policies for Working in the Amazon EC2 Console in the Amazon EC2 User Guide
for Linux Instances.

Granting Permissions for Using Resource Groups and
Tag Editor
     Important
     This section describes permissions that are required if you want to tag resources via the the
     Resource Groups and Tag Editor consoles and Resource Groups Tagging APIs.
     If you want to tag resources that belong to AWS services from those services' individual consoles
     or APIs, see the above section - Permissions for Individual Services.

If you’re an administrator, you can grant permissions to others to use Resource Groups and Tag Editor. To
do that, you create and attach IAM policies to users, groups, or roles. For information about creating and
working with users, groups, and roles, see Identities (Users, Groups, and Roles) in the IAM User Guide. To
attach a policy for Resources Groups and Tag Editor, see the following procedures.

Using AWS Managed Policies for Resource Groups and Tag
Editor
The easiest way to attach a policy is to use one of the AWS managed policies found in the AWS
Management Console. It provides a full-access policy as well as a read-only policy for the Resource
Groups and Tag Editor services. For more information about managed IAM policies, see Managed Policies
and Inline Policies in the IAM User Guide.

To attach a Resource Groups and Tag Editor policy to an IAM user or group

1.   Sign in to the AWS Management Console and open the IAM console at https://
     console.aws.amazon.com/iam/.
2.   In the navigation pane, choose Policies.
3.   In the Filter: Policy Type search box, start typing ResourceGroupsandTagEditor to display the
     Resource Groups and Tag Editor policies.
4.   Select the check box next to the policy that you want:

     • ResourceGroupsandTagEditorReadOnlyAccess allows users to access and use Resource Groups
       and Tag Editor but does not allow them to edit tags in the Tag Editor.


     • ResourceGroupsandTagEditorFullAccess allows users complete use of all Resource Groups and
       Tag Editor features.
5.   Choose Policy Actions, and then choose Attach.

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                             Resource Groups and Tag Editor

6.   Select the check box next to the name of each user or group that you want the policy to apply to,
     and then choose Attach policy.


Creating Your Own IAM Policies for Resource Groups and Tag
Editor
If the built-in IAM policies (known as AWS managed policies) for Resource Groups and Tag Editor do not
meet your needs, you can create your own. For information about creating IAM policies, see Overview of
IAM Policies. Then use the following examples of IAM policies as a guide to creating the policies that you
need.

The tag:getResources permission is required to list resources that share a particular tag, such as
when viewing a Resource Group or searching for resources in Tag Editor. You could grant this permission
by using a policy like the following:

{
     "Version" : "2012-10-17",
     "Statement" : [{
        "Effect" : "Allow",
        "Action" : "tag:GetResources",
        "Resource" : "*"
     }]
}


Additional permissions are required to get full use of the Resource Groups and Tag Editors consoles. The
tag:getTagKeys and tag:getTagValues permissions allow you to see existing tag keys and values
for resources in your account. You can grant both permissions by using a policy like the following:

{
     "Version" : "2012-10-17",
     "Statement" : [{
         "Effect" : "Allow",
         "Action" : [
            "tag:GetTagKeys",
            "tag:GetTagValues"
        ],
         "Resource" : "*"
     }]
}


To use these consoles to add and remove tags, you need the permissions in the following policy:

{
     "Version" : "2012-10-17",
     "Statement" : [{
         "Effect" : "Allow",
         "Action" : [
            "tag:AddResourceTags",
            "tag:RemoveResourceTags",
            "tag:TagResources",
            "tag:UntagResources"
        ],
         "Resource" : "*"
     }]
}


Finally, the following policy ensures that users have access to all features of Resource Groups and Tag
Editor.

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                                   Creating a Resource Group



    {
        "Version" : "2012-10-17",
        "Statement" : [{
           "Effect" : "Allow",
           "Action" : "tag:*",
           "Resource" : "*"
        }]
    }




Creating a Resource Group
        Note
        This content describes legacy Resource Groups. For information about the new AWS Resource
        Groups service, see the AWS Resource Groups User Guide.

    To create a resource group, you start by tagging your resources (if you have not already done so). Next,
    you create a view of resources that have common tags or common strings in those tags. You can create
    your own custom tags or use tags created by others in your same account. You also can use the tags
    that AWS automatically creates, such as the stack name in AWS CloudFormation. To use Tag Editor to
    add, remove, and manage tags, see Working with Tag Editor (p. 18). For a list of ways to tag resources
    within their respective services, see Applying Tags.

    Every tag consists of a key and a value. In search engine terms, adding values is like searching for them
    with the OR operator (all items found are included). But adding keys is like searching for them with AND
    (only items with all keys are included). As a result, adding more values to each tag key that you specify
    can increase the size of your resource group, but adding more keys might reduce the group size.

    For example, suppose that you have an account with only two resources, a pair of Amazon EC2 instances.
    To each instance you assign a tag with the key name Stack. One of the stack keys has the value
    Production and the other has the value Test. One of the instances also has a tag with the key name
    Owner and the value Jan.




    If you create a resource group with the Stack key and both Production and Test values, your group
    has two members. If you then add the Owner key to your group deﬁnition, your group shrinks to one
    because only one instance has that key.

    You can also create groups based on a portion of a tag value. For example, if you have alpha, beta,
    and release versions of a project, you might have a naming scheme for each resource's name key that
    includes multiple points of information. For example, you might have several Amazon S3 buckets whose
    Name keys have values like John Alpha Bucket, John Beta Bucket, Mary Alpha Bucket, and so on. To

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                                Creating a Resource Group


create a resource group for your alpha version, you would specify only tags whose value includes Alpha.
Or you could create a group of all buckets by specifying that the tag value include Bucket.

Not every AWS resource can be included in a resource group. For a list of currently supported resources,
see Supported Resources (p. 11).

To create a resource group, you begin by searching for tags or tag strings that your group has in
common. You perform this search either on the Create a resource group page or with Tag Editor.

To create a resource group

1.   Sign in to the AWS Management Console. On the navigation bar, choose Resource Groups, and then
     choose Create a Resource Group.
2.   On the Create a resource group page, for Group name, type a name for your group.
3.   For Tags, choose the name of a tag key in the ﬁrst box. You can type in the box to search for a key
     based on characters it contains.
4.   (Optional) Choose the box next to that and do any of the following:

     • Leave the box empty to ﬁnd tags with the speciﬁed key and any value.



     • Select Empty value to ﬁnd tags with the speciﬁed key but no value.



     • Type one or more characters to ﬁnd the values that you are looking for. Select a value from the
       list to ﬁnd an exact match or select the Contains: option to ﬁnd values that contain the characters
       that you typed.

       If you don’t see any values listed, you might not have permissions to view available tags. In that
       case, you can simply type in a complete value and press Enter to start searching.



     • Choose the x next to an item that you added to remove it from the search criteria.


     You can repeat any of the preceding steps to search for multiple values for each tag key. Resources
     whose values have any of the criteria for that particular key are included in the resource group. The
     searches are case sensitive.

     For more information about tag keys and values, see What Is a Tag?
         Note
         Before a key and its values appear in the autocomplete list, they must have been applied to
         at least one resource in the current account. If you don’t see a tag that you just applied to a
         resource, try refreshing your browser window.
         If the autocomplete list still doesn't work, you might need to contact your administrator
         to get the necessary permissions. For more information, see Obtaining Permissions for
         Resource Groups and Tag Editor (p. 6).
5.   (Optional) To further reﬁne your group, use another row of Tags boxes to specify more tag keys and
     values. The group now contains only those resources that have all the speciﬁed tags, so the more
     tags that you specify, the fewer resources your group contains. If you change your mind, choose
     Remove next to any row.
6.   (Optional) For Regions, choose the regions that you want to include in your group. Repeat for as
     many regions as you want. To remove a region, choose the x by its name. Leave the box empty to
     include all regions.

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                                      Supported Resources


    7.   (Optional) For Resource types, choose the kind of resources that you want to include in your group.
         Repeat for as many resource types as you want. To remove a resource type, choose the x by its name.
         Leave the box empty to include all resource types.
    8.   (Optional) When you have your preferred settings, choose Preview to see which resources are
         included based on your current settings. You can change any of the previous settings, and then
         choose Preview again.
    9.   When you are satisﬁed with your group, choose Save.


    If you need to change the settings later, see Modifying What Resources Are in a Group (p. 15).

    To create a resource group from Tag Editor search results

    1.   In Tag Editor, search for the resources (p. 18) that you want in your group. You must include at
         least one tag key in your search.
    2.   When the search is complete, choose View as resource group.
    3.   In the space provided, type a name for your resource group.
    4.   (Optional) Modify the settings for the resource group as explained in the preceding procedure. To
         see your changes, choose Preview.
    5.   When you are satisﬁed with your group, choose Save.



Supported Resources
         Note
         This content describes legacy Resource Groups. For information about the new AWS Resource
         Groups service, see the AWS Resource Groups User Guide.

    You can add tags to your AWS resources from the AWS Management Console.

    Topics
     • Supported Resources for Resource Groups (Console) (p. 11)
     • Supported Resources for Tag Editor Tagging (Console) (p. 12)



    Supported Resources for Resource Groups (Console)
    You can use the Resource Groups tool in the AWS Management Console to create resource groups for the
    following tagged AWS resources. For more information, see Creating a Resource Group (p. 9).


     Service                                                Resources

     AWS CloudFormation                                     • Stack

     AWS Elastic Beanstalk                                  • Environment

     Amazon Elastic Compute Cloud (Amazon EC2)              • Instance
                                                            • Load balancer
                                                            • Security group
                                                            • Snapshot
                                                            • Volume

     Amazon ElastiCache                                     • Cache cluster

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       Console User Guide




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                                     Amazon Simple Storage Service Console User Guide




Amazon Simple Storage Service: Console User Guide
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Welcome to the Amazon S3 Console
User Guide
   Welcome to the Amazon Simple Storage Service Console User Guide for the Amazon Simple Storage
   Service (Amazon S3) console.

   Amazon S3 provides virtually limitless storage on the internet. This guide explains how you can manage
   buckets, objects, and folders in Amazon S3 by using the AWS Management Console, a browser-based
   graphical user interface for interacting with AWS services.

   For detailed conceptual information about how Amazon S3 works, see What Is Amazon S3? in the
   Amazon Simple Storage Service Developer Guide. The developer guide also has detailed information about
   Amazon S3 features and code examples to support those features.

   Topics

   • Creating and Conﬁguring an S3 Bucket (p. 2)
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                                        Creating a Bucket




Creating and Conﬁguring an S3
Bucket
    Amazon S3 is cloud storage for the Internet. To upload your data (photos, videos, documents etc.), you
    ﬁrst create a bucket in one of the AWS Regions. You can then upload your data objects to the bucket.

    Every object you store in Amazon S3 resides in a bucket. You can use buckets to group related objects in
    the same way that you use a directory to group ﬁles in a ﬁle system.

    Amazon S3 creates buckets in the AWS Region that you specify. You can choose any AWS Region that is
    geographically close to you to optimize latency, minimize costs, or address regulatory requirements. For
    example, if you reside in Europe, you might ﬁnd it advantageous to create buckets in the EU (Ireland) or
    EU (Frankfurt) regions. For a list of Amazon S3 AWS Regions, see Regions and Endpoints in the Amazon
    Web Services General Reference.

    You are not charged for creating a bucket. You are only charged for storing objects in the bucket and for
    transferring objects out of the bucket. For more information about pricing, see Amazon Simple Storage
    Service (S3) FAQs.

    Amazon S3 bucket names are globally unique, regardless of the AWS Region in which you create the
    bucket. You specify the name at the time you create the bucket. For bucket naming guidelines, see
    Bucket Restrictions and Limitations in the Amazon Simple Storage Service Developer Guide.

    The following topics explain how to use the Amazon S3 console to create, delete, and manage buckets.

    Topics
     • How Do I Create an S3 Bucket? (p. 2)
     • How Do I Delete an S3 Bucket? (p. 7)
     • How Do I Empty an S3 Bucket? (p. 9)
     • How Do I View the Properties for an S3 Bucket? (p. 10)
     • How Do I Enable or Suspend Versioning for an S3 Bucket? (p. 11)
     • How Do I Enable Default Encryption for an S3 Bucket? (p. 12)
     • How Do I Enable Server Access Logging for an S3 Bucket? (p. 14)
     • How Do I Enable Object-Level Logging for an S3 Bucket with AWS CloudTrail Data Events? (p. 16)
     • How Do I Conﬁgure an S3 Bucket for Static Website Hosting? (p. 19)
     • How Do I Redirect Requests to an S3 Bucket Hosted Website to Another Host? (p. 22)
     • Advanced Settings for S3 Bucket Properties (p. 23)



How Do I Create an S3 Bucket?
    Before you can upload data to Amazon S3, you must create a bucket in one of the AWS Regions to store
    your data in. After you create a bucket, you can upload an unlimited number of data objects to the
    bucket.


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Buckets have conﬁguration properties, including their geographical region, who has access to the objects
in the bucket, and other metadata.

To create an S3 bucket

1.   Sign in to the AWS Management Console and open the Amazon S3 console at https://
     console.aws.amazon.com/s3/.
2.   Choose Create bucket.




3.   On the Name and region page, type a name for your bucket and choose the AWS Region where you
     want the bucket to reside. Complete the ﬁelds on this page as follows:

     a.   For Bucket name, type a unique DNS-compliant name for your new bucket. Follow these
          naming guidelines:

          • The name must be unique across all existing bucket names in Amazon S3.
          • The name must not contain uppercase characters.
          • The name must start with a lowercase letter or number.
          • The name must be between 3 and 63 characters long.
          • After you create the bucket you cannot change the name, so choose wisely.
          • Choose a bucket name that reﬂects the objects in the bucket because the bucket name is
            visible in the URL that points to the objects that you're going to put in your bucket.


          For information about naming buckets, see Rules for Bucket Naming in the Amazon Simple
          Storage Service Developer Guide.
     b.   For Region, choose the AWS Region where you want the bucket to reside. Choose a Region close
          to you to minimize latency and costs, or to address regulatory requirements. Objects stored in
          a Region never leave that Region unless you explicitly transfer them to another Region. For a
          list of Amazon S3 AWS Regions, see Regions and Endpoints in the Amazon Web Services General
          Reference.
     c.   (Optional) If you have already set up a bucket that has the same settings that you want to use
          for the new bucket that you want to create, you can set it up quickly by choosing Copy settings
          from an existing bucket, and then choosing the bucket whose settings you want to copy.

          The settings for the following bucket properties are copied: versioning, tags, and logging.
     d.   Do one of the following:

          • If you copied settings from another bucket, choose Create. You're done, so skip the following
            steps.
          • If not, choose Next.




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                                      Uploading S3 Objects




Uploading, Downloading, and
Managing Objects
    Amazon S3 is cloud storage for the Internet. To upload your data (photos, videos, documents etc.),
    you ﬁrst create a bucket in one of the AWS Regions. You can then upload an unlimited number of data
    objects to the bucket.

    The data that you store in Amazon S3 consists of objects. Every object resides within a bucket that you
    create in a speciﬁc AWS Region. Every object that you store in Amazon S3 resides in a bucket.

    Objects stored in a region never leave the region unless you explicitly transfer them to another region.
    For example, objects stored in the EU (Ireland) region never leave it. The objects stored in an AWS region
    physically remain in that region. Amazon S3 does not keep copies of objects or move them to any other
    region. However, you can access the objects from anywhere, as long as you have necessary permissions
    to do so.

    Before you can upload an object into Amazon S3, you must have write permissions to a bucket.

    Objects can be any ﬁle type: images, backups, data, movies, etc. The maximum size of ﬁle you can upload
    by using the Amazon S3 console is 78GB. You can have an unlimited number of objects in a bucket.

    The following topics explain how to use the Amazon S3 console to upload, delete, and manage objects.

    Topics
     • How Do I Upload Files and Folders to an S3 Bucket? (p. 31)
     • How Do I Download an Object from an S3 Bucket? (p. 40)
     • How Do I Delete Objects from an S3 Bucket? (p. 43)
     • How Do I Undelete a Deleted S3 Object? (p. 45)
     • How Do I Restore an S3 Object That Has Been Archived to Amazon Glacier? (p. 46)
     • How Do I See an Overview of an Object? (p. 50)
     • How Do I See the Versions of an S3 Object? (p. 53)
     • How Do I View the Properties of an Object? (p. 54)
     • How Do I Add Encryption to an S3 Object? (p. 56)
     • How Do I Add Metadata to an S3 Object? (p. 59)
     • How Do I Add Tags to an S3 Object? (p. 64)
     • How do I use folders in an S3 Bucket? (p. 67)



How Do I Upload Files and Folders to an S3
Bucket?
    This topic explains how to use the AWS Management Console to upload one or more ﬁles or entire
    folders to an Amazon S3 bucket. Before you can upload ﬁles and folders to an Amazon S3 bucket,
    you need write permissions for the bucket. For more information about access permissions, see


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Setting Bucket and Object Access Permissions (p. 105). For information about uploading ﬁles
programmatically, see Uploading Objects in the Amazon Simple Storage Service Developer Guide.

When you upload a ﬁle to Amazon S3, it is stored as an S3 object. Objects consist of the ﬁle data and
metadata that describes the object. You can have an unlimited number of objects in a bucket.

You can upload any ﬁle type—images, backups, data, movies, etc.—into an S3 bucket. The maximum size
of a ﬁle that you can upload by using the Amazon S3 console is 78 GB.

You can upload ﬁles by dragging and dropping or by pointing and clicking. To upload folders, you must
drag and drop them. Drag and drop functionality is supported only for the Chrome and Firefox browsers.
For information about which Chrome and Firefox browser versions are supported, see Which Browsers
are Supported for Use with the AWS Management Console?.

When you upload a folder, Amazon S3 uploads all of the ﬁles and subfolders from the speciﬁed folder to
your bucket. It then assigns an object key name that is a combination of the uploaded ﬁle name and the
folder name. For example, if you upload a folder called /images that contains two ﬁles, sample1.jpg
and sample2.jpg, Amazon S3 uploads the ﬁles and then assigns the corresponding key names,
images/sample1.jpg and images/sample2.jpg. The key names include the folder name as a preﬁx.
The Amazon S3 console displays only the part of the key name that follows the last “/”. For example,
within an images folder the images/sample1.jpg and images/sample2.jpg objects are displayed as
sample1.jpg and a sample2.jpg.

If you upload individual ﬁles and you have a folder open in the Amazon S3 console, when Amazon S3
uploads the ﬁles, it includes the name of the open folder as the preﬁx of the key names. For example,
if you have a folder named backup open in the Amazon S3 console and you upload a ﬁle named
sample1.jpg, the key name is backup/sample1.jpg. However, the object is displayed in the console
as sample1.jpg in the backup folder.

If you upload individual ﬁles and you do not have a folder open in the Amazon S3 console, when Amazon
S3 uploads the ﬁles, it assigns only the ﬁle name as the key name. For example, if you upload a ﬁle
named sample1.jpg, the key name is sample1.jpg. For more information on key names, see Object
Key and Metadata in the Amazon Simple Storage Service Developer Guide.

If you upload an object with a key name that already exists in a versioning-enabled bucket, Amazon
S3 creates another version of the object instead of replacing the existing object. For more information
about versioning, see How Do I Enable or Suspend Versioning for an S3 Bucket? (p. 11).

Topics
 • Uploading Files and Folders by Using Drag and Drop (p. 32)
 • Uploading Files by Pointing and Clicking (p. 37)
 • More Info (p. 39)



Uploading Files and Folders by Using Drag and Drop
If you are using the Chrome or Firefox browsers, you can choose the folders and ﬁles to upload, and then
drag and drop them into the destination bucket. Dragging and dropping is the only way that you can
upload folders.

To upload folders and ﬁles to an S3 bucket by using drag and drop

1.   Sign in to the AWS Management Console and open the Amazon S3 console at https://
     console.aws.amazon.com/s3/.
2.   In the Bucket name list, choose the name of the bucket that you want to upload your folders or ﬁles
     to.


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3.   In a window other than the console window, select the ﬁles and folders that you want to upload.
     Then drag and drop your selections into the console window that lists the objects in the destination
     bucket.




     The ﬁles you chose are listed in the Upload dialog box.
4.   In the Upload dialog box, do one of the following:

     a.   Drag and drop more ﬁles and folders to the console window that displays the Upload dialog
          box. To add more ﬁles, you can also choose Add more ﬁles. This option works only for ﬁles, not
          folders.
     b.   To immediately upload the listed ﬁles and folders without granting or removing permissions
          for speciﬁc users or setting public permissions for all of the ﬁles that you're uploading, choose
          Upload. For information about object access permissions, see How Do I Set Permissions on an
          Object? (p. 107).
     c.   To set permissions or properties for the ﬁles that you are uploading, choose Next.




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5.   On the Set Permissions page, under Manage users you can change the permissions for the AWS
     account owner. The owner refers to the AWS account root user, and not an AWS Identity and Access
     Management (IAM) user. For more information about the root user, see The AWS Account Root User.

     Choose Add account to grant access to another AWS account. For more information about granting
     permissions to another AWS account, see How Do I Set ACL Bucket Permissions? (p. 111).

     Under Manage public permissions you can grant read access to your objects to the general
     public (everyone in the world), for all of the ﬁles that you're uploading. Granting public read
     access is applicable to a small subset of use cases such as when buckets are used for websites. We
     recommend that you do not change the default setting of Do not grant public read access to this
     object(s). You can always make changes to object permissions after you upload the object. For
     information about object access permissions, see How Do I Set Permissions on an Object? (p. 107).

     When you're done conﬁguring permissions, choose Next.




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6.   On the Set Properties page, choose the storage class and encryption method to use for the ﬁles
     that you are uploading. You can also add or modify metadata.

     a.   Choose a storage class for the ﬁles you're uploading. For more information about storage
          classes, see Storage Classes in the Amazon Simple Storage Service Developer Guide.
     b.   Choose the type of encryption for the ﬁles that you're uploading. If you don't want to encrypt
          them, choose None.




          i.   To encrypt the uploaded ﬁles using keys that are managed by Amazon S3, choose Amazon
               S3 master-key. For more information, see Protecting Data with Amazon S3-Managed
               Encryption Keys Classes in the Amazon Simple Storage Service Developer Guide.



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     ii.   To encrypt the uploaded ﬁles using the AWS Key Management Service (AWS KMS), choose
           AWS KMS master-key. Then choose a master key from the list of AWS KMS master keys.
               Note
               To encrypt objects in a bucket, you can use only keys that are available in the same
               AWS Region as the bucket.

           You can give an external account the ability to use an object that is protected by an AWS
           KMS key. To do this, select Custom KMS ARN from the list and enter the Amazon Resource
           Name (ARN) for the external account. Administrators of an external account that have
           usage permissions to an object protected by your AWS KMS key can further restrict access
           by creating a resource-level IAM policy.

           For more information about creating an AWS KMS key, see Creating Keys in the AWS Key
           Management Service Developer Guide. For more information about protecting data with
           AWS KMS, see Protecting Data with AWS KMS–Managed Key in the Amazon Simple Storage
           Service Developer Guide.
c.   Metadata for Amazon S3 objects is represented by a name-value (key-value) pair. There are two
     kinds of metadata: system-deﬁned metadata and user-deﬁned metadata.

     If you want to add Amazon S3 system-deﬁned metadata to all of the objects you are uploading,
     for Header, select a header. You can select common HTTP headers, such as Content-Type and
     Content-Disposition. Type a value for the header, and then choose Save. For a list of system-
     deﬁned metadata and information about whether you can add the value, see System-Deﬁned
     Metadata in the Amazon Simple Storage Service Developer Guide.
d.   Any metadata starting with preﬁx x-amz-meta- is treated as user-deﬁned metadata. User-
     deﬁned metadata is stored with the object, and is returned when you download the object.

     To add user-deﬁned metadata to all of the objects that you are uploading, type x-amz-meta-
     plus a custom metadata name in the Header ﬁeld. Type a value for the header, and then
     choose Save. Both the keys and their values must conform to US-ASCII standards. User-deﬁned
     metadata can be as large as 2 KB. For more information about user-deﬁned metadata, see User-
     Deﬁned Metadata in the Amazon Simple Storage Service Developer Guide.




e.   Object tagging gives you a way to categorize storage. Each tag is a key-value pair. Key and tag
     values are case sensitive. You can have up to 10 tags per object.

     To add tags to all of the objects that you are uploading, type a tag name in the Key ﬁeld. Type
     a value for the tag, and then choose Save. A tag key can be up to 128 Unicode characters in
     length and tag values can be up to 255 Unicode characters in length. For more information
     about object tags, see Object Tagging in the Amazon Simple Storage Service Developer Guide.




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7.   Choose Next.
8.   On the Upload review page, verify that your settings are correct, and then choose Upload. To make
     changes, choose Previous.
9.   To see the progress of the upload, choose In progress at the bottom of the browser window.




     To see a history of your uploads and other operations, choose Success.




Uploading Files by Pointing and Clicking
This procedure explains how to upload ﬁles into an S3 bucket by choosing Upload.




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To upload ﬁles to an S3 bucket by pointing and clicking

1.   Sign in to the AWS Management Console and open the Amazon S3 console at https://
     console.aws.amazon.com/s3/.
2.   In the Bucket name list, choose the name of the bucket that you want to upload your ﬁles to.




3.   Choose Upload.




4.   In the Upload dialog box, choose Add ﬁles.




5.   Choose one or more ﬁles to upload, and then choose Open.




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6.   After you see the ﬁles that you chose listed in the Upload dialog box, do one of the following:

     a.   To add more ﬁles, choose Add more ﬁles.
     b.   To immediately upload the listed ﬁles, choose Upload.
     c.   To set permissions or properties for the ﬁles that you are uploading, choose Next.




7.   To set permissions and properties, start with Step 5 of Uploading Files and Folders by Using Drag
     and Drop (p. 32).



More Info
• How Do I Set Permissions on an Object? (p. 107).
• How Do I Download an Object from an S3 Bucket? (p. 40)




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How Do I Download an Object from an S3 Bucket?
    This section explains how to use the Amazon S3 console to download objects from an S3 bucket.

    Data transfer fees apply when you download objects. For information about Amazon S3 features, and
    pricing, see Amazon S3.

    To download an object from an S3 bucket

    1.   Sign in to the AWS Management Console and open the Amazon S3 console at https://
         console.aws.amazon.com/s3/.
    2.   In the Bucket name list, choose the name of the bucket that you want to download an object from.




    3.   You can download an object from an S3 bucket in any of the following ways:

         • In the Name list, select the check box next to the object you want to download, and then choose
           Download on the object description page that appears.




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• Choose the name of the object that you want to download.




  On the Overview page, choose Download.




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• Choose the name of the object that you want to download and then choose Download as on the
  Overview page.




• Choose the name of the object that you want to download. Choose Latest version and then
  choose the download icon.




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                                          Related Topics




    Related Topics
    • How Do I Upload Files and Folders to an S3 Bucket? (p. 31)




How Do I Delete Objects from an S3 Bucket?
    This section explains how to use the Amazon S3 console to delete objects. Because all objects in your
    S3 bucket incur storage costs, you should delete objects that you no longer need. If you are collecting
    log ﬁles, for example, it's a good idea to delete them when they're no longer needed. You can set up a
    lifecycle rule to automatically delete objects such as log ﬁles.

    For information about Amazon S3 features and pricing, see Amazon S3.

    To delete objects from an S3 bucket

    1.   Sign in to the AWS Management Console and open the Amazon S3 console at https://
         console.aws.amazon.com/s3/.
    2.   In the Bucket name list, choose the name of the bucket that you want to delete an object from.




    3.   You can delete objects from an S3 bucket in any of the following ways:

         • In the Name list, select the check box next to the objects and folders that you want to delete,
           choose More, and then choose Delete.




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